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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

FEDERAL TRADE COMMISSION,       §
                                §
      Plaintiff,                §
                                §
v.                              §
                                §
U.S. ANESTHESIA PARTNERS, INC., §           Civil Action No. 4:23-cv-03560
                                §
      and                       §
                                §
WELSH, CARSON, ANDERSON & §
STOWE XI, L.P., et al.          §
                                §
      Defendants                §


      APPENDIX TO WELSH CARSON ENTITIES’ MOTION TO DISMISS
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                                      Certificate of Service

       I certify that on November 20, 2023, a copy of this document was served on all counsel of

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                                                    /s/ R. Paul Yetter
                                                    R. Paul Yetter




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                                                              1       Were the Court to reach the third and
                    2020 WL 1848047                                   most contested Sherman Act element—dangerous
             United States District Court, N.D.                       probability of achieving monopoly power—
              Texas, Wichita Falls Division.                          it would deny both the Chandler Plaintiffs’
                                                                      and Phoenix Defendants’ motions for summary
         Ronald CHANDLER, et al., Plaintiffs,                         judgment. Based on the differing market analyses
                      v.                                              of former HOTF employee James Cole (“Cole”)
        PHOENIX SERVICES, et al., Defendants.                         and economic expert Allan Jacobs, a jury would
                                                                      need to determine whether the market was
             Civil Action No. 7:19-cv-00014-O                         susceptible to monopolization and, if so, whether
                              |                                       there was a dangerous probability that HOTF
                    Signed 04/13/2020                                 would unlawfully achieve market power. Compare
                                                                      Pls.’ App. Supp. Mot. Partial Summ. J. 22–29,
Attorneys and Law Firms
                                                                      ECF No. 63, with Defs.’ App. Supp. Mot. Summ.
Theodore G. Baroody, Carstens & Cahoon, LLP, Dallas,                  J. 162–88, ECF No. 66. However, due to the
TX, Don Ross Malone, Malone Law Firm, Vernon, TX, for                 Chandler Plaintiffs’ lack of standing, failure to
Plaintiffs.                                                           file their claims within the Clayton Act's statute
                                                                      of limitations, and inability to establish Phoenix's
DeVan V. Padmanabhan, Pro Hac Vice, Britta S. Loftus, Pro             corporate liability and Fisher's individual liability,
Hac Vice, Paul J. Robbennolt, Pro Hac Vice, Padmanabhan &             the Court need not reach the merits of the Chandler
Dawson P.L.L.C., Minneapolis, MN, for Defendants.                     Plaintiffs’ antitrust claims.
                                                              The Chandler Plaintiffs do not have standing to bring
                                                              their claims against the Phoenix Defendants. Moreover, the
      MEMORANDUM OPINION AND ORDER                            Chandler Plaintiffs’ claims are barred by the Clayton Act's
                                                              four-year statute of limitations, and no exception applies to
Reed O'Connor, UNITED STATES DISTRICT JUDGE
                                                              toll the limitations period. Finally, the Chandler Plaintiffs
 *1 Before the Court are Plaintiffs Ronald Chandler's,        cannot establish Phoenix's or Fisher's liability for HOTF's
Chandler Manufacturing, LLC's, Newco Enterprises, LLC's,      allegedly anticompetitive conduct. Accordingly, the Chandler
and Supertherm Heating Services, LLC's (collectively, the     Plaintiffs’ claims for Walker Process fraud and sham patent
“Chandler Plaintiffs”) Motion for Partial Summary Judgment,   litigation are DISMISSED with prejudice.
Brief in Support, and Appendix in Support (ECF Nos. 61–
63), filed February 13, 2020; Defendants Phoenix Services,
                                                              I. FACTUAL BACKGROUND
LLC's and Mark H. Fisher's (collectively, the “Phoenix
                                                              After years of litigation regarding the validity and
Defendants”) Response, Brief in Support, and Appendix in
                                                              enforcement of United States Patent No. 8,171,993 (the “'993
Support (ECF Nos. 67–69), filed March 5, 2020; and the
                                                              Patent”), the Federal Circuit affirmed the District of North
Chandler Plaintiffs’ Reply (ECF No. 73), filed March 14,
                                                              Dakota's finding that the '993 Patent is unenforceable due
2020. Also before the Court are the Phoenix Defendants’
                                                              to patent owner Heat On-The-Fly's (“HOTF”) inequitable
Motion for Summary Judgment, Brief in Support, and
                                                              conduct. See Energy Heating, LLC v. Heat On-The-Fly, LLC,
Appendix in Support (ECF Nos. 64–66), filed February 14,
                                                              889 F.3d 1291 (Fed. Cir. 2018). Relying on the Federal
2020; the Chandler Plaintiffs’ Response, Brief in Support,
                                                              Circuit's ruling, the Chandler Plaintiffs then brought Walker
and Appendix in Support (ECF Nos. 70–72), filed March 6,
                                                              Process fraud and sham patent litigation claims against the
2020; and the Phoenix Defendants’ Reply and Appendix in
                                                              Phoenix Defendants. See First Am. Compl., ECF No. 23.
Support (ECF Nos. 74–75), filed March 20, 2020. Having
                                                              The Chandler Plaintiffs allege that Phoenix and Fisher—
considered the motions, briefing, and applicable law, the
                                                              HOTF's parent company and CEO, respectively—are liable
Court DENIES the Chandler Plaintiffs’ Motion for Partial
                                                              for HOTF's and their own unlawful attempts to exploit the
Summary Judgment and GRANTS the Phoenix Defendants’
                                                              '993 Patent and unlawfully gain monopoly power. See id. To
Motion for Summary Judgment. 1                                adjudicate the parties’ cross motions for summary judgment,
                                                              the Court must first return to “ ‘the heart’ of both this antitrust


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                                                WCAS001
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litigation ... and several related patent-infringement suits”—            in the gas and oil industries) was created by
the acquisition and enforcement of the '993 Patent. Chandler              shortening ‘fracturing.’ The addition of the ‘k’
v. Phoenix Servs., LLC, 419 F. Supp. 3d 972, 977 (N.D. Tex.               brings the word into conformity with the inflected
2019) (quoting First. Am. Compl. ¶ 11, ECF No. 23).                       forms of similar English words ending in a vowel
                                                                          plus ‘c,’ such as shellacking, panicking, and
                                                                          frolicking.”). Adopting the dictionary definition,
 A. HOTF Acquisition and Enforcement of the '993                          the Court now uses “frack” except when quoting
 Patent                                                                   the parties.
*2 In 2006, HOTF founder Ransom Mark Hefley created a
                                                                   During September and October of 2013, HOTF determined
fracking 2 process to heat water “on demand or inline” or, as
                                                                   that at least seventeen companies were using the patented
HOTF puts it, to heat water “on-the-fly.” First Am. Compl. ¶
                                                                   process without obtaining licenses. Pls.’ App. Supp. Mot.
11, ECF No. 23. HOTF began using the process on fracking
                                                                   Partial Summ. J. 80–113, ECF No. 63. HOTF sent these
jobs Hefley claimed were “experimental.” Pls.’ App. Supp.
                                                                   non-licensed companies cease-and-desist letters stating that
Resp. 17, ECF No. 72. When, on September 18, 2009, Hefley
                                                                   HOTF “received information that certain water heating
filed an application to patent his “Water Heating Apparatus
                                                                   contractors providing water heating services and equipment
for Continuous Heated Water Flow and Method for Use in
                                                                   to [the companies] may be infringing the '993 Patent” and
Hydraulic Fracturing,” Defs.’ App. Supp. Resp. 155, ECF No.
                                                                   “ask[ing] that [the companies] undertake the necessary steps
69, Hefley knew he was required to “file within one year” of
                                                                   to ensure that any possible infringement by [their] water
inventing the process, Pls.’ App. Supp. Resp. 14, ECF No.
                                                                   heating contractors or subcontractors ceases.” Defs.’ App.
72. See also 35 U.S.C. § 102. Yet, when Hefley filed the
                                                                   Supp. Mot. Summ. J. 43, ECF No. 66.
first application for the '993 Patent, he failed to disclose the
sixty-one frack jobs completed more than a year earlier. See
                                                                   Hess Corporation (“Hess”), Supertherm's largest customer,
Defs.’ Br. Supp. Mot. Summ. J. 2, ECF No 65 (citing First
                                                                   received one such letter. Id. Hess informed Supertherm of
Am. Compl. P 11, ECF No. 23); Pls.’ App. Supp. Resp. 9, 14,
                                                                   the letter and continued to hire Supertherm to perform in-
ECF No. 72. On May 8, 2012, the United States Patent and
                                                                   line frack water-heating jobs. Id. at 55, 117, 208. But Hess
Trademark Office (“USPTO”) approved and issued the '993
                                                                   also hired two to three additional non-licensed vendors and
Patent. Defs.’ App. Supp. Resp. 155, ECF No. 69.
                                                                   gradually decreased its work with Supertherm. Pls.’ App.
                                                                   Supp. Resp. 329, ECF No. 72. Supertherm was eager to make
2      In previous orders, the Court has adopted the               up the lost business, but it declined to perform jobs for new
       parties’ use of “frac” and “fracking” as the                clients due to fear of potential patent-infringement litigation.
       abbreviated forms of “fracture” and “fracturing.”           Id. at 331. Supertherm went out of business in May of 2016,
       See, e.g., Mem. Op. & Order, ECF No. 44;                    stating “[a] general business decline in that area ma[de] it
       Mem. Op. & Order, ECF No. 52. Upon                          impossible to justify keeping the office open.” Defs.’ App.
       further research, the Court adopts the alternative          Supp. Mot. Summ. J. 233, ECF No. 66.
       spelling of “frack.” Though “frac” is more
       common among industry experts, most scientists
       and academics now use “frack.” Jason Lavis,                    B. Phoenix's Purchase of HOTF and Continued
       Fracking Vs Fracing – The End of the Debate?,                  Enforcement of the '993 Patent
       DRILLERS.COM (Aug. 22, 2017), https://                      On January 31, 2014, nearly two years after the '993 Patent
       drillers.com/fracking-vs-fracing-end-debate/. And           issued, Phoenix acquired HOTF. Id. at 6. HOTF became a
       most persuasively, dictionaries uniformly                   subsidiary of Phoenix Consolidated Oilfield Services, LLC
       recognize “frack” but not “frac.” See, e.g.,                (“Phoenix Consolidated”), which is fully owned by Phoenix.
       MERRIAM-WEBSTER, https://www.merriam-                       Id. at 2. As a Phoenix subsidiary, HOTF is a member-managed
       webster.com/dictionary/frac (stating that “the              limited liability company, meaning “the Board of Directors
       word [‘frac’] isn't in the dictionary,” and                 can direct the business and affairs of, and make decisions
       suggesting “frack” as an alternative); MERRIAM-             for” HOTF. Pls.’ Br. Supp. Resp. 138, ECF No. 72. Fisher
       WEBSTER, https://www.merriam-webster.com/                   has remained the head of all three companies, and he and
       dictionary/frack (“The word fracking (sometimes             Danny Shurden (“Shurden”), the vice president of Phoenix,
       spelled fraccing or fracing, particularly by those          are the only two remaining officers of HOTF. Defs.’ App.



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Supp. Mot. Summ. J. 4, ECF No. 66. Thus, though “Heat               HOTF's inequitable conduct. Id. at 118–29. HOTF also added
On-The-Fly legally still exists, ... it's controlled by Phoenix     claims for patent infringement against Energy Heating and
Services.” Pls.’ Br. Supp. Mot. Partial Summ. J. 11, ECF            against Supertherm in December 2014. Newco, 7:14-CV-87-
No. 62 (emphasis omitted) (quoting Pls.’ App. Supp. Mot.            O; Energy Heating, 4:13-CV-10-RRE-ARS.
Partial Summ. J. 132, ECF No. 63). Phoenix's, Phoenix
Consolidated's, and HOTF's finances are all encompassed by          Even after the Federal Circuit affirmed the '993 Patent’s
a single financial statement. Pls.’ App. Supp. Mot. Partial         invalidity, HOTF and Phoenix continued to assert the '993
Summ. J. 177, ECF No. 72. Phoenix Consolidated funds                Patent. “The website of Phoenix Services, LLC, incorporated
HOTF—including by paying its attorneys’ fees—because                a logo for ‘Heat On The Fly®’ that referred to [the
HOTF “has always been [in] a negative cash position” since          '993 Patent] ... from in or around February 2018 through
the acquisition. Id. at 88.                                         approximately January 29, 2019.” Pls.’ App. Supp. Mot.
                                                                    Partial Summ. J. 27, ECF No. 72; see also Defs.’ App. Supp.
 *3 Under HOTF's new structure and leadership, HOTF                 Mot. Summ. J. 149–52, ECF No. 66 (website screenshots).
and Phoenix employees continued discussions about the               And the Newco patent-infringement claims remain stayed but
enforcement and validity of the '993 Patent. On February            pending in this Court.
8, 2014, Fisher emailed one of HOTF's licensees to suggest
“having a meeting to discuss the near future of HOTF” and
assuring the licensee, “we think very highly of the value of the    II. LEGAL STANDARD
Patent, and plan to enforce it vigorously.” Pls.’ Br. Supp. Mot.
                                                                       A. Summary Judgment
Partial Summ. J. 8, ECF No. 62 (citing Pls.’ App. Supp. Mot.
                                                                    The Court may grant summary judgment where the pleadings
Partial Summ. J. 58–60, ECF No. 63). He signed the email,
                                                                    and evidence show “that there is no genuine dispute as to any
“Mark Fisher CEO Phoenix Services, LLC.” Id. During his
                                                                    material fact and the movant is entitled to judgment as a matter
deposition, Fisher stated that he would “certainly” try to
                                                                    of law.” FED. R. CIV. P. 56(a). Summary judgment is not “a
capture the highest market share possible. Id. at 9 (quoting
                                                                    disfavored procedural shortcut,” but rather an “integral part of
Pls.’ App. Supp. Mot. Partial Summ. J. 61, ECF No. 63).
                                                                    the Federal Rules as a whole, which are designed to secure the
                                                                    just, speedy and inexpensive determination of every action.”
On March 10, 2014, a licensee complained to Fisher, Shurden,
                                                                    Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).
Cole, and the HOTF attorneys about several non-licensed
companies infringing the '993 Patent. Pls.’ App. Supp. Resp.
                                                                    “[T]he substantive law will identify which facts are material.”
78, ECF No. 72. “Other heating providers ... have no regard
                                                                    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A
for the patent,” the licensee wrote. Id. The licensee claimed its
                                                                    genuine dispute as to any material fact exists “if the evidence
non-licensed competitors were “ruining the frac water heating
                                                                    is such that a reasonable jury could return a verdict for the
business and ... making [licensees] look like [they we]re
                                                                    nonmoving party.” Id. The movant must inform the court of
gouging [their] customers when [they] charge[d] standard
                                                                    the basis of its motion and demonstrate from the record that
market rates.” Id. Given the licensee was “losing work from
                                                                    no genuine dispute as to any material fact exists. See Celotex,
customers who use[d non-licensed competitors],” the licensee
                                                                    477 U.S. at 323. “The party opposing summary judgment is
worried that “the longer this [went] on the harder it w[ould]
                                                                    required to identify specific evidence in the record and to
be to get that work back.” Id.
                                                                    articulate the precise manner in which that evidence supports
                                                                    his or her claim.” Ragas v. Tenn. Gas Pipeline Co., 136 F.3d
The patent litigation also continued under Phoenix's
                                                                    455, 458 (5th Cir. 1998).
ownership. On July 14, 2014, HOTF filed a counterclaim
in Newco Enterprises, LLC v. Super Heaters North Dakota,
                                                                     *4 When reviewing the evidence on a motion for summary
LLC, 7:14-CV-87-O [hereinafter Newco], alleging that
                                                                    judgment, courts must resolve all reasonable doubts and draw
Chandler and Newco had “been actively and knowingly
                                                                    all reasonable inferences in the light most favorable to the
inducing infringement of the 993 Patent” by their customers.
                                                                    non-movant. See Walker v. Sears, Roebuck & Co., 853 F.2d
Defs.’ App. Supp. Mot. Summ. J. 46, ECF No. 66. On
                                                                    355, 358 (5th Cir. 1988). The court cannot make a credibility
October 24, 2014, the Energy Heating plaintiffs sought to
                                                                    determination in light of conflicting evidence or competing
amend their complaint—adding, for the first time, a claim
                                                                    inferences. Anderson, 477 U.S. at 255. If there appears to be
that the '993 Patent was unenforceable due to Hefley's and
                                                                    some support for disputed allegations, such that “reasonable


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minds could differ as to the import of the evidence,” the court     [it] failed, despite the exercise of due diligence on [its] part,
must deny the motion. Id. at 250.                                   to discover the facts that form the basis of [its] claim.” In re
                                                                    Beef Indus. Antitrust Litig., 600 F.2d at 1169. To prove that
                                                                    damages are not ascertainable, plaintiffs must prove that both
  B. The Sherman Antitrust Act                                      the existence and the amount of damages are uncertain. See
                                                                    Delta Produce, L.P. v. H.E. Butt Grocery Co., No. SA-12-
                          1. Standing                               CA-353, 2013 WL 12121118, at *4 (W.D. Tex. Jan. 17, 2013).
                                                                    And to invoke a continuing violation, a new injurious act
“Standing to pursue an antitrust suit exists only if a plaintiff    must occur and its damages must be recoverable. See Zenith
shows: 1) injury-in-fact, an injury to the plaintiff proximately    Radio Corp. v. Hazeltine Res., Inc., 401 U.S. 321, 338 (1971)
caused by the defendants’ conduct; 2) antitrust injury; and         [hereinafter Zenith].
3) proper plaintiff status, which assures that other parties are
not better situated to bring suit.” Sanger Ins. Agency v. HUB
Int'l, Ltd., 802 F.3d 732, 737 (5th Cir. 2015) (internal citation
                                                                                   3. Walker Process Patent Fraud
omitted). “Although the question of causation is generally a
factual question for the jury, a court should direct a verdict       *5 To establish antitrust liability based on the unlawful
where the plaintiff has failed to present substantial evidence      enforcement of a patent, a claimant must either (1) “prove
that defendant's illegal practices were a material cause of         that the asserted patent was obtained through knowing and
plaintiff's injuries.” Taylor Publ'g Co. v. Jostens, Inc., 216      willful fraud within the meaning of Walker Process,” or
F.3d 465, 485 (5th Cir. 2000) [hereinafter Taylor] (internal        (2) “demonstrate that the infringement suit was a mere
citation omitted). “Though jury inferences of causation are         sham.” In re Indep. Serv. Orgs. Antitrust Litig., 203 F.3d
in some cases permissible, ‘the required causal link must be        1322, 1326 (Fed. Cir. 2000) (internal citation omitted). The
proved as a matter of fact with a fair degree of certainty.’ ” El   Supreme Court in Walker Process Equipment, Inc. v. Food
Aguila Food Prods., Inc. v. Gruma Corp., 131 F. App'x 450,          Machinery & Chemical Corporation, 382 U.S. 172 (1965)
454 (5th Cir. 2005) [hereinafter El Aguila] (quoting Alabama        established that “the enforcement of a patent procured by
v. Blue Bird Body Co., 573 F.2d 309, 317 (5th Cir. 1978)).          fraud on the Patent Office may be violative of [§] 2 of the
This is “especially so” when plaintiffs are damaged by other        Sherman Act.” Id. at 174. To succeed on a Walker Process
“salient factors distinct from the challenged conduct.” Id.         claim, a plaintiff must prove two elements: (1) “the antitrust-
                                                                    defendant obtained the patent by knowing and willful fraud
                                                                    on the patent office and maintained and enforced that patent
                   2. Statute of Limitations                        with knowledge of the fraudulent procurement” and (2) the
                                                                    plaintiff can satisfy “all other elements necessary to establish
Under the Clayton Act's statute of limitations, an antitrust        a Sherman Act monopolization claim.” TransWeb, LLC v.
plaintiff must file its complaint within four years of the date     3M Innovative Props. Co., 812 F.3d 1295, 1306 (Fed. Cir.
the cause of action accrued. See 15 U.S.C. § 15(b); Bell v.         2016). As to the first element, the Supreme Court “made clear
Dow Chem. Co., 847 F.2d 1179, 1186 (5th Cir. 1988). The             that the invalidity of the patent [i]s not sufficient; a showing
date of accrual is factual; therefore, to prevail on summary        of intentional fraud in its procurement [i]s required.” Ritz
judgment, a defendant must establish there is no genuine issue      Camera & Image, LLC v. SanDisk Corp., 700 F.3d 503, 506
regarding when the statute of limitations accrued. In re Beef       (Fed. Cir. 2012). As to the second, “the Court incorporated
Indus. Antitrust Litig., 600 F.2d 1148, 1170 (5th Cir. 1979).       the rules of antitrust law generally. As Justice Harlan stated
                                                                    in his concurring opinion, ‘as to this class of improper patent
The Fifth Circuit recognizes three exceptions to toll               monopolies, antitrust remedies should be allowed room for
the Sherman Act's statute of limitations: (1) fraudulent            full play.’ ” Id. (citing Walker Process, 382 U.S. at 180
concealment; (2) damages not initially ascertainable; and (3)       (Harlan, J., concurring)).
continuing violation. See id.; Kaiser Alum. & Chem. Sales,
Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1051 (5th          Under § 2 of the Sherman Act, a defendant may be liable
Cir. 1982) [hereinafter Kaiser]. To demonstrate a defendant's       for monopolization, attempt to monopolize, or conspiracy
fraudulent concealment, “an antitrust plaintiff must show that      to monopolize. 15 U.S.C. § 2. When the plaintiff alleges
the defendants concealed the conduct complained of, and that        monopolization, a court must “focus on the harm done,



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                                                  WCAS004
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in the form of a monopolization which the defendant
willfully creates or maintains,” but when a plaintiff alleges         III. ANALYSIS
attempted monopolization, the court must instead “focus on
                                                                         A. Standing
the harm that potentially might have been caused by the
                                                                       *6 The Chandler Plaintiffs have failed to present substantial
conduct in light of the state of the market.” Taylor, 216
                                                                      evidence that HOTF's or the Phoenix Defendants’ own
F.3d at 474 (emphasis added). “[T]o demonstrate attempted
                                                                      alleged antitrust violations were a material cause of
monopolization a plaintiff must prove (1) that the defendant
                                                                      Supertherm's business losses. Accordingly, they do not have
has engaged in predatory or anticompetitive conduct with
                                                                      standing to pursue their Walker Process and sham litigation
(2) a specific intent to monopolize and (3) a dangerous
                                                                      claims for lost-profit damages.
probability of achieving monopoly power.” Spectrum Sports,
Inc. v. McQuillan, 506 U.S. 447, 456 (1993). “The first
                                                                      “Standing to pursue an antitrust suit exists only if a plaintiff
element considers the conduct, the second looks to the
                                                                      shows: 1) injury-in-fact, an injury to the plaintiff proximately
motivation behind the conduct, and the third looks to the
                                                                      caused by the defendants’ conduct; 2) antitrust injury; and 3)
defendant's market power and commensurate ability to lessen
                                                                      proper plaintiff status, which assures that other parties are not
or destroy competition in that market.” Taylor, 216 F.3d at
                                                                      better situated to bring suit.” Sanger Ins. Agency, 802 F.3d at
474 (internal citation omitted). When the third, “dangerous
                                                                      737 (internal citation omitted). The Phoenix Defendants raise
probability” element is at issue, “courts have found it
                                                                      only the first issue, claiming the Chandler Plaintiffs cannot
necessary to consider the relevant market and the defendant's
                                                                      prove that HOTF's unlawful conduct caused Supertherm
ability to lessen or destroy competition in that market.”
                                                                      to gradually lose business from its largest customer and
Spectrum Sports, 506 U.S. at 456.
                                                                      eventually go out of business.

                                                                      “Although the question of causation is generally a factual
                   4. Sham Patent Litigation                          question for the jury, a court should direct a verdict where
                                                                      the plaintiff has failed to present substantial evidence that
A plaintiff may also base its claim for antitrust liability on an     the defendant's illegal practices were a material cause of
allegation that defendant engaged in sham patent litigation.          plaintiff's injuries.” Taylor, 216 F.3d at 485 (internal citation
Cf. Tyco Healthcare Grp. LP v. Mut. Pharm. Co., Inc., 762             omitted); see also H&B Equip. Co. v. Int'l Harvester
F.3d 1338, 1343 (Fed. Cir. 2014) (noting that while, “[a]             Co., 577 F.2d 239, 246 (5th Cir. 1978) (“To succeed, an
party is ordinarily exempt from antitrust liability for bringing      antitrust plaintiff must show the defendants’ wrongful actions
a lawsuit against a competitor ... [t]here is a recognized            materially contributed to an injury to the plaintiff's business,
exception ... for ‘sham litigation’ ” (internal citation omitted)).   and must provide some indication of the amount of damage
Indeed, antitrust law precludes a purported patent owner from         done.”). In some instances, the jury can infer facts to establish
“bringing suit to enforce a patent with knowledge that the            causation, but “the required causal link must be proved as
patent is invalid or not infringed” when “the litigation is           a matter of fact with a fair degree of certainty.” Blue Bird
conducted for anti-competitive purposes.” C.R. Bard, Inc.             Body Co., 573 F.2d at 317. This is “especially so” when
v. M3 Sys., Inc., 157 F.3d 1340, 1368 (Fed Cir. 1998). In             plaintiffs are damaged by other “salient factors distinct from
Professional Real Estate Investors, Inc. v. Columbia Pictures         the challenged conduct.” El Aguila, 131 F. App'x at 454
Industries, Inc. (PRE), 508 U.S. 49 (1993), the Supreme               (requiring more when there was “increased competition”
Court established the two-part test for “sham” litigation:            and the plaintiffs refused to mitigate damages); see also
“(1) the lawsuit must be objectively meritless such that ‘no          Taylor, 216 F.2d at 485 (holding that the plaintiff “had
reasonable litigant could expect success on the merits’ and           to establish a tighter connection between the behavior and
(2) it must be found that ‘the baseless lawsuit conceals “an          the damages” because the plaintiff “concededly also lost
attempt to interfere directly with the business relationships         customers (i.e., suffered damage)” for reasons unrelated to
of a competitor.” ’ ” C.R. Bard, 157 F.3d at 1368 (quoting            the antitrust violation). And “[w]hen the fact of injury is
PRE, 508 U.S. at 60). Because “[f]raud in the procurement             in issue, the isolated self-serving statements of a plaintiff's
of a patent is governed by Walker Process ... the complainant         corporate officers may not provide substantial evidence upon
‘must still prove a substantive antitrust violation.’ ” Id.           which a jury can rely.” H&B, 577 F.2d at 247 (internal citation
(quoting PRE, 508 U.S. at 61).                                        omitted).




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In September 2013, HOTF sent a cease-and-desist letter to         conduct,” El Aguila, 131 F. App'x at 454—namely, the
Hess, implying that Supertherm, its only in-line frack water-     fluctuating oil market and increase in competition among
heating provider, was violating the '993 Patent. Defs.’ App.      non-licensed fracking providers—the Chandler Plaintiffs
Supp. Mot. Summ. J. 43, ECF No. 66. Hess immediately told         must “establish a tighter connection between the behavior and
Supertherm about the cease-and-desist letter; but following       the damages,” Taylor, 216 F.2d at 485. Viewing the evidence
a brief conversation, Hess and the Chandler Plaintiffs never      in the light most favorable to the Chandler Plaintiffs, they are
again discussed the letter or the '993 Patent. Id. at 55–69,      unable to establish the necessary causal connection.
207–08. Over the next three years, Hess gradually reduced its
work with Supertherm and hired other non-licensed vendors         Without proving HOTF's cease-and-desist letter caused
to complete some of its frack jobs. Pls.’ App. Supp. Resp.        Supertherm's monetary damages, the Chandler Plaintiffs
326–31, ECF No. 72. But Hess never hired HOTF or any of           cannot satisfy the standing elements with regard to their
its licensees. Defs.’ App. Supp. Mot. Summ. J. 147, ECF No.       claims for lost profits. Accordingly, the Court holds that
66. Supertherm “tr[ied] to replace the business from Amerada      the Chandler Plaintiffs lack standing to pursue these claims.
Hess with other customers,” but due to the cease-and-desist       Nevertheless, the Chandler Plaintiffs do have standing to
letter to Hess and pending lawsuits against other non-licensed    pursue their Walker Process and sham patent litigation claims
companies, Supertherm was “ ‘scared’ and ‘hiding in the           for fees expended in defending against HOTF's patent-
shadows.’ ” Pls.’ Br. Supp. Resp. 21, ECF No. 71 (citing          infringement claims.
Pls.’ App. Supp. Resp. 326–27, 330–31, ECF No. 72). This
fear allegedly led Supertherm to decline business from other
prospective in-line fracking customers. Id.                          B. Statute of Limitations
                                                                  Pursuant to the Clayton Act's four-year statute of limitations,
 *7 After the District of North Dakota concluded that the '993    the Chandler Plaintiffs must present evidence sufficient to
Patent was unenforceable due to inequitable conduct, neither      prove either (1) a specific injurious act occurred within four
Supertherm nor the other Chandler Plaintiffs reached out to       years of the suit's inception or (2) an exception applies to
Hess to ask for more work. Defs.’ App. Supp. Mot. Summ. J.        toll the limitations period. See 15 U.S.C. § 15(b); Bell, 847
66–67, ECF No. 66. And by the end of 2015 and beginning           F.2d at 1186. At the summary-judgment stage, the Phoenix
of 2016, the market for oil bottomed out. See id. at 58, 217–     Defendants must prove there is no genuine issue of material
18, 224–25, 231–32. In 2016, Supertherm ceased operations         fact regarding the date of accrual. In re Beef Indus. Antitrust
and sent out a memorandum stating that it was shutting down       Litig., 600 F.2d at 1170. If the Phoenix Defendants meet this
due to lack of business in the field. Id. at 57, 233.             initial burden, the burden shifts to the Chandler Plaintiffs
                                                                  to establish the applicability of a tolling doctrine. See id.
The Chandler Plaintiffs provide evidence that HOTF sent           Because the Chandler Plaintiffs’ filed this suit on January
Hess a cease-and-desist letter in 2013 and that Supertherm        29, 2019, they must present evidence of a specific injurious
went out of business in 2016, but they do not provide evidence    act that the Phoenix Defendants or HOTF took on or after
of any “causal link.” Blue Bird Body Co., 573 F.2d at 317.        January 29, 2015. The Phoenix Defendants have established
If Hess was in fact influenced by the cease-and-desist letter,    that the only two allegedly injurious acts occurred outside
it would have stopped working with Supertherm and instead         the limitations period, and the Chandler Plaintiffs have not
hired HOTF or a licensee authorized to use the patented           established that an exception tolls the limitations period.
process. It did neither. Instead, it defied HOTF's instructions   Thus, the Chandler Plaintiffs’ Walker Process fraud and sham
—continuing to work with Supertherm and hiring other non-         patent litigation claims are barred as untimely.
licensed vendors. Moreover, though Supertherm's manager
testified he was scared to complete fracking projects for new
customers, a plaintiff's deposition testimony cannot be the                   1. Acts Within the Limitations Period
sole piece of “substantial evidence.” See H&B, 577 F.2d at
247 (internal citation omitted) (“When the fact of injury is       *8 In their First Amended Complaint, the Chandler
at issue, the isolated self-serving statements of a plaintiff's   Plaintiffs pleaded three allegedly injurious acts: (1) HOTF's
corporate officers may not provide substantial evidence upon      sending a cease-and-desist letter to Supertherm's largest
which a jury can rely.”). Because Supertherm was also             customer, (2) HOTF's assertion of patent-infringement
damaged by “salient factors distinct from the challenged          claims against the Chandler Plaintiffs, and (3) Phoenix's



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                                                 WCAS006
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advertisement of the '993 Patent on its website. The first two      were injured by the website. Rather, Supertherm CFO and the
actions occurred outside the limitations period, and the third      Chandler Plaintiffs’ Rule 30(b)(6) designee Reanna Chandler
is not actionable.                                                  Jones admitted that the Chandler Plaintiffs were not injured
                                                                    by the Phoenix Defendants’ website. Defs.’ App. Supp. Mot.
On September 13, 2013, HOTF sent Hess a cease-and-desist            Summ. J. 49–51, ECF No. 66. Because the action did not
letter, ordering the company to “undertake the necessary            injure any plaintiff, it too may not be used as a specific act for
steps to ensure that any possible infringement by [its] water       purposes of the statute of limitations. See Rx.com v. Medco
heating contractors or subcontractors ceases.” Defs.’ App.          Health Sol., Inc., 322 F. App'x 394, 396 (5th Cir. 2009).
Supp. Mot. Summ. J. 43, ECF No. 66. HOTF sent this letter—
as well as the cease-and-desist letters to the other sixteen non-
licensed vendors—more than four years before the Chandler
                                                                                   2. Tolling the Limitations Period
Plaintiffs filed this suit. Id. at 80–113. “[A] newly accruing
claim for damages must be based on some injurious act                *9 Both alleged injuries occurred outside the limitations
actually occurring during the limitations period, not merely        period, so the Chandler Plaintiffs must show that one of
the abatable but unabated inertial consequences of some pre-        three exceptions applies to toll the statute of limitations. The
limitations action.” TCA Bldg. Co. Nw. Res. Co., 861 F.             Chandler Plaintiffs argue that each of the Fifth Circuit's three
Supp. 1366, 1377 (S.D. Tex. 1994) (quoting Poster Exch. v.          exceptions applies: (1) fraudulent concealment; (2) damages
Nat'l Screen Serv. Corp., 517 F.2d 117, 128 (5th Cir. 1975)).       not initially ascertainable; and (3) continuing violation. Pls.’
In this case, though the Chandler Plaintiffs allege the letter      Br. Supp. Resp. 1–26, ECF No. 71 (citing In re Beef Indus.
continued to harm Supertherm, the gradual decline in work           Antitrust Litig., 600 F.2d at 1169; Kaiser, 677 F.2d at 1051).
is merely an “inertial consequence.” Id. The injurious action       Each argument fails.
itself occurred on September 13, 2013, when Hess received
the letter and began decreasing its business to Supertherm.

Then, on July 18, 2014, HOTF filed patent-infringement                                a. Fraudulent Concealment
claims against Newco and Chandler. Defs.’ App. Supp. Mot.
                                                                    “Fraudulent concealment tolls the Clayton Act's statute of
Summ. J. 46–47, ECF No. 66. HOTF added a claim against
                                                                    limitations.” In re Beef Indus. Antitrust Litig., 600 F.2d at
Supertherm on December 22, 2014. Newco, 7:14-CV-87-
                                                                    1169. To avail itself of the fraudulent-concealment exception,
O. “Any injury ... resulting from the continued prosecution
                                                                    “an antitrust plaintiff must show that the defendants concealed
[of the lawsuit] relates back to the initial decision to file.”
                                                                    the conduct complained of, and that [it] failed, despite the
Al George, Inc. v. Envirotech Corp., 939 F.2d 1271, 1274            exercise of due diligence on [its] part, to discover the facts
(5th Cir. 1991) (internal citation omitted); see also Internet
                                                                    that form the basis of [its] claim.” Id. The Chandler Plaintiffs
Corporativo S.A. de C.V. v. Bus. Software All., Inc., No.           may be able to prove that the Phoenix Defendants actively
Civ.A.H-04-2322, 2004 WL 3331843, at *5 (“The Fifth                 concealed HOTF's conduct, but the Chandler Plaintiffs cannot
Circuit has specifically addressed the accrual of a cause of        prove that they did not discover the facts that form the basis
action based on allegations that the filing and prosecution of      of their claims.
litigation violated the antitrust laws, rejecting the application
of the continuing violation exception.” (citing Al George,          The Phoenix Defendants argue that the Chandler Plaintiffs
939 F.2d 1271)). Thus, any injuries stemming from the               may not raise the fraudulent-concealment argument because
litigation occurred on July 18, 2014 and December 22, 2014,         they did not plead the defense nor facts to support application
when HOTF filed the patent-infringement claims against the          of the defense. Defs.’ Br. Supp. Mot. Summ. J. 8, ECF
Chandler Plaintiffs.                                                No. 65. The Chandler Plaintiffs need not have pleaded the
                                                                    defense, but they did need to plead the fraudulent facts with
Finally, from January 2018 to January 2019, the Phoenix             particularity. See FED. R. CIV. P. 9(b); Colonial Penn. Ins.
Defendants posted the HOTF logo in association with the             Co. v. Market Planners Ins. Agency, 1 F.3d 374, 376 & n.2
'993 Patent on the Phoenix website. Pls.’ App. Supp. Resp.
                                                                    (5th Cir. 1993); Tangela Levels v. Merlino, 969 F. Supp.
27, ECF No. 72. Unlike the first two actions, this action did
                                                                    2d 704, 721 (N.D. Tex. 2013). The Chandler Plaintiffs only
occur within the limitations period. However, the Chandler
                                                                    pleaded two relevant and potentially fraudulent facts with
Plaintiffs present no claim nor other evidence showing they
                                                                    particularity: (1) the '993 Patent inventor's failure to “disclose


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                                                  WCAS007
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any of the 61 frac jobs to the Patent Trademark Office (‘PTO’)     invalidating prior art public use and on-sale projects” as
during prosecution as potential on-sale or public uses of the      its invalidity contentions. Id. at 10 (quoting Defs.’ App.
invention that might have triggered the on-sale bar,” and (2)      Supp. Mot. Summ. J. 136, ECF No. 66). Given the Chandler
HOTF's threatening of the Chandler Plaintiffs’ customers via       Plaintiffs’ knowledge of the Energy Heating litigation and
cease-and-desist letters. First Am. Compl. ¶¶ 12, 14, ECF No.      their interactions with counsel, the Chandler Plaintiffs are
23.                                                                presumed to be aware of the contents of the amended
                                                                   complaint and, therefore, aware of the actionable conduct.
The Chandler Plaintiffs argue that the Federal Circuit's           Cf. Allan Constr., 851 F.2d at 1533 (presuming the plaintiffs
holding that “the '993 Patent is unenforceable due to              had knowledge of the basis for claims asserted in “a
inequitable conduct, and that the infringement claim was           nearly identical antitrust claim against the same defendants[,
asserted in bad faith ... is ample evidence of acts by             which] had been filed several years earlier in California”).
Defendants to conceal this antitrust cause of action, not          But even without the presumption of knowledge, the
merely an action based on inequitable conduct.” Pls.’ Br.          Chandler Plaintiffs would be unable to invoke the fraudulent-
Supp. Resp. 8, ECF No. 71. They also argue “there is               concealment exception because they have not and cannot
further documentary evidence that the fraudulent nature of         prove they “failed, despite the exercise of due diligence on
the patent prosecution and the subsequent enforcement of           [their] part, to discover the facts that form the basis of [their]
the '993 Patent was expressly concealed by HOTF and                claim[s].” In re Beef Indus. Antitrust Litig., 600 F.2d at 1169
its lawyers.” Id. The record evidence does suggest HOTF            (emphasis added).
and its attorneys knew of and actively concealed the prior
use from the USPTO. See Pls.’ App. Supp. Resp. 16–18,              Moreover, were the Court to accept the Chandler Plaintiffs’
21, 24, 573–81, 588–91, 597, ECF No. 72. And though                contention that they were unaware of the actionable conduct
the Phoenix Defendants differentiate between concealment           until the District of North Dakota issued its inequitable-
from plaintiffs and concealment from third parties, Defs.’         conduct ruling, a key concession would still undercut their
Reply 3, ECF No. 74, Fifth Circuit case law does not make          fraudulent-concealment argument. In their Response to the
this distinction. See, e.g., State of Texas v. Allan Constr.       Phoenix Defendants’ Motion for Summary Judgment, the
Co., Inc., 851 F.2d 1526, 1529 (5th Cir. 1988) [hereinafter        Chandler Plaintiffs state they “agree with Defendants that
Allan Construction] (discussing affirmative acts of fraudulent     actual notice of facts to support a Walker Process fraud claim
concealment generally, not just as to the plaintiffs). Thus, a     did not arise as to either Plaintiffs or Defendants ... until
jury could find that this act constitutes an “affirmative act[ ]   January 2016 when the District Court made its inequitable
of concealment.” Id. (internal citation omitted).                  conduct finding.” Pls.’ Br. Supp. Resp. 15, ECF No. 71
                                                                   (emphasis in original). If the Phoenix Defendants did not
 *10 However, the Chandler Plaintiffs cannot show that they        know of their actionable conduct until the district court found
did not and could not discover the actionable conduct through      it unlawful, they would not have the ability to fraudulently
due diligence. Throughout the litigation, the Chandler             conceal it.
Plaintiffs’ counsel was in regular communication with patent-
plaintiff Energy Heating's counsel. See Defs.’ App. Supp.          Finally, within their fraudulent-concealment argument, the
Mot. Summ. J. 131, ECF No. 66 (stating Energy Heating's            Chandler Plaintiffs make two arguments based on fairness.
counsel “was involved in very similar litigation and so it was     First, they contend “[t]here is at least a triable issue of fact
helpful to talk to him about what he was experiencing in           as to the reasonableness of tolling the statute of limitations
that litigation.”). “Plaintiffs’ privilege log shows extensive     as to Plaintiffs based on fraudulent concealment to further
communications with Energy Heating's counsel,” including           investigate a complex antitrust claim based on Walker
“53 emails alone starting in starting in early September, right    Process fraud and sham litigation.” Id. at 16. The Chandler
before Energy Heating sought to amend its complaint.” Defs.’       Plaintiffs note they filed suit on January 29, 2019—only four
Br. Supp. Mot. Summ. J. 9–10, ECF No. 65 (internal emphasis        years and about five weeks after HOTF filed the patent-
omitted) (citing Defs.’ App. Supp. Mot. Summ. J. 132–33,           infringement suit—and they argue a jury should consider
ECF No. 66).                                                       whether Supertherm, “an unsophisticated ‘Mom and Pop’
                                                                   family-run oilfield manufacturing and services business in
On December 4, 2014, Energy Heating amended its complaint          Wichita Falls, Texas ... exercised sufficient due diligence as
to add the inequitable-conduct claim. It listed “[s]pecific        to both the Walker Process patent fraud claim and the sham



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patent litigation claim.” Id. But they do not cite a single case in   they knew damages existed well before January 2015, even if
support of this argument, and they do not tie “reasonableness”        they did not yet know the monetary amount. In Delta Produce,
to fraud. The Chandler Plaintiffs also argue that “[a]dequate         the Western District of Texas considered nearly identical
notice to Plaintiffs of facts necessary to support an antitrust       facts and concluded the damages-not-initially-ascertainable
claim is a far more complex issue than even just the already          exception did not apply. 2013 WL 12121118, at *4 (“While
complex issue of an inequitable conduct counterclaim.” Id.            the amount of damages may have been speculative, the injury
(emphasis in original). They discuss details about the market         itself, assuming Delta's allegations are true, was not. Delta
share covered by the '993 Patent, which they did not discover         alleges that it first sustained injury in 2002, when it was
until 2016. See id. at 17–19. But this argument also fails for        prevented from selling products to an HEB competitor. Thus,
two reasons. First, there is no indication that the Phoenix           Delta's cause of action under Section One of the Sherman
Defendants “fraudulently concealed” details regarding their           Act is barred by limitations.”). The Phoenix Defendants argue
engagement with the market or market power. And second,               this Court should do the same, as “[u]nder Plaintiffs’ theory,
even if they did, the Chandler Plaintiffs did not plead this at all   if Supertherm has never gone out of business, Plaintiffs
—much less with the particularity required under Rule 9(b).           could wait to file suit indefinitely, always alleging that their
See generally First Am. Compl., ECF No. 23                            damages were ‘not ascertainable’ because its business was
                                                                      ongoing.” Defs.’ Reply 10–11, ECF No. 74.
 *11 Each of the Chandler Plaintiffs’ arguments regarding
fraudulent concealment is unavailing. Thus, this exception            The Court finds the Delta Produce court's holding and the
does not toll the statute of limitations.                             Phoenix Defendants’ reasoning persuasive. Accordingly, the
                                                                      damages-not-yet-ascertainable exception does not apply.


              b. Damages Not Yet Ascertainable
                                                                                         c. Continuing Violation
The Chandler Plaintiffs also contend the statute of limitations
should be tolled because their damages were not ascertainable         Finally, the Chandler Plaintiffs also argue the continuing-
when HOTF sent Plaintiff Supertherm its cease-and-desist              violation exception applies. They state that “[t]he key
letter and when HOTF filed its patent-infringement claims             question is whether some injurious act actually occurred
against the Chandler Plaintiffs. See Pls.’ Br. Supp. Resp. 20–        during the limitations period.” Pls.’ Br. Supp. Resp. 22,
22, ECF No. 71. They argue “Supertherm's damage claim thus            ECF No. 71 (quoting Eurotec Vertical Flight Sols., LLC
did not accrue until the damages could be ascertained, which          v. Safran Helicopter Engines S.A.S., No. 3:15-CV-3454, at
began in May, 2016 with the failure of the business.” Id. at          *14 (N.D. Tex. Aug. 1, 2019) (emphasis omitted)). And
22. But while Supertherm could not have known the exact               they contend “[t]he answer to this question for purposes of
amount of lost profits, it did know of their existence.               HOTF's conduct is ‘yes’ for two reasons: (1) HOTF filed a
                                                                      Response to the USPTO on April 13, 2015 in a reexamination
Antitrust plaintiffs may recover both past and future damages.        proceeding ... and (2) in February, 2018 through January 29,
See Zenith, 401 U.S. at 338. “The fact that the act may inflict       2019, Defendant Phoenix Services modified its website to
damages in the future, as opposed to at the time the acts             reference the '993 Patent and offer licensing.” Id. at 22–23.
are committed, does not prevent the cause of action from              However, these acts do not constitute continuing violations.
accruing.” Astoria Entm't, Inc. v. Edwards, 159 F. Supp. 2d
303, 316 (E.D. La. 2001) (quoting Julian O. van Kalinowski,            *12 There are two restrictions to the continuing-violation
Peter Sullivan & Maureen McGuirl, 8 ANTITRUST LAWS                    exception, both of which foreclose its application here. First,
AND TRADE, § 162.02[1], at 162–5 (citations omitted)).                the act must actually injure the plaintiffs. See Edwards,
Rather, to prove that damages are not ascertainable, plaintiffs       159 F. Supp. 2d at 316 (“The key to this exception is that
must prove that both the existence and the amount of damages          plaintiff itself, not some other third party, was injured by the
are uncertain. See Delta Produce, L.P., 2013 WL 12121118,             continuing conspiratorial conduct.”). Second, plaintiffs can
at *4.                                                                only recover damages caused by the new act; the new act
                                                                      does not revive old damages occurring before the limitations
The Chandler Plaintiffs knew they were financially damaged            period. See Zenith, 401 U.S. at 338 (“In the context of a
as soon as Hess reduced its business with Supertherm. Thus,           continuing conspiracy to violate the antitrust laws, ... each



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time plaintiff is injured by an act of the defendants, a cause of
action accrues to him to recover those damages caused by that
act and that, as to those damages, the statute of limitations
                                                                                     1. Single-Enterprise Liability
runs from the commission of the act.” (emphasis added)).
                                                                     Whether a parent may be liable for the attempted
The Chandler Plaintiffs pleaded three allegedly injurious acts:      monopolization of its subsidiary is an issue of first impression
(1) HOTF's sending the cease-and-desist letter to Hess, (2)          in the Fifth Circuit. Accordingly, the Court looks to the
HOTF filing patent-infringement claims against the Chandler          single-enterprise-liability standard advanced by the Ninth
Plaintiffs, and (3) Phoenix advertising the '993 Patent on           Circuit and the Tenth Circuit—the only two federal circuits
its website. See Am. Compl. ¶¶ 14, 15, 19, ECF No. 23.               to have addressed the issue. Arandell Corp. v. Centerpoint
As discussed, the first two indisputably occurred before             Energy Servs., 900 F.3d 623 (9th Cir. 2018); Lenox MacLaren
the limitations period and the Chandler Plaintiffs were not          Surgical Corp. v. Medtronic, Inc., 847 F.3d 1221 (10th Cir.
injured by the third. See supra Section III.B.1. The only            2017) [hereinafter Lenox]. The Court finds the Arandell
potentially injurious act occurring within the limitations           Corp. and Lenox opinions persuasive and, in adopting their
period is HOTF's response to the USPTO. But the Chandler             approach, concludes that Phoenix may not be held liable for
Plaintiffs did not plead the response in their Amended               HOTF's allegedly anticompetitive conduct.
Complaint. See generally First Am. Compl., ECF No. 23.
In fact, “[t]his is a brand new allegation.” Defs.’ Reply 14,         *13 Both circuits’ opinions rely on the Supreme Court's
ECF No. 74. And regardless, “[t]here is no evidence ... that         opinion in Copperweld Corporation v. Independence Tube
this document caused any injury to the Plaintiffs. None of           Corporation, 467 U.S. 752 (1984). In Copperweld, the
the Plaintiffs’ deposition witnesses cited the reexamination as      Supreme Court concluded that a parent cannot conspire with
causing injury to the Plaintiffs, instead pointing solely [to] the   its subsidiary in violation of § 1 of the Sherman Act. Id. at
cease and desist letter and litigation filings.” Id. So, even if     771–72. The Supreme Court reasoned:
the Court did find that the response constituted a violation, it
could not revive the actual damages—all of which allegedly
stem from the cease-and-desist letter and patent-infringement
                                                                                  [T]he coordinated activity of a parent
claims. See Zenith, 401 U.S. at 338.
                                                                                  and its wholly owned subsidiary
                                                                                  must be viewed as that of a single
Thus, the continuing-violation exception also does not apply
                                                                                  enterprise for purposes of § 1 of the
to toll the statute of limitations. Because none of the three
                                                                                  Sherman Act. A parent and its wholly
exceptions applies, the Sherman Act's four-year statute of
                                                                                  owned subsidiary have a complete
limitations bars the Chandler Plaintiffs Walker Process fraud                     unity of interest. Their objectives
and sham patent litigation claims.                                                are common, not disparate; their
                                                                                  general corporate actions are guided
                                                                                  or determined not by two separate
   C. The Phoenix Defendants’ Liability for HOTF's
                                                                                  corporate consciousnesses, but one.
   Conduct
                                                                                  They are not unlike a multiple team
Even if the Chandler Plaintiffs had standing and their claims
                                                                                  of horses drawing a vehicle under
were not barred by the statute of limitations, the Court would
                                                                                  the control of a single driver. With
grant summary judgment in favor of the Phoenix Defendants
                                                                                  or without a formal “agreement,” the
because neither Phoenix nor Fisher may be held liable for
                                                                                  subsidiary acts for the benefit of the
HOTF's alleged antitrust violations. The Chandler Plaintiffs
                                                                                  parent, its sole shareholder.
admit that they “agree with Defendants that actual notice
of facts to support a Walker Process fraud claim did not
arise as to either Plaintiffs or Defendants ... until January
2016 when the District Court made its inequitable conduct            Id. “For these reasons, the Court held that ‘the coordinated
finding.” Pls.’ Br. Supp. Resp. 15, ECF No. 71 (emphasis in          activity of a parent and its wholly owned subsidiary must be
original). Given this concession, Phoenix and Fisher cannot          viewed as that of a single enterprise.’ ” Lenox, 847 F.3d at
be held liable under the applicable single-enterprise and the        1233 (quoting Copperweld, 467 U.S. at 771). In the context
corporate-officer standards of liability.                            of conspiracy claims, several courts have “held that affiliated


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entities which must be treated as a single enterprise for          where the two acted together.” Id. at 631–32. Accordingly,
purposes of § 1 also must be treated as a single enterprise for    Judge Bea, writing for the unanimous panel, concluded that
purposes of § 2.” Id. at 1235 (collecting cases).                  “Copperweld supports the following rule: A wholly owned
                                                                   subsidiary that engages in coordinated activity in furtherance
The Tenth Circuit was the first circuit court to address           of the anticompetitive scheme of its parent and/or commonly
whether Copperweld’s reasoning also applies to § 2 Sherman         owned affiliates is deemed to engage in such coordinated
Act claims for monopolization or attempted monopolization.         activity with the purpose of the single ‘economic unit’ of
See generally id. “[A]lthough Copperweld did not expressly         which it is a part.” Id. at 632.
reach this issue, [the Tenth Circuit] conclude[d] Copperweld’s
reasoning necessarily denounces [the defendants’] belief that      The Phoenix Defendants do not address Copperweld, Lenox,
[the plaintiff] could directly establish its non-conspiracy        or Arandell Corp.. Rather, they claim that “[b]ecause the
§ 2 claims only by proving that ‘specific Defendants’              Fifth Circuit has not recognized a single enterprise theory of
independently satisfied each necessary element of the              antitrust liability, the Plaintiffs’ claims against Phoenix are
claims.” Id. at 1236 (emphasis in original). Rather, the           not viable.” Defs.’ Br. Supp. Resp. 5, ECF No. 68. And they
court reasoned, “in a single-enterprise situation, it is the       reference, without explanation, the Texas Supreme Court's
affiliated corporations’ collective conduct—i.e., the conduct      rejection of the theory in the context of tort claims. Id. (citing
of the enterprise they jointly compose—that matters; it is         SSP Partners v. Gladstrong Invest. (USA) Corp., 275 S.W.3d
the enterprise which must be shown to satisfy the elements         444 (Tex. 2008)). Given that both Walker Process and sham
of a monopolization or attempted monopolization claim.”            patent litigation are federal claims, and that the only two
Id. (emphasis in original) (citing 7 Phillip E. Arreda &           federal circuits to review the issue have endorsed the single-
Herbert Hovencamp, Antitrust Law ¶ 1464g, at 227 (3d ed.           enterprise theory under like circumstances, the Phoenix
2008) (“[A] single entity can violate § 2 if the prerequisites     Defendants’ reliance on a state supreme court provides a
of monopolization or attempted monopolization are met.”)).         weak refutation. Thus, the Court follows the Ninth and Tenth
“To hold otherwise—to require that each affiliated defendant       Circuit's lead and applies the single-enterprise theory of
independently satisfy every element in order to be held            liability.
liable—would be difficult to justify ... in part because
the enterprise they form ‘is fully subject to § 2 of the           But the Court must also determine how to apply this theory
Sherman Act.’ ” Id. (quoting Copperweld, 467 U.S. at 776–          —an issue that the appellate courts did not resolve. It is
77). And rejection of the single-enterprise theory “would          well established that a parent cannot be held liable for the
all but eviscerate the statute with respect to sophisticated       anticompetitive conduct of its subsidiary “merely by virtue
competitors,” like Phoenix. Id. “So long as a corporation          of its place in the same corporate family.” Lenox, 847 F.3d at
spreads its anticompetitive scheme over multiple subsidiaries,     1237. Indeed, “Copperweld ‘held that only “the coordinated
such that no one entity met all the requirements for               activity” of [related entities] must be viewed as that of a
individual antitrust liability, it could unlawfully monopolize     single enterprise.’ ” Id. (quoting Copperweld, 467 U.S. at
with impunity.” Id. The Tenth Circuit says “Copperweld             771). Thus, a plaintiff is “still required to come forward
forecloses this result.” Id.                                       with evidence that each defendant independently participated
                                                                   in the enterprise's scheme, to justify holding that defendant
 *14 The Ninth Circuit became the second circuit to address        liable as part of the enterprise.” Id. But how involved must
the issue, and it agreed with the Tenth Circuit's interpretation   the parent-defendant be?
of Copperweld. See Arandell Corp., 900 F.3d 623 (Bea,
J.). The Ninth Circuit noted that “Supreme Court precedent         In Lenox, after observing that no circuit had “provided a
establishes that ‘a parent and a wholly owned subsidiary           clear answer to the question of what level of involvement
always have a “unity of purpose” ’ and thus act as a ‘single       is sufficient to meet that burden,” the Tenth Circuit looked
enterprise’ whenever they engage in ‘coordinated activity.’        to two district court cases, in which the courts concluded
” Id. at 625 (citing Copperweld, 467 U.S. 752). The court          that, “[w]hen the parent controls, dictates or encourages the
further reasoned that “[i]t would be inconsistent to insist”       subsidiary's anticompetitive conduct, the parent engages in
that, though the parent and subsidiary “ ‘always’ share a          sufficient independent conduct to be held directly liable as
‘unity of purpose,’ ” one can nevertheless escape liability        a single enterprise with the subsidiary under the Sherman
“by disavowing the anticompetitive intent of the other, even       Act.” Id. at 1237–38 (quoting Climax Molybdenum Co. v.



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Molychem, LLC, 414 F. Supp. 2d 1007, 1012 (D. Colo.                 knowledge, intent, and involvement in HOTF's injurious acts,
2005) (quoting Nobody in Particular Presents, Inc. v. Clear         Phoenix may not be held liable as part of a single enterprise.
Channels Comm'cns, Inc., 311 F. Supp. 2d 1048, 1071 (D.
Colo. 2004) [hereinafter Nobody in Particular])). Because the
Tenth Circuit could resolve the issue on other grounds, it left
                                                                                         2. Individual Liability
the issue's “resolution for another day ... [and] express[ed] no
opinion” on the test. Id. at 1239. Given this is still “uncharted   For similar reasons, Fisher also cannot be held liable
territory at the federal circuit level,” the Court applies the      for HOTF's anticompetitive conduct. In its Memorandum
Colorado district courts’ “control, dictates or encourages”         Opinion and Order denying Defendants’ Motion to Dismiss,
test. Id. (internal citations omitted).                             the Court addressed the issue of Fisher's potential individual
                                                                    liability. Chandler, 419 F. Supp. 3d at 986–89. There,
This brings the Court back to the Chandler Plaintiffs’              the Court applied the reasoning from MVConnect, LLC v.
concession, that “actual notice of facts to support a Walker        Recovery Database Network, Inc., No. 3:10-CV-1948, 2011
Process fraud claim did not arise as to either Plaintiffs or        WL 13128799 (N.D. Tex. May 27, 2011). In MVConnect,
Defendants ... until January 2016 when the District Court           this Court held that “a corporate officer or director can be
made its inequitable conduct finding.” Pls.’ Br. Supp. Resp.        held personally liable for damages arising out of an anti-
15, ECF No. 71. The Chandler Plaintiffs argue that HOTF's           trust violation where he participated in the unlawful acts, or
inequitable conduct also satisfies the first two Sherman            where he acquiesced or ratified the actions of other officers or
Act elements. Pls.’ Br. Supp. Mot. Partial Summ. J. 4–5,            agents of the corporation which were in violation of the anti-
ECF No. 62 (citing TransWeb, LLC, 812 F.3d at 1307).                trust law.” Id. at *10. The “essential principle” necessary to
The Phoenix Defendants concede that when “the party                 hold a director or officer individually liable for a company's
that engaged in inequitable conduct is the same party that          alleged violation is the director's or officer's “direct, personal
subsequently asserts the patent, it makes sense to hold             participation.” Id. Accordingly, to survive a motion to dismiss
that the inequitable conduct finding also established the           a claim for individual liability based on an antitrust violation,
‘anticompetitive conduct’ and ‘specific intent to monopolize’       a plaintiff must plead “factual allegations of some sort of
requirements.” Defs.’ Br. Supp. Resp. 19, ECF No. 68. Here,         conscious wrongdoing by [an] officer on the corporation's
however, HOTF engaged in the inequitable conduct, but the           behalf” and that the officer had “some direct role” in the
Chandler Plaintiffs intend to hold Phoenix liable for asserting     alleged violation. Id. at *9 (citing In re Morrison, 555 F.3d
the patent.                                                         473, 481 (5th Cir. 2009); Mozingo v. Correct Mfg. Corp., 752
                                                                    F.2d 168, 174 (5th Cir. 1985)).
 *15 To be liable for its subsidiary's conduct, a parent must
engage in “coordinated activity,” Copperweld, 467 U.S. at           Applying this standard at the Rule 12(b)(6) stage, the Court
771, to “purposely advance the very same scheme ... for             the found that “the Chandler Plaintiffs ha[d] pleaded facts
an illegal, anticompetitive purpose,” Arandell Corp., 900           sufficient to allege that Fisher had a direct role in the
F.3d at 631. Without knowledge that HOTF was engaging               attempted monopolization and a specific intent to monopolize
in inequitable conduct when it sent the seventeen cease-and-        the in-line frac water-heating market.” Chandler, 419 F. Supp.
desist letters and filed several patent-infringement claims         3d at 988. But this only applied to Fisher's actions on behalf
against non-licensed competitors, Phoenix could not have            of HOTF. See id. at 988–89. Though the Chandler Plaintiffs
purposely “control[led], dictate[d] or encourage[d]” HOTF's         also contended that Fisher should be held liable for his acts
anticompetitive conduct by continuing to enforce the '993           on behalf of Phoenix, the Court dismissed the claim because
Patent. Nobody in Particular, 311 F. Supp. 2d at 1071.              the Chandler Plaintiffs presented only a “mere suggestion
Contra id. at 1069 (“To conclude that a parent can direct and       of what Fisher likely knew or should have known—not a
require anticompetitive conduct of its subsidiaries, like any       factual allegation regarding his ‘direct role.’ ” Id. (emphasis
principal directing the conduct of an agent, and then escape        in original) (quoting MVConnect, 2011 WL 13128799, at *9).
antitrust liability by hiding behind the separate corporation
is counterintuitive.”). And the Chandler Plaintiffs provide         Now, at the Rule 56 stage, the Court must consider whether
no evidence that Phoenix shared HOTF's “intention of                the summary-judgment evidence creates a genuine issue of
monopolizing the relevant market.” Climax Molybdenum Co.,           fact regarding whether Fisher had a direct role in HOTF's
414 F. Supp. 2d at 1013. Thus, given Phoenix's lack of              attempted monopolization. The Chandler Plaintiffs claim



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there is “no genuine issue of material fact that Mark Fisher          continuing the Newco litigation on behalf of HOTF, but
had the requisite ‘direct role’ and ‘conscious wrongdoing’            given that the case has been stayed since 2015, the Chandler
in the enforcement of the '993 Patent against Plaintiff               Plaintiffs should not have expended fees on litigation since
Supertherm as an attempted monopolization.” Pls.’ Br. Supp.           the District of North Dakota's ruling. See 7:14-CV-87-O.
Mot. Partial Summ. J. 25, ECF No. 62. The Phoenix                     Accordingly, because Fisher also did not have the requisite
Defendants respond that “there is substantial evidence in the         knowledge, intent, and direct involvement in HOTF's alleged
record that Fisher did not know or have reason to know when           anticompetitive injurious acts, Fisher also cannot be held
he authorized the patent infringement claims against Plaintiffs       liable for his role as an HOTF corporate officer.
that the '993 Patent was unenforceable due to inequitable
conduct.” Defs.’ Br. Supp. Resp. 24, ECF No. 68.
                                                                      IV. CONCLUSION
                                                                      Due to the Chandler Plaintiffs’ lack of standing to bring
 *16 Just as the Chandler Plaintiffs’ concession that the
                                                                      antitrust claims for lost-profit damages, failure to file suit
Phoenix Defendants did not have “actual notice of facts
                                                                      within the four-year limitations period, and inability to
to support a Walker Process fraud claim ... until January
                                                                      establish Phoenix's corporate liability and Fisher's individual
2016 when the District Court made its inequitable conduct
                                                                      liability, the Chandler Plaintiffs may not proceed on the merits
finding” negates Phoenix's corporate liability, it also negates
                                                                      of their Walker Process and sham patent litigation claims.
Fisher's individual liability for his actions on behalf of
                                                                      Accordingly, the Court DENIES the Chandler Plaintiffs’
HOTF. Pls.’ Br. Supp. Resp. 15, ECF No. 71. The Chandler
                                                                      Motion for Partial Summary Judgment and GRANTS the
Plaintiffs list several ways in which Fisher participated in
                                                                      Phoenix Defendants’ Motion for Summary Judgment. The
the enforcement of the '993 Patent after Phoenix acquired
                                                                      Chandler Plaintiffs’ claims are DISMISSED with prejudice.
HOTF. See Pls.’ Br. Supp. Mot. Partial Summ. J. 23–25,
ECF No. 62. But given that the only two potentially injurious
                                                                      SO ORDERED on this 13th day of April, 2020.
actions—HOTF's sending Hess a cease-and-desist letter and
HOTF suing the Chandler Plaintiffs for patent infringement—
occurred before the District of North Dakota's ruling, Fisher         All Citations
did not previously have the requisite knowledge to engage in
“conscious wrongdoing.” MVConnect, 2011 WL 13128799,                  Not Reported in Fed. Supp., 2020 WL 1848047, 2020-1 Trade
at *9. Arguably, Fisher could have consciously engaged in             Cases P 81,180


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                                                                         In March 2017, consumers filed a class-action lawsuit in the
                                                                         Northern District of Texas against AdvoCare International,
      KeyCite Yellow Flag - Negative Treatment                           L.P. (“AdvoCare”), alleging that AdvoCare had been
Distinguished by Federal Trade Commission v. Walmart Inc.,   N.D.Ill.,
                                                                         operating as an illegal pyramid scheme. Ranieri v. AdvoCare
March 27, 2023
                                                                         Int'l, L.P., No. 3:17-cv-00691-B, 2017 WL 947224 (N.D. Tex.
                     2020 WL 6741968                                     Mar. 9, 2017); see also (Dkt. #1 at 25, #17 at 12). That
United States District Court, E.D. Texas, Sherman Division.              suit named, among others, Danny McDaniel—but not his
                                                                         wife, Diane McDaniel—as a defendant. Ranieri, 2017 WL
           FEDERAL TRADE COMMISSION                                      947224. However, the district court ultimately dismissed with
                      v.                                                 prejudice the action against Danny McDaniel, holding that if
        ADVOCARE INTERNATIONAL, L.P., et al.                             AdvoCare indeed operated an illegal pyramid scheme, Danny
                                                                         McDaniel did not operate said scheme. Ranieri v. AdvoCare
                  CIVIL NO. 4:19-CV-715-SDJ                              Int'l, L.P., 336 F.Supp.3d 701, 718 (N.D. Tex. 2018); 1 see
                               |                                         also (Dkt. #17 at 12).
                      Signed 11/16/2020
                                                                         1
Attorneys and Law Firms                                                          “In the instant case, Plaintiffs have not shown
                                                                                 that creating and disseminating promotional
M. Hasan Aijaz, Pro Hac Vice, Thomas B. “Tom” Carter, Pro                        materials ... caused Plaintiffs’ injuries, and they
Hac Vice, Aaron J. Haberman, Federal Trade Commission -                          have not shown that the Individual Defendants
Dallas Dallas Regional Office, Dallas, TX, for Federal Trade                     operated the alleged pyramid scheme....” Id.
Commission.
                                                                         Separately, the Federal Trade Commission (“FTC” or
John Robert Robertson, DLA Piper LLP, Chicago, IL,                       “Commission”) began investigating AdvoCare for potential
Meagan Dyer Self, DLA Piper LLP, Dallas, TX, for                         violations of consumer-protection law. (Dkt. #1 at 25). In
AdvoCare International, L.P.                                             July 2019, during negotiations with the FTC, AdvoCare
                                                                         terminated its “multi-level marketing” (“MLM”) program,
Baxter Ward Banowsky, Banowsky & Levine, PC, Dallas,                     which was alleged to be an illegal pyramid scheme. (Dkt. #1
TX, for Danny McDaniel, Diane McDaniel.                                  at 25–26).

                                                                         On October 2, 2019, the FTC brought a complaint in this
       MEMORANDUM OPINION AND ORDER                                      Court requesting a permanent injunction and other equitable
                                                                         relief against AdvoCare and at least five individual members
SEAN D. JORDAN, UNITED STATES DISTRICT JUDGE                             thereof, including the McDaniels. (Dkt. #1). The Complaint
                                                                         alleges that Defendants engaged in unlawful business
 *1 Before the Court are two motions: Defendants’ Motion
                                                                         practices in violation of the Federal Trade Commission
to Dismiss for failure to state a claim filed by Defendants
                                                                         Act, 15 U.S.C. § 41 et seq. See, e.g., (Dkt. #1 at 26).
Danny McDaniel and Diane McDaniel (“the McDaniels”)
                                                                         In particular, the Complaint alleges that AdvoCare—which
pursuant to Federal Rule of Civil Procedure 12(b)(6), (Dkt.
                                                                         the FTC describes as “a multi-level marketing company
#17), and Plaintiff's Motion to Exclude, (Dkt. #23), certain
                                                                         that promotes health and wellness products”— deceived
factual allegations, documents, and legal arguments included
                                                                         individuals into becoming “Distributors” and “Advisors,”
in the McDaniels’ Reply Brief, (Dkt. #20). For the following
                                                                         or salespeople for AdvoCare, the majority of whom never
reasons, the Court GRANTS the McDaniels’ Motion to
                                                                         earned compensation for their sales. (Dkt. #1 at 4–6). The
Dismiss, (Dkt. #17), and DENIES as moot Plaintiff's Motion
                                                                         Complaint further alleges that Defendants consistently and
to Exclude, (Dkt. #23).
                                                                         deceptively portrayed AdvoCare as a “life-changing financial
                                                                         solution,” (Dkt. #1 at 6–9), and trained recruits to do the same,
                                                                         (Dkt. #1 at 9). The Complaint thus asserts that AdvoCare
                      I. BACKGROUND                                      operated an unlawful pyramid scheme whereby AdvoCare's
                                                                         compensation structure relied on the fraudulent recruitment
                                                                         of Distributors and Advisors who would unwittingly pass on



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profits to those higher up the chain of command. (Dkt. #1 at
16–23).                                                            Further, when evaluating a Rule 12(b)(6) motion to dismiss,
                                                                   “[t]he court's review is limited to the complaint, any
 *2 Simultaneous to, or immediately after, the FTC's filing        documents attached to the complaint, and any documents
of the Complaint, on October 2, 2019, all named Defendants         attached to the motion to dismiss that are central to the claim
—except for the McDaniels—reached a settlement agreement           and referenced by the complaint.” Lone Star Fund V (U.S.),
with the FTC. (Dkt. #2, #2-1, #2-2). Pursuant to the settlement    L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010).
agreement, the settling Defendants, including AdvoCare,            However, a district court may also consider any “matters of
submitted to a host of sanctions, including an outright ban on:    which a court may take judicial notice.” Funk v. Stryker Corp.,
multi-level marketing; operating “chain referral” programs or      631 F.3d 777, 783 (5th Cir. 2011) (quoting Tellabs, Inc. v.
similar schemes; managing compensation for any business            Makor Issues & Rights, Ltd., 551 U.S. 308, 322, 127 S.Ct.
ventures unless certain criteria are satisfied; and making         2499, 168 L.Ed.2d 179 (2007)). Courts have taken judicial
material misrepresentations regarding any business venture.        notice of the existence and content of settlement agreements
(Dkt. #2-2 at 3–5, #15, #16). The settling Defendants also         when evaluating Rule 12(b)(6) motions to dismiss. See, e.g.,
agreed to (a) provide equitable monetary relief and payment        ASARCO, LLC v. Union Pac. R.R. Co., 765 F.3d 999, 1008 n.2
to the Commission, (b) cooperate in the settlement, and (c)        (9th Cir. 2014) (holding that because the settlement agreement
record progress while otherwise submitting to wide-reaching        was filed with the court and is a publicly available record, it is
compliance monitoring. (Dkt. #2-2 at 5–16, #15, #16). The          properly subject to judicial notice and thus may be considered
FTC has continued to pursue the instant action against the         on a Rule 12(b)(6) motion); Estate of Brown v. Arc Music
McDaniels, which the McDaniels now move to dismiss under           Grp., 523 F.App'x 407, 410 (7th Cir. 2013) (holding that the
Rule 12(b)(6).                                                     settlement agreement was a public record, of which the court
                                                                   could take judicial notice without converting the motion into
                                                                   one for summary judgment). Finally, a court may take judicial
                                                                   notice sua sponte. FED. R. CIV. P. 201(c)(1).
                  II. LEGAL STANDARD

Under the relaxed pleading standards of Federal Rule of Civil      Here, the Court takes judicial notice of the settlement
Procedure 8(a)(2), a complaint need only contain “a short          agreement between Plaintiff and all Defendants to the instant
and plain statement of the claim showing that the pleader          action besides the McDaniels, (Dkt. #2, #15, #16). 2 The
is entitled to relief.” Such a statement requires only that the    Court thus considers the existence and content of the
plaintiff provide “enough facts to state a claim for relief that   settlement agreement in its analysis.
is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007).             2       The Unopposed Motion for Settlement, (Dkt. #2),
The Supreme Court has instructed that plausibility, under
                                                                           was filed with the Court the same day as the
Twombly, means “more than a sheer possibility,” but not
                                                                           Complaint, (Dkt. #1), October 2, 2019, and the
necessarily a probability. Ashcroft v. Iqbal, 556 U.S. 662, 678,
                                                                           Court entered the stipulated orders, (Dkt. #15, #16),
129 S.Ct. 1937, 173 L.Ed.2d 868 (2009). When assessing a
                                                                           which collectively granted the motion, one week
motion to dismiss under Rule 12(b)(6), the facts pleaded are
                                                                           later.
entitled to a presumption of truth, but legal conclusions that
lack factual support are not entitled to the same presumption.
Id. To determine whether the plaintiff has pleaded enough                                III. DISCUSSION
to “nudge[ ] [its] claims across the line from conceivable to
plausible,” a court draws on its own “judicial experience and      A. The FTC's Complaint is Not Exempt from the
common sense.” Id. at 679–80 (first quoting Twombly, 550           Pleading Standards Prescribed by the Federal Rules of
U.S. at 570, then citing Iqbal v. Hasty, 490 F.3d 143, 157–        Civil Procedure.
58 (2nd Cir. 2007)) (internal quotation marks omitted). This        *3 The Federal Trade Commission Act instructs
threshold is surpassed when “a plaintiff pleads factual content    the Commission to “prevent persons, partnerships, or
that allows the court to draw the reasonable inference that        corporations” from using “unfair or deceptive acts or
the defendant is liable for the misconduct alleged.” Id. at 678    practices in or affecting commerce.” 15 U.S.C. § 45(a).
(citing Twombly, 550 U.S. at 556).                                 The Commission has “multiple instruments in its toolbox”



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to accomplish this statutory directive, among which are                  by pleading a colorable claim that arises under the
administrative proceedings and litigation in federal court.              Constitution or the laws of the United States).
FTC v. Shire Viropharma, Inc., 917 F.3d 147, 155 (3d Cir.        The FTC's first response to the McDaniels’ motion is to
2019).                                                           suggest that, because the agency has already made its own,
                                                                 internal determination that it has “reason to believe” that the
As relevant here, Section 13(b) of the FTC Act empowers the      McDaniels are violating or are “about to violate” the FTC
FTC to “bring suit in a district court of the United States”     Act, the Complaint before the Court is largely immunized
to obtain a “temporary restraining order,” a “preliminary        from judicial scrutiny under Rule 12(b)(6). The FTC states
injunction,” or a “permanent injunction” against an “act or      that “[t]he Commission's determination that there is sufficient
practice” that violates the FTC Act. 15 U.S.C. § 53(b). To       ‘reason to believe’ under Section 13(b) is left to the agency's
bring such an action, the FTC must have “reason to believe”      discretion.” (Dkt. #19 at 5). The FTC goes on to cite and
that the entity or person sued “is violating, or is about to     quote Standard Oil Co. of California v. FTC, 596 F.2d 1381,
violate” the Act. Id.                                            1386 (9th Cir. 1979), rev'd on other grounds, 449 U.S. 232,
                                                                 101 S.Ct. 488, 66 L.Ed.2d 416 (1980), for the proposition
The McDaniels contend that the FTC's complaint must              that, “[i]f the district court finds as a fact that the FTC made
be dismissed under Rule 12(b)(6) because the Complaint           the ‘reason to believe’ determination ... further review would
fails to state a plausible claim under Section 13(b) that        be foreclosed.” (Dkt. #19 at 5). Ultimately, the FTC asserts
the McDaniels are violating or are “about to violate” the        that, rather than engaging in a straightforward application of
FTC Act. (Dkt. #17 at 6). Pointing to the FTC's Complaint        pleading standards under Rule 8, the Court is bound to deny
itself, as well as the settlement agreement with AdvoCare        the McDaniels’ Rule 12(b)(6) motion unless it concludes that
and the other Defendants, the McDaniels assert that the
                                                                 the FTC “abused its discretion” in making its internal “reason
FTC's suit recognizes that the alleged pyramid scheme
                                                                 to believe” determination. (Dkt. #19 at 12–13). According to
operated by AdvoCare, and in which the McDaniels were
                                                                 the Commission, limiting the Court's analysis to an “abuse
allegedly involved, ended in July 2019. (Dkt. #17 at 7–
                                                                 of discretion” standard “fits with the broad prosecutorial
8). The McDaniels further argue that there are no factual
                                                                 discretion federal agencies have to bring suit.” (Dkt. #19 at 6).
allegations supporting the FTC's conclusory contention that
the McDaniels are presently violating the FTC Act or are
                                                                  *4 The Court disagrees. Taken to its logical conclusion, the
“about to” violate the Act. 3                                    FTC's argument would mean that, no matter how insubstantial
                                                                 the factual allegations in an FTC complaint under Section
3                                                                13(b), a court must accept that the complaint is sufficient to
       The McDaniels have not challenged the Court's
       jurisdiction in this matter. Although their dismissal     withstand a Rule 12(b) motion so long as the FTC avers that it
       motion included some language suggesting a                has “reason to believe” that a defendant is “about to” engage
       potential jurisdiction argument, see (Dkt. #17 at         in unfair methods of competition, or unfair or deceptive acts
       8), the substance of the McDaniels’ motion and            or practices. The FTC's position is contrary to accepted rules
       briefing asserts only a Rule 12(b)(6) motion for          of pleading and finds no support in applicable case law.
       failure to state a claim and does not contest the
       Court's jurisdiction. See (Dkt. #20 at 1 n.3) (the        First, Rule 8(a) of the Federal Rules of Civil Procedure
       McDaniels’ reply brief affirms that they are not          requires that anyone filing a complaint must include
       raising a jurisdictional challenge). In any event, the    a statement demonstrating “the grounds for the court's
       Court concludes that it has jurisdiction because the      jurisdiction” and a “showing that the pleader is entitled to
       FTC's claim arises under a law of the United States,      relief.” In a Section 13(b) case, that requirement includes
       15 U.S.C. § 53(b), and therefore falls within the         factual allegations from the FTC that there exist reasons to
       general grant of jurisdiction in 28 U.S.C. § 1331.        believe that the defendant is violating or “is about to violate”
       See Arbaugh v. Y&H Corp., 546 U.S. 500, 513, 126          the FTC Act.
       S.Ct. 1235, 163 L.Ed.2d 1097 (2006) (confirming
       that a plaintiff obtains the “basic statutory grant[ ]”   “To survive a motion to dismiss, a complaint must contain
       of subject matter jurisdiction in 28 U.S.C. § 1331        sufficient factual matter, accepted as true, to state a claim
                                                                 to relief that is plausible on its face.” Iqbal, 556 U.S. at
                                                                 678. A bare allegation by the FTC that “we have reason to



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believe that the defendant is about to violate the law,” when      with federal pleading requirements. “It is precisely the Court's
unaccompanied by supporting factual allegations, clearly           duty under Rule 8 to scrutinize a party's right to proceed in
does not “state a claim to [injunctive] relief that is plausible   federal court.” FTC v. Hornbeam Special Situations, LLC, No.
on its face.” Twombly, 550 U.S. at 570. This Court is fully        1:17-cv-3094-TCB, 2018 WL 6254580, at *4 (N.D. Ga. Oct.
capable of determining whether the FTC's factual allegations       15, 2018).
in a Section 13(b) complaint are sufficient to make the
requisite “about-to-violate” showing. Therefore, there is no        *5 In sum, to avoid dismissal of its Section 13(b) action
reason to conclude that Congress intended to eliminate             at the pleadings stage, the FTC must plausibly allege, in
judicial scrutiny under Rule 8.                                    satisfaction of Iqbal and Twombly, that the McDaniels are
                                                                   currently violating the FTC Act or are about to do so.
The cases that the FTC cites do not support its argument
that its internal, “reason to believe” determination is an
effective “King's X” against a motion to dismiss a Section         B. The FTC's Factual Allegations Pertain Only to Past
13(b) complaint brought by the FTC in federal court. For           Misconduct by the McDaniels and not to Present or
example, Standard Oil addressed a challenge by an oil              Future Misconduct.
company to an administrative proceeding initiated by the           Section 13(b) of the FTC Act empowers the Commission
FTC in connection with unfair trade practices. 596 F.2d            to file a claim in federal court “[w]henever the Commission
at 1384. The oil company's challenge, brought under the            has reason to believe ... that any person, partnership, or
Administrative Procedure Act (“APA”), was rejected by the          corporation is violating, or is about to violate, any provision
Ninth Circuit based on the court's determination that the          of law enforced by the [FTC]....” 15 U.S.C. § 53(b) (emphasis
FTC's commencement of an administrative proceeding was             added). Section 13(b) thus unambiguously requires plausible
not subject to challenge under the APA. Id. at 1385. Standard      factual allegations supporting a reasonable belief of present or
Oil did not involve a lawsuit brought by the FTC and it says       future misconduct. Shire, 917 F.3d at 156–57 (“Section 13(b)
nothing about deference to the FTC in cases in which the FTC,      requires that the FTC have reason to believe a wrongdoer ‘is
as the plaintiff in federal court, bears the threshold burden to   violating’ or ‘is about to violate’ the law.... [T]his language
meet the requirements of Rule 8 and state a claim for relief       is unambiguous; it prohibits existing or impending conduct ...
that is plausible on its face.                                     [and] does not permit the FTC to bring a claim based on long-
                                                                   past conduct without some evidence that the defendant ‘is’
The other cases cited by the FTC are equally unhelpful             committing or ‘is about to’ commit another violation.”).
because they involve the inapposite circumstances of judicial
review of agency action. See Slough v. FTC, 396 F.2d 870           In Shire, the conduct in question was five years past. Here, the
(5th Cir. 1968) (suit seeking review of a cease and desist order   McDaniels’ past conduct is more recent; at the time the FTC
issued by the FTC after an administrative hearing); FTC v.         filed the Complaint, only three months had passed since the
Nat'l Urological Grp., Inc., No. 1:04-cv-3294-CAP, 2006 WL         McDaniels ceased their alleged misconduct. However, like in
8431977 (N.D. Ga. Jan. 9, 2006) (dismissing counterclaims          Shire, the FTC identifies no ongoing misconduct and, in fact,
brought under the APA challenging the FTC's decision to            appears to concede that the McDaniels’ alleged misconduct
initiate a lawsuit); Boise Cascade Corp. v. FTC, 498 F.Supp.       continued only until July 2019. 4
772 (D. Del. 1980) (involving an APA action seeking an order
that the FTC withdraw an administrative complaint).                4      “The McDaniels ... continued to engage in
                                                                          deception until AdvoCare abandoned its multi-
Judicial review of agency action under the APA is governed                level marketing structure in July 2019 during its
by the APA itself, which expressly precludes judicial review              negotiations with the FTC.” (Dkt. #1 at 26).
of actions “committed to agency discretion by law.” 5 U.S.C.
§ 701(a)(2). No such review is at issue here. Instead, the         Further, even if the FTC had alleged ongoing or impending
McDaniels’ motion raises a different issue: whether the FTC        violations by the McDaniels, such allegations are implausible
has stated a claim under the Federal Rules of Civil Procedure.     because, according to the FTC's own factual allegations, at
The resolution of the McDaniels’ motion is governed by Rule        the time the Complaint was filed, the primary mechanism
8 of the Federal Rules of Civil Procedure, which mandates,         of the McDaniels’ alleged wrongdoing, the MLM program,
rather than precludes, judicial review to ensure compliance        had been permanently defunct for months. (Dkt. #1 at 26).
                                                                   Additionally, the sole business through which the McDaniels


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allegedly undertook such actions—AdvoCare—had, either             In each of the above cases, the recurrence of violations was
before or simultaneous to the Complaint's filing, entered         at least possible, and in some instances likely, because the
into a comprehensive agreement to halt AdvoCare's unlawful        channels of misconduct utilized by the defendants remained
activities, reform its business practices, and submit to          open—i.e., free and clear of government sanction—upon
government compliance monitoring. (Dkt. #2, #2-1, #2-2).          filing of the litigation. See, e.g., Odessa, 833 F.2d at 176–77.
                                                                  In Odessa, for instance, the defendant warehouse co-op was
The FTC has not alleged that the McDaniels are currently          still fully operational at the outset of litigation. Id. Moreover,
violating or are about to violate the law enforced by the         while the defendant stated an intent to comply with sanitation
FTC. Every factual allegation that the FTC presents refers to     laws, it continued to manage its own sanitation practices free
past misconduct by the McDaniels. Although this misconduct        of government intervention. Id. Absent such intervention, and
was extensive and longstanding—having taken place for             given the defendant's history of violations, the court held that
“a period of more than 20 years”—all factual allegations          “serious questions remain[ed]” as to whether the defendant's
indicate that the alleged violations ended entirely in July       violations would recur or continue. Id.
2019 when AdvoCare's MLM program was permanently
terminated. (Dkt. #1 at 25–26). And it is implausible that        Here, by contrast, at the outset of litigation and pursuant
the McDaniels can commit ongoing violations because the           to FTC intervention, the McDaniels’ channel of misconduct
MLM program is now defunct, (Dkt. #1 at 26), and AdvoCare         was either permanently defunct (in the case of the MLM
has been extensively sanctioned, reformed, and monitored          program) or reformed, lawful, and monitored for compliance
for compliance, (Dkt. #15, #16). Finally, the FTC has not         (in the case of AdvoCare more broadly). To this end, the
alleged—either in the initial Complaint filed in October 2019     FTC not only fails to adequately allege ongoing or future
or in any amended pleadings since that time—that either the       misconduct by the McDaniels but appears to affirmatively
MLM is still operating or that the McDaniels are otherwise        concede that the channels through which the McDaniels
continuing to engage in misconduct after July 2019.               engaged in misconduct are permanently closed. (Dkt. #1
                                                                  at 26); see also (Dkt. #2, #15, #16). Therefore, under the
                                                                  circumstances, an inference of present or future violations by
C. Past Violations May Sometimes Give Rise to an                  the McDaniels is unsupported.
Inference of Ongoing or Future Violations, but the FTC
has not Plausibly Alleged that Such is the Case Here.
 *6 Section 13(b) generally cannot be used to remedy past
violations. FTC v. Evans Prods. Co., 775 F.2d 1084, 1087                               IV. CONCLUSION
(9th Cir. 1985). However, a plaintiff may state a plausible
                                                                  The FTC is authorized to bring an action under Section
claim under Section 13(b) by showing that a past violation
                                                                  13(b) of the FTC Act only when there is “reason to
or series of past violations is likely to recur. Id. In some
                                                                  believe” that a defendant is currently engaged in, or about
instances, courts have found that an extensive history of
                                                                  to engage in, conduct violating the Act. 15 U.S.C. § 53(b).
past violations is itself sufficient to create an inference of
                                                                  Here, each of the FTC's factual allegations pertains only
ongoing violations. See, e.g., FTC v. GTP Mktg., Inc., No.
                                                                  to past misconduct by the McDaniels. While courts may
4-90-123-K, 1990 WL 54788, at *5 (N.D. Tex. Mar. 15, 1990)
                                                                  sometimes infer ongoing or future violations based on an
(quoting United States v. Odessa Union Warehouse Co-op,
                                                                  extensive history of past violations, here such an inference
833 F.2d 172, 176 (9th Cir. 1987)) (“An extensive history of
                                                                  is improper because the sole channel through which the
violations does beget an inference that future violations are
                                                                  McDaniels allegedly engaged in violations—AdvoCare—
likely to occur.”). The Fifth Circuit, however, has held merely
                                                                  agreed to abandon its MLM program entirely (as well as
that past violations may, but do not necessarily, support an
                                                                  all other allegedly unlawful practices) and subject itself to
inference of future substantive violations. SEC v. First Fin.
                                                                  wide-ranging government monitoring for compliance. This
Grp. Tex., 645 F.2d 429, 434 (5th Cir. 1981) (holding in
                                                                  fundamental transformation began with the termination of
an analogous context that finding a reasonable likelihood
                                                                  AdvoCare's MLM program in July 2019 and culminated
of future securities-law violations requires “proof of past
                                                                  in AdvoCare's settlement with the FTC on the day of the
substantive violations that indicate a reasonable likelihood of
                                                                  Complaint's filing, of which the Court takes judicial notice.
future substantive violations.” (emphasis added)).
                                                                  Under the circumstances, the FTC has failed to provide
                                                                  plausible factual allegations that there is reason to believe



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                                                                     filed within thirty (30) days from the date of the issuance of
that the McDaniels are currently violating the FTC Act or are
                                                                     this Order.
about to violate the Act.

                                                                     5
Finally, the FTC has filed with the Court a Motion to Exclude,               Because the Court dismisses the claims asserted
(Dkt. #23), arguing that certain documents, legal arguments,                 against the McDaniels by the FTC, the Court need
and factual allegations presented in the McDaniels’ Reply                    not address the parties’ arguments on the scope of
Brief, (Dkt. #20), should be excluded from consideration. In                 the remedies that would be available if the FTC's
resolving the McDaniels’ dismissal motion, the Court did not                 claims against the McDaniels were successful.
consider or rely upon any of the arguments, alleged facts, or        It is further ORDERED that the FTC's Motion to Exclude is
documents complained of in the FTC's Motion to Exclude.              DENIED as moot.
For this reason, the Court finds that the FTC's Motion to
Exclude should be DENIED as moot.                                    It is further ORDERED that all other motions pending before
                                                                     the Court are DENIED as moot.
 *7 It is therefore ORDERED that Defendants Diane
McDaniel's and Danny McDaniel's Motion to Dismiss, (Dkt.             So ORDERED and SIGNED this 16th day of November,
#17), is GRANTED. The Federal Trade Commission's                     2020.
claims against the McDaniels, see (Dkt. #1), are hereby
DISMISSED without prejudice. 5 It is further ORDERED
that the FTC is granted leave to replead its claims by filing        All Citations
an amended complaint, with such amended complaint to be
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                                                                 Plaintiff Laura Gurganus filed this lawsuit in County Court
                     2016 WL 3745684                             at Law No. 3 in Dallas, Texas, against her former employer,
     Only the Westlaw citation is currently available.           several individuals, and two limited liability companies,
 United States District Court, N.D. Texas, Dallas Division.      asserting state law causes of action in connection with the
                                                                 Dallas Facility's closure. Defendants removed this action
         Laura GURGANUS, on Behalf of Herself                    based on federal question jurisdiction. On January 12, 2016,
        and all others Similarly Situated, Plaintiffs,           Plaintiff filed her First Amended Class Action Complaint
                             v.                                  (“Complaint”) [Docket Entry #5], which is the live pleading.
    Todd FURNISS, Glendontodd Capital, LLC, Mary
                                                                 Plaintiff alleges she was employed by FPMC Services to work
   Hatcher, Wade N. Barker, M.D. and Fpmc Services,
   LLC, All Individually and d/b/a (1) the Management            as a scrub nurse at the Dallas Facility. 1 Compl. ¶ 5. On or
                                                                 about October 31, 2015, she, “and other employees employed
    Company at Forest Park Medical Center, LLC, (2)
                                                                 at the Dallas Facility were notified of their immediate
    the Management Company at Forest Park Medical
                                                                 termination effective at noon that day.” Id. ¶ 18. Plaintiff
      Center Ii, LLC, (3) the Management Company
                                                                 and other employees at the Dallas Facility claim they had no
      at Forest Park Medical Center III, LLC, (4) the            prior notice that they would be terminated, and that they were
      Management Company at Forest Park Medical                  each deprived of at least three weeks of pay to which they
   Center IV, LLC, and (5) Fpmc Services, Defendants.            were entitled, as well as accrued benefits. Id. ¶¶ 1-2. Plaintiff,
                                                                 on behalf of herself and the putative class, alleges violations
              Civil Action No. 3:15-cv-03964-M
                                                                 of the Worker Adjustment and Retraining Notification Act,
                               |
                                                                 29 U.S.C. § 2101 et seq. (the “WARN Act”) (Count One),
                      Signed 07/13/2016
                                                                 as well as state law claims for negligence (Count Two),
                                                                 and fraud by non-disclosure (Count Three), in connection
Attorneys and Law Firms
                                                                 with the Dallas Facility's closure. Plaintiff seeks to certify
Richard A. Capshaw, Christopher M. Blanton, Capshaw &            a class under Federal Rule of Civil Procedure 23, and to
Associates, Dallas, TX, for Plaintiffs.                          recover back pay and benefits for herself, and on behalf of
                                                                 each former employee in the putative class, and costs and
Jacob B. Kring, Britton D. McClung, Hedrick Kring, PLLC,         attorney's fees. Defendants are Todd Furniss, Mary Hatcher,
Dallas, TX, for Defendants.                                      Wade N. Barker, M.D, glendonTODD Capital, LLC, and
                                                                 FPMC Services, LLC (the “Alter-Ego Defendants”), whom
                                                                 she alleges are “severally and collectively” liable for the
       MEMORANDUM OPINION AND ORDER                              WARN Act violations. Id. ¶¶ 1, 13. 2

BARBARA M. G. LYNN, CHIEF JUDGE
                                                                 1       In its recitation of the facts, the Court accepts all
 *1 Before the Court is Defendants' Motion to Dismiss                    well-pleaded facts in the Complaint as true, and
Plaintiff's First Amended Class Action Complaint [Docket                 views them in the light most favorable to Plaintiff.
Entry #8]. For the reasons set forth below, the Court                    See Sonnier v. State Farm Mut. Auto. Ins. Co., 509
GRANTS the Motion with regard to Plaintiff's federal law                 F.3d 673, 675 (5th Cir. 2007); In re Katrina Canal
claim (Count One), but with leave to amend. After the                    Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007).
filing of Plaintiff's Second Amended Class Action Complaint,
                                                                 2
the Court will determine whether to exercise supplemental                The Alter-Ego Defendants are sued individually,
jurisdiction over Plaintiff's state law claims (Counts Two and           and doing business as (1) The Management
Three). The Court therefore DENIES the remainder of the                  Company at Forest Park Medical Center, LLC, (2)
Motion.                                                                  The Management Company at Forest Park Medical
                                                                         Center II, LLC, (3) The Management Company
                                                                         at Forest Park Medical Center III, LLC, (4) The
I. BACKGROUND                                                            Management Company at Forest Park Medical
This case arises out of the closure of Forest Park Medical
Center, located in Dallas, Texas (the “Dallas Facility”).


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        Center IV, LLC, and (5) FPMC Services. None of               duty on businesses to notify workers of impending large-
        these five entities were served with process.                scale job losses and allows for limited damages designed to
                                                                     penalize the wrongdoing employer, deter future violations,
 *2 The Alter-Ego Defendants move to dismiss the
Complaint pursuant to Federal Rule of Civil Procedure 12(b)          and facilitate simplified damages proceedings.” Hollowell v.
(6) for failure to state a claim upon which relief can be            Orleans Regional Hosp. LLC, 217 F.3d 379, 382 (5th Cir.
granted.                                                             2000) (internal quotation marks and citation omitted).

                                                                     The WARN Act defines an employer as “any business
II. LEGAL STANDARD                                                   enterprise” that employs 100 or more employees, but does not
To defeat a motion to dismiss brought under Federal Rule of          further define the term. See 29 U.S.C. § 2101(a)(1). “Because
Civil Procedure 12(b)(6), a plaintiff must plead “enough facts       a plant closure often presages a corporation's demise, leaving
to state a claim to relief that is plausible on its face.” Bell      workers with no source of satisfaction from their employer,
Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim            plaintiffs have frequently sought damages from affiliated
has facial plausibility when the plaintiff pleads factual content    corporations,” with claims arising from “non-WARN Act
that allows the court to draw the reasonable inference that          sources of law[.]” Pearson v. Component Tech. Corp., 247
the defendant is liable for the misconduct alleged.” Ashcroft        F.3d 471, 476-77 (3d Cir. 2001). The WARN Act itself
v. Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550              does not address the situation where an employee cannot
U.S. at 556). “The plausibility standard is not akin to a            recover WARN Act damages from an insolvent or dissolved
‘probability requirement,’ but it asks for more than a sheer         employer, and seeks to pursue other entities related to the
possibility that a defendant has acted unlawfully.” Id. (quoting     former employer on the theory that the other entity actually
Twombly, 550 U.S. at 556). The “[f]actual allegations must be        controlled the former employer and should be treated as
enough to raise a right to relief above the speculative level,       an employer for WARN Act purposes. The Department of
on the assumption that all the allegations in the complaint are      Labor (“DOL”) has issued a regulation setting forth relevant
true (even if doubtful in fact)[.]” Twombly, 550 U.S. at 555         factors to determine whether “independent contractors and
(internal citations omitted).                                        subsidiaries which are wholly or partially owned by a parent
                                                                     company are treated as separate employers or as part of
Under Federal Rule of Civil Procedure 8(a)(2), a pleading            the parent or contracting company.” 20 C.F.R. § 639.3(a)
must contain “a short and plain statement of the claim               (2). The overriding concern in answering that question is
showing that the pleader is entitled to relief.” Fed. R. Civ. P.     stated to be the “degree of [a subsidiary's] independence
8(a)(2). Although “the pleading standard Rule 8 announces            from the parent.” Id. Some of the factors to be considered
does not require ‘detailed factual allegations,’ ” it does require   are: “(i) common ownership, (ii) common directors and/
more than “ ‘labels and conclusions.’ ” Iqbal, 556 U.S. at 678       or officers, (iii) de facto exercise of control, (iv) unity of
(quoting Twombly, 550 U.S. at 555). Further, “a formulaic            personnel policies emanating from a common source, and (v)
recitation of the elements of a cause of action will not do.”        the dependency of operations.” Id. Following the lead of the
Twombly, 550 U.S. at 555.                                            Third Circuit, the Fifth Circuit has adopted the multi-factored
                                                                     test promulgated by the DOL as the appropriate test for
                                                                     federal courts determining liability of alleged affiliates under
III. ANALYSIS                                                        the WARN Act. See Administaff Cos. v. UNITE, 337 F.3d
The Court first addresses Defendants' motion to dismiss              454, 457-58 (5th Cir. 2003) (citing with approval Pearson,
Plaintiff's WARN Act claim.                                          247 F.3d at 490) (“As the Third Circuit explained, ‘the
                                                                     DOL factors are the best method for determining WARN
                                                                     Act liability because they were created with WARN Act
   A. The WARN Act
                                                                     policies in mind....’ ”); see also Vogt v. Greenmarine Holding,
The WARN Act prohibits an employer from ordering a “plant
                                                                     LLC, 318 F. Supp. 2d 136, 142-46 (S.D.N.Y. 2004) (adopting
closing or mass layoff until the end of a 60-day period after
                                                                     the DOL's five-factor test to evaluate whether nominally
the employer serves written notice” of the closure or layoff
                                                                     separate entities were liable as a “single employer” to laid-off
to its employees. 29 U.S.C. § 2102(a). Employers that violate
                                                                     employees for WARN Act violations).
the WARN Act's notice requirement are liable to the affected
workers for each day notice is not provided, for up to 60 days.
Id. § 2104(a). “In short, [the] WARN [Act] imposes a statutory         B Plaintiff's WARN Act Claims


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 *3 In Count One, Plaintiff alleges that her former employer,      against FPMC Services for violations of the WARN Act. See
FPMC Services, is subject to the notice and back pay               28 U.S.C. § 2102. Accordingly, the Court grants Defendants'
requirements of the WARN Act, and that the Alter-Ego               Motion to Dismiss Plaintiff's WARN Act claim against FPMC
Defendants, under the doctrines of alter ego or veil-piercing,     Services.
are liable for FPMC Services' WARN Act violations. Compl.
¶¶ 39-45. The question presented by Defendants' motion to          3        It is unclear from the Complaint whether Plaintiff
dismiss Count One is whether Plaintiff has alleged facts
                                                                            is suing her former employer, FPMC Services,
which, if true, are sufficient to show that within the meaning
                                                                            under the WARN Act. Additionally, in her
of the WARN Act, the Alter-Ego Defendants are employers
                                                                            Response to Defendants' Motion to Dismiss,
of those employees laid off when the Dallas Facility closed
                                                                            Plaintiff confusedly states that she was employed
in October 2015. In support of dismissal, Defendants argue
                                                                            by FPMC Services, LLC, which is alleged in the
that “the WARN Act does not provide for relief against non-
                                                                            Complaint to be a different entity. See Pl.'s Resp.
employers, and Plaintiff does not and cannot sufficiently
                                                                            ¶ 1 [Docket Entry #13]. Further, as the Court has
allege that the non-Employer Defendants were part of a
                                                                            already noted, the docket sheet does not show that
‘single employer’ with FPMC Services for purposes of the
                                                                            FPMC Services has been served with process. See
WARN Act.” Defs.' Br. 1 [Docket Entry #9]. Defendants
                                                                            supra note 2. Out of an abundance of caution,
also argue that “Plaintiff's general alter-ego and veil-piercing
                                                                            however, the Court will address whether Plaintiff
allegations are insufficient to create any liability as a matter
                                                                            has alleged facts which, if true, would state a claim
of law, as Plaintiff's conclusory allegations do not establish
                                                                            for a WARN Act violation against FPMC Services.
any entity as an alter ego and do not properly state a fraud
claim for veil-piercing.” Id. In response, Plaintiff argues that
she has adequately alleged that “the Alter-Ego Defendants              b. glendonTODD Capital, LLC and FPMC Services, LLC
controlled and operated FPMC Services – the name of the
entity that employed [her],” and that she is “entitled to pierce   Plaintiff asserts WARN Act claims against glendonTODD
the corporate veil of FPMC Services to impute the liability of     Capital, LLC and FPMC Services, LLC. To be directly liable
FPMC Services onto the Alter-Ego Defendants.” Pl.'s Resp.          as an employer under the Act, glendonTODD Capital, LLC
17 [Docket Entry #13].                                             and FPMC Services, LLC must be considered a “single
                                                                   employer” with FPMC Services. See Administaff, 337 F.3d at
                                                                   457-58. As already stated, the Fifth Circuit has adopted the
                                                                   five-factor test developed by the DOL to evaluate whether
         1. Direct Liability for WARN Act Violations
                                                                   legally distinct entities acted as a “single employer” for
                                                                   purposes of WARN Act liability. See id. (applying five-factor
                      a. FPMC Services                             DOL test and holding that a payroll and staffing company
                                                                   was not part of a “single employer” with its customer who
Plaintiff alleges she was “employed by FPMC Services[.]”           initiated a mass layoff, since the payroll company did not
Compl. ¶ 5. 3 However, as correctly noted by Defendants,           exercise control over the layoff or share personnel policies
FPMC Services is not included in the group of “Alter-              with its customer).
Ego Defendants” repeatedly claimed to be responsible for
the alleged failure to provide the requisite notice under          In her response, Plaintiff does not address the five-factor
the WARN Act. See, e.g., Compl. ¶ 43 (“The Alter-Ego               DOL test, nor does she otherwise argue that her pleadings
Defendants willfully violated the federal WARN Act by              satisfy such factors, instead relying only on general principles
failing to provide the required notice.”); id. ¶ 45 (“Plaintiff    of veil-piercing and alter ego under Texas law. Absent
and all similarly situated employees have been damaged by          single-employer liability, the WARN Act only imposes direct
the acts of the Alter-Ego Defendants constituting violations       liability on the Plaintiff's employer, which in this case Plaintiff
of the WARN Act[.]”). Even assuming FPMC Services had              alleges is FPMC Services. Compl. ¶ 5. See Administaff, 337
been served with process, there are no allegations that FPMC       F.3d at 457. The Court concludes that Plaintiff has failed to
Services, as Plaintiff's employer, failed to provide sixty-days    state a claim against glendonTODD Capital, LLC and FPMC
advance written notice of the Dallas Facility's closure. The       Services, LLC for single employer liability under the WARN
Court thus concludes that Plaintiff has failed to state a claim    Act, and grants Defendants' Motion to Dismiss these claims.



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                                                                   or contract claim, the Court concludes that the allegations
                                                                   in the Complaint are insufficient to warrant piercing the
                                                                   corporate veil to impose WARN Act liability on the Alter-Ego
            2. Derivative Liability for WARN Act
                                                                   Defendants.
           Violations by the Alter-Ego Defendants

 *4 The Court now turns to Plaintiff's argument that the           Plaintiff alleges she “and all other similarly situated persons,
Court should pierce the corporate veil and hold the Alter-Ego      suffered employment losses due to the acts and omissions
Defendants liable for a WARN Act violation. See Compl. ¶¶          of the Alter-Ego Defendants and did not receive the 60 day
1, 13-14.                                                          notice required by the WARN Act.” Compl. ¶ 19. She alleges
                                                                   that:
  Texas law recognizes that the corporate form can be
  disregarded in certain circumstances, including:
                                                                                Rather than issue timely notice under
  (1) when the [corporate] fiction is used as a means of
                                                                                the WARN Act and in order to protect
  perpetrating fraud;
                                                                                their own personal interests and further
  (2) where a corporation is organized and operated as a mere                   their financial gain, the Alter-Ego
  tool or business conduit of another corporation;                              Defendants – through their control
                                                                                and direction of The Management
  (3) where the corporate fiction is resorted to as a means of                  Company at Forest Park Medical
  evading an existing legal obligation;                                         Center and FPMC Services, continued
                                                                                to operate the Facility –employing
  (4) where the corporate fiction is employed to achieve or                     Plaintiff and her co-workers – in order
  perpetrate [a] monopoly;                                                      to increase the likelihood of the sale
                                                                                of the Facility and/or the acquisition
  (5) where the corporate fiction is used to circumvent a
                                                                                of additional financing. The Alter-Ego
  statute; and
                                                                                Defendants did so in an attempt to
  (6) where the corporate fiction is relied upon as a protection                further their own financial gain.
  of crime or to justify wrong.

Castleberry v. Branscum, 721 S.W.2d 270, 272-73 (Tex.              Id. ¶ 16. Plaintiff further alleges that “[d]espite the illusion
1986) (citations and footnotes omitted); see also Western          of independent business relationships and ‘arms-length’
Horizontal Drilling, Inc. v. Jonnet Energy Corp., 11 F.3d          transactions, the facts show that the Alter-Ego Defendants
65, 67 (5th Cir. 1994) (The Fifth Circuit has “interpreted         Todd Furniss, glendonTODD Capital, LLC, Mary Hatcher,
[Castleberry] as establishing three broad categories in which      Wade N. Barker, M.D. and FPMC Services, LLC”: (i)
a court may pierce a corporate veil: (1) the corporation is the    controlled the operation, management and direction at the
alter ego of its owners and/or shareholders; (2) the corporation   Dallas Facility; (ii) “called the shots” of FPMC Services,
is used for illegal purposes; and (3) the corporation is used      “including decisions about whether or not employees would
as a sham to perpetrate a fraud.”). While the factors listed       be directed to work despite the lack of funds to pay wages”;
in Castleberry still apply in tort actions, the holding in         (iii) “called the shots” at the Management Company of
Castleberry that failure to observe corporate formalities is a     Forest Park Medical Center, “including decisions about what
factor in proving an alter ego theory in actions for breach        claims would get paid and not paid”; (iv) possessed actual
of contract has been abrogated by statute and now actual           knowledge that the Dallas Facility was no longer solvent
fraud must be shown. See Tex. Bus. Corp. Act art. 2.21, re-        and, despite that knowledge, directed Plaintiff and her fellow
codified at Tex. Bus. Orgs. Code § 21.223. The parties do not      employees to continue working at the Dallas Facility, (v)
address whether a WARN Act claim is analogous to a tort or         possessed actual knowledge that there was either no financial
contract action. Although the Fifth Circuit has encountered        ability or no present intent to compensate Plaintiff and her
the issue, it has not yet resolved the question. See Hollowell,    fellow employees for their work, (vi) failed to timely disclose
217 F.3d at 386. For the reasons that follow, regardless of        the fact that Plaintiff and her fellow employees would not
whether a WARN Act claim is considered more like a tort            be compensated for services rendered despite having the



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obligation to do so; (vii) “did these things in a manner they        Facility's closure to the Alter-Ego Defendants. Accordingly,
knew would result in a mass layoff of the Dallas Facility            the Court grants Defendants' Motion to Dismiss Plaintiff's
workforce without full payment of accrued wages”; and (viii)         WARN Act claim against the Alter-Ego Defendants. 4
failed to make such disclosures for their own financial gain
and personal investment. See id. ¶ 2.                                4       The Court also rejects Plaintiff's argument that
                                                                             she “pled facts which give rise to Defendants'
 *5 Conclusory allegations that the Alter-Ego Defendants
                                                                             liability in their individual capacity....” See Pl.'s
“called the shots” at FPMC Services and at The
                                                                             Resp. 15-16. In contrast to the cases upon
Management Company of Forest Park Medical Center, and
                                                                             which she relies, Plaintiff has not alleged that
vague allegations that the Alter-Ego Defendants operated,
                                                                             Defendants Todd Furniss, Mary Hatcher, or
controlled, and managed the Dallas Facility, are insufficient
                                                                             Wade N. Barker, M.D, made any affirmative or
to allege a plausible theory of liability. This is especially true
                                                                             misleading representation to her or that she ever
where, as here, a plaintiff is seeking to pierce the corporate
                                                                             had any contact with any of them.
veil based on allegations of actual or constructive fraud. See
generally In re Parkcentral Global Litig., 2010 WL 3119403,          Although the Court is dismissing Plaintiff's WARN Act claim,
at *10 (N.D. Tex. Aug. 5, 2010) (Lynn, J.) (granting motion          it will permit Plaintiff to replead. “[D]istrict courts often
to dismiss where “Plaintiffs offer conclusory accusations            afford plaintiffs at least one opportunity to cure pleading
lacking factual support and lump all Defendants together             deficiencies before dismissing a case, unless it is clear that the
and merely restate some elements of proof necessary to               defects are incurable or the plaintiffs advise the court that they
pierce the corporate veil, without providing necessary factual       are unwilling or unable to amend in a manner that will avoid
allegations”).                                                       dismissal.” Great Plains Trust Co. v. Morgan Stanley Dean
                                                                     Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002). In this case,
It is impossible to tell from the Complaint what corporate           Plaintiff has requested leave to amend in the event the Court
veil Plaintiff seeks to pierce — that of FPMC Services,              finds her pleadings deficient. The Court allows Plaintiff until
The Management Company at Forest Park Medical Center,                August 12, 2016, to amend her Complaint.
glendonTODD Capital, LLC, or FPMC Services, LLC. She
fails to allege which entity acted fraudulently or as an alter ego
for which other party. As to the three individual defendants,           B. Counts Two (Negligence) and Three (Fraud by
Todd Furniss, Mary Hatcher, and Wade N. Barker, M.D.,                   Non-Disclosure)
Plaintiff fails to allege which of these individuals is liable       Defendants move to dismiss Plaintiff's state law claims
as the alter ego of which entity, nor does she state facts           alleged in Counts Two and Three of the Complaint. After the
giving rise to any individual's liability on behalf of any entity.   filing of Plaintiff's Second Amended Class Action Complaint,
In addition to being conclusory and formulaic, this type of          the Court will determine whether to exercise supplemental
group pleading fails to meet the pleading requirements of            jurisdiction over Plaintiff's state law claims. Accordingly,
Federal Rule of Civil Procedure 8. See Iqbal, 556 U.S. at            the Court denies without prejudice Defendants' Motion to
678 (citing Twombly, 550 U.S. at 556) (under the pleading            Dismiss Counts Two and Three.
requirements of Rule 8, “[a] claim has facial plausibility when
the plaintiff pleads factual content that allows the court to
                                                                     IV. CONCLUSION
draw the reasonable inference that the defendant is liable
                                                                      *6 For the reasons stated above, Defendants' Motion to
for the misconduct alleged.”) (emphasis added). As correctly
                                                                     Dismiss Plaintiff's First Amended Class Action Complaint is
stated by Defendants, “Plaintiff's group pleading fails to state
                                                                     GRANTED IN PART and DENIED IN PART. Specifically,
a claim and makes it impossible to ascertain which particular
                                                                     the Motion is GRANTED with regard to Plaintiff's WARN
Defendant(s) are supposedly responsible for the acts allegedly
                                                                     Act claim (Count One), and DENIED without prejudice in
creating the WARN Act violation.” Defs.' Br. 7 [Docket Entry
                                                                     all other respects. Plaintiff's WARN Act claim (Count One)
#9].
                                                                     is hereby DISMISSED without prejudice, and Plaintiff is
                                                                     GRANTED leave to file an amended complaint by August
For these reasons, the Court concludes that Plaintiff has failed
                                                                     12, 2016. If Plaintiff fails to timely amend her pleadings, the
to allege facts which, taken as true, are sufficient to pierce the
                                                                     Court will decline to exercise supplemental jurisdiction over
corporate veil to extend WARN Act liability for the Dallas



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the remaining state law claims, which will be remanded to
state court.                                                    All Citations

SO ORDERED.                                                     Not Reported in Fed. Supp., 2016 WL 3745684

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                                                              1. General Legal Standard for Motion to Dismiss...––––
                    2019 WL 1331830
       United States District Court, S.D. New York.           2. Motion to Dismiss Schwab's Claims Based on Lack of
                                                              Personal Jurisdiction...––––
          IN RE: LIBOR-BASED FINANCIAL
                                                                2.1. Nationwide General Jurisdiction Based on the
     INSTRUMENTS ANTITRUST LITIGATION.
                                                                Exchange Act's Nationwide Service of Process...––––
   This Document Applies to: Cases Listed in Appendix
                                                                2.2. Specific Jurisdiction over Defendants in Exchange Act
                    11 MDL 2262 (NRB)
                                                                Claims...––––
                             |
                     Signed 03/25/2019                          2.3. Pendent Jurisdiction over State Law Claims...––––

                                                              3. Motion to Dismiss Schwab's Claims Based for Failure to
            MEMORANDUM AND ORDER                              State a Claim...––––

NAOMI REICE BUCHWALD,                  UNITED       STATES      3.1. Addition of New Defendants and Claims...––––
DISTRICT JUDGE
                                                                3.2. Exchange Act § 10(b) Claims...––––

                        LIBOR VIII                              3.3. Exchange Act § 20(a) Claims...––––

                                                                3.4. Unjust Enrichment Claims...––––
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  2.1. Counterparty Claims...––––                               Misrepresentation Claims...––––

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  2.3. Non-Counterparty       Claims     and    Conspiracy      5.3. Sherman Act Claims...––––
  Jurisdiction...––––

  2.4. “Overt Acts” in Furtherance of the Conspiracy...––––   V. Defendants' Motion for Judgment on the Pleadings...––––
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  3.1. Lender Plaintiffs' Proposed Amendments...––––          Subsidiaries/Affiliates...––––

  3.2. NCUA's Proposed Amendments...––––                      3. Instruments Issued by Panel Banks but Sold by Their
                                                              Related or Unrelated Subsidiaries/Affiliates...––––
  3.3. FFP Plaintiffs' Proposed Amendments...––––


                                                              VI. Conclusion...––––
IV. Defendants' Motion to Dismiss Against Schwab and
Doral...––––                                                  I. Introduction



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This Memorandum and Order, our eighth extensive opinion in                cv-6409 (NRB); Charles Schwab Bank, et al. v.
this consolidated multi-district litigation (“MDL”), addresses            Bank of America Corp., et al., 11-cv-6411 (NRB);
eight different motions post-dating the Second Circuit's                  Schwab Money Market Fund, et al. v. Bank of
decision in Charles Schwab Corp. v. Bank of America Corp.,                America Corp., et al., 11-cv-6412 (NRB). The
883 F.3d 68 (2d Cir. 2018) (“Schwab”), in which the Circuit               main difference between the instant action and the
reviewed de novo this Court's decision to dismiss all claims              other three actions is the type of federal claims
brought by Charles Schwab Corporation and its related                     Schwab asserts against defendants. In the instant
entities (“Schwab”), see In re LIBOR-Based Fin. Instruments               action, Schwab asserts claims under the Securities
Antitrust Litig., 2015 WL 6243526 (S.D.N.Y. Oct. 20, 2015)                Exchange Act of 1934. In the other three actions,
(“LIBOR IV”). Since many of the motions have been brought                 Schwab asserts claims under the Sherman Act and
in response to Schwab, we summarize the relevant rulings in               the Racketeer Influenced and Corrupt Organization
the decision before addressing each motion on its merits.                 Act (RICO), which we dismissed in LIBOR I.
                                                                          Schwab appealed only our dismissal of its Sherman
                                                                          Act claims, and the Second Circuit reversed that
II. Background                                                            dismissal in Gelboim. On remand, we dismissed
The nature of LIBOR, its alleged manipulation, and the                    Schwab's antitrust claims on personal jurisdiction
parties in this case have been explored in our prior opinions. 1          grounds. See LIBOR VI, 2016 WL 7378980, at
Thus, we assume familiarity with the facts. Likewise, the                 *25. LIBOR VI is currently on appeal. See In
unique procedural journey of Schwab's action 2 needs not be               re LIBOR-Based Fin. Instruments Antitrust Litig.,
repeated here as it was discussed at great length in LIBOR IV,            No. 17-1569 (2d Cir. filed May 12, 2017).
see 2015 WL 6243526, at *10, *18, and in Schwab, see 883           *2 In LIBOR IV, we dismissed Schwab's complaint in
F.3d at 80-81.
                                                                   its entirety. 3 On appeal, Schwab argued that we erred in
                                                                   dismissing: (1) its state law claims for lack of personal
1      In re LIBOR-Based Fin. Instruments Antitrust                jurisdiction, see LIBOR IV, 2015 WL 6243526, at *19-38; (2)
       Litig., 299 F. Supp. 3d 430 (S.D.N.Y. 2018)                 its fraud claims relating to fixed-rate instruments for failure
       (“LIBOR VII”); In re LIBOR-Based Fin.                       to state a claim, see id. at *65; (3) its Exchange Act claims
       Instruments Antitrust Litig., 2016 WL 7378980               for failure to state a claim, see id. at *70; and (4) some of
       (S.D.N.Y. Dec. 20, 2016) (“LIBOR VI”); In re                its unjust enrichment claims as untimely, see id. at *127-28,
       LIBOR-Based Fin. Instruments Antitrust Litig.,              *177. See Schwab, 883 F.3d at 81.
       2015 WL 6696407 (S.D.N.Y. Nov. 3, 2015)
       (“LIBOR V”); LIBOR IV, 2015 WL 6243526,                     3      In its complaint, Schwab asserted federal securities
       aff'd in part, vacated and remanded in part sub
                                                                          claims based on defendants' alleged violations of
       nom. Schwab, 883 F.3d 68; In re LIBOR-Based
                                                                          the Securities Exchange Act of 1934 and SEC Rule
       Fin. Instruments Antitrust Litig., 27 F. Supp. 3d
                                                                          10b-5 and various state law claims, including: fraud
       447 (S.D.N.Y. 2014) (“LIBOR III”); In re LIBOR-
                                                                          (and aiding and abetting fraud); unfair business
       Based Fin. Instruments Antitrust Litig., 962 F.
                                                                          practices; interference with prospective economic
       Supp. 2d 606 (S.D.N.Y. 2013) (“LIBOR II”); In
                                                                          advantage; breach of the implied covenant of good
       re LIBOR-Based Fin. Instruments Antitrust Litig.,
                                                                          faith and fair dealing; violations of California's
       935 F. Supp. 2d 666 (S.D.N.Y. 2013) (“LIBOR
                                                                          blue sky law; rescission of contract; and unjust
       I”), vacated and remanded sub nom. Gelboim v.
                                                                          enrichment.
       Bank of Am. Corp., 823 F.3d 759 (2d Cir. 2016)
       (“Gelboim”).                                                In reviewing our decision to dismiss Schwab's state law
                                                                   claims for lack of personal jurisdiction, the Circuit made
2      The action under consideration in this opinion is           rulings that are applicable to three categories of defendants:
       Charles Schwab Corp., et al. v. Bank of America             (1) defendants who “allegedly solicited and sold debt
       Corp., et al., 13-cv-7005 (NRB). Schwab brought             instruments directly to Schwab in California” (“Counterparty
       three other actions that have been consolidated             defendants”), Schwab, 883 F.3d at 79; (2) defendants
       into this MDL: Schwab Short-Term Bond Market                who “allegedly sold debt instruments indirectly to Schwab
       Fund, et al. v. Bank of America Corp., et al., 11-          through ‘broker-dealer subsidiaries or affiliates’ ” (“Indirect



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Counterparty defendants”), id.; and (3) defendants who did        *3 As to Indirect Counterparty defendants, the Circuit found
not transact with Schwab but “allegedly conspired with           Schwab's allegations of agency relationship insufficient. In
the other Defendants to manipulate LIBOR to Schwab's             order to establish specific jurisdiction over a defendant based
detriment” (“Non-Counterparty defendants”), id.                  on its affiliate's or subsidiary's activities in California, Schwab
                                                                 must plausibly allege that the subsidiary or affiliate acted as
As to Counterparty defendants, the Circuit found that            the defendant's agent in California “for the benefit of, with
“[t]he solicitation of and sale of financial instruments to      the knowledge and consent of, and under some control by, the
Schwab in California” were sufficient to establish personal      nonresident principal.” Id. at 85 (quoting Grove Press, Inc. v.
jurisdiction. 4 Id. at 83. However, the Circuit continued,       Angleton, 649 F.2d 121, 122 (2d Cir. 1981)).
“sales in California do not alone create personal jurisdiction
for claims premised solely on Defendants' false LIBOR            As to Non-Counterparty defendants, the Circuit adopted
submissions in London” because Schwab “must establish the        the three-factor test for alleging a conspiracy theory of
court's jurisdiction with respect to each claim asserted.” Id.   jurisdiction set forth in Unspam Technologies, Inc. v.
(quoting Sunward Elecs., Inc. v. McDonald, 362 F.3d 17,          Chernuk, 716 F.3d 322, 328 (4th Cir. 2013). Schwab must
24 (2d Cir. 2004)). In addition, the Second Circuit held that    allege that: “(1) a conspiracy existed; (2) the defendant
Schwab's allegations were “insufficiently individualized to      participated in the conspiracy; and (3) a co-conspirator's overt
make out a prima facie case of personal jurisdiction over”       acts in furtherance of the conspiracy had sufficient contacts
Citibank, HSBC, and JPMorgan Chase because “each of those        with a state to subject that co-conspirator to jurisdiction in
‘Defendants’ is actually two distinct Defendants – a parent      that state.” Schwab, 883 F.3d at 87. In alleging conspiracy
and a wholly owned subsidiary”; Schwab must put forth            jurisdiction, Schwab could not rely on a defendant's sale of
sufficiently individualized allegations against each defendant   LIBOR-based instruments as an overt act in furtherance of
so that this Court could determine whether defendant “sold       the pled conspiracy because “the conspiracy to manipulate
directly to Schwab and, if not, whether [defendant] should       LIBOR had nothing to do with the California transactions,
be considered an indirect seller or non-seller (or whether it    and there is thus no reason to impute the California contacts to
belongs in this lawsuit at all).” Id. at 84.                     the co-conspirators.” Id. Finally, the court rejected Schwab's
                                                                 assertion that personal jurisdiction could be established over
4                                                                all defendants based on “the obvious and direct effects of
       In making this ruling, the Second Circuit
                                                                 [defendants' manipulation of LIBOR] in California.” Id. Mere
       considered declarations of several Schwab
                                                                 foreseeability that the effects of LIBOR manipulation would
       employees, see Goldman Decl., ECF No. 1512;
                                                                 “reach an economy as large as California's does not mean that
       Hastings Decl., ECF No. 1513; Klingman Decl.,
                                                                 Defendants' conduct in London was ‘expressly aimed’ at that
       ECF No. 1514, that had not been previously
                                                                 state.” Id. at 88.
       filed and, therefore, played no part in LIBOR
       IV. The declarations alleged that some defendants
                                                                 Turning to our dismissal of Schwab's fraud and Exchange
       solicited business from Schwab via telephone calls,
                                                                 Act claims concerning fixed-rate notes, the Second Circuit
       emails, Bloomberg messages, and other forms of
                                                                 affirmed our decision because fixed-rate notes “do not
       solicitation in California. See Hastings Decl. ¶
                                                                 reference LIBOR at all.” Id. at 91. Since Schwab
       4, Klingman Decl. ¶ 4. No such allegation was
                                                                 did not plausibly allege that defendants made false
       even mentioned in Schwab's amended complaint
                                                                 LIBOR submissions “[to] induc[e] purchases of fixed-rate
       (ECF No. 672) that we reviewed in LIBOR IV.
                                                                 instruments,” id. at 92, or “in connection with Schwab's
       Had Schwab submitted those affidavits to this
                                                                 purchase of fixed-rate instruments,” id. at 96, Schwab could
       Court, our ruling would have been different at
                                                                 not assert state law or securities fraud claims concerning
       least as to Counterparty defendants. See In re
                                                                 fixed-rate notes. The Circuit noted: “When Schwab purchased
       LIBOR-Based Fin. Inst. Antitrust Litig., 2016 WL
                                                                 fixed-rate instruments, it received exactly what it expected.”
       1301175, at *4 (S.D.N.Y. Mar. 31, 2016), ECF
                                                                 Id.
       No. 1357 (“March 31, 2016 Order”) (finding that
       defendants' solicitation and sale of mortgage loans
                                                                 The Circuit, however, reversed our decision to dismiss
       to Freddie Mac supported the exercise of personal
                                                                 Schwab's Exchange Act claims concerning floating-rate
       jurisdiction).
                                                                 notes. In LIBOR IV, we found that Schwab's claims failed



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at the causation stage because, if LIBOR was “persistently            Schwab, 883 F.3d at 84; see also LIBOR IV, 2015 WL
suppressed when Schwab bought LIBOR-based bonds, then                 6243526, at *30 (“[T]hat a panel bank defendant engaged
the bond's expected future interest payments would also have          in LIBOR ‘marketing’ activities which reached a given
been suppressed.” 2015 WL 6243526, at *70. Thus, since                forum state does not mean that the same defendant is
a bond's price is “equal to the present value of its expected         subject to personal jurisdiction in that state on the basis
future interest and principal payments, the bond's purchase           of the defendant's manipulation of LIBOR.”). Second,
price would also necessarily have been suppressed, so that            “the conspiracy to manipulate LIBOR had nothing to do
Schwab may reap a windfall now that suppression has ended.”           with” defendants' transactions with plaintiffs, because the
Id. The Circuit disagreed, finding that “[a]lthough a depressed       sale of LIBOR-based instruments motivated by defendants'
LIBOR that caused expectations of future interest payments            “financial self-interest” could not have furthered their
to decrease might result in lock-step reductions in the price of      conspiracy to manipulate LIBOR. Schwab, 883 F.3d at 87;
floating-rate instruments,” such an effect was not certain and        see also LIBOR VI, 2016 WL 7378980, at *9 (“[D]efendants'
could not be assumed at the pleading stage. Schwab, 883 F.3d          sales and trades of LIBOR-based products to plaintiffs in
at 93. Nonetheless, finding that Schwab's allegations of loss         the United States are not within the scope of the reputation-
causation were unclear, the court instructed Schwab to “add           motivated antitrust conspiracy.”). Third, mere foreseeability
allegations clarifying the loss causation theory or theories on       that the effects of LIBOR manipulation could be felt in
which it relies.” Id.                                                 plaintiffs' forum states “does not mean that Defendants'
                                                                      conduct in London was ‘expressly aimed’ at that state.”
 *4 Schwab also reversed our partial dismissal of Schwab's            Schwab, 883 F.3d at 87; see also LIBOR IV, 2015 WL
unjust enrichment claims. In LIBOR IV, we found that,                 6243526, *20 (“[W]hile the effect of LIBOR manipulation
under California law, the statute of limitations on fraud             in the states in which plaintiffs sued was foreseeable, mere
claims “begins when ‘a plaintiff suspects or should suspect           foreseeability does not confer personal jurisdiction.”). In sum,
that her injury was caused by wrongdoing.’ ” 2015 WL                  the Circuit did not disturb our general ruling that, unless
6243526, at *127 (quoting Jolly v. Eli Lilly & Co., 44 Cal.           plaintiffs can plausibly allege that “a defendant determined,
3d 1103, 1110 (1988)). Since it was unclear when Schwab               or transmitted, a false LIBOR submission” from the United
“became aware of the news articles that would have put                States, id. at *32, we would exercise personal jurisdiction
them on inquiry notice,” we did not dismiss any tort claims           only over Counterparty defendants for plaintiffs' claims that
as untimely. Id. at *177. However, we held that Schwab's              are premised on their transactions with defendants or their
unjust enrichment claims were partially time-barred because           purchases of instruments issued by defendants.
an unjust enrichment claim was subject to a more limited
discovery rule under which “the clock starts when the breach          Finding that Schwab's deficient pleading of jurisdictional
is no longer ‘difficult ... to detect.’ ” Id. at *128 (quoting        allegations was not insurmountable, the Second Circuit
April Enters., Inc. v. KTTV, 195 Cal. Rptr. 421, 436 (Ct.             granted Schwab leave to amend so that it could “clarify the
App. 1983)). The Second Circuit found that we had erred in            status of the grouped entities ... and add allegations in support
applying the more limited discovery rule to Schwab's unjust           of its agency and conspiracy theories of jurisdiction.” Id. at
enrichment claims. Since the claims “sound[ed] in fraud,”             90. After the Circuit's remand, we afforded other plaintiffs
they were subject to the inquiry notice rule as set forth in Jolly,   the same opportunity by instructing plaintiffs who wished to
883 F.3d at 97. Accordingly, “partial dismissal of the unjust         move for leave to amend to “demonstrate why leave to amend
enrichment claims was unwarranted.” Id.                               [was] warranted.” See Apr. 11, 2018 Order, ECF No. 2490.
                                                                      However, we warned moving plaintiffs that “the scope of any
Although the Circuit considered only Schwab's action,                 amendment shall be limited to those prompted by the Second
the Schwab decision has broader implications for all                  Circuit's decision in Schwab.” Id.
actions in this MDL because the decision affirmed
several key jurisdictional rulings that we repeatedly made             *5 In Part III of this opinion, we consider the motions for
in our prior opinions. First, defendants' sales-related               leave to amend filed by six different plaintiffs: (1) the Federal
activities in plaintiffs' forum states cannot establish specific      Home Loan Mortgage Corporation (“Freddie Mac”), see ECF
jurisdiction over claims premised on defendants' “daily               No. 2563; (2) the Federal Deposit Insurance Corporation
LIBOR submissions to the BBA in London” because                       (“FDIC”) 5 in its capacity as receiver for 38 closed banks,
“activities in London do not constitute [in-forum] contacts.”         see ECF No. 2562; (3) Principal Financial Group and



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its affiliated entities (“Principal Financial”), see ECF No.     Doral's complaint 9 for lack of personal jurisdiction and
2546; (4) Principal Funds and its affiliated funds (“Principal   venue and for failure to state a claim. See ECF No. 2622.
Funds”), see ECF No. 2551; (5) plaintiffs in the lending         In Part V, we consider defendants' motion for judgment on
institutions class action (“Lender plaintiffs”), see ECF No.     the pleadings to dismiss in the Over-the-Counter (OTC) class
2552; and (6) the National Credit Union Administration           action plaintiffs' antitrust claims based on transactions with
Board 6 (“NCUA”), see ECF No. 2544. 7                            Panel Banks' subsidiaries or affiliates. See ECF No. 2620.

5                                                                8
       The FDIC seeks to incorporate the complaint filed                After the Circuit's remand, Schwab filed their
       on behalf of Doral Bank (“Doral”) in 18-cv-1540                  second amended complaint as of right. See Schwab
       (NRB) into the complaint filed on behalf of 38                   Second Am. Compl. (“Schwab SAC”), ECF No.
       closed banks in 14-cv-1757 (NRB). Defendants do                  2578.
       not oppose this request. See FDIC Mem. of Law
                                                                 9
       in Supp. of Mot. for Leave to Amend, at 1, ECF                   Doral's complaint was filed on February 20, 2018.
       No. 2568. Therefore, Doral's claims that survive                 See Compl., ECF No. 1, 18-cv-1540 (NRB).
       the motion to dismiss will be consolidated into the
       main complaint. To avoid confusion between the            III. Plaintiffs' Motions for Leave to Amend
       two actions, we refer to the FDIC's complaint filed       In allowing plaintiffs to move for leave to amend, we limited
       on behalf of Doral as Doral's complaint in this           the scope of proposed amendments “to those prompted by
       opinion.                                                  the Second Circuit's decision in Schwab.” Apr. 11, 2018
                                                                 Order. We also cautioned plaintiffs that Schwab “offer[ed] no
6      The NCUA brought its action as liquidating                occasion to add or alter unrelated allegations that a plaintiff
       agent of U.S. Central Federal Credit Union                wishes had been better pleaded in the first instance.” Id.
       (“U.S. Central”), Western Corporate Federal Credit
       Union, Members United Corporate Federal Credit
       Union, Southwest Corporate Federal Credit Union,             1. General Legal Standard for Leave to Amend
       and Constitution Corporate Federal Credit Union.          Rule 15 of the Federal Rules of Civil Procedure directs a court
                                                                 to “freely give leave [to amend] when justice so requires.”
7      In this opinion, we refer to Freddie Mac,                 Fed. R. Civ. P. 15(a)(2). However, motions for leave to amend
       FDIC, Principal Financial, and Principal Funds            “should generally be denied in instances of futility, undue
       collectively as “FFP plaintiffs.” We also refer           delay, bad faith or dilatory motive, repeated failure to cure
       to Principal Financial and Principal Funds as             deficiencies by amendments previously allowed, or undue
       “Principal.” Per our April 11, 2018 Order, each           prejudice to the non-moving party.” Burch v. Pioneer Credit
       moving plaintiff submitted its proposed amended           Recovery, Inc., 551 F.3d 122, 126 (2d Cir. 2008) (per curiam).
       complaint: (1) Freddie Mac Proposed Third
       Amended Compl. (“Freddie Mac PTAC”), ECF                   *6 A proposed amendment is futile if “the proposed new
       No. 2567-1; (2) FDIC Proposed Second Amended              pleading fails to state a claim on which relief can be granted.”
       Compl. (“FDIC PSAC”), ECF No. 2568-1-2; (3)               Krys v. Pigott, 749 F.3d 117, 134 (2d Cir. 2014). “The
       Principal Financial Proposed Second Amended               adequacy of a proposed amended complaint to state a claim
       Compl. (“Principal Financial PSAC”), ECF No.              is to be judged by the same standards as those governing
       2547-1; (4) Principal Funds Proposed Second               the adequacy of a filed pleading.” Anderson News, L.L.C.
       Amended Compl. (“Principal Funds PSAC”),                  v. Am. Media, Inc., 680 F.3d 162, 185 (2d Cir. 2012).
       ECF No. 2554-1; (5) Lender Plaintiffs Proposed            Thus, when evaluating the adequacy of claims in a proposed
       Third Amended Consolidated Class Action Compl.            amended complaint, we follow the standards applicable to a
       (“Lender Pls. PTAC”), ECF No. 2572-1; and                 motion to dismiss brought under Rule 12(b)(6), “accepting
       (6) NCUA Proposed Second Amended Compl.                   as true all factual allegations in the complaint, and drawing
       (“NCUA PSAC”), ECF No. 2545-1.                            all reasonable inferences in the plaintiff's favor.” Barrows v.
In Part IV, we consider defendants' motion for partial           Burwell, 777 F.3d 106, 111 (2d Cir. 2015).

dismissal of Schwab's second amended complaint 8 and



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The standards of review under Rule 12(b)(2) apply to                with defendants' subsidiaries and affiliates); and (3) Non-
proposed amendments related to personal jurisdiction.          10   Counterparty Claims (i.e., antitrust and common law claims
We must construe all jurisdictional allegations “in the light       against all defendants based on their alleged participation in
most favorable to plaintiffs, resolving all doubts in their         an alleged conspiracy to manipulate LIBOR that occurred in
favor.” Porina v. Marward Shipping Co., 521 F.3d 122, 126           London).
(2d Cir. 2008). However, we may not “draw argumentative
inferences in the plaintiff's favor,” Robinson v. Overseas
Military Sales Corp., 21 F.3d 502, 507 (2d Cir. 1994) (internal                      2.1. Counterparty Claims
quotation marks omitted), and need not “accept as true a
legal conclusion couched as a factual allegation,” Jazini v.        For context and clarity, we summarize our previous
Nissan Motor Co., 148 F.3d 181, 185 (2d Cir. 1998). If the          jurisdictional rulings addressing common law claims against
defendant challenges personal jurisdiction at the pleading          Counterparty defendants. For swap counterparties, we upheld
stage, the plaintiff bears the burden of making a prima facie       specific jurisdiction “where a plaintiff was located when
showing that personal jurisdiction exists. See Dorchester Fin.      it entered into the swap agreement.” LIBOR IV, WL
Sec., Inc. v. Banco BRJ, S.A., 722 F.3d 81, 84-85 (2d Cir.          6243526, at *37. For bond counterparties, we upheld specific
2013). Jurisdiction must be “establish[ed] ... with respect to      jurisdiction “where the bond was issued.” 11 Id. As to both,
each claim asserted.” Sunward, 362 F.3d at 24 (emphasis in          we upheld specific jurisdiction “where permitted by a forum
original). A motion to amend will be denied if the amended          selection clause, where the defendant's LIBOR submission
complaint does not provide “any basis to demonstrate that           was determined or transmitted, and where a trader requested
the district court would have [ ] personal jurisdiction” over       an artificial LIBOR submission.” Id. Finally, we upheld
a defendant. Spiegel v. Schulmann, 604 F.3d 72, 78 (2d Cir.         specific jurisdiction over claims arising out of the defendant's
2010).                                                              “course of dealing” in the plaintiff's forum state. See March
                                                                    31, 2016 Order, 2016 WL 1301175, at *4; see also Schwab,
10                                                                  883 F.3d at 83 (allegations that defendants solicited and sold
       With respect to actions brought in states other
       than New York and transferred here for pretrial              “financial instruments to Schwab in California” are sufficient
       proceedings under the MDL statute, 28 U.S.C.                 to “make out a prima facie showing of personal jurisdiction
       § 1407 (2012), we analyze whether personal                   for claims relating to those transactions.”).
       jurisdiction exists in the transferor court, not in
       New York. See In re Ski Train Fire in Kaprun,                11     In other words, bond obligors can be subjected
       Austria on Nov. 11, 2000, 343 F. Supp. 2d 208,                      to personal jurisdiction where “the bond was
       213 (S.D.N.Y. 2004). Nonetheless, we conduct this                   placed with an underwriter or agent for sale or
       analysis according to the law not of the transferor                 marketing.” LIBOR IV, WL 6243526, at *37. The
       circuit, but of the Second Circuit. See In re Methyl                Court clarified this requirement during a telephone
       Tertiary Butyl Ether (“MTBE”) Prod. Liab. Litig.,                   conference on May 19, 2016: “The location of
       No. 00-cv-1898 (SAS), 2005 WL 106936, at *5                         the underwriter is the office where the deal was
       (S.D.N.Y. Jan. 18, 2005); see also Menowitz v.                      actually done. That would include the relevant
       Brown, 991 F.2d 36, 40 (2d Cir. 1993) (per                          office of any other member of the syndicate. The
       curiam) (“[A] transferee court should apply its                     same is true if there actually were agents involved.
       interpretations of federal law, not the constructions               The locations do not include all the branch offices
       of federal law of the transferor circuit.”).                        of any of these entities.” Tr. 3:10-15, ECF No.
                                                                           1429.
   2. Amendments Related to Personal Jurisdiction
                                                                     *7 FFP plaintiffs misleadingly simplify the rulings of this
We first address the NCUA's and FFP plaintiffs' proposed
                                                                    Court and the Second Circuit by asserting that “even a
amendments related to personal jurisdiction organized by the
                                                                    single transaction can support personal jurisdiction over a
categories of claims to which the amendments correspond:
                                                                    defendant.” Pls.' Joint Reply to Defs.' Opp. To Pls.' Mots.
(1) Counterparty Claims (i.e., common law claims against
                                                                    Leave to Amend on Jurisdictional and Venue Grounds (“Pls.'
certain defendants based on their direct transactions with
                                                                    Joint PJ Br.”), at 7, ECF No. 2667. Admittedly, there is no
plaintiffs); (2) Indirect Counterparty Claims (i.e., common
                                                                    question that the commission of some single or occasional
law claims against defendants based on plaintiffs' transactions


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act may establish specific jurisdiction. See Daimler AG v.                 LIBOR. See Joint Mem. of Law in Supp. of Defs'
Bauman, 571 U.S. 117, 127 (2014). But as demonstrated                      Mot. Dismiss for Lack of Personal Jurisdiction and
by two cases that the Second Circuit cites in Schwab –                     Venue and in Opp'n to Pls.' Mots. Leave to Amend
Chloé v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158                     on Jurisdiction and Venue Grounds (“Defs.' Joint
(2d Cir. 2010) and Eades v. Kennedy, PC Law Offices, 799                   PJ Br.”), at 28, ECF No. 2627. At oral argument,
F.3d 161 (2d Cir. 2015) – the analysis is far more nuanced                 Freddie Mac confirmed that its common law claims
than plaintiffs posit. In each case, the Circuit examined the              asserted against Counterparty defendants are all
defendant's contacts in the context of the defendant's overall             premised on the sale of mortgage loans that are
relationship with the forum state. See Chloé, 616 F.3d at                  linked to LIBOR. Tr. 29:12-18, ECF No. 2792.
170-71 (holding that specific jurisdiction in New York over         That said, we reject the NCUA's amendments that seek
the defendant was appropriate because the defendant had             to establish specific jurisdiction over defendants based on
“developed and served a market for its products”); Eades,           their alleged contacts with Kansas. See NCUA PSAC ¶¶
799 F.3d at 168-69 (examining the quality and nature of the         43-44. According to the NCUA, its motion to amend is
defendant's contacts – several mailings and telephone calls
                                                                    in response to a footnote in LIBOR IV. 13 See 2015 WL
– with New York to establish specific jurisdiction). See also
                                                                    6243526 at *31 n.51 (disregarding the NCUA's argument that
Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476 n.18
                                                                    defendants engaged with U.S. Central, a Kansas credit union,
(1985) (“[S]ingle or occasional acts related to the forum may
                                                                    to execute certain transactions with four non-Kansas credit
not be sufficient to establish [specific] jurisdiction if their
                                                                    unions because the NCUA “cite[d] nothing in the complaint
nature and quality and the circumstances of their commission
                                                                    or declarations that specifically support[ed]” that argument).
create only an attenuated affiliation.” (citation and internal
                                                                    In the proposed amended complaint, the NCUA alleges, for
quotation marks omitted)). The analytical framework that
                                                                    example, that several defendants were “specifically on notice
we previously articulated for assessing defendants' suit-
                                                                    at the time of transacting with United, Southwest, or WesCorp
related contacts adheres to these binding precedents. See,
                                                                    of U.S. Central's role in those transactions.” NCUA PSAC
e.g., LIBOR IV, WL 6243526, at *31 (The Court would
                                                                    ¶ 44. Defendants were allegedly also on notice that “swap
“consider as a whole the defendants' suit-related contacts
                                                                    payments would be made to or from an account at U.S.
with the forum, including prior negotiations and contemplated
future consequences, along with the terms of the contract and       Central” in Kansas. 14 Id. These allegations, however, do not
the parties' actual course of dealing.”) (citation and internal     show “where a plaintiff was located when it entered into the
quotation marks omitted).                                           swap agreement.” LIBOR IV, 2014 WL 6243526, at *37. The
                                                                    fact that the NCUA chose to pay defendants out of accounts
Consistent with our previous rulings and the aforementioned         controlled by U.S. Central in Kansas does not mean that
precedents, we allow moving plaintiffs' amendments that             defendants purposefully availed themselves of the privilege
sufficiently demonstrate a “course of dealing” in plaintiffs'       of conducting activities in Kansas. See Walden v. Fiore, 571
forum states. For example, Freddie Mac alleges that multiple        U.S. 277, 284 (2014).
defendants and their affiliated entities solicited business
and sold mortgage-backed securities (“MBS”) and mortgage            13     Since none of the NCUA's proposed amendments is
                                    12                                     related to Schwab, we note that the NCUA's motion
loans to Freddie Mac in Virginia. See, e.g., Freddie Mac
PTAC ¶¶ 23, 30, 45, 47, 68, 70, 87, 89, 99, 101, 116,                      for leave to amend could and should have been
118, 129, 131, 167, 169. Whereas the mere issuance of a                    brought following our decision in LIBOR IV and
LIBOR-based bond would not support personal jurisdiction,                  is thus untimely.
see LIBOR IV, WL 6243526, at *37, plaintiffs specifically           14
allege that defendants purposely solicited and sold LIBOR-                 The NCUA additionally alleges that securities sold
based financial products directly to Freddie Mac. As we                    to the credit unions were “routed through U.S.
held in the March 31, 2016 Order, such allegations of direct               Central's safe-keeping accounts,” and that “U.S.
solicitation or transactions between defendant and plaintiff               Central took custody of any securities sold to the
are sufficient to establish specific jurisdiction over defendant.          Credit Unions” and “safe-kept any interest coupon
                                                                           on the securities paid by the Defendants to the
12                                                                         Credit Unions.” NCUA PSAC ¶ 43.
        According to defendants, Freddie Mac fails to
        specify that the mortgage loans were “tied to”


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*8 We also reject Principal's proposed amendment regarding         See, e.g., Principal Funds PSAC ¶¶ 27, 33, 37, 45, 50,
                                                   15
forum selection clauses in its swap agreements. Principal          55, 65, 72. After identifying each defendant and its role
asserts that we can exercise specific jurisdiction over            in various transactions, plaintiffs collectively refer to the
Counterparty defendants based on their swap transactions           affiliated entities under a single name. See, e.g., Principal
with Principal because its ISDA agreements contained               Funds PSAC ¶ 28. Such a practice does not violate Rule 8(a)’s
forum selection clauses designating the Southern District          requirements. See Wydner v. McMahon, 360 F.3d 73, 79 (2d
of New York as the parties' forum of choice. However,              Cir. 2004) (holding that the “key to Rule 8(a)’s requirements
Principal's lawsuit was originally filed in Iowa and               is whether adequate notice is given,” and that “fair notice” is
was subsequently transferred to this District for pre-trial        given when it allows the defendant “to answer and prepare
proceedings. Therefore, “our task is to determine whether          for trial, allow the application of res judicata, and identify the
[courts in Iowa] may exercise personal jurisdiction,” and a        nature of the case so that it may be assigned the proper form
defendant's contractual consent to the jurisdiction of New         of trial” (citations and internal quotation marks omitted)).
York is irrelevant in making that determination. See LIBOR
IV, WL 6243526, at *35.                                            16      We have previously declined to exercise personal
                                                                           jurisdiction because of plaintiffs' insufficiently
15                                                                         individualized allegations. See, e.g., March 31,
       Both Principal and defendants raise arguments that
       we decline to address here. First, Principal argued                 2016 Order, 2016 WL 1301175, at *4 (rejecting
       at oral argument that “several of the defendants                    personal jurisdiction over Freddie Mac's claims
       have consented to personal jurisdiction in Iowa                     related to bond transactions because Freddie Mac
       by registering with the Iowa Secretary of State,”                   provided “no description as to what role any
       Tr. 70:23-71:2, but Principal does not propose any                  defendant played in any sale,” “no description of
       amendment relying on the defendants' registration                   any MBS transactions,” and no “suggestion of
       in Iowa. Even if we were to consider Principal's                    which defendants in fact sold these products to
       argument, we would most likely find it meritless                    plaintiff.”).
       under the Second Circuit precedents. See, e.g.,
       Brown v. Lockheed Martin Corp., 814 F.3d 619,
                                                                                2.2. Indirect Counterparty Claims
       623 (2d Cir. 2016). Second, defendants assert that
       claims based on swap transactions fail because              Though the corporate form is generally accorded respect
       moving plaintiffs “fail to allege that they filed           under the law, an act taken by a corporate entity's subsidiary or
       suit in the forum where the swap transactions               affiliate can be imputed to the entity in certain circumstances
       were entered into.” See Defs.' Joint PJ Br., at 31.         for purposes of personal jurisdiction. As explained in Schwab,
       Defendants seek to dismiss those claims, which              it is “plausible that an agency relationship between a parent
       were not the subject of any amendment, but                  corporation and a subsidiary that sells securities on the
       do not move against any proposed amendment.                 parent's behalf could establish personal jurisdiction over the
       Since we are now considering whether proposed               parent in a state in which the parent ‘indirectly’ sells the
       amendments are futile in light of Schwab, we do not         securities.” 883 F.3d at 85-86. To establish jurisdiction over
       resolve those arguments, but note that the parties          an Indirect Counterparty defendant, moving plaintiffs must
       may raise them at the motion to dismiss stage.              plausibly allege that defendant's subsidiary or affiliate acted
Finally, defendants broadly assert that moving plaintiffs'         as defendant's agent in the relevant forum state “for the
proposed amended complaints do not allow the Court to              benefit of, with the knowledge and consent of, and under
assess each defendant's contacts individually because they         some control by, the nonresident principal.” Id. at 85 (quoting
collapse affiliated entities into one single defendant. 16 See     Grove Press, Inc. v. Angleton, 649 F.2d 121, 122 (2d Cir.
Defs.' Joint PJ Br., at 34; Schwab, 883 F.3d at 84 (holding that   1981)); see also Ingenito v. Riri USA, Inc., 89 F. Supp. 3d
Schwab's allegations as to Citibank, HSBC, and JPMorgan            462, 476 (E.D.N.Y. 2015); CutCo Indus., Inc. v. Naughton,
Chase could not establish jurisdiction over those banks            806 F.2d 361, 366 (2d Cir. 1986) (“To be considered an agent
because the allegations were not sufficiently individualized).     for jurisdictional purposes, the alleged agent must have acted
However, defendants' argument is not persuasive, as plaintiffs     in the state for the benefit of, and with the knowledge and
allege specific defendant entities with which they transacted.



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consent of the non-resident principal.” (citation and internal    establish personal jurisdiction over the principal (i.e., Indirect
quotation marks omitted)).                                        Counterparty) bank.

 *9 We have previously addressed the applicable                   18      TCEH alleged “that CSI is ‘controlled’ by CSGAG,
pleading standard for common law claims against Indirect                  that the two entities use the same brand and
Counterparty defendants. In LIBOR V, we considered                        logo, that Credit Suisse presents itself as an
whether two OTC plaintiffs, Texas Competitive Electric                    ‘integrated global bank,’ that it ‘takes a unified
Holdings (“TCEH”) and the SEIU Pension Plans Master Trust                 approach to risk management,’ that CSI personnel
(“SEIU”), sufficiently alleged agency relationships between               reports to CSGAG personnel, that CSI is generally
Credit Suisse Group AG (“CSGAG”), the parent entity, and                  managed as part of CSGAG, that CSI shares
its two affiliates, Credit Suisse International (“CSI”) and               revenue with CSGAG, that CSGAG lends money
Credit Suisse (USA), Inc. (“CSUSA”). 17 2015 WL 6696407,                  to CSI, that CSGAG and CSI have overlapping
at *21. TCEH alleged that it had traded a swap with CSI, and              Boards of Directors, and that CSI adheres to
SEIU alleged that it had purchased corporate bonds issued by              CSGAG's employment policies.” LIBOR V, 2015
CSUSA from the issuer's broker-dealer affiliate. See LIBOR                WL 6696407, at *21.
V, 2015 WL 6696407, at *21.
                                                                  In contrast, we reached a different conclusion with respect
                                                                  to SEIU. Id. at *22. Although SEIU and TCEH essentially
17     Although TCEH and SEIU named CSGAG as                      advanced similar arguments, we reasoned that, unlike a
       the panel bank, Credit Suisse stated that Credit           discrete swap transaction, a bond issuance “is a major
       Suisse AG (“CSAG”) was the panel bank. See                 corporate event that officers and directors of the corporate
       LIBOR V, 2015 WL 6696407, at *20 n.31,                     parent would typically oversee.” Id. It was unlikely that
       *22 n.34. We granted only SEIU leave to make               CSGAG allowed CSUSA to issue securities “without top-
       its agency allegations against CSAG instead of             level approval,” and it was plausible that CSUSA “acted at the
       against CSGAG because we rejected TCEH's                   direction of its corporate parents.” Id. In other words, SEIU
       allegations of an agency relationship between CSI          plausibly alleged that the agent acted “for the benefit of, with
       and CSGAG. See id.                                         the knowledge and consent of, and under some control by” the
We found that TCEH's allegations, even if true, did not           principal bank. Schwab, 883 F.3d at 85. Thus, our analytical
establish an agency relationship because TECH failed to show      approach in assessing claims against Indirect Counterparty
that CSGAG managed CSI's swap-trading operations, see             defendants has been very much in line with Schwab.
Elbit Systems, Ltd. v. Credit Suisse Group, 917 F. Supp.
2d 217, 225–26 (S.D.N.Y. 2013), or directed the specific           *10 Moving plaintiffs' proposed amendments are
CSI activities at issue, see In re South African Apartheid        indistinguishable from the ones made by TCEH: they
Litigation, 617 F. Supp. 2d 228, 274–75 (S.D.N.Y. 2009).          similarly lack the requisite factual basis needed to support
LIBOR V, 2015 WL 6696407, at *21. TCEH's conclusory               the conclusion that the subsidiary acted “for the benefit of,
                                                                  with the knowledge and consent of, and under some control
allegations 18 of “corporate ownership, combined marketing,
                                                                  by” the principal. The list of conclusory allegations of intra-
[and] shared board membership” were “insufficient to
                                                                  corporate affiliations made by plaintiffs include: that each
establish a principal-agent relationship between corporate
                                                                  parent defendant operates the investment division as part
entities.” LIBOR V, 2015 WL 6696407, at *21 (citing
                                                                  of a single global business unit without regard to corporate
Fletcher v. Atex, Inc., 68 F.3d 1451, 1459-62 (2d Cir. 1995)).
See also Williams v. Yamaha Motor Co., 851 F.3d 1015, 1025        formalities and with common branding; 19 that each parent
n.5 (9th Cir. 2017) (allegations that the parent and subsidiary   treats its subsidiary or affiliate's profits as the global unit's
are “the agents or employees of each other” and that the parent   profits; 20 that the related entities have overlapping key
is “legally responsible” for the subsidiary are conclusory        executives; 21 and that the subsidiary's personnel reports
legal statements that cannot establish an agency relationship).
                                                                  to the parent defendant's personnel. 22 These allegations,
Because TCEH failed to put forth any factual allegations
                                                                  along with legal conclusions that defendants “knew of,”
that demonstrated how the bank managed or directed its
                                                                  “directed,” and/or “benefited” from their subsidiaries or
agent's operations and activities, we rejected its attempt to
                                                                  affiliates' transactions with plaintiffs, 23 are insufficient to



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establish personal jurisdiction over defendants. See Jazini,       transactions with Freddie Mac, we can exercise jurisdiction
148 F.3d at 185 (declining to find specific jurisdiction over      over RBS based on RBSI's activities in Virginia. 26
a parent entity based on its subsidiary's activities because
the pleading “lacked the factual specificity” necessary to         26     Defendants argue that plaintiffs must show the
establish jurisdiction).
                                                                          parent entity's “pervasive control” over its agent.
                                                                          Defs.' Joint PJ Br., at 38 (quoting Wilder v. News
19     See, e.g., Freddie Mac PTAC ¶¶ 40, 76, 114, 177;                   Corp., No. 11-cv-4947 (PGG), 2015 WL 5853763,
       FDIC PSAC ¶¶ 38, 59, 90, 97; Principal Funds ¶¶                    at *6 (S.D.N.Y. Oct. 7, 2015)). However, plaintiffs
       30, 38, 54.                                                        correctly point out that Judge Gardephe's ruling in
20                                                                        Wilder only concerns whether “a foreign subsidiary
       See, e.g., Freddie Mac PTAC ¶¶ 40, 53, 76, 96, 97,
                                                                          of a United States corporation may be subject to
       108; FDIC PSAC ¶¶ 64, 90; Principal Funds ¶¶ 30,
                                                                          general jurisdiction in the United States on the
       51, 62.
                                                                          basis of the parent-subsidiary relationship.” Id.
21                                                                        (emphasis added). In contrast, under consideration
       See, e.g., Freddie Mac PTAC ¶¶ 41, 57, 76, 94, 196;
       FDIC PSAC ¶¶ 63, 68; Principal Funds PSAC ¶¶                       in our case is whether an affiliate's specific
       24, 31, 46.                                                        acts (i.e., transactions involving LIBOR-based
                                                                          instruments) can establish specific jurisdiction
22     See, e.g., Freddie Mac PTAC ¶¶ 49, 58, 76, 90, 177,                over its parent for legal claims based on those
       112, 198.                                                          transactions.
23     See, e.g., Freddie Mac PTAC ¶¶ 30, 40, 45, 60, 76,
       94, 108, 125, 140.                                                        2.3. Non-Counterparty Claims
Freddie Mac's additional allegations that it internally                           and Conspiracy Jurisdiction
considered the financial strength of the parent entities
                                                                   Moving plaintiffs assert that certain acts taken by several
through its quarterly “Dealer Scorecards,” 24 in which             defendants, who are mostly domestic banks, can establish
defendants provided research notes to Freddie Mac, 25 do           personal jurisdiction over all defendants, including foreign
not demonstrate that the parent entities managed their             bank defendants who did not have any contractual
subsidiaries' operations or directed their activities with         relationships with plaintiffs, for fraud and antitrust claims.
Freddie Mac. None of the amendments demonstrates that the          The acts allegedly constitute overt acts that furthered “a
affiliate or subsidiary entity conducted the transactions with     conspiracy aimed at the projection of financial soundness.”
Freddie Mac “for the benefit of, with the knowledge and            LIBOR VI, 2016 WL 7378980, at *7. Accordingly, moving
consent of, and under some control by” the parent entity.          plaintiffs claim that all defendants, regardless of their
                                                                   domiciles or membership on the LIBOR panel, can be haled
24                                                                 into this Court applying conspiracy jurisdiction.
       Freddie Mac PTAC ¶¶ 12-14, 31, 46, 69, 88, 100,
       117, 130, 151, 168, 191.
                                                                    *11 It is important to note at the threshold that, given the
25                                                                 relevant holdings of Schwab, this Court may not exercise
       Freddie Mac PTAC ¶¶ 61, 95, 119, 132, 160.
                                                                   personal jurisdiction over Non-Counterparty defendants for
However, Freddie Mac's allegations regarding Royal Bank
                                                                   fraud and antitrust claims if moving plaintiffs cannot invoke
of Scotland (“RBS”) and its non-defendant subsidiary,
                                                                   (or rely upon) conspiracy jurisdiction. First, Schwab held
RBS Securities Inc. (“RBSI”), suffice to establish specific
                                                                   that this Court cannot exercise specific jurisdiction over
jurisdiction over RBS. Freddie Mac alleges that RBSI's sale of
                                                                   fraud claims premised on LIBOR submissions in London
MBS to Freddie Mac was a part of a strategy that was directed
                                                                   because “activities in London do not constitute” contacts
by RBS's executives to “overvalue asset-backed securities to
protect RBS's reputation.” Freddie Mac PTAC ¶ 178. Since           with the relevant forum states. 27 883 F.3d at 84. Second,
we have found that RBSI's activities of soliciting Freddie         Schwab rejected the assertion that, since the effects of
Mac are sufficient to establish specific jurisdiction over RBSI,   LIBOR manipulation on California were “foreseeable,”
see supra Part III.2.1., and since Freddie Mac plausibly           personal jurisdiction should attach, because the conduct was
alleges that RBS managed RBSI's operations and directed its        not expressly aimed at the state. Id. at 87. Although the


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Second Circuit rejected the “foreseeability” argument only              establish personal jurisdiction without conspiracy
in the context of Schwab's California transaction claims, the           jurisdiction. Id.
Circuit's rationale effectively affirms our prior rulings that   However, any discussion of conspiracy jurisdiction must
the manipulation of LIBOR was not expressly aimed at the         be approached with caution. For one, the states in which
United States. See LIBOR IV, 2015 WL 6243526, at *32
                                                                 Schwab, 29 Principal, 30 and the FDIC 31 bring their state law
(“[T]here is no suggestion, and it does not stand to reason,
                                                                 claims either reject conspiracy jurisdiction or impose more
that foreign defendants aimed their manipulative conduct at
                                                                 stringent requirements than the ones adopted by Schwab.
the United States or any particular forum state.”); LIBOR VI,
                                                                 Moreover, a cautious approach to the exercise of conspiracy
2016 WL 7378980, at *9 (holding that the conduct did not
                                                                 jurisdiction finds support in the criminal law and, more
have sufficient contacts with the United States to establish
                                                                 broadly, in jurisdiction jurisprudence. For example, in the
jurisdiction over all defendants for antitrust claims). Given
                                                                 criminal law, from which the theory of conspiracy jurisdiction
that LIBOR was “the world's most important number” that
                                                                 is derived, a co-conspirator's statement allegedly made in
served as “one of the most reliable barometers of risk in
                                                                 furtherance of a conspiracy is admissible at trial (despite a
the global economy,” Freddie Mac PTAC ¶ 2, it is simply
                                                                 grand jury indictment) only after a trial court finds by a
implausible that defendants expressly aimed their conduct at
                                                                 preponderance of the evidence that the conspiracy existed
the United States.
                                                                 and that both the declarant and the defendant were part
27                                                               of that conspiracy. 32 See Bourjaily v. United States, 483
       Although Schwab made it clear that specific
                                                                 U.S. 171, 175-76 (1987). Additionally, “a defendant who
       jurisdiction does not exist over defendants for
                                                                 does not directly commit a substantive offense” can be
       fraud claims, the Circuit's reasoning applies equally
                                                                 liable only if a co-conspirator's commission of the offense in
       to tortious interference claims, which are also
                                                                 furtherance of the conspiracy was “reasonably foreseeable to
       predicated on allegedly false LIBOR submissions
                                                                 the defendant as a consequence of their criminal agreement.”
       in London. See infra at Part IV.3.5.
                                                                 Cephas v. Nash, 328 F.3d 98, 101 n.3 (2d Cir. 2003) (emphasis
In LIBOR VI, we declined to express an opinion as to             added). 33 While a wholesale importation of concepts
“whether conspiracy jurisdiction survives as a doctrine” after   from criminal law is admittedly unwarranted, a cautious
the Walden decision and recent opinions 28 in the Southern       assessment of allegations of conspiracy jurisdiction seems
District of New York because plaintiffs did not plausibly        particularly appropriate in this case, where moving plaintiffs
allege that “any defendant committed an act pursuant to the      are relying on random acts taken mainly by domestic banks
alleged conspiracy in the United States.” 2016 WL 7378980,       to establish jurisdiction over foreign defendants who had
at *12. In light of the Schwab decision, we do not question      no direct contacts with plaintiffs whatsoever. An expansive
whether conspiracy jurisdiction is a cognizable basis for        exercise of extraterritorial jurisdiction would not only create
personal jurisdiction in this Circuit.                           comity issues; it would contravene the central dictate of the
                                                                 Supreme Court's ruling in Walden that, under the due process
28                                                               analysis, we must look to the contacts that each defendant
       For example, Judge Forrest rejected the idea that an
       assertion of participation in a conspiracy “generally     himself or herself created with the forum. See 571 U.S. at 284.
       can provide a standalone basis for jurisdiction
       subject only to the constraints of due process.”          29     California does not recognize conspiracy as a
       In re Alumnium Warehousing Antitrust Litigation,                 basis for asserting jurisdiction over a non-forum
       90 F. Supp. 3d 219, 227 (S.D.N.Y. 2015). If a                    defendant. See, e.g., Murphy v. Am. Gen. Life Ins.
       foreign entity participated in a conspiracy but did              Co., No. ED CV14-00486 (JAK)(SPX), 2015 WL
       not have sufficient contacts with the United States,             4379834, at *9 (C.D. Cal. July 15, 2015); Mansour
       then personal jurisdiction could not be exercised                v. Superior Court, 38 Cal. App. 4th 1750, 1760
       over that entity based on a co-conspirator's act that            (1995).
       occurred in or was expressly aimed at the United
                                                                 30
       States. Id. However, if the entity “in fact engaged              A federal court in Iowa found that conspiracy
       in some affirmative act directed at the forum,”                  jurisdiction was not cognizable under Iowa law.
       the rules and doctrines applicable to personal                   See Brown v. Kerkhoff, 504 F. Supp. 2d 464,
       jurisdiction, such as Walden, are sufficient to                  518 (S.D. Iowa 2007) (“This Court concludes a



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        nonresident's alleged participation in a conspiracy         34     Plaintiffs previously tried to establish specific
        cannot serve as a constitutionally sufficient basis                jurisdiction over Panel Bank defendants and
        to exercise in personam jurisdiction over that                     the BBA for claims based on their alleged
        individual in situations which would otherwise                     manipulation of LIBOR in London by alleging
        fail the “minimum contacts” approach. As a                         that they made “false representations about the
        result, Plaintiffs' allegations of a conspiracy cannot             quality of LIBOR [in the United States] in order to
        serve as an independent basis for the exercise                     reassure the public after the emergence of reports
        of in personam jurisdiction over the nonresident                   that LIBOR was being manipulated.” LIBOR IV,
        Defendants.”).                                                     2015 WL 6243526, at *29.
31      Under New York law, a plaintiff must allege                 35     The alleged acts rejected in LIBOR VI that
        that a defendant exercised direction or control                    moving plaintiffs repackage as new amendments
        over the co-conspirator to establish conspiracy                    include: defendants' sales and trades of LIBOR-
        jurisdiction over the defendant. See, e.g., Related                based products to plaintiffs in the United
        Companies, L.P. v. Ruthling, No. 17-cv-4175, 2017                  States; defendants' marketing activities; and
        WL 6507759, at *13 (S.D.N.Y. Dec. 18, 2017).                       unestablished claims that senior executives at
32                                                                         Citibank, JPMorgan, and Barclays directed the
        We certainly recognize that the burden of proof in
                                                                           LIBOR manipulation from the United States. 2016
        a criminal trial is different from the pleading stage
                                                                           WL 7378980, at *9-11. We found that none of these
        of a civil case.
                                                                           acts constituted sufficient contact with the United
33                                                                         States. Id. at *9.
        Interestingly, the First Circuit has adopted
        “reasonable foreseeability” as one of the pleading          36
        requirements that a plaintiff must meet to                         While moving plaintiffs also put forth allegations
        establish conspiracy jurisdiction over a non-forum                 of acts by defendants that we have not considered
        defendant. See Glaros v. Perse, 628 F.2d 679,                      before, for reasons explained below, they still fail
                                                                           to allege plausibly that “any defendant committed
        682 (1st Cir. 1980) (“But, to sustain jurisdiction
                                                                           an act pursuant to the pled conspiracy in the United
        over an out-of-state co-conspirator these courts
                                                                           States.” LIBOR VI, 2016 WL 7378980, at *9.
        required something more than the presence of
        a co-conspirator within the forum state, such as            In LIBOR VI, we explained that, since the actual
        substantial acts performed there in furtherance of          conspiratorial agreement took place in a foreign jurisdiction,
        the conspiracy and of which the out-of-state co-            special attention must be given to whether plaintiffs meet
        conspirator was or should have been aware.”).               the “purposeful availment” prong of the due process analysis
                                                                    by plausibly alleging that overt acts in furtherance of the
 *12 Many of the acts that moving plaintiffs now seek to
                                                                    reputation-driven conspiracy occurred in or were aimed at
allege for purposes of establishing conspiracy jurisdiction
                                                                    the United States. Id. at *8. In addition, we found that
have previously been considered as potential grounds for
                                                                    “defendants' sales and trades of LIBOR-based products to
jurisdiction and rejected by the Court because plaintiffs either:
                                                                    plaintiffs in the United States are not within the scope of the
(1) sought to use the acts to establish specific jurisdiction for
                                                                    reputation-motivated antitrust conspiracy” and could not be
claims that did not arise out of those acts, 34 see LIBOR IV,
2015 WL 6243526, at *30; or (2) failed “to carry their burden       considered as overt acts in furtherance of the conspiracy. 37
of making a prima facie showing of minimum contacts”                Id. at *9. In other words, plaintiffs' allegations of conspiracy
                                                                    jurisdiction must meet two requirements: 1) defendants' acts
created by the acts, 35 LIBOR VI, 2016 WL 7378980, at
                                                                    must have constituted sufficient contact with the relevant
*11. 36 Although plaintiffs insist that a different outcome is      forum; and 2) the acts furthered the conspiracy to project
now warranted in light of Schwab, see Pls. Joint PJ Br., at         financial soundness.
22, they are mistaken, as that decision affirmed our analytical
framework for assessing acts by defendants that allegedly           37     In LIBOR VI, we rejected plaintiffs'
furthered the sufficiently pled conspiracy.
                                                                           characterization of the conspiracy as “one with
                                                                           a profit motive” based on the Second Circuit's



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       opinion in Gelboim, which stated: “[C]ommon                 the conspiracy as expanded. First, Freddie Mac asserts -
       sense dictates that the Banks operated not just             directly contrary to Schwab - that, since “numerous Panel
       as borrowers but also as lenders in transactions            Bank Defendants profited from their positive reputation
       that referenced LIBOR. Banks do not stockpile               with Freddie Mac,” defendants' acts that facilitated business
       money, any more than bakers stockpile yeast.                transactions with Freddie Mac furthered “the conspiracy's
       It seems strange that this or that bank (or any             profit objectives.” See Freddie Mac's PJ Mem., at 18. But
       bank) would conspire to gain, as a borrower,                as we held in LIBOR VI, though “increased profits followed
       profits that would be offset by a parity of losses          from a positive reputation,” defendants' potential profit
       it would suffer as a lender.” Gelboim, 823 F.3d             motive was not a part of the sufficiently pled conspiracy. 38
       at 783. As we explained, the actual goal of the             2016 WL 7378980, at *5. Second, FFP plaintiffs argue that
       sufficiently pled conspiracy – in which Panel               conspiracy jurisdiction can be established over all defendants
       Bank defendants participated through the LIBOR              for fraud claims; yet they fail to put forth any plausible
       setting process in London – was the “projection
                                                                   allegation that defendants conspired to commit fraud. 39
       of financial soundness.” 2016 WL 7378980, at *7.
                                                                   Third, despite our repeated rulings, FFP plaintiffs re-allege
       This was in turn based on our interpretation of
                                                                   the “boycott” theory in which defendants allegedly fixed the
       the phrase “increased profits and the projection of
                                                                   market for benchmark rates. See, e.g., Principal Financial
       financial soundness” in Gelboim, 823 F.3d at 782,
                                                                   SAC ¶¶ 288-93. In LIBOR VI, we declined, for the second
       as describing “collectively a single, reputation-
                                                                   time, to consider the viability of the “boycott” theory, holding
       based motive to conspire, where increased profits
                                                                   that Gelboim “did not revive an alternative theory of antitrust
       followed from a positive reputation,” LIBOR VI,
                                                                   violation.” 2016 WL 7378980, at *2 n.3. FFP plaintiffs
       2016 WL 7378980, at *5.
                                                                   subsequently filed motions for reconsideration of our decision
 *13 The Second Circuit effectively adopted these                  to reject the theory, which we denied. See Mem. & Order,
requirements in Schwab. The Circuit held that, in order            2017 WL 946338, at *1 (S.D.N.Y. Feb. 16, 2017), ECF No.
to establish jurisdiction over a non-forum defendant based         1774. In re-alleging the theory, FFP plaintiffs simply state
on the acts committed by the defendant's co-conspirator,           – incorrectly - that the “boycott” theory is “one aspect of
plaintiffs must show that “[the] co-conspirator's overt acts       the much larger persistent suppression conspiracy.” Pls.' Joint
in furtherance of the conspiracy had sufficient contacts with      PJ Br., at 18. However, since the theory “was dismissed by
a state to subject that co-conspirator to jurisdiction in that     this Court and [was] neither before nor addressed by the
state.” Schwab, 883 F.3d at 87 (citing Unspam, 716 F.3d at         Second Circuit [in Gelboim],” we reject for the fourth and
329). Thus, overt acts are not themselves sufficient; rather,      final time FFP plaintiffs' assertion that personal jurisdiction
it is essential that the acts be in furtherance of the pled        can be premised on the “boycott” theory. Id. at *3. In sum,
conspiracy. See id. (“To allow jurisdiction absent a showing       all of these allegations go beyond the scope of the conspiracy
that a co-conspirator's minimum contacts were in furtherance       that the Second Circuit and this Court previously defined, we
of the conspiracy would be inconsistent with the ‘purposeful       reject the proposed amendments by FFP plaintiffs.
availment’ requirement.”). Here, given that the object of
the plausibly alleged conspiracy was to project financial          38     For example, Freddie Mac alleges that it authorized
soundness, an act that does not further the reputation-
                                                                          its traders to conduct transactions with only
enhancing object of the conspiracy – such as a defendant's
                                                                          counterparties that were pre-approved by Freddie
activities related to the sale of LIBOR-based instruments
                                                                          Mac's Counterparty Credit Risk Management
that can only further their “financial self-interest” – is not
                                                                          group (“CCRM”). Freddie Mac PTAC ¶¶ 11-14, 23.
sufficient to establish conspiracy jurisdiction. See id. (“[T]he
                                                                          The CCRM allegedly calculated each counterparty
conspiracy to manipulate LIBOR had nothing to do with the
                                                                          bank's perceived credit risk based on information
California transactions, and there is thus no reason to impute
                                                                          provided by the banks. Id. As the allegation
the California contacts to the co-conspirators.”).
                                                                          only speaks to defendants' profit motive, we
                                                                          reject Freddie Mac's assertion that defendants'
In a desperate attempt to establish conspiracy jurisdiction
                                                                          contacts with CCRM plausibly furthered the pled
over defendants with no forum contacts of their own, FFP
                                                                          conspiracy. See Schwab, 883 F.3d at 87 (rejecting
plaintiffs try to expand the scope of the pled conspiracy
                                                                          the notion that sales-related activities furthered
and plead random acts by defendants that allegedly furthered



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         the conspiracy). Furthermore, there is no causal        single telephone call that was allegedly “interpreted” as an
         relationship between defendants' alleged contacts       “instruction to artificially suppress” LIBOR submissions at
         and the conspiracy to manipulate LIBOR because          one bank, see Freddie Mac PTAC ¶ 340, could not have
         Freddie Mac does not allege that the information        furthered the conspiracy to project the financial soundness
         provided by defendants in the pre-approval process      of all Panel Banks. Without any factual allegation that the
         included any LIBOR data or was even related to          conversation took place between two or more Panel Banks, it
         LIBOR. See id. (holding that Schwab must show a         is more plausible that the alleged call furthered only Barclays'
         causal relationship between a defendant's in-forum      projection of financial soundness. Furthermore, Freddie Mac
         contacts (e.g., transactions in California) and the     does not allege that Mr. Diamond was in fact in New York
         conspiracy).                                            when he made the call; rather, it alleges that he “worked out
                                                                 of Barclays' New York offices” during the alleged LIBOR
39       In our view, FFP plaintiffs' allegation of a fraud-     suppression period. Without any allegation that Mr. Diamond
         based conspiracy is merely an end run around            physically made the call from his New York office, we cannot
         this Court's interpretation of Gelboim that found       draw an argumentative inference in Freddie Mac's favor even
         defendants' profit motive to be excluded from           if it was relevant. See Overseas Military, 21 F.3d at 507.
         the scope of the sufficiently pled conspiracy to
         manipulate LIBOR. In any event, even if FFP             Other amendments based on newly discovered intrabank
         plaintiffs plausibly allege a conspiracy to commit      communications do not fare any better. Moving plaintiffs
         fraud, none of defendants' acts, as discussed infra,    assert that the communications show how executives
         see Part III.2.4, constitutes sufficient contact with   at several defendant banks in New York allegedly
         the United States (and, a fortiori, with plaintiffs'    directed their own LIBOR submitters to submit artificially
         forum states).                                          suppressed submissions. See, e.g., Freddie Mac PTAC
                                                                 269, 274-79, 293, 316, 338. However, as a substantive
                                                                 matter, the communications are “nothing more than intrabank
     2.4. “Overt Acts” in Furtherance of the Conspiracy
                                                                 communications regarding the executive's thoughts on
 *14 With our prior rulings, Schwab, and the clearly defined     LIBOR levels.” 40 LIBOR VI, 2016 WL 7378980, at *11;
scope of the plausibly pled conspiracy in mind, we next          see also LIBOR IV, 2015 WL 6243526, at *60 (such
consider seriatim each “overt act” that moving plaintiffs        communications do not “purport[ ] to do anything more
allege defendants committed in furtherance of the conspiracy.    than to state a sincere opinion based on publicly available
                                                                 information”). In sum, none of plaintiffs' allegations makes a
                                                                 prima facie showing of acts on the part of defendants, within
Directing LIBOR Suppression from the United States               the United States, and in furtherance of the conspiracy.
We previously considered and rejected the allegations that
executives at certain defendant banks in the United States       40     Plaintiffs also discuss an email exchange between
directed LIBOR submitters to suppress their submissions.
                                                                        Scott Bere, Citibank's Head of Risk Treasury,
See LIBOR VI, 2016 WL 7378980, at *11. Citing
                                                                        and John Porter, Barclays Capital's Global Head
“newly discovered” facts, moving plaintiffs now propose
                                                                        of Portfolio and Liquidity Management. In the
amendments designed to “clarify and/or supplement the
                                                                        email, Mr. Bere allegedly told Mr. Porter to
allegations” that were addressed in LIBOR VI. Pls.' Joint
                                                                        examine Barclays' LIBOR submissions because
PJ Br., at 27. The proposed amendments, however, do not
                                                                        they “appear to be high.” Freddie Mac PTAC ¶
make the allegations concerning conspiracy jurisdiction any
                                                                        274. No reasonable person would see this email
more plausible. For example, in LIBOR VI, we observed,
                                                                        communication as an indication that either Mr.
based on supporting material submitted by FFP plaintiffs, that
                                                                        Bere or Mr. Porter directed anyone to submit false
Barclays' former CEO Robert Diamond may have directed
                                                                        LIBOR submissions from the United States.
BCI Executive Officer Jerry del Missier to submit low LIBOR
rates. 2016 WL 7378980, at *10 n.17. Plaintiffs now allege
that Mr. Diamond worked from Barclays' New York office           Transmission of Individual LIBOR Submissions to Plaintiffs
when he made a phone call to direct Mr. del Missier to submit     *15 We have previously considered and rejected the
low LIBOR rates. Freddie Mac PTAC ¶ 340. However, a              assertion that defendants' alleged transmissions of individual
                                                                 LIBOR submissions and daily LIBOR rates to the United


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States established personal jurisdiction over defendants in               relied on the BBA's statements about the accuracy
the United States. See LIBOR IV, 2015 WL 6243526, at                      of LIBOR. See Schwab, 883 F.3d at 96-98.
*29-30 (rejecting the argument that defendants' transmissions      With respect to other defendants that arguably fall within the
of LIBOR rates to plaintiffs established jurisdiction); LIBOR      scope of the pled conspiracy, there is no question that an
VI, 2016 WL 7378980, at *10 (rejecting the allegation that         act of concealment can constitute an overt act in furtherance
defendants transmitted their individual LIBOR submissions          of the conspiracy. See, e.g., United States v. Grant, 683
from the United States to Thomson Reuters in New York).            F.3d 639, 648-49 (5th Cir. 2012) (“[E]fforts to conceal an
Freddie Mac's allegation that defendants published LIBOR           ongoing conspiracy obviously can further the conspiracy by
data via several data vendors, see Freddie Mac PTAC ¶ 239,         assuring that the conspirators will not be revealed and the
is substantially identical to those previous assertions and is     conspiracy brought to an end.”); Grunewald v. United States,
thus rejected.                                                     353 U.S. 391, 405 (1957) (holding that an act of concealment
                                                                   occurring after the conspiracy ended could still be seen
Freddie Mac also alleges that Bank of America directly sent        as furthering the conspiracy if prosecutors could prove the
its LIBOR submissions to Freddie Mac. Id. ¶ 239. Even              existence of an express original agreement to conceal the
assuming arguendo that Bank of America's act constituted           conspiracy). In their proposed amended complaints, plaintiffs
contacts sufficient to establish jurisdiction in the United        assert that defendants' publications and statements about the
States, 41 the conduct did not further the conspiracy. After       quality of LIBOR – and their transmission of the publications
calculating the LIBOR rate, every Panel Bank's submission          directly to plaintiffs – served to conceal the conspiracy and,
was published. LIBOR I, 935 F. Supp. 2d at 679. “Therefore,        consequently, establish jurisdiction over all defendants. See,
it is a matter of public knowledge ... what quote each             e.g., Freddie Mac PTAC ¶¶ 119, 132, 160, 193, 320, 406;
bank submitted and how the final fix was calculated.” Id.          Principal Financial PSAC ¶¶ 263, 265-67.
Thus, even assuming that, in addition to daily worldwide
publication, Bank of America sent their own LIBOR quotes            *16 However, moving plaintiffs do not plausibly
to Freddie Mac, the transmissions could not have furthered         demonstrate how the acts could have provided false assurance
the conspiracy to project the financial soundness of all           or furthered the conspiracy. For example, Freddie Mac alleges
Panel Banks. At best, the transmissions helped with Bank           that several defendants published and distributed in the
of America's solicitation of business, and such sales-related      United States general reports on “global or U.S. Fixed Income
activities do not further the alleged conspiracy.                  Strategy, which included analyses on” LIBOR, e.g., Freddie
                                                                   Mac PTAC ¶¶ 33, 61, 70, 95, 119, 132, 160, but Freddie Mac
41                                                                 does not identify anything in the reports that serves as, or can
       In LIBOR VI, we found personal jurisdiction over
       the FDIC's antitrust claims against the Bank of             even be interpreted as, false assurance about the quality of
       America entities, so this issue is academic.                LIBOR. In fact, the reports were designed “for the purpose
                                                                   of soliciting and engaging in financial transactions.” E.g.,
Acts of “False Assurance”                                          Freddie Mac PTAC ¶¶ 70, 80, 89, 101, 118, 131, 146, 169,
As a threshold matter, we reject FFP plaintiffs' attempt to cast   192. Thus, the reports furthered the financial self-interest of
the BBA as a member of the plausibly pled conspiracy and           the individual banks who published them, and they did not
thereby reject their efforts to rely on the BBA's acts in the      further a conspiracy to project financial soundness for sixteen
United States for jurisdictional purposes. Even FFP plaintiffs     Panel Banks. See Schwab, 883 F.3d at 87.
point out that the BBA's incentive was “to portray LIBOR
as a reliable benchmark, to appease its constituent members        Moreover, applying the Supreme Court's analysis in Calder
and to profit from the licensing of LIBOR,” Pls.' Joint PJ         v. Jones, 465 U.S. 783 (1984), we find that none of the
Br., at 21. Thus, the BBA is not a financial institution whose     “false assurance” acts constituted sufficient contact with the
main concern is to project financial soundness, and any act        United States. In Calder, the Supreme Court considered a
of assurance that the BBA allegedly took did not further the       libel suit in California state court that sought to establish
                                                                   specific jurisdiction over two defendants who worked for
alleged conspiracy. 42
                                                                   a national newspaper company headquartered in Florida.
                                                                   Id. at 784-86. The plaintiff's libel claims were based on a
42     This ruling is separate from the issue of whether, in       newspaper article written and edited by the defendants in
       the context of inquiry notice, a plaintiff reasonably       Florida that was subsequently distributed in California and



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the rest of the country. Id. The Court examined the various            43     We explicitly note that, even if the BBA were a
contacts the defendants had with California (as opposed to
                                                                              member of the conspiracy, it is not subject to the
the contacts the defendants had with the plaintiff) and found
                                                                              Clayton Act's venue provision because the BBA is
those forum contacts to be sufficient: “The defendants relied
                                                                              not “a corporation” as defined by the Act. See 15
on phone calls to ‘California sources’ for the information in                 U.S.C. § 22; World Skating Fed'n v. Int'l Skating
their article; they wrote the story about the plaintiff's activities          Union, 357 F. Supp. 2d 661, 664 (S.D.N.Y. 2005).
in California; they caused reputational injury in California by
writing an allegedly libelous article that was widely circulated
                                                                          3. Other Amendments
in the State; and the ‘brunt’ of that injury was suffered by
                                                                        *17 In this section, we address plaintiffs' amendments that
the plaintiff in that State.” Walden, 571 U.S. at 287. The
                                                                       are not related to personal jurisdiction. We conclude that
injury caused by the news article in California “connected the
                                                                       almost all of the amendments do not comport with the dictates
defendants' conduct to California, not just to a plaintiff who
                                                                       of Schwab and are thus futile. We consider each amendment
lived there.” Id. Therefore, California was “the focal point
                                                                       seriatim.
both of the story and of the harm suffered.” Calder, 465 U.S.
at 789. Jurisdiction was proper “based on the ‘effects’ of their
Florida conduct in California.” Id.
                                                                             3.1. Lender Plaintiffs' Proposed Amendments
Unlike the defendants' acts in Calder, none of the acts in
                                                                       In LIBOR V, we dismissed the fraud claims asserted by
the instant case were specifically targeted at causing injury
                                                                       Government Development Bank for Puerto Rico (“GDB”) as
in the United States. For example, Freddie Mac alleges
                                                                       time-barred because the bank was on inquiry notice of the
that JPMorgan published a research note in response to
                                                                       basis for all of its claims by May 31, 2010, but failed to
the May 29, 2018 article that questioned the accuracy of
                                                                       assert them until November 21, 2012. 2015 WL 6696407,
several defendants' LIBOR submissions. Freddie Mac PTAC
                                                                       at *12-13. We assumed without deciding that Puerto Rico
¶ 317, 406. There is no allegation that the note, which
                                                                       would apply the “weak inquiry notice” rule because GDB's
criticized the research methodology used by the article,
                                                                       claims were time-barred even under that plaintiff-friendly
was specifically published for or targeted at Freddie Mac
                                                                       rule. Id. However, we now find that Puerto Rico has a “strong
or the United States. Rather, the note was distributed to
                                                                       inquiry notice” rule, under which the statute of limitations
subscribers of the Bloomberg Terminal, see id. ¶ 406 n.457,
                                                                       begins to run on the inquiry notice date. See infra Part
“which sits on the desk of more than 300,000 of the
                                                                       IV.5.1. Therefore, GDB's claims expired on May 31, 2011.
‘world's most influential decision makers,’ ” id. ¶ 64 n.38.
                                                                       After Schwab, Lender plaintiffs concurrently filed a motion
In other words, the note ended up in the hands of investors
                                                                       for leave to amend, see ECF No. 2552, and a pre-motion
throughout the world. JPMorgan's act thus mirrors the words
                                                                       letter seeking leave to move for reconsideration of LIBOR
of Henry Wadsworth Longfellow: “I shot an arrow into
                                                                       V, see ECF No. 2555. They argued that, by reversing our
the air; It fell to earth, I knew not where; For, as swiftly
                                                                       partial dismissal of Schwab's unjust enrichment claims under
it flew, the sight; Could not follow it in its flight.” By
                                                                       California law, Schwab changed the controlling law of this
Freddie Mac's logic, JPMorgan would be subject to “de
                                                                       case and thereby reinstated GDB's fraud claims. Mem. Law in
facto universal jurisdiction” throughout the world. Advanced
                                                                       Supp. of GDB Mot. Leave to Amend (“Lender Pls.' Br.”), at 9,
Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc.,
                                                                       ECF No. 2572. Failing to recognize the variations in state law,
751 F.3d 796, 801 (7th Cir. 2014).
                                                                       Lender plaintiffs requested that we reconsider our analysis of
In sum, moving plaintiffs fail to show that defendants' acts           Puerto Rico law in light of the Second Circuit's decision. 44
furthered the pled conspiracy or had sufficient contacts               See Mem. & Order, 2018 WL 3222518, at *1 (S.D.N.Y. Jul.
with the United States. Thus, we need not address whether              2, 2018), ECF No. 2607 (“July 2, 2018 Order”).
the exercise of jurisdiction would comport with traditional
notions of fair play and substantial justice. We also need not         44     Lender plaintiffs' utter failure to grasp state law
reach defendants' argument regarding lack of venue under the                  variations is evidenced in their pre-motion letter.
Clayton Act. 43                                                               Lender plaintiffs did not “consider, address, or even
                                                                              cite any Puerto Rico law in contending that we




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       should reconsider our prior analysis of Puerto Rico                 mortgages, credit card debt, and student loan
       law.” July 2, 2018 Order, 2018 WL 3222518, at *1.                   collateral. Id.
We denied Lender plaintiffs' request to move for
reconsideration in July 2018, and we see no reason to rule
otherwise on their duplicative motion for leave to amend.                3.3. FFP Plaintiffs' Proposed Amendments 47
In their motion, Lender plaintiffs argue that Puerto Rico
                                                                   47
recognizes a “defendant reassurance” exception, see Reply to               We do not consider Freddie Mac's request to
Defs.' Opp. to Pls.' Mots. Leave to Amend Compls. (“Pls.'                  add Barclays Capital as a defendant because it
Joint Non-PJ Br.”), at 22, ECF No. 2666, even though we held               withdrew the request. See Pls.' Joint Non-PJ Br., at
in the July 2, 2018 Order that our analysis would not change               17 n.23.

even if the exception applied. 45 2018 WL 3222518, at *2. In
                                                                   FFP Plaintiffs' Attempt to Expand the Suppression Period
view of the foregoing, and because there is no question that
GDB's claims were filed after the statute of limitations had       FFP plaintiffs seek to extend the end of the alleged
run, Lender plaintiffs' motion is denied.                          suppression period from May 2010 to October 2011 based on
                                                                   the indictment of two former employees of Société Générale
45                                                                 and the bank's recent settlements with U.S. regulators. See,
       We now explicitly hold that the “defendant                  e.g., FDIC PSAC ¶ 1; Freddie Mac PTAC ¶ 7. We have
       reassurance” exception does not apply to GDB's              previously considered the implications of the indictment for
       claims because Lender plaintiffs do not allege              this MDL when the Direct Action plaintiffs (“DAP”), which
       that GDB conducted reasonable due diligence to              include FFP plaintiffs, filed a motion to defer their deadline to
       discover fraudulently concealed material facts after        move for reconsideration in light of the indictment until after
       it had been put on inquiry notice in May 2010.              the Second Circuit ruled on the appeals from LIBOR IV and
       See, e.g., Maurás v. Banco Popular De Puerto Rico,          LIBOR VI. See Letter from James Martin to the Court, Sep.
       Inc., No. 16-2864 (BJM), 2017 WL 5158677, at                14, 2017, ECF No. 2263. We denied the motion because the
       *6 (D.P.R. Nov. 7, 2017); Garcia Colon v. Garcia            indictment “does not contain any previously unknown facts
       Rinaldi, 340 F. Supp. 2d 113, 121-22 (D.P.R. 2004).         of relevance” and “does [not] alter the factual and legal bases
                                                                   underlying this Court's prior decisions.” Sep. 26, 2017 Order,
                                                                   ECF No. 2289.
           3.2. NCUA's Proposed Amendments

*18 The NCUA moves to add amendments detailing its                 We reject FFP plaintiffs' proposed amendments for the

LIBOR-based transactions in asset-backed securities. 46 See        same reasons. The settlements 48 contain no allegation or
NCUA PSAC ¶¶ 235-236, 239-240, 243-244, 247-251, 254.              finding that an inter-bank persistent suppression conspiracy
Whether the NCUA has standing to bring antitrust claims as         existed. In addition, there is no suggestion that false LIBOR
a beneficiary of the trusts is discussed in our consideration of   submissions were submitted from or directed by individuals
FFP plaintiffs' proposed amendments regarding asset-backed         in the United States. The assertion that the internal documents
securities. To the extent that the NCUA bases its antitrust        allegedly show “all Panel Bank Defendants manipulated their
claims on transactions with non-defendant third parties, we        submissions,” see, e.g., FDIC PSAC ¶ 306, does not find any
reject the amendments based on our ruling in LIBOR VI. See         support in the documents themselves. Since we deny FFP
2016 WL 7378980, at *16.                                           plaintiffs' attempt to expand the relevant time period, we do
                                                                   not address defendants' arguments to dismiss claims that are
46                                                                 premised on the new conduct period as untimely. 49
       The NCUA claims that it engaged in 2,237
       transactions involving asset-backed securities
                                                                   48
       (“ABS”). See Letter from Andrew Shen to the                         The settlements include the bank's deferred
       Court, Feb. 1, 2019, ECF No. 2790. 2,033 of those                   prosecution agreement with the U.S. Department
       transactions involved residential mortgage-backed                   of Justice, see Deferred Prosecution Agreement,
       securities, and the rest of the transactions (except                United States v. Société Générale S.A., No. 18-
       for two that involved corporate bonds) involved                     cr-253 (E.D.N.Y. Jun. 5, 2018), and the bank's
       assets such as aircrafts, automobiles, commercial                   settlement with the Commodity Futures Trading



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        Commission, see Order, In the Matter of Société             inquiry into the language of the particular “no-action” clause
        Générale S.A., CFTC No. 18-14 (June 4, 2018).               at issue. See Quadrant Structured Prod. Co. v. Vertin, 23
                                                                    N.Y.3d 549, 564-65 (2014) (discussing cases in which federal
49      In their effort to overcome the statute of limitations      courts analyze different “no-action” clauses and finding that
        bar, FFP plaintiffs grossly misinterpret the Circuit's      the scope of legal claims that security holders are allowed to
        ruling when they state: “The Second Circuit held            bring depends on the language of each “no-action” clause).
        that, even if California law were no different than
        other jurisdictions, Schwab could plausibly have            We cannot determine whether the NCUA and FFP plaintiffs
        relied on the BBA's false assurances.” Pls.' Joint          can bring antitrust and fraud claims without reviewing the
        Non-PJ Br., at 9 (emphasis added). Nowhere in               “no-action” clauses contained in the PSAs of the asset-backed
        Schwab does the Circuit suggest that the BBA's              securities they purchased. Therefore, we direct the NCUA and
        false assurances could have resulted in a finding           FFP plaintiffs to include representative samples of the “no-
        of justifiable reliance in any other state besides          action” clauses in their amended complaints. Defendants will
        California.                                                 then have an opportunity, if appropriate, to move for dismissal
                                                                    of plaintiffs' claims.
Standing to Bring Claims Premised on Asset-Backed
Securities
 *19 Like the NCUA, FFP plaintiffs move to add                      Principal's Amendments That Add Details of Swap
amendments detailing their transactions of LIBOR-based              Transactions
ABS. See, e.g., Freddie Mac PTAC ¶¶ 56, 85, 94, 122, 140,            *20 Principal moves to add more details regarding their
177; FDIC PSAC ¶¶ 68, 89; Principal Financial PSAC ¶¶               swap transactions with defendants. To the extent that
31, 46, 230-39. In LIBOR IV, we found that, “[w]hen an              Principal is simply providing more information about the
investor holds an asset-backed security, the investor actually      transactions, we allow their amendments because we do
holds a certificate as evidence that the investor is entitled to    not find that the amendments prejudice defendants in any
certain disbursements as beneficiary of a trust.” 2014 WL           way. See Pasternack v. Shrader, 863 F.3d 162, 174 (2d Cir.
6243526, at *84. Furthermore, the trust “has legal personality      2017). However, to the extent that Principal is adding more
and acts through its trustee, who (at least following a default)    details to reassert claims that we have previously dismissed,
is a fiduciary for the investors collectively.” Id. Therefore,      we reject the proposed amendments. See, e.g., Mem. &
the NCUA and FFP plaintiffs must show that they are proper          Order, 2016 WL 4773129, at *9 (S.D.N.Y. Sep. 12, 2016)
parties to maintain contract-related claims against the trust's     (dismissing Principal's fraud and negligent misrepresentation
counterparties. Id. at *85.                                         claims against Credit Suisse International, Chase Bank USA,
                                                                    and Royal Bank of Scotland because Principal failed to allege
Defendants argue that individual certificate holders cannot         swap agreements during the alleged suppression period).
bring claims related to the certificate holders' investments in
ABS because of “no-action” clauses that are typically found
                                                                    FDIC's Amendments Related to Previously Dismissed
in Pooling and Servicing Agreements (“PSAs”). See Defs.'
                                                                    Claims
Joint Non-PJ Br., at 15; see also Letter from Paul S. Mishkin
to the Court, Feb. 19, 2019, ECF No. 2808. But defendants           Finally, the FDIC reasserts claims 50 that were already
rely on inapposite case law discussing how certificate holders      dismissed by the Court in LIBOR IV. At oral argument, the
cannot bring breach of representation and warranty claims;          FDIC confirmed that it had included the dismissed claims
plaintiffs' claims, of course, sound in antitrust and fraud.        in the proposed amended complaint for the sole purpose
See, e.g., Deutsche Bank Nat'l Trust Co. v. Quicken Loans           of preserving them for appeal, rendering it unnecessary to
Inc., 810 F.3d 861, 868 n.8 (2d Cir. 2015). Plaintiffs, for         discuss them further.
their part, assert that “no-action” clauses do not “extend to a
security holder's common law and statutory claims.” Letter          50     Defendants stated that the FDIC reasserts “claims
from James Martin to the Court, Feb. 4, 2019, ECF No. 2791.                for tortious interference with prospective economic
                                                                           advantage, breach of contract, and negligent
As the legal authorities on which plaintiffs rely make clear, the          misrepresentation.” Joint Mem. Law in Supp.
legal effect of a “no-action” clause depends on a fact-specific



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       Defs.' Opp. Pls.' Mots. for Leave to Amend (“Defs.'        Cir. 1990). The due process test has two related components:
       Joint Non-PJ Br.”), at 6, ECF No. 2625.                    the “minimum contacts” inquiry and the “reasonableness”
                                                                  inquiry. Metro. Life Ins. Co. v. Robertson-Ceco Corp., 84
IV. Defendants' Motion to Dismiss Against Schwab and              F.3d 560, 567 (2d Cir. 1996). When conducting a “minimum
Doral                                                             contacts” inquiry in a federal securities action, a court looks
Defendants move for partial dismissal of Schwab's and             at the defendant's contacts with the entire United States.
Doral's complaints for lack of personal jurisdiction 51 and for   S.E.C. v. Straub, 921 F. Supp. 2d 244, 253 (S.D.N.Y. 2013).
failure to state a claim. Since the same standards of review      If sufficient contacts are found, the court may exercise
are used to evaluate motions for leave to amend and motions       jurisdiction so long as “it is reasonable [to do so] under the
to dismiss, our jurisdictional analyses in the previous section   circumstances of the particular case.” 52 Id.
also apply to Schwab's and Doral's claims; indeed, some of
the jurisdictional issues presented in the motions for leave to   52     However, the “reasonableness” inquiry rarely
amend appear in both Schwab's and Doral's complaints. This               defeats jurisdiction where a defendant has
is especially true for Doral, whose complaint is substantially           sufficient contact with the forum. See Asahi Metal
similar to the FDIC's proposed second amended complaint.                 Indus. Co. v. Super. Ct. of Cal., Solano Cty., 480
                                                                         U.S. 102, 116 (1987) (Brennan, J., concurring)
51                                                                       (noting that only in “rare cases” will the inquiry
       Defendants also move to dismiss Doral's antitrust
       claims against certain defendants for improper                    defeat jurisdiction). In addition, the inquiry is
       venue under Rule 12(b)(3). Since we find that the                 “largely academic in non-diversity cases brought
       FDIC fails to establish conspiracy jurisdiction, see              under a federal law which provides for nationwide
       supra Part III.2.4, we need not reach defendants'                 service of process.” S.E.C. v. Softpoint, Inc.,
       argument regarding lack of venue under the                        No. 95-cv-2951 (GEL), 2001 WL 43611, at *5
       Clayton Act.                                                      (S.D.N.Y. Jan. 18, 2001).

   1. General Legal Standard for Motion to Dismiss                 2. Motion to Dismiss Schwab's Claims Based on Lack
As we have already described the general standards applicable      of Personal Jurisdiction
to motions to dismiss in the context of evaluating the motions    *21 Schwab asserts federal securities claims premised on
for leave to amend, see supra Part III.1, we discuss only the     its purchase of floating-rate notes. 53 Specifically, Schwab
standards that are specific to the instant motions.               asserts: (1) claims under Section 10(b) of the Securities
                                                                  Exchange Act of 1934 54 and SEC Rule 10b-5 55 (“10(b)
When deciding a motion to dismiss for failure to state
                                                                  claims”) against Counterparty defendants who issued and/
a claim under Rule 12(b)(6), we must accept as true all
                                                                  or sold floating-rate notes to Schwab, see Schwab SAC
factual allegations in the complaint and draw all reasonable
                                                                  ¶¶ 186-87; (2) 10(b) claims against Non-Counterparty
inferences in the plaintiff's favor. Harris v. Mills, 572 F.3d
                                                                  defendants based on their false LIBOR submissions, see id.
66, 71 (2d Cir. 2009). Nevertheless, the plaintiff's “[f]actual
                                                                  ¶ 185; and (3) claims under Section 20(a) of the Exchange
allegations must be enough to raise a right to relief above the
                                                                  Act 56 (“20(a) claims”) against the parent entities of 10(b)
speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
                                                                  defendants through a control person theory, id. ¶ 195. Under
555 (2007). The well-pleaded allegations must show “more
                                                                  California law, Schwab asserts: (1) fraud claims and breach
than a sheer possibility that a defendant has acted unlawfully”
                                                                  of the implied covenant of good faith and fair dealing claims
to pass muster. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). If
                                                                  against Counterparty defendants who issued floating-rate
the plaintiff has “not nudged [its] claims across the line from
                                                                  notes, id. ¶¶ 200, 204; (2) unjust enrichment claims against
conceivable to plausible, [the] complaint must be dismissed.”
                                                                  Counterparty defendants who issued floating-rate or fixed-
Twombly, 550 U.S. at 570.
                                                                  rate notes, id. ¶¶ 206-209; (3) fraud (and aiding and abetting
                                                                  fraud) claims against Non-Counterparty defendants based
When a defendant in a federal securities claim brought
under the Exchange Act challenges the exercise of personal        on their false LIBOR submissions, 57 id. ¶ 201; and (4)
jurisdiction, the challenge “must be tested against due process   tortious interference claims against certain Non-Counterparty
standards.” S.E.C. v. Unifund SAL, 910 F.2d 1028, 1033 (2d



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defendants whose affiliates issued floating-rate notes, id. ¶¶      and agents - had no duty to disclose the alleged manipulation
210-212.   58                                                       of LIBOR and could not be held liable for issuing defendants'
                                                                    failure to disclose the alleged manipulation. See LIBOR IV,
53                                                                  WL 6243526, at *75. Synthesizing those rulings in the context
        Schwab no longer asserts its federal securities
                                                                    of Schwab's Exchange Act claims, we can exercise personal
        claims concerning fixed-rate notes in light of the
                                                                    jurisdiction over a Counterparty defendant who had sufficient
        Second Circuit's affirmance of our decision to
                                                                    contacts with the United States by issuing notes in the United
        dismiss the claims. See Schwab, 883 F.3d at 95-96.
                                                                    States or placing them with a U.S.-based agent for sale. 59
54      § 10(b), 15 U.S.C. § 78j(b) (2012).
                                                                    59
55                                                                          This exercise of jurisdiction is in line with the
        17 C.F.R. § 240.10b–5 (2014).
                                                                            Supreme Court's ruling in Blue Chip Stamps v.
56                                                                          Manor Drug Stores, 421 U.S. 723 (1975), that a
        § 20(a), 15 U.S.C. § 78t(a) (2012).
                                                                            private cause of action under § 10(b) is limited to
57      In light of our ruling that “a plaintiff may not                    purchasers or sellers of securities.
        sue its own counterparty for fraud on the basis of
                                                                    We have repeatedly found that, unless there is a plausible
        false LIBOR submissions,” LIBOR IV, 2015 WL
                                                                    allegation that LIBOR submissions were made in the
        6243526, at *62 n.92, Schwab “limits these claims
                                                                    United States, we would exercise personal jurisdiction only
        to its purchases of floating-rate notes issued by
                                                                    over Counterparty defendants who: (1) transacted directly
        Bank Affiliates, Parent Company Defendants, or
                                                                    with plaintiffs by issuing LIBOR-based instruments and/or
        non-Defendants.” Schwab SAC ¶ 201.
                                                                    engaging in a “course of dealing” in the relevant forums;
58                                                                  or (2) transacted indirectly with plaintiffs through their
        Schwab also asserts that, under the theory of civil
        conspiracy, each defendant “is being sued both              subsidiaries or affiliates. See supra Part III.2. As defendants
        individually as a primary violator of the law ... and       argue in their briefs, Schwab attempts to broaden the
        as a co-conspirator as provided for under state law.”       jurisdictional scope of its claims to include Non-Counterparty
        Schwab SAC ¶ 217.                                           defendants in spite of our prior rulings and the Second
                                                                    Circuit's affirmance of those rulings. For the reasons stated
Schwab argues that we should exercise personal jurisdiction         below, we reject Schwab's assertion that we should exercise
over defendants for all of its claims. While we previously          personal jurisdiction over Non-Counterparty defendants.
considered whether personal jurisdiction could be established
over defendants in Schwab's state law claims, we had no
occasion to make specific rulings on jurisdiction in the
context of the federal securities laws. However, a number of               2.1. Nationwide General Jurisdiction Based on
our earlier jurisdictional rulings are applicable to Schwab's            the Exchange Act's Nationwide Service of Process
federal securities claims.
                                                                     *22 Under a novel theory of nationwide general jurisdiction,
                                                                    Schwab asserts that the nationwide service of process
In LIBOR IV, we found that personal jurisdiction could
                                                                    provision of the Exchange Act establishes federal general
be established over a defendant for a claim arising from a
                                                                    jurisdiction over all defendants who are domiciled in the
federal statute with a nationwide service of process provision,
such as the Exchange Act, if the defendant had sufficient           United States. 60 See Schwab's Opp'n to Defs.' Mot. Dismiss
contacts with the United States. 2015 WL 6243526, at                (“Schwab Br.”), at 11-13, ECF No. 2668. Schwab argues
*23. For Counterparty defendants who issued bonds, we               that a defendant's residency in the United States creates
upheld jurisdiction “where the bond was issued,” or more            “minimal contacts” with the United States and can justify
specifically, “where the bond was placed with an underwriter        the federal government's exercise of general jurisdiction. See
or agent for sale or marketing.” Id. at *37. We also upheld         id. at 11 (quoting Mariash v. Morrill, 496 F.2d 1138, 1143
jurisdiction where Counterparty defendants directly solicited       (2d Cir. 1974)). In response, defendants contend that Schwab
and sold LIBOR-linked financial instruments. March 31,              “improperly conflates” the analysis for general jurisdiction in
2016 Order, 2016 WL 1301175, at *4; see also Schwab, 883            a specific state with the sufficiency of a defendant's residency
F.3d at 83. But entities that were merely involved in the sale of   in the United States for purposes of establishing specific
LIBOR-based financial instruments - such as brokers, dealers,


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jurisdiction in federal securities claims. See Defs.' Joint PJ     United States created “minimal contacts” that would allow
Br., at 46.                                                        specific jurisdiction over the defendant for an Exchange Act
                                                                   claim.
60     They include: (1) Bank of America, N.A., Citibank,
                                                                   Schwab also points to Porina v. Marward Shipping Co., 521
       N.A., and JP Morgan Chase Bank, N.A., who
                                                                   F.3d 122 (2d Cir. 2008), in which the Circuit considered the
       Schwab refers to as “Domestic Panel Bank”
                                                                   question of whether a foreign defendant's contacts with the
       defendants; and (2) Bank of America Corp.,
                                                                   United States were sufficiently “continuous and systematic”
       Citigroup Inc., and JP Morgan Chase & Co., who
                                                                   to establish nationwide general jurisdiction. The defendant
       Schwab refers to as “Domestic Parent Company”
                                                                   in Porina had insufficient contacts with any specific state, so
       defendants. See Schwab SAC ¶ 220.
                                                                   the plaintiffs relied on Rule 4(k)(2), which allows a federal
We agree with defendants. In LIBOR IV, we held that, in            court to exercise personal jurisdiction when the defendant is
evaluating the existence of personal jurisdiction for federal      not “subject to jurisdiction in any state's courts of general
claims arising from statutes with nationwide service of
                                                                   jurisdiction.” 61 Fed. R. Civ. P. 4(k)(2)(A). This rule was
process provisions, we would make a “minimum contacts”
                                                                   “specifically designed to ‘correct[ ] a gap’ in the enforcement
inquiry and examine a defendant's suit-related contact with
                                                                   of federal law in international cases,” Porina, 521 F.3d at
the entire United States, rather than just the forum state. See
                                                                   126 (alternation in original) (quoting Fed. R. Civ. P. 4
2015 WL 6243526, at *23. We also held that, under the
                                                                   advisory committee's note, 1993 Amendments), which “arose
Supreme Court's rulings in Daimler and Goodyear Dunlop
                                                                   from the general rule that a federal district court's personal
Tires Operations, S.A. v. Brown, 564 U.S. 915 (2011), we
                                                                   jurisdiction extends only as far as that of a state court in
would examine a defendant's “continuous and systematic”
                                                                   the state where the federal court sits,” id. Consequently, a
contacts with the forum state in evaluating general jurisdiction
                                                                   federal court could not exercise jurisdiction over a foreign
in that state. Id. at *25-27; see also Metro. Life, 84 F.3d
                                                                   defendant that had sufficient contact with the United States
at 568 (“Because general jurisdiction is not related to the
                                                                   but not with any single state. Thus, the Circuit's analysis of
events giving rise to the suit, courts impose a more stringent
                                                                   the foreign defendant's “continuous and systematic general
minimum contacts test, requiring the plaintiff to demonstrate
                                                                   business contacts” with the United States in Porina has no
the defendant's continuous and systematic general business
                                                                   bearing on Schwab's argument because Schwab cannot rely
contacts.” (internal citation omitted)). Therefore, “[g]eneral
                                                                   on Rule 4(k)(2): defendants over which Schwab attempts to
jurisdiction and specific jurisdiction require different legal
                                                                   establish nationwide general jurisdiction are domestic entities
analyses ... and the question of minimum contacts only applies
                                                                   who are subject to general jurisdiction in their home states.
in a specific jurisdiction analysis.” Mem. & Order, 2017 WL
532465, at *1 (S.D.N.Y. Feb. 2, 2017), ECF No. 1761.
                                                                   61     Rule 4(k)(2) allows a federal court to exercise
At oral argument, Schwab argued that, applying a theory of                personal jurisdiction when three requirements are
federal general jurisdiction predicated on the Exchange Act's             met: “(1) the claim must arise under federal law; (2)
nationwide service of process provision, this Court could                 the defendant must not be subject to jurisdiction in
exercise jurisdiction over Non-Counterparty defendants for                any state's courts of general jurisdiction; and (3) the
state law claims. See Tr. 4:12-18. According to Schwab,                   exercise of jurisdiction must be consistent with the
finding federal general jurisdiction based on a defendant's               United States Constitution and laws.” Porina, 521
U.S. residency has been “Second Circuit law for about 45                  F.3d at 127 (internal quotation marks omitted).
years” since the Circuit's decision in Mariash, 496 F.2d 1138.      *23 Other cases on which Schwab relies do not support
Id. But Schwab grossly misinterprets Mariash. In that case,        its novel theory. Rather, the cases answer affirmatively the
the Circuit considered whether a defendant's residency in the      question of whether a defendant in a federal securities lawsuit
United States was sufficient to establish personal jurisdiction    could be subject to specific jurisdiction in any federal court
over the defendant for claims brought under the Exchange
                                                                   based on the defendant's U.S. residency. 62 See, e.g., Moon
Act. Although the Mariash court did not explicitly state
                                                                   Joo Yu v. Premiere Power LLC, No. 14-cv-7588 (KPF), 2015
whether that jurisdiction was specific or general, its analysis
                                                                   WL 4629495, at *5 (S.D.N.Y. Aug. 4, 2015) (holding that
of the defendant's “minimal contacts” indicates that specific
                                                                   a New York federal court could exercise jurisdiction over a
jurisdiction was at issue. See 496 F.2d at 1143. In other words,
the Circuit examined whether the defendant's residency in the


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defendant for Exchange Act claims even though the defendant            in which defendants issued their notes; rather,
was a resident of Oklahoma).                                           Schwab only needs to allege that defendants issued
                                                                       floating-rate notes in the United States or placed
62                                                                     them with U.S.-based agents for sale.
       None of the cases even mentions general
       jurisdiction or engages in an analysis of whether        However, for some notes that were issued by foreign
       a defendant's contacts with the United States are        defendants, Schwab does not sufficiently allege that they were
       sufficiently “continuous and systematic” to subject      issued or placed with an agent for sale in the United States.
       them to general jurisdiction.                            See, e.g., id. at ¶ 163 n.187 & n.188 (noting that transactions
                                                                numbered FL925-26 do not have agent information). Schwab
For these reasons, we reject Schwab's attempt to establish
                                                                argues that any ambiguity as to whether the seller was located
jurisdiction over Non-Counterparty defendants under the
                                                                in the United States should be resolved in its favor at the
theory of nationwide general jurisdiction.
                                                                pleading stage. 65 But we may not “draw argumentative
                                                                inferences in the plaintiff's favor.” Overseas Military Sales,
                                                                21 F.3d at 507 (internal quotation marks omitted). Without
              2.2. Specific Jurisdiction over
                                                                any specific allegation about the identity or location of the
           Defendants in Exchange Act Claims
                                                                defendant's agent, we cannot draw the requested inferences in
Schwab    plausibly   alleges   that   Floating-Rate   Issuer   Schwab's favor, especially since Schwab has had more than
                                                                seven years to review its transaction data.
defendants 63 had sufficient contacts with the United States
by issuing notes in the United States or placing them with
                                                                65
U.S.-based agents for sale. See Schwab SAC ¶¶ 162-65,                  At oral argument, Schwab stated that “many
168, 224-28. Therefore, consistent with our prior rulings,             [notes] were purchased at issuance by the Schwab
we exercise specific jurisdiction over Floating-Rate Issuer            investment people in San Francisco” in the primary
                                                                       market. Tr. 7:19-25. Since Schwab cannot represent
defendants. 64
                                                                       that it purchased all of its notes at issuance, we
                                                                       cannot reasonably infer that the notes without
63     Schwab brings various claims against defendants                 adequate seller information were issued or placed
       who issued floating-rate notes and refers to these              for sale in the United States.
       defendants as “Floating-Rate Issuer Defendants”
                                                                 *24 Schwab contends that, even if the selling agent
       in its complaint. We adopt Schwab's labeling,
                                                                information is missing, we can still exercise jurisdiction over
       which includes domestic banks (Bank of America,
                                                                defendants for Exchange Act claims that are premised on the
       Citigroup Inc., JPMorgan Chase Bank, and
                                                                notes at issue because foreign Floating-Rate Issuer defendants
       JPMorgan Chase & Co.) and foreign banks
                                                                delivered the notes “into the stream of commerce with the
       (Barclays Bank plc, Credit Suisse AG, Deutsche
                                                                expectation that they would be purchased by investors in the
       Bank AG, Rabobank, Royal Bank of Canada, The
       Royal Bank of Scotland plc, and UBS AG).                 United States.” 66 Schwab Br., at 15 (quoting World-Wide
                                                                Volkswagen Corp. v. Woodson, 444 U.S. 286, 298 (1990)).
64     According to defendants, Schwab fails to plausibly       However, floating-rate notes “may arrive in the hands of
       allege personal jurisdiction based on the place          plaintiffs and other investors anywhere in the world by the
       of issuance because Schwab does not identify             investors' own trades – not at the direction of the issuers.
       the exact location within the United States where        Such a fortuitous, plaintiff-driven contact cannot support
       notes were issued. Joint Reply Mem. of Law               personal jurisdiction.” LIBOR IV, 2015 WL 6243526, at *31;
       in Further Support of Defs.' Mot. Dismiss for            see also Volkswagen, 444 U.S. at 298 (1990) (“[T]he mere
       Lack of Personal Jurisdiction and Venue (“Defs.'         unilateral activity of those who claim some relationship with
       Joint MTD PJ Reply”), ECF No. 2701, at 12-13.            a nonresident defendant cannot satisfy the requirement of
       However, in evaluating whether we can exercise           contact with the forum State.”).
       personal jurisdiction over a defendant in a federal
       securities claim, we examine the defendant's             66     To the extent that Schwab relies on the
       contact with the entire United States. Therefore,
                                                                       “foreseeability” theory (i.e., it was foreseeable that
       Schwab does not need to allege the exact locations


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       the notes would arrive in the United States), we                   However, since defendants raise the issue as one
       reject it. See LIBOR IV, WL 6243526, at *31; see                   of jurisdiction, see Defs.' Joint MTD PJ Reply, at
       also Schwab, 883 F.3d at 87-88.                                    13-15, we address it here.
Therefore, in addition to domestic defendants who issued           69     We still exercise specific jurisdiction over four of
notes in the United States, we exercise specific jurisdiction             the five Panel Bank defendants (Bank of America,
over foreign Floating-Rate Issuer defendants who Schwab                   N.A., Deutsche Bank AG, Royal Bank of Canada,
sufficiently alleges issued notes or placed them for sale in the          and The Royal Bank of Scotland plc) based on
United States.                                                            Schwab's allegations that they issued notes in the
                                                                          United States or placed notes for sale with U.S.-
                                                                          based agents.
Jurisdiction Based on the Sale of Floating-Rate Notes
Schwab also asserts claims against five Panel Bank
                                                                   Jurisdiction Based on False LIBOR Submissions
defendants 67 for selling Schwab floating-rate notes that
                                                                   Schwab also asserts that we should exercise jurisdiction over
were issued by either themselves or others. See Schwab
                                                                   Non-Counterparty defendants for their allegedly false LIBOR
SAC ¶¶ 160-61, 165, 170, 172, 187. Relying on Schwab,
                                                                   submissions in furtherance of the conspiracy, reasoning that
Schwab argues that we must exercise jurisdiction over the
                                                                   there is “at least a ‘but for’ connection between the sale of
five defendants based on their direct sales to Schwab.
                                                                   floating-rate notes to Schwab ... and Section 10(b) claims
See 883 F.3d at 82 (“Allegations of billions of dollars in
                                                                   against all Defendants based on their false LIBOR quotes.”
transactions in California easily make out a prima facie
                                                                   Schwab Br., at 17.
showing of personal jurisdiction for claims relating to those
transactions.” (emphasis added)).
                                                                    *25 As a threshold matter, a private cause of action under
                                                                   Section 10(b) of the Exchange Act is limited to “actual ...
67     The defendants are Bank of America, N.A.,                   sellers” of securities. Blue Chip Stamps, 421 U.S. at 731.
       Deutsche Bank AG, JPMorgan Chase Bank, N.A.,                Thus, Schwab cannot assert 10(b) claims against Non-
       Royal Bank of Canada, and The Royal Bank of                 Counterparty defendants. In addition, as defendants point out,
       Scotland plc.                                               § 10(b) of the Exchange Act may not be the predicate of a
Defendants correctly point out that, in making this argument,      conspiracy claim. See, e.g., Dinsmore v. Squadron, Ellenoff,
Schwab ignores our prior rulings and other binding                 Plesent, Sheinfeld & Sorkin, 135 F.3d 837, 841 (2d Cir. 1998).
authorities. Generally, there can be no material omission          Even if such a cause of action existed under the Exchange
                                                                   Act, the Second Circuit held that the alleged conspiracy to
under § 10(b) absent a duty to disclose. 68 See, e.g., Basic
                                                                   manipulate LIBOR “had nothing to do with the California
v. Levinson, 485 U.S. 224, 239 n.17 (1988) (“Silence, absent
                                                                   transactions.” See Schwab, 883 F.3d at 87. Furthermore, we
a duty to disclose, is not misleading under Rule 10b–5.”);
                                                                   have repeatedly rejected the assertion that defendants had
Chiarella v. United States, 445 U.S. 222, 235 (1980) (“When
                                                                   sufficient contacts with the United States by transmitting
an allegation of fraud is based upon nondisclosure, there
                                                                   LIBOR data to data vendors in the United States. See supra
can be no fraud absent a duty to speak.”). As we held in
                                                                   Part III.2.4. To the extent that Thomson Reuters had a role in
LIBOR IV, entities that were merely involved in the sale
                                                                   the setting of all LIBOR benchmarks, it was a pre-existing one
of LIBOR-based financial instruments “had no duty under
                                                                   as a calculation agent of the BBA, who is neither a defendant
contract law to advise sophisticated investors of LIBOR-
related risks, no duty to deal at any particular price, and        nor a co-conspirator in this action. 70 See LIBOR VI, 2016
no ongoing duties of good faith after concluding a sale on         WL 7378980, at *10. Accordingly, we do not exercise specific
bargained-for terms.” 2015 WL 6243526, at *75. Therefore,          jurisdiction over Non-Counterparty defendants for Schwab's
we do not exercise specific jurisdiction over defendants who       Exchange Act claims based on the allegations of false LIBOR
were merely involved in the sale of floating-rate notes to         submissions.

Schwab. 69
                                                                   70     The BBA's limited use of Thomson Reuters as its
68                                                                        calculation agent simply does not change the fact
       Whether a selling entity had a duty to disclose
                                                                          that the setting of LIBOR rates for 10 currencies,
       may be an issue of merits, not of jurisdiction.
                                                                          including the U.S. Dollar, took place at 11:00


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       AM London time. See British Bankers' Ass'n,                 Schwab urges a different outcome, arguing that we should
       Understanding the Construction and Operation of             exercise pendent party jurisdiction over Non-Counterparty
       BBA LIBOR - Strengthening for the Future, Jun.              defendants for its state law claims premised on false LIBOR
       10, 2008, § 9.1.                                            submissions because those claims and its federal claims
                                                                   “substantially overlap.” Schwab Br., at 19 (quoting Cohen
                                                                   v. Facebook, Inc., 252 F. Supp. 3d 140, 154 (E.D.N.Y.
     2.3. Pendent Jurisdiction over State Law Claims               2017)). However, Schwab's surviving Exchange Act claims
                                                                   are, as defendants point out, based on Floating-Rate Issuer
As relevant here, the doctrine of pendent personal jurisdiction
                                                                   defendants' failure to disclose the artificial suppression of
provides that “where a federal statute authorizes nationwide
                                                                   LIBOR in their issuance of notes in the United States.
service of process, and the federal and state claims derive
                                                                   Thus, all factual events underlying the federal claims took
from a common nucleus of operative fact, the district court
                                                                   place in the United States, while allegedly false LIBOR
may assert personal jurisdiction over the parties to the related
state law claims even if personal jurisdiction is not otherwise    submissions occurred in London. 72 Moreover, exercising
available.” IUE AFL–CIO Pension Fund v. Herrmann, 9 F.3d           pendent party jurisdiction over Non-Counterparty defendants,
1049, 1056 (2d Cir. 1993) (citation and internal quotation         many of whom are foreign and had no contacts of their own
marks omitted). However, pendent jurisdiction “need not be         with the United States, “would not comport with notions of
exercised in every case in which it is found to exist. It has      fair play and substantial justice.” Laydon v. Mizuho Bank,
consistently been recognized that pendent jurisdiction is a        Ltd., No. 12-cv-3419 (GBD), 2015 WL 1515358, at *6
doctrine of discretion, not of plaintiff's right.” United Mine     (S.D.N.Y. Mar. 31, 2015); see also Brown v. Lockheed Martin
Workers v. Gibbs, 383 U.S. 715, 726 (1966). In determining         Corp., 814 F.3d 619, 625 (2d Cir. 2016).
whether pendent jurisdiction should be exercised, a federal
court must consider “judicial economy, convenience and             72     Schwab asserts that we should exercise specific
fairness to litigants.” Id.                                               jurisdiction over Non-Counterparty defendants for
                                                                          state law claims under the conspiracy theory
As discussed infra, see Part IV.3.2, all of Schwab's Exchange             of jurisdiction. Even if California recognized
Act claims for which defendants were not dismissed for lack               conspiracy jurisdiction (which it does not, see
of personal jurisdiction survive defendants' motion to dismiss            supra note 29), Schwab fails to plausibly allege
for failure to state a claim. And as we did in LIBOR IV, we               conspiracy jurisdiction because defendants' alleged
exercise pendent personal jurisdiction over those defendants              acts, see Schwab SAC ¶¶ 257-64, are not overt acts
for state law claims deriving from “a common nucleus of                   in furtherance of the alleged conspiracy. See supra
operative fact” as Schwab's surviving Exchange Act claims.                Part III.2.4.
See 2015 WL 6243526, at *24. Conversely, since we have
                                                                    *26 Finally, as we noted in LIBOR IV, the Second Circuit
dismissed Schwab's 10(b) claims that are based on allegedly
                                                                   “recognizes a version of pendent personal jurisdiction under
false LIBOR submissions, we do not exercise pendent party
                                                                   which a federal court may ‘entertain [state-law] claims that
jurisdiction over Non-Counterparty defendants for Schwab's
                                                                   are not expressly covered by the long-arm statute, so long
fraud (and aiding and abetting) claims, which are based on the
                                                                   as they derive from the same nucleus of operative fact as
same factual predicate. 71                                         claims that are.’ ” 2015 WL 6243526, at *23 n.40 (alteration
                                                                   in original) (quoting Hanly v. Powell Goldstein, L.L.P.,
71                                                                 290 F. App'x 435, 438 (2d Cir. 2008)). “This judge-made
       As discussed infra, see Part IV.3.5, we dismiss
       Schwab's claims of tortious interference against            exception to the general rule that a federal court must look
       certain Panel Bank defendants because the claims            to the law of the forum state to determine whether personal
       are time-barred and insufficiently pled. But even           jurisdiction must lie,” id. (citation and internal quotation
       if the claims survived defendants' motion to                marks omitted), may have bearing on Schwab's attempt
       dismiss, we would still decline to exercise pendent         to establish jurisdiction over some Indirect Counterparty
       jurisdiction over defendants for those claims               defendants who “affirmatively directed notes for sale in
       because they are based on those defendants'                 California ... through Bank Affiliates that acted as agents
       allegedly false LIBOR submissions to the BBA.               for the purpose of selling notes.” Schwab SAC ¶ 245. But
                                                                   Schwab alleges that defendants designated the affiliates as



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their selling agents and provided offering materials that             entity that served on the panel. See April 2013 Compl., 13-
specified the affiliates' “authority and permissible activities       cv-7005 (NRB), ECF No. 1-1, ¶¶ 39, 49. Schwab made
with respect to the offering.” Id. ¶ 131. Since Schwab's              similar mistakes with respect to three other entities. See id.
allegations sufficiently show that the affiliates acted “for the      ¶¶ 43 (identifying Lloyds Banking Group plc and HBOS plc
benefit of, with the knowledge and consent of, and under              as defendants), 46 (identifying The Royal Bank of Scotland
some control by, the nonresident principal,” Schwab, 883 F.3d         Group plc as a defendant), 49 (identifying defendants as panel
at 85, we can (and do) exercise specific jurisdiction over            members).
Indirect Counterparty defendants based on their affiliates'
activities. Thus, the consideration of the Second Circuit's rule      Schwab moves to correct its mistakes by substituting for
is academic.                                                          the erroneously named defendants their affiliated entities
                                                                      that actually served on the LIBOR panel during the relevant
                                                                      period. 74 Schwab asserts that it did not learn the true
   3. Motion to Dismiss Schwab's Claims Based for
                                                                      identities of the LIBOR Panel Banks until November 2014,
   Failure to State a Claim
                                                                      when the banks' employee declarations, see ECF Nos. 767,
Defendants move to dismiss under Rule 12(b)(6) Schwab's
                                                                      781, 784, identified the entities that served on the LIBOR
federal claims and its state law claims for: (1) unjust
                                                                      panel. Defendants object to Schwab's amendments and argue
enrichment premised on Schwab's purchase of fixed-
                                                                      that Schwab attempts to impermissibly add new defendants.
rate notes; and (2) tortious interference with contracts.
                                                                      See Joint Mem. of Law in Supp. of Defs.' Mot. for Partial
Only Schwab's 10(b) claims against Floating-Rate Issuer
                                                                      Dismissal of Schwab and Doral Compls. For Failure to State
defendants survive the motion. 73                                     a Claim (“Defs.' Joint MTD Br.”), at 19-21, ECF No. 2623.

73                                                                    74
        The parties agree that Schwab's 10(b) claims                          Schwab removes the original defendants from
        exclude floating-rate instruments with maturities of                  those claims deriving from service on the LIBOR
        less than nine months. See 15 U.S.C. § 78c(a)(10)                     panel. However, Schwab continues to name the
        (excluding from the definition of a “security” any                    original defendants in its Section 20(a) and fraud
        note “which has a maturity at the time of issuance                    claims as parent company defendants.
        of not exceeding nine months”).
                                                                       *27 We accept Schwab's position that it merely seeks to
                                                                      correct its mistake concerning the proper identity of the
       3.1. Addition of New Defendants and Claims                     relevant parties by now bringing its claims against defendants
                                                                      who “knew or should have known that [they] would have been
We first address Schwab's amendments that identify: (1) Bank          named as ... defendant[s] but for an error.” Krupski v. Costa
of Scotland plc, Credit Suisse AG, Lloyds Bank plc, and               Crociere S.p.A., 560 U.S. 538, 548 (2010); see also Datskow
Royal Bank of Scotland plc as Panel Bank defendants, see,             v. Teledyne, Inc., 899 F.2d 1298, 1302 (2d Cir. 1990) (holding
e.g., Schwab SAC ¶ 48 n.48 (citing Fed. R. Civ. P. 15(c)(1));         that plaintiffs' complaint sufficiently alerted the erroneously
and (2) certain Indirect Counterparty defendants as both direct       named corporate defendant's affiliated entity that plaintiffs
and indirect sellers of financial instruments, see, e.g., id. ¶ 161   sought to sue it by including details concerning that entity).
(identifying Bank of America, N.A., Royal Bank of Canada,             In its original complaint, Schwab clearly indicated that it
and Royal Bank of Scotland plc as having conducted “direct            sought to bring its claims against the entities that served on the
transactions” with Schwab).                                           LIBOR panel, and thus those entities will not be “prejudiced
                                                                      in defending” themselves in the litigation. Fed. R. Civ. P. 15(c)
In its previous complaints in this action, filed in April 2013        (1)(C)(i).
(ECF No. 1, 13-cv-7005 (NRB)) and October 2014 (ECF No.
672), Schwab incorrectly identified certain members of the            Schwab also seeks to clarify that, based on its transaction
LIBOR panel. For example, in its April 2013 complaint that            data, certain Indirect Counterparty defendants sold notes both
was originally filed in California state court and removed to         directly and indirectly to Schwab. Though Schwab thus seeks
federal court, Schwab identified Credit Suisse Group AG (the          to bring new claims against some of the original defendants
parent company of the Credit Suisse entities) as a member             based on transaction data that it had since the beginning
of the LIBOR panel even though Credit Suisse AG is the                of its lawsuit, the amendments would neither “require



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[defendants] to expend significant additional resources to               of money it received on instruments it had already
conduct discovery and prepare for trial” nor “significantly              purchased, its claims fail.” (emphasis omitted)).
delay the resolution of the dispute.” Pasternack v. Shrader,      In light of Schwab, we now find that Schwab has adequately
863 F.3d 162, 174 (2d Cir. 2017) (internal quotation marks        clarified its theory and plausibly alleged loss causation. As
omitted). Therefore, we allow the amendments. 75                  the Circuit noted, Schwab's burden here is “not a heavy one.”
                                                                  Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC,
75                                                                797 F.3d 160, 187 (2d Cir. 2015). Schwab must simply give
       At oral argument, we asked defendants whether
       allowing these new claims would subject them               defendants “some indication” of the actual loss and “of a
       to any prejudice “beyond potentially [rendering            plausible causal link between the loss and the alleged fraud.”
       them] liable for additional damages.” Tr. 10:3-22.         Schwab, 883 F.3d at 93 (citation and internal quotation marks
       Defendants simply stated that the amendments               omitted). Schwab alleges that it held “virtually all” 77 of its
       should not be allowed because they were not                floating-rate notes from issuance to maturity and that “each
       specifically “permitted by the mandate of the              time a coupon payment was made, Schwab received less than
       Second Circuit to this Court” in Schwab. Id.               it would have received absent Defendants' suppression of
       However, the Circuit's mandate did not preclude            LIBOR.” Schwab SAC ¶ 194. Applying the Circuit's rationale
       such amendments, and Rule 15(a) vests the Court            in Schwab, we find that these allegations plausibly provide
       with broad discretion to permit amendments “when           a causal link between the alleged losses (i.e., lower amounts
       justice so requires.”                                      on coupon payments) and defendants' allegedly fraudulent
                                                                  manipulation of LIBOR.

             3.2. Exchange Act § 10(b) Claims                     77     Schwab admits that it did not hold all of the
Defendants assert that we should dismiss Schwab's 10(b)                  notes to maturity. See Letter from Michael J.
claims because Schwab continues to fail to adequately plead              Miarmi to the Court, Feb. 12, 2019, ECF No. 2794.
loss causation. See LIBOR IV, 2015 WL 6243526, at *70                    Whether Schwab held all of its notes to maturity is,
(rejecting Schwab's theory that it suffered losses on floating-          defendants argue, “central to determining whether
rate notes purchased and interest paid during the persistent             [Schwab] has stated a claim.” See Letter from Alan
suppression period because any downward distortion in the                C. Turner to the Court, Feb. 25, 2019, ECF No.
LIBOR rate would have been offset by a reduction in the price            2821. However, the Second Circuit found that, “if
of the instrument). As discussed in Part II of this opinion,             Schwab tried to sell a floating-rate instrument after
Schwab vacated our dismissal of Schwab's 10(b) claims based              LIBOR manipulation was revealed, it might have
                                                                         been forced to sell at a loss.” See Schwab, 883 F.3d
on floating-rate notes. 76 The Second Circuit reasoned that
                                                                         at 93.
Schwab could have plausibly alleged two potential theories
of loss causation: Schwab could have incurred losses if it         *28 Defendants also move to dismiss Schwab's 10(b)
“held a mispriced instrument to maturity” or “tried to sell       claims that they argue are based on the purchase or sale of
[the instrument] after LIBOR manipulation was revealed.”          instruments that are not “securities” under the Exchange Act.
Schwab, 883 F.3d at 93. The Circuit instructed Schwab to add      See 15 U.S.C. § 78c(a)(10). The appendices that Schwab
on remand “allegations clarifying the loss causation theory or    filed with its second amended complaint contain detailed
theories on which it relied.” Id.                                 information about the financial transactions that serve as
                                                                  the factual predicates of Schwab's claims. In one appendix,
76                                                                Schwab lists transactions involving “time certificates,” see,
       The Second Circuit, however, upheld our rejection
                                                                  e.g., Schwab SAC App'x A, at 95 (transactions numbered
       of Schwab's loss causation theory based on
                                                                  FL943-946), which Schwab alleges are floating-rate notes
       suppressed interest payments made during the
                                                                  purchased from broker-dealers. Defendants contend that the
       persistent suppression period. See Schwab, 883
                                                                  “time certificates” are certificates of deposit that are insured
       F.3d at 93 (“We agree with the district court that to
                                                                  by the FDIC and are “protected by the reserve, reporting,
       the extent that Schwab seeks to impose liability for
                                                                  and inspection requirements of the federal banking laws.”
       false LIBOR submissions that affected the amount
                                                                  Marine Bank v. Weaver, 455 U.S. 551, 558 (1982). While
                                                                  such certificates would not constitute securities under Marine



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Bank, defendants fail to identify a single allegation in                 Bank plc. See ATSI Commc'ns, Inc. v. Shaar Fund,
Schwab's complaint that suggests that the instruments are                Ltd., 493 F.3d 87, 108 (2d Cir. 2007) (holding that
so regulated. 78 Accepting as true all factual allegations and           control person liability could not be established
drawing all reasonable inferences in Schwab's favor, we find             when the plaintiff failed to allege any primary
it plausible that the instruments are widely offered securities          violation by the controlled entity).
that are not “abundantly protected under the federal banking      In support of its 20(a) claims, Schwab advances two theories
laws.” Id. at 559.                                                of control person liability. First, Schwab asserts that the
                                                                  parent company defendants are liable for their Panel Bank
78                                                                subsidiaries' alleged false LIBOR submissions to the BBA.
       As a matter of fact, Schwab, in response to our
       request at oral argument, submitted evidence that          See Schwab SAC ¶ 196. Second, Schwab argues that
       the instruments at issue were not regulated by the         the parent company defendants are liable for their Panel
       FDIC. See Letter from Michael J. Miarmi, Feb. 12,          Bank subsidiaries' failure to disclose the alleged LIBOR
       2019, ECF No. 2794.                                        manipulation in their issuance of floating-rate notes. Id. ¶
                                                                  197. However, both theories fail because Schwab does not set
                                                                  forth any particularized factual allegation that demonstrates
             3.3. Exchange Act § 20(a) Claims                     the parent company defendants' culpable participation. 80
                                                                  Schwab merely alleges that each of the parent company
Schwab asserts 20(a) claims against the parent companies
                                                                  defendants was “a culpable participant in the fraud” alleged
of the Panel Bank defendants that are the subject of the
                                                                  in Schwab's complaint. Schwab SAC ¶ 483. Such a general
10(b) claims. 79 To establish a prima facie case under Section    and conclusory allegation of culpable participation cannot
20(a) of the Exchange Act, plaintiff must show: (1) “a            withstand defendants' motion.
primary violation by the controlled person”; (2) “control
of the primary violator by the targeted defendant”; and           80     Since we have rejected Schwab's 10(b) claims
(3) “that the controlling person was in some meaningful
                                                                         premised on false LIBOR submissions to the BBA,
sense a culpable participant in the fraud perpetrated by the
                                                                         the first theory also fails on the independent ground
controlled person.” S.E.C. v. First Jersey Sec., Inc., 101 F.3d
                                                                         that Schwab has failed to plausibly allege a primary
1450, 1472-73 (2d Cir. 1996) (internal quotation marks and
                                                                         violation by Panel Bank defendants. See ATSI, 493
alterations omitted). As the parties recognize, “this Court
                                                                         F.3d at 108.
has consistently sided with most judges in the District and
found that a plaintiff must plead culpable participation with      *29 Schwab misleadingly cites our prior ruling in LIBOR
scienter.” In re ForceField Energy Inc. Sec. Litig., No.          IV in support of its argument that it has sufficiently alleged
15-cv-3020 (NRB), 2017 WL 1319802, at *16 (S.D.N.Y.               the parent company defendants' culpable participation. In
Mar. 29, 2017) (emphasis added). Therefore, to withstand a        LIBOR IV, we found that, for fraud by omission in the
motion to dismiss a 20(a) claim, a plaintiff “must allege, at     course of offering or trading securities, it is sufficient
a minimum, particularized facts of the controlling person's       for purposes of pleading scienter “to state plausibly that
conscious misbehavior or recklessness.” In re MBIA, Inc.,         defendants were either themselves manipulating LIBOR or
Sec. Litig., 700 F. Supp. 2d 566, 598 (S.D.N.Y. 2010).            that defendants were large banking institutions with access
                                                                  to nonpublic data about real inter-bank transactions.” 2015
79                                                                WL 6243526, at *58. Specifically, Schwab argues that, since
       Schwab also brings a 20(a) claim against Barclays
                                                                  the parent company defendants are large banking institutions
       Bank plc for non-defendant Barclays Capital Inc.’s
                                                                  who could have plausibly known of the manipulation “when
       “violations of Section 10(b) in failing to disclose, in
                                                                  LIBOR suppression became so widespread,” id., Schwab
       soliciting and selling floating-rate notes to Schwab,
                                                                  asserts that it is “highly plausible that the Parent Company
       that LIBOR was suppressed.” Schwab SAC ¶ 198.
                                                                  Defendants knew about or recklessly disregarded” the Panel
       Since a broker or selling agent does not have a
                                                                  Bank defendants' manipulation of LIBOR, Schwab Br., at
       duty to disclose LIBOR manipulation, see supra
                                                                  39. However, as defendants correctly point out, the ruling
       Part IV.2.2, Schwab fails to allege any primary
                                                                  in LIBOR IV concerned whether a Counterparty defendant
       violation by Barclays Capital, and it therefore
                                                                  had a duty to disclose facts, such as suppressed LIBOR
       cannot establish control liability against Barclays
                                                                  rates, that are “basic to the transaction and when the customs



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of the trade ... would reasonably demand disclosure.” See           83      We dismissed the state law fraud claims
2015 WL 6243526, at *57. We have never found that the                       because “plaintiffs who used LIBOR-based pricing
parent companies knew about or participated in manipulating                 to decide whether to invest in LIBOR-based
LIBOR, and Schwab does not allege particularized facts that                 instruments” were relying on the “fraud on the
demonstrate “a showing of both fraudulent conduct and a                     market” doctrine that was rejected under California
culpable state of mind” by the defendants. Steed Fin. LDC                   law. LIBOR IV, 2014 WL 6243526, at *65. The
v. Nomura Sec. Int'l, Inc., No. 00-cv-8058 (NRB), 2001 WL                   Circuit found that, because Schwab's allegations
1111508, at *10 (S.D.N.Y. Sept. 20, 2001). Therefore, we                    went “beyond the bare assertion that Defendants'
dismiss Schwab's 20(a) claims against the parent company                    fraudulent LIBOR submissions were embedded in
defendants.                                                                 the price of fixed-rate instruments,” we erred in
                                                                            finding that Schwab was relying on that doctrine.
                                                                            Schwab, 883 F.3d at 91. The Circuit, however,
            3.4. Unjust Enrichment Claims 81                                affirmed our dismissal because defendants had
                                                                            no reason to expect that Schwab would consider
81                                                                          LIBOR in deciding whether to buy fixed-rate notes,
       The parties agree that Schwab's unjust enrichment
                                                                            which did not reference LIBOR at all. Id. at 91-92;
       claims based on floating-rate notes are limited
                                                                            see also supra Part II.
       to the notes that were issued by Floating-Rate
       Issuer defendants. However, defendants request               84      The parties disagree as to: (1) whether Schwab
       that, since Schwab does not specifically state that                  asserted unjust enrichment claims based on fixed-
       it seeks to recover from defendants based only on                    rate notes in the first amended complaint; and (2)
       their issuance of floating-rate notes (and not on                    whether defendants waived their right to dismiss
       their sale of floating-rate notes), we require Schwab                the claims under Rule 12(b)(6) by not raising
       to file a corrected complaint. See Joint Reply Mem.                  the argument in their initial motion to dismiss.
       of Law in Supp. of Defs.' Mot. for Partial Dismissal                 Since Schwab alleged that it purchased both fixed-
       of Schwab and Doral Compls. for Failure to State                     rate and floating-rate instruments, see Schwab's
       a Claim (“Defs.' Joint MTD Reply”), at 9 n.10,                       Amend. Compl., ECF No. 672, ¶¶ 5, 12, 270,
       ECF No. 2697. Since Schwab has confirmed that                        and did not specify which instruments served as
       its unjust enrichment claims based on floating-rate                  the basis for its unjust enrichment claims, we
       notes are “limited to transactions in which those                    draw a reasonable inference in Schwab's favor and
       Defendants issued the notes,” Schwab Br. 47 n.20,                    conclude that Schwab asserted unjust enrichment
       no correction is necessary.                                          claims based on both fixed-rate and floating-rate
In LIBOR IV, we dismissed Schwab's unjust enrichment                        notes. We also conclude that defendants did not
claims mainly for lack of personal jurisdiction. 82 In this                 waive their right to challenge Schwab's fixed-rate
motion, defendants argue that we should dismiss Schwab's                    unjust enrichment claims. See Fed. R. Civ. P. 12(h)
unjust enrichment claims against defendants who issued                      (2).
fixed-rate notes because, based on the Circuit's affirmance of       *30 Under California law, the legal elements of unjust
                                                               83   enrichment are “receipt of a benefit and unjust retention of the
our dismissal of Schwab's Exchange Act and fraud claims
premised on fixed-rate notes, Schwab cannot and does not            benefit at the expense of another.” Lectrodryer v. SeoulBank,
plausibly allege that it was harmed by the alleged LIBOR            77 Cal. App. 4th 723, 726 (2000); see also First Nationwide
                                                                    Sav. v. Perry, 11 Cal. App. 4th 1657, 1662 (1992). “The term
suppression on fixed-rate notes. 84
                                                                    ‘benefit’ denotes any form of advantage.” F.D.I.C. v. Dintino,
                                                                    167 Cal. App. 4th 333, 346 (2008) (internal quotation marks
82     As discussed in Part II of this opinion, we also held        omitted). The equitable remedy of restitution “is designed to
       that they were partially time-barred, see LIBOR IV,          restore the aggrieved party to his or her former position by
       2015 WL 6243526, at *177, but that ruling was                return of the [benefit] or its equivalent in money.” Id. (citation
       vacated in Schwab, see 883 F.3d at 96-98.                    omitted).




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Schwab conclusorily asserts that defendants who issued                  profits made through the alleged breach. The court
fixed-rate notes were unjustly enriched because the LIBOR               found that the plaintiffs did not need to trace the
suppression “caused Schwab to receive lower returns on                  misappropriated funds in the trust to the profit
those notes in exchange for the use of its money than if the            that the trustee gained by using the funds. Rather,
suppression had not occurred.” Schwab SAC ¶ 208. See also               the plaintiff could prevail on an unjust enrichment
id. ¶ 139 (“[T]o the extent LIBOR was suppressed during                 claim if the plaintiff could “establish a sufficient
the Relevant Period, the yield received on [fixed-rate notes]           causal relationship between the wrongful conduct
would have been correspondingly lower.”). In making this                and the defendant's profits.” Uzyel, 188 Cal. App.
claim, Schwab fails to understand that a yield rate on a bond           4th at 892. The court did not hold that alleging
is calculated based on its price and interest rate. The price           but-for causation was sufficient to plead a plausible
fluctuates based on macroeconomic conditions and, unless                unjust enrichment claim.
defendants had a magical, unilateral power to control the         *31 In sum, as Schwab fails to plausibly allege that Fixed-
world economy, they could not have manipulated the yield         Rate Issuer defendants were unjustly enriched, we dismiss
rates on fixed-rate notes and received monetary benefits.        Schwab's unjust enrichment claims based on fixed-rate notes.
Furthermore, as the Second Circuit found, Schwab “received
exactly what it expected” when it purchased fixed-rate notes.
Schwab, 883 F.3d at 96.
                                                                              3.5. Tortious Interference Claims
Schwab also asserts that suppressed LIBOR rates allowed
                                                                 Schwab previously asserted claims for tortious interference
the issuing defendants to “offer less interest in return for
                                                                 with prospective economic advantage, which we dismissed
the use of Schwab's money.” Schwab SAC ¶ 208. But there
                                                                 for lack of personal jurisdiction in LIBOR IV. Schwab now
is no allegation that defendants either took LIBOR into
                                                                 brings new tortious interference claims, this time on the
consideration when setting interest rates on fixed-rate notes
or suppressed LIBOR in order to set low interest rates on the    ground that certain Panel Bank defendants 86 interfered with
notes. In fact, Schwab cannot link defendants' alleged profits   Schwab's contracts with the defendants' affiliated entities.
from issuing fixed-rate notes to LIBOR manipulation because      Defendants argue that these new claims are both time-barred
fixed-rate notes do not “reference or relate to Defendants'      and meritless.
LIBOR submissions in any way.” Schwab, 883 F.3d at 96. In
other words, there is no causal connection between LIBOR         86     Schwab asserts these claims against Panel Bank
manipulation and the profits that defendants allegedly reaped           defendants Bank of Tokyo Mitsubishi UFJ, Ltd.,
from Schwab. 85 Schwab even admits that using LIBOR                     Citibank, N.A., HSBC Bank plc, JPMorgan Chase
as a reference point “to evaluate [the] credit and market               Bank, N.A., and The Royal Bank of Scotland plc.
risks” of investments was an independent decision made           Federal Rule of Civil Procedure 15(c)(1)(B) permits an
by investors; issuers do not quote fixed-rate instruments in     amendment to a complaint to relate back to the original
terms of LIBOR. Schwab SAC ¶ 139-40. Following Schwab's          pleading if “the amendment asserts a claim or defense that
line of reasoning, anyone who decided to use LIBOR as a          arose out of the conduct, transaction, or occurrence set out —
benchmark in comparing investment options – which would          or attempted to be set out — in the original pleading.” Fed. R.
include virtually all investors in the world, since “LIBOR       Civ. P. 15(c)(1)(B). As we have explained, “a viable tortious
is a component or benchmark used in countless business           interference claim alleges that a panel bank entity intended to
dealings,” Gelboim, 823 F.3d at 765 – would be able to bring     disrupt a specific contract.” LIBOR IV, 2015 WL 6243526, at
suit against defendants. See Schwab, 883 F.3d at 92.             *148. Yet Schwab made no allegations in its original and first
                                                                 amended complaints related to this unique factual predicate.
85                                                               In fact, it failed to specify any contract with which defendants
       Schwab argues that, under California law, pleading
       unjust enrichment “at most requires alleging but-         allegedly interfered. Rather, Schwab alleged that Panel
       for caus[ation].” Schwab Br., at 47 (citing Uzyel v.      Bank defendants' manipulation of LIBOR interfered with
       Kadisha, 188 Cal. App. 4th 866, 892 (2010)). This         an economic relationship between Schwab and unspecified
       is a gross misinterpretation of the Uzyel decision.       “issuers and sellers of LIBOR-based financial instruments”
       The plaintiff in Uzyel brought a breach of trust          “by defeating the parties' expectations that LIBOR would
       suit against a trustee seeking a disgorgement of          be set honestly and accurately and would provide a fair


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benchmark for [ ] LIBOR-based financial instruments.” April
2013 Compl. ¶¶ 346-47; Schwab's Amend. Compl. ¶¶ 336-37.             87     In addition, we held that plaintiffs “must ultimately
Even though both sets of claims concern the same underlying                 prove that the issuing entity breached the implied
event (defendants' alleged manipulation of LIBOR) and                       covenant by assisting in the panel entity's LIBOR
ultimate result (Schwab's financial loss from receiving lower               manipulation.” LIBOR IV, 2015 WL 6243526, at
payments or overpaying for financial instruments), Schwab's                 *84.
new claims are based on a distinct set of contracts that were
not specified or referenced in the original complaint. See           88     Even if Schwab's new tortious interference
Nettis v. Levitt, 241 F.3d 186, 193 (2d Cir. 2001) (holding                 claims were timely and meritorious, we would
that the plaintiff's new claim did not relate back to his original          not exercise pendent jurisdiction over them
complaint because the new claim, while stemming from the                    because Schwab asserts the claims against Non-
same event as the original claims, was based on “an entirely                Counterparty defendants based on their allegedly
distinct set” of facts), overruled on other grounds by Slayton              false LIBOR submissions in London. See supra
v. Am. Exp. Co., 460 F.3d 215 (2d Cir. 2006). Therefore,                    Part IV.2.3.
we find that the new claims do not relate back to its original
complaint under Rule 15. Accordingly, they are untimely.               4. Motion to Dismiss Doral's Claims for Lack of
                                                                       Personal Jurisdiction
Even if we assume arguendo that Schwab's new claims relate            *32 In Part III of this Memorandum and Order, we
back, they fail on the merits in any event. Under California         considered and mostly rejected the FDIC's proposed
law, Schwab must plead: “(1) a valid contract between                amendments related to personal jurisdiction, which are
[Schwab] and a third party; (2) defendant's knowledge of this        substantially similar to Doral's jurisdictional allegations.
contract; (3) defendant's intentional acts designed to induce        We do not repeat our rulings from Part III, though they
a breach or disruption of the contractual relationship; (4)
                                                                     apply here with equal force. 89 We do, however, address
actual breach or disruption of the contractual relationship;
                                                                     two jurisdictional issues that are specific to Doral's claims
and (5) resulting damage.” Pac. Gas & Elec. Co. v. Bear
                                                                     concerning swap transactions.
Stearns & Co., 791 P.2d 587, 589-90 (Cal. 1990) (en banc).
In LIBOR IV, we allowed tortious interference claims to
                                                                     89
proceed as to bonds issued by corporate affiliates because                  We explicitly state that Doral's claims against
it was “plausible that corporate affiliates are aware of each               Non-Counterparty defendants based on conspiracy
                                                                            jurisdiction are dismissed for lack of jurisdiction.
other's financing arrangements.” 87 2015 WL 6243526, at
*84. Relying on that decision, Schwab conclusorily alleges           First, defendants argue that personal jurisdiction cannot be
without any factual specificity that the Panel Bank defendants       premised on Doral's swap transactions that occurred before
“acted with the knowledge” that interference with Schwab's           the alleged LIBOR manipulation period. Defs.' Joint MTD
contractual relationships was “certain or substantially certain      PJ Reply, at 15 n.16. Since Doral does not explain how
to result from” the manipulation of LIBOR. Schwab SAC ¶              defendants can be held liable for transactions that were not
512-13. However, even assuming (without deciding) that such          induced by their allegedly fraudulent omissions, we reject its
an allegation suffices to plead the “knowledge” element of a         attempt to establish personal jurisdiction over defendants for
tortious interference claim, LIBOR IV predates the Second            claims based on swap transactions that occurred before the
Circuit's decisions in Schwab, in which the Circuit determined       relevant time period.
that “the conspiracy to manipulate LIBOR had nothing to do
with” LIBOR-based financial transactions. 883 F.3d at 87.            Second, defendants challenge Doral's reliance on forum
If the object of the pled conspiracy had nothing to do with          selection clauses in its swap agreements that submit parties
LIBOR-based financial transactions, it is not plausible that         “to the jurisdiction of the Courts of the State of New York,”
the Panel Bank defendants' manipulation of LIBOR was an              reasoning that such clauses do not include federal courts
intentional act designed to induce their affiliates to breach or     located in New York. See Beach v. Citigroup Alternative
disrupt their contracts with Schwab. Because Schwab fails            Investments LLC, No. 12-cv-7717 (PKC), 2014 WL 904650,
to plausibly allege at least one required element, we dismiss        at *8 (S.D.N.Y. Mar. 7, 2014) (“[A] majority of courts have
its new claims of tortious interference with contracts in their      held that ‘the courts of’ a state refers only to state courts,
entirety. 88                                                         and not to state and federal courts.”). Doral argues that Beach



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is inapposite because the forum selection clause at issue in
Beach vested “exclusive” jurisdiction in the courts of the
                                                                           5.1. Fraud, Tortious Interference, and
state, whereas the clauses at issue here do not require such
                                                                            Negligent Misrepresentation Claims
exclusivity. Pls.' Joint PJ Br., at 5 n.5. However, the Beach
court's analysis does not in any way turn on the issue of         *33 Defendants move to dismiss Doral's fraud, tortious
exclusivity. Rather, the court only considered the clause's      interference, and negligent misrepresentation claims as
use of the word “of,” rather than “in.” Beach, 2014 WL           untimely in whole or in part. See Defs.' Joint MTD Br.,
904650, at *8 (“The word ‘of’ denotes the source of a court's    at 22. Specifically, defendants argue that Doral's negligent
authority and is more than its mere location. The courts ‘of’    misrepresentation claim is fully time-barred, while its fraud,
a state are courts whose authority derive[s] from that state's   tortious interference, and related aiding and abetting claims
power.”). Therefore, we agree with defendants and reject         are time-barred insofar as they accrued on or before February
Doral's reliance on the forum selection clauses to establish     26, 2009.
jurisdiction in this forum.
                                                                 The parties' dispute centers on the proper accrual date

  5. Motion to Dismiss Doral's Claims for Failure to             for Doral's claims. 92 Relying on LIBOR V, in which we
  State a Claim                                                  considered the timeliness of the claims asserted by the
Doral asserts federal antitrust claims as well as numerous       Government Development Bank for Puerto Rico (GDB),
                                                                 defendants argue that Doral, like GDB, was on inquiry notice
state law claims. Many of Doral's state law claims 90 are
                                                                 of its state law claims no later than May 29, 2008. See Defs.'
identical to the FDIC's claims that, as Doral acknowledges,
                                                                 Joint MTD Br., at 23-26. Thus, Doral's claims accrued on May
were previously dismissed by this Court. 91 Therefore, we        29, 2008, and the one-year limitations period expired on May
consider only the claims that Doral addresses in response to     29, 2009. See Defs.' Joint MTD Reply, at 21-22. Doral claims
defendants' motion to dismiss for failure to state a claim.      that, since this Court found Puerto Rico to be a “weak inquiry
                                                                 notice” jurisdiction in which it would have taken one year for
90                                                               “a sophisticated investor to discover that he had been injured
       The claims include: fraud and negligent
       misrepresentation claims (and related aiding and          by the panel banks' LIBOR suppression,” LIBOR IV, 2015
       abetting and civil conspiracy claims) based on            WL 6243526, at *135, Doral's claims did not accrue until May
       allegedly false statements about LIBOR; fraud             29, 2009, and the one-year limitations period did not expire
       by omission claims against Non-Counterparty               until May 29, 2010. See Pls.' Joint Non-PJ Br., at 12.
       defendants; tortious interference with contract
       claims (and related aiding and abetting and civil         92     The parties agree that Puerto Rico's one-year
       conspiracy claims) that exceed the scope permitted               statute of limitations applies to Doral's tort claims.
       under LIBOR IV, 2015 WL 6243526, at *84;                         See Pls.' Joint Non-PJ Br., at 12 (applying Puerto
       tortious interference with prospective economic                  Rico's one-year statute of limitations); Defs.' Joint
       advantage claims (and related aiding and abetting                MTD Br., at 23 (same); see also Rodriguez-Suris,
       and civil conspiracy claims); and a breach of the                123 F.3d at 13 (“The Puerto Rico statute of
       implied covenant of good faith and fair dealing                  limitations for tort actions provides for a one-year
       claim against Credit Suisse International.                       limitation period that begins to run from ‘the time
91                                                                      the aggrieved person has knowledge of the injury.’
       At oral argument, the FDIC conceded that
                                                                        ” (quoting 31 P.R. Laws Ann. tit. 31, § 5298)¢).
       its proposed second amended complaint, which
                                                                        The one-year statute of limitations also applies
       incorporates Doral's complaint, includes claims
                                                                        to Doral's aiding and abetting claims because the
       that have previously been dismissed by this Court
                                                                        claims are “actions to demand civil liability.” See
       for the sole purpose of preserving them for appeal.
                                                                        id. In addition, as defendants correctly point out,
       Tr. 34:16-25. Furthermore, the FDIC confirmed
                                                                        Doral's implied covenant of good faith and fair
       that it was not asserting the claims anew by adding
                                                                        dealing and unjust enrichment claims are subject
       Doral as one of the plaintiffs in its consolidated
                                                                        to the one-year statute of limitations applicable to
       complaint.
                                                                        tort claims because the claims are not based on



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       an alleged breach of an obligation that was agreed          reason to follow news about LIBOR.” 2015 WL 6696407,
       upon between Doral and defendants. See Ramos                at *12. Accordingly, any claim that is based on defendants'
       Lozada v. Orientalist Rattan Furniture Inc., No.            conduct on or before May 29, 2008, expired on May 29, 2009.
       RE-88-67, 1992 WL 755597, at *10-11 (P.R. June
       15, 1992).                                                  Since Doral's claims are brought by the FDIC, they implicate
                                                                   the FDIC's extender statute, 12 U.S.C. § 1821(d)(14) (2013),
Doral's premise that we found Puerto Rico to be a “weak
inquiry notice” jurisdiction is simply incorrect. Rather, in       which contains a provision that revives any tort claim 94
LIBOR IV, we simply assumed (without deciding) “in the             for which the limitations period expired within five years of
absence of specific contrary briefing on the discovery rules       the FDIC's appointment. See 2015 WL 6243526, at *121.
of each bank's home state ... that each of the remaining           Therefore, Doral's fraud, tortious interference, and related
jurisdictions [including Puerto Rico] would also apply the         aiding and abetting claims are revived to the extent that
plaintiff-friendly ‘weak inquiry notice’ rule.” 2015 WL            the limitations period expired within five years of February
6243526, at *167. We made the same assumption in LIBOR             27, 2015, the date that the FDIC was appointed as receiver.
V because GDB's claims were time-barred even under the             See Doral Compl. ¶ 15. Applying the one-year statute of
“weak inquiry notice” rule. 2015 WL 6696407, at *12.               limitations for fraud claims, we find that any fraud or tortious
However, after reviewing applicable precedents, we now find        interference claim based on defendants' conduct on or before
that Puerto Rico has a “strong inquiry notice” rule, under         February 26, 2009 are time-barred. 95 Since the provision
which the statute of limitations begins to run on the inquiry      does not apply to negligent misrepresentation claims, see
notice date. See, e.g., Arturet-Velez v. R.J. Reynolds Tobacco     LIBOR IV, 2015 WL 6243526, at *121, and Doral alleges
Co., 429 F.3d 10, 14 (1st Cir. 2005) (holding that, under Puerto   misconduct occurring from August 2007 to May 2010,
Rico law, the running of the one-year statute of limitations for   Doral's negligent misrepresentation claim should have been
tort actions “does not require actual knowledge; it is enough      brought by May 2011 at the latest and is thus fully time-
that the would-be plaintiff had notice that would have led a       barred.
reasonable person to investigate and so uncover the needed
information”); see also Rodriguez-Suris, 123 F.3d at 16. 93        94     The provision defines a tort claim as “a
                                                                          claim arising from fraud, intentional misconduct
93                                                                        resulting in unjust enrichment, or intentional
       The one-year statute of limitations may be tolled
       by: “(1) judicial proceedings, (2) extra-judicial                  misconduct resulting in substantial loss to the
       claims, and (3) acknowledgment of the debt by                      institution.” 12 U.S.C § 1821(d)(14)(C)(ii).
       the person liable.” Bryan v. Wal-Mart Puerto                95     Thus, Doral's claims based on defendants' conduct
       Rico, Inc., 951 F. Supp. 2d 236, 240 (D.P.R.
                                                                          on or before the inquiry notice date cannot be
       2013). However, “tolling acts must be interpreted
                                                                          revived because they expired on May 29, 2009,
       restrictively against the party invoking their
                                                                          which is before February 27, 2010.
       protection.” Rodriguez Narvaez v. Nazario, 895
       F.2d 38, 45 (1st Cir. 1990).
 *34 In addition to making an erroneous argument that Puerto                         5.2. Donnelly Act Claim
Rico is a “weak inquiry notice” jurisdiction, Doral asserts that
it was not on inquiry notice until October 2011, the proposed      Although Doral has no presence in New York, it asserts a state
extended date of the alleged conspiracy's termination based        antitrust claim 96 against defendants under the Donnelly Act,
on the 2017 Société Générale regulatory disclosures. Apart         which prohibits agreements for monopoly or in restraint of
from our rejection of FFP plaintiffs' attempt to expand the        trade “in the conduct of any business, trade or commerce or
time period of the alleged conspiracy based on the same            in the furnishing of any service” in New York. N.Y. Gen. Bus.
regulatory disclosures, see supra Part III.3.3, we do not see      Law § 340(1).
any connection between inquiry notice and the length of the
alleged conspiracy. Thus, we see no reason to change our           96     Doral asserts that we upheld the FDIC's Donnelly
LIBOR V ruling that financial institutions holding LIBOR-
                                                                          claims in LIBOR VI. See Pls.' Joint Non-PJ Br., at
based instruments in Puerto Rico, such as Doral, were on
                                                                          18. Doral's reading of LIBOR VI is deeply flawed.
inquiry notice by May 29, 2008, because they had “every
                                                                          We found that the same analytical framework could


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       be used to assess both Sherman Act and Donnelly
       Act claims, see LIBOR VI, 2016 WL 7378980,
                                                                                    5.3. Sherman Act Claims
       at *24, but we never considered the merits of the
       FDIC's Donnelly claims. As a matter of fact, we            Defendants move to dismiss Doral's Sherman Act claims
       found that defendants had “properly preserved their        that are based on: (1) transactions with non-defendant third
       request to move for dismissal on other bases,”             parties as Counterparties; (2) transactions with Panel Bank
       which we now consider. Id. at *1.                          defendants' subsidiaries and affiliates (i.e., instruments issued
Defendants argue that we should dismiss the claim based           by the subsidiaries and affiliates); and (3) transactions in
on federal preemption grounds. The New York Court of              which Doral purchased instruments issued by Panel Bank
Appeals has not specifically determined when the Sherman          defendants and sold by their subsidiaries and affiliates.
Act preempts the Donnelly Act. See Conergy AG v. MEMC             Based on our LIBOR VI decision, we dismiss Doral's
Elec. Materials, Inc., 651 F. Supp. 2d 51, 58 (S.D.N.Y. 2009).    claims based on transactions with non-defendant third
But lower courts in New York have found that “[w]here             parties. Furthermore, as discussed in Part V, we dismiss
the conduct complained of principally affects interstate          antitrust claims based on instruments issued by Panel Banks'
commerce, with little or no impact on local or intrastate         subsidiaries and affiliates, and we circumscribe claims based
commerce, it is clear that Federal antitrust laws operate to      on instruments issued by Panel Bank defendants and sold by
preempt the field.” Two Queens, Inc. v. Scoza, 745 N.Y.S.2d       their subsidiaries and affiliates.
517, 519 (1st Dep't 2002). And federal courts have similarly
recognized that a viable Donnelly Act claim requires “an
                                                                  V. Defendants' Motion for Judgment on the Pleadings
impact on intrastate commerce so as to avoid a dormant
                                                                  Bank of America, N.A. and JPMorgan Chase Bank, N.A. -
Commerce Clause issue.” In re Digital Music Antitrust Litig.,
                                                                  the only remaining Panel Bank defendants in OTC plaintiffs'
812 F. Supp. 2d 390, 416 (S.D.N.Y. 2011).
                                                                  antitrust claims after our LIBOR VII decision 97 - move for
 *35 Doral argues that its complaint is “replete with             partial judgment on the pleadings under the Federal Rule
(presumptively true) allegations that show [a] sufficient         of Civil Procedure 12(c) as to OTC plaintiffs' claims that
impact on local or intrastate commerce.” Pls.' Joint Non-PJ       are based on transactions with Panel Banks' subsidiaries or
Br., at 19. However, none of Doral's allegations makes the        affiliates.
requisite showing. The allegations of defendants' transactions
of LIBOR-based instruments, transmission of individual            97      In LIBOR VI, we granted defendants' motion to
LIBOR submissions, and acts of concealment have nothing                   dismiss certain defendants for lack of personal
to do with the pled conspiracy. See supra Part III.2.4. Nor do            jurisdiction as to antitrust claims. The only
the allegations that defendants owned property in New York                remaining defendants after LIBOR VI with respect
and acceded to New York choice of law and forum selection                 to OTC plaintiffs' antitrust claims were: Bank of
clauses lend any support to Doral's argument. See, e.g., H-               America Corp.; Bank of America, N.A.; Citigroup,
Quotient, Inc. v. Knight Trading Grp., Inc., No. 03-cv-5889               Inc.; Citibank, N.A.; JPMorgan Chase & Co.;
(DAB), 2005 WL 323750, at *5 (S.D.N.Y. Feb. 9, 2005)                      and JPMorgan Chase Bank, N.A. See 2016 WL
(holding that plaintiffs' allegation that defendants' principal           7378980, at app. In LIBOR VII, we certified a
places of business were in New York was not sufficient to                 class limited to OTC plaintiffs' antitrust claims
establish an impact on intrastate commerce); Conergy, 651                 against Bank of America, JPMorgan Chase, and
F. Supp. 2d at 61 (holding that choice of law and forum                   their parent entities because Citibank, N.A. and
selection clauses do not demonstrate an impact on intrastate              Citigroup, Inc. had reached a settlement with OTC
commerce).                                                                plaintiffs. See 299 F. Supp. 3d at 582, 607. After
                                                                          LIBOR VII, Bank of America and JPMorgan Chase
Since Doral fails to plausibly allege that defendants' conduct            filed a motion for leave to appeal under Rule
had a sufficient impact on New York commerce, we dismiss                  23(f), which the Second Circuit denied. See In
its Donnelly Act claim.                                                   re LIBOR-Based Fin. Instruments Antitrust Litig.,
                                                                          No. 18-728, Doc. No. 84 (2d Cir. Nov. 6, 2018).




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In LIBOR VI, we employed, consistent with Gelboim,                   third group of claims, those claims are circumscribed as set
the four-factor analysis outlined by the Supreme Court               forth below. In considering the motion, we focus primarily on
in Associated General Contractors of California, Inc. v.             the first factor of the AGC test – directness of the asserted
California State Council of Carpenters (“AGC”), 459 U.S.             injury - because our analysis of the other three other factors
519, 540–45 (1983), for determining whether a plaintiff has          would be substantially the same as it was in LIBOR VI. 99
                    98
antitrust standing. After conducting a highly fact-specific
inquiry, we drew “a line between plaintiffs who transacted           99      We found that none of the other three AGC factors
directly with defendants and those who did not,” LIBOR VI,
                                                                             militated in favor of dismissing OTC plaintiffs'
2016 WL 7378980, at *16, and found that plaintiffs who
                                                                             claims in LIBOR VI. See 2016 WL 7378980, at
transacted with third party banks did not satisfy the first factor           *17-20, *23.
(“directness or indirectness of the asserted injury”) of the
AGC analysis. We reasoned that defendants could not be
                                                                        1. General Legal Standard for Judgment on Pleadings
held liable for an independent decision by a plaintiff and a
                                                                     A motion under Rule 12(c) is subject to the same standard
third party to incorporate LIBOR into financial transactions
                                                                     that applies to a motion under Rule 12(b)(6). See Cleveland
because the decision “breaks the chain of causation between
                                                                     v. Caplaw Enters., 448 F.3d 518, 521 (2d Cir. 2006). Under
defendants' actions and a plaintiff's injury.” Id.
                                                                     that standard, a court “must accept as true the complaint's
                                                                     factual allegations and draw all inferences in favor of the
98      “The four efficient enforcer factors are: (1) the            non-movant. A complaint should not be dismissed unless it
        directness or indirectness of the asserted injury,           appears beyond doubt that the plaintiff can prove no set of
        which requires evaluation of the chain of causation          facts in support of his claim which would entitle him to relief.”
        linking appellants' asserted injury and the Banks'           Id. (citations and internal quotation marks omitted).
        alleged price-fixing; (2) the existence of more
        direct victims of the alleged conspiracy; (3) the            We must also generally confine ourselves to the four corners
        extent to which appellants' damages claim is highly          of the complaint and look only to the allegations contained
        speculative; and (4) the importance of avoiding              therein. See, e.g., Williams v. City of New York, No. 10-
        either the risk of duplicate recoveries on the one           cv-9594 (CM)(DCF), 2012 WL 547508, at *2 (S.D.N.Y.
        hand, or the danger of complex apportionment of              Feb. 17, 2012). “[W]hen matters outside the pleadings are
        damages on the other.” Gelboim, 823 F.3d at 778              presented in response to a 12(b)(6) motion,” a district court
        (citation and internal quotation marks omitted).             must either “exclude the additional material and decide the
 *36 However, LIBOR VI did not resolve the question of               motion on the complaint alone” or “convert the motion to one
whether a plaintiff “who transacted with a subsidiary or             for summary judgment under Fed. R. Civ. P. 56 and afford all
affiliate of a panel bank” could be considered as an efficient       parties the opportunity to present supporting material.” Fonte
enforcer. Id. at *16 n.25. We reserved our ruling on that            v. Board of Managers of Continental Towers Condominium,
question and instructed the parties to consider it “at the class     848 F.2d 24, 25 (2d Cir. 1988). This conversion requirement
certification stage.” Id. Instead of addressing the issue in their   is strictly enforced. See Amaker v. Weiner, 179 F.3d 48, 50
class certification briefing in LIBOR VII, moving defendants         (2d Cir. 1999).
waited until now to move for dismissal of OTC plaintiffs'
claims concerning transactions with defendants' subsidiaries
                                                                       2. Instruments Issued by Panel Bank Defendants'
or affiliates. Specifically, moving defendants now assert that
                                                                       Subsidiaries/Affiliates
OTC plaintiffs lack antitrust standing to bring claims that
                                                                     Moving defendants argue that OTC plaintiffs lack standing
are based on: 1) instruments issued and sold only by Panel
                                                                     to bring claims based on instruments issued by Panel
Banks' subsidiaries or affiliates; 2) instruments issued by
Panel Banks' subsidiaries or affiliates but sold by Panel            Banks' subsidiaries or affiliates 100 because there is no
Banks; and 3) instruments issued by Panel Banks but sold by          plausible allegation that the issuing entities “played a role
their affiliates or subsidiaries.                                    in [the] alleged suppression of LIBOR.” LIBOR VI, 2016
                                                                     WL 7378980, at *10 (quoting Mem. & Order, 2016 WL
We grant moving defendants' motion as to the first two of            1733463, at *3 (S.D.N.Y. Apr. 29, 2016), ECF No. 1396).
these groups of claims. While we deny the motion as to the           According to defendants, since the subsidiaries or affiliates
                                                                     did not participate in the alleged manipulation of LIBOR,


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their independent decisions to incorporate LIBOR into               “are incapable of conspiring with each other for purposes of
financial instruments break “the chain of causation between         § 1 of the Sherman Act.” 102 Id. at 777.
defendants' actions and a plaintiff's injury.” Id. at *16. We
agree.                                                              102    Although Copperweld addressed the relationship
                                                                           between a parent company and its wholly owned
100     Based on defendants' definitions, these instruments                subsidiary, “[l]ower courts have since applied
        could have been sold by: (1) the issuing entity; (2)               Copperweld’s reasoning ... to a broader variety
        another subsidiary or affiliate that is related to the             of economic relationships.” Jack Russell Terrier
        issuing entity; or (3) the Panel Bank that is related              Network of N. Cal. v. Am. Kennel Club, Inc., 407
        to the issuing entity. See Mem. of Law in Supp. of                 F.3d 1027, 1034 (9th Cir. 2005).
        Defs.' Mot. for Partial J. on Pleadings (“Defs.' OTC
                                                                    The Ninth Circuit recently adopted a corollary of the “single
        Br.”), ECF No. 2621, at 2, 4.
                                                                    enterprise” theory in Arandell Corp. v. Centerpoint Energy
 *37 OTC plaintiffs' attempt to rebut defendants' argument by       Services, Inc., 900 F.3d 623 (9th Cir. 2018). In Arandell,
conclusorily alleging that “every panel bank belonged to an         the Ninth Circuit considered a case in which a natural gas
integrated global enterprise that actively managed its interest     company and other natural gas conglomerates conspired
rate risk, including LIBOR” is unavailing. OTC Pls.' Mem.           to fix retail natural gas prices. Id. at 628. The company's
of Law in Opp. to Defs.' Mot. for Judgment on Pleadings             subsidiaries allegedly actively engaged in “coordinated price-
(“Pls.' OTC Br.”), ECF No. 2669, at 3. They rely on annual          fixing efforts” to further the company's price-fixing scheme.
reports published by Panel Banks' parent entities and argue         The court held that, since a parent company and its subsidiary
that “the treasury or asset and liability management functions      “always have a ‘unity of purpose’ and act as a ‘single
of the main bank” worked with different affiliated entities to      entity’ whenever they engage in ‘coordinated activity,’ ” the
“coordinate LIBOR submissions” and ensure that “customer-           subsidiaries were “deemed to have shared the intent of” their
facing business segments did not sell (or even offer) financial     parent company because “it is legally impossible for firms
instruments with interest rates above that of the bank's LIBOR      with a single ‘economic unit’ to act together in furtherance of
submissions.” Id. at 3-4. As these exhibits were neither            the same [conspiracy] for independent and distinct purposes.”
attached to nor incorporated into plaintiffs' complaint, we         Id. at 630-31; see also Lenox MacLaren Surgical Corp. v.
need not consider them in deciding the instant motion. 101 In       Medtronic, Inc., 847 F.3d 1221, 1236-39 (10th Cir. 2017).
any event, the exhibits do not demonstrate that Panel Banks
directed their subsidiaries or affiliates to use LIBOR in their     Applying the rationale from Copperweld and Arandell,
issuance of financial instruments.                                  OTC plaintiffs argue that they have standing to assert
                                                                    antitrust claims against Panel Bank defendants because a
101                                                                 Panel Bank and its subsidiaries and affiliates are part of a
        OTC plaintiffs submitted more than 140 extrinsic
                                                                    “single enterprise” that participated in the alleged conspiracy
        exhibits in support of their opposition to moving
                                                                    to manipulate LIBOR. Pls. OTC Br., at 7. Panel Banks'
        defendants' motion. See ECF Nos. 2684, 2685,
        2686.                                                       subsidiaries and affiliates are “guilty of selling price-fixed
                                                                    instruments to the OTC Class while sharing their profits
Plaintiffs try to overcome their pleading deficiencies by           with the price-fixing panel bank,” and since a Panel Bank
advancing the “single enterprise” theory adopted by the             and its affiliated entities can be deemed to have shared the
Supreme Court in Copperweld Corp. v. Independent Tube               anticompetitive intent, Panel Banks are “directly responsible
Corp., 467 U.S. 752 (1984). In Copperweld, the Supreme              for price-fixed products sold by their subsidiaries and
Court considered whether a wholly owned subsidiary is               affiliates.” See id.
capable of conspiring with its parent company for purposes
of violating § 1 of the Sherman Act. Since “[a] parent and its       *38 What is missing from OTC plaintiffs' argument,
wholly owned subsidiary have a complete unity of interest,”         however, is an allegation of any “coordinated activity”
the Court held that “the coordinated activity of a parent and its   between a Panel Bank and its subsidiaries and affiliates.
wholly owned subsidiary must be viewed as that of a single          Under Copperweld, only a “coordinated activity” of related
enterprise” Id. at 771 (emphasis added). Thus, the Court            entities can be viewed as that of a single enterprise. See,
reasoned, a parent company and its wholly owned subsidiary          e.g., Mitchael v. Intracorp, Inc., 179 F.3d 847, 857 (10th



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Cir. 1999) (finding that the Supreme Court held “only                     case.” OTC Pls. Mem. Law in Supp. of Mot. Atty.
that ‘the coordinated activity’ of a parent and subsidiary                Fees, ECF No. 2705, at 14.
must be viewed as that of a single enterprise for § 1             At oral argument, OTC plaintiffs argued that the sale of
purposes”) (emphasis in original). This understanding is          instruments by the subsidiaries and affiliates constitutes such
further supported by the cases on which OTC plaintiffs            “coordinated activity.” Tr. 47:15 – 48:14. This argument
themselves rely. See Arandell, 900 F.3d at 632 (holding           might make sense if the conspiracy were based on profit
that, based on plaintiffs' specific factual allegations 103 of    motives. But as the Second Circuit held in Schwab, the pled
“coordinated activity” between a parent company and its           conspiracy “had nothing to do with” the sale of LIBOR-
subsidiary, the subsidiary “had an anticompetitive purpose”       based instruments. 883 F.3d at 87. The independent decision
that could give rise to antitrust liability “with or without an   of Panel Banks' subsidiaries and affiliates to sell LIBOR-
additional finding of knowledge” (citations omitted)); Lenox      based financial instruments did not further the plausibly
MacLaren, 847 F.3d at 1237 (holding that, in order to apply       pled conspiracy, the main objective of which was achieved
the “single enterprise” theory, a plaintiff must “come forward    when Panel Banks submitted allegedly suppressed LIBOR
with evidence that each defendant independently participated      submissions. 105 Given that OTC plaintiffs' complaint does
in the enterprise's scheme, to justify holding that defendant     not contain any factual allegations that give rise to the
liable as part of the enterprise”). 104                           inference that Panel Banks' subsidiaries and affiliates
                                                                  “independently participated in” the alleged manipulation of
103                                                               LIBOR manipulation, Lenox MacLaren, 847 F.3d at 1237, or
        Plaintiffs alleged that each subsidiary entity
        “played a necessary role” in the price-fixing             actually “played a role in” the scheme, LIBOR VI, 2016 WL
        scheme by inflating “retail natural gas prices            7378980, at *10, we find that OTC plaintiffs lack antitrust
        through manipulative trading,” selling gas at             standing to bring claims based on instruments issued by Panel
        inflated prices to its sister subsidiary entity,          Banks' subsidiaries or affiliates.
        reselling the gas at inflated prices to other
        businesses, and “funnel[ing] the revenues from            105     The universality of the use of LIBOR also
        these sales” to the parent company. Arandell, 900                 undermines the significance of its use as evidence
        F.3d at 628. Plaintiffs also alleged that the parent              of “coordinated activity.”
        company's officers and directors orchestrated the
        scheme, directing the subsidiaries “to manipulate            3. Instruments Issued by Panel Banks but Sold by
        retail prices” and “to send its illegal profits” to the      Their Related or Unrelated Subsidiaries/Affiliates
        parent company. Id.                                        *39 Moving defendants assert that OTC plaintiffs are barred
104                                                               from asserting claims based on instruments issued by a Panel
        We recognize that the antitrust claims in Arandell
                                                                  Bank but sold by its subsidiaries or affiliates under the “direct
        and Lenox MacLaren were dismissed at the
                                                                  purchaser” rule of Illinois Brick Co. v. Illinois, 431 U.S. 720
        summary judgment stage. However, applying
                                                                  (1977).
        the legal standards applicable to a Rule 12(c)
        motion, we find here that OTC plaintiffs have not
                                                                  Under Illinois Brick, a “direct purchaser” is a plaintiff who
        plausibly alleged any coordinated activity between
                                                                  purchased an allegedly price-fixed product directly from an
        Panel Bank defendants and their subsidiaries and
                                                                  alleged co-conspirator defendant. See id. at 728-29. The
        affiliates. Furthermore, unlike most litigations
                                                                  Supreme Court laid the groundwork for the “direct purchaser”
        at the motion to dismiss stage, OTC plaintiffs
                                                                  rule in Hanover Shoe, Inc. v. United Shoe Machinery
        have received access to a considerable amount
                                                                  Corp., 392 U.S. 481 (1968), in which the defendant, a
        of discovery materials, including “disclosures
                                                                  manufacturer of shoe-making machinery, was accused of
        previously made to governmental authorities.” Jun.
                                                                  driving up the price of the machinery. The defendant argued
        17, 2016 Order, ECF No. 1461. Specifically,
                                                                  that the plaintiff, a shoe seller that leased the defendant's
        OTC counsel acknowledges that they reviewed
                                                                  machines, had not suffered any injury from these inflated
        “more than 1.5 million documents produced by
                                                                  prices because the plaintiff had passed the overcharge on
        the defendants and third parties” during the course
                                                                  to its own customers by selling its shoes at higher prices.
        of spending “over 52,000 hours prosecuting this
                                                                  The Supreme Court “rejected as a matter of law this defense



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that indirect rather than direct purchasers were the parties        industry structure includes a principal-agent relationship
injured by the antitrust violation.” Illinois Brick, 431 U.S. at    between the indirect and direct purchasers such that the two
724 (summarizing the holding in Hanover Shoe). The Court            are not distinct economic entities in the purchase chain,
reasoned that adopting such a theory as a viable defense            the indirect purchaser has antitrust standing under Illinois
against an antitrust suit would force courts to consider a wide     Brick.”).
range of market-based factors that could potentially influence
a company's pricing policies. Id. at 492-93.                         *40 OTC plaintiffs assert that the “direct purchaser”
                                                                    rule is not (as defendants argue) dispositive here because
While the defendants in Hanover Shoe fashioned this “pass-          the instruments that OTC plaintiffs purchased are not
on” theory as a shield to defend against antitrust suits,           like the price-fixed goods at issue in Illinois Brick and
the plaintiffs in Illinois Brick sought to use it as a sword,       Hanover Shoe, which raised concerns about “duplicative
arguing that they had antitrust standing to sue concrete block      recovery by upstream and downstream purchases of the
manufacturers and distributers who allegedly conspired to           same price-fixed good.” Pls.' OTC Br., at 8. 106 Rather,
fix the price of concrete block even though they had not            OTC plaintiffs purchased securities from which “no two
purchased the block directly from the alleged price-fixers. See     OTC Class members ever received the same suppressed
431 U.S. at 726-27. The Court held that, since a defendant
                                                                    interest payment.” 107 Id. Courts in this District recognize
in an antitrust lawsuit could not use the “pass-on” theory to
                                                                    the distinction made by OTC plaintiffs. For example, in
claim that a direct purchaser suffered no loss or injury, an
                                                                    cases addressing securities transactions involving brokers,
indirect-purchaser plaintiff could not use the same theory to
                                                                    plaintiffs have advanced the argument that, “as a matter of
claim damages for an overcharge that was allegedly passed on
                                                                    law, securities brokers are not distinct economic entities;
from the defendant, through intermediaries, to the plaintiff. Id.
                                                                    rather, as statutorily defined, brokers buy or sell ‘for the
at 730. According to the Court, the “evidentiary complexities
                                                                    account of others,’ not for their own accounts.” NASDAQ,
and uncertainties” discussed in Hanover Shoe would be
                                                                    169 F.R.D. at 505 (quoting 15 U.S.C. § 78c). The NASDAQ
multiplied if a plaintiff who is “several steps removed from
                                                                    court held that the viability of this argument “turns on the
the defendant in the chain of distribution” could claim an
                                                                    scope of the brokers' role in relation to the transaction at
injury for an overcharge allegedly caused by that defendant.
                                                                    issue.” Id. If the brokers' purchase of a security is “itself
Id. at 732.
                                                                    the ultimate service provided to the investor,” then they “do
                                                                    not constitute a distinct link in the chain of distribution” and
While the Court in Illinois Brick held that indirect purchasers
                                                                    investors who transacted with the brokers were thus “direct
generally do not have antitrust standing, it suggested in a
                                                                    purchasers” with antitrust standing. Id. at 506.
footnote an exception to that rule whereby indirect purchasers
who “owned or controlled” the direct purchaser may be
                                                                    106
permitted to sue. 431 U.S. at 736 n.16. This “ownership                    Defendants argue that the same double recovery
or control” exception “is now firmly established and has                   issue may also exist in transactions in which OTC
been expanded to include instances where the defendant                     plaintiffs purchased and resold the instruments
owns or controls the intermediary that sold the goods to the               during the suppression period. Reply Mem. of Law
indirect-purchaser plaintiff.” In re Vitamin C Antitrust Litig.,           in Supp. of Defs.' Mot. for Partial Judgment on
279 F.R.D. 90, 101 (S.D.N.Y. 2012). Plaintiffs using this                  Pleadings, ECF No. 2703, at 5. This argument
exception, however, “may not rely simply on the existence                  fails for two reasons. First, a party that purchased
of a parent-subsidiary relationship,” Vitamin C, 279 F.R.D. at             an instrument from an OTC plaintiff would not
102; they must present facts that the relationship between the             have antitrust standing because the party would
defendant and the intermediary “involve[s] such functional                 fail to meet the fourth factor of the AGC test. See
economic or other unity that there effectively has been only               LIBOR VI, 2016 WL 7378980, at *23 (finding that,
one sale” between the defendant and the indirect purchaser. In             under the fourth factor, “courts are traditionally
re Microsoft Antitrust Litigation, 127 F. Supp. 2d 702, 713 (D.            concerned with the prospect of different groups of
Md. 2001) (alterations omitted) (quoting Jewish Hosp. Ass'n                plaintiffs attempting to recover for the same exact
v. Stewart Mech. Enters. Inc., 628 F.2d 971, 975 (6th Cir.                 injury”). Second, a defensive use of the “pass-on”
1980)); see also In re NASDAQ Mkt.-Makers Antitrust Litig.,                theory was rejected in Hanover Shoe and has no
169 F.R.D. 493, 505 (S.D.N.Y. 1996) (“[W]here a particular



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       bearing on the determination of OTC plaintiffs'            VI. Conclusion
       antitrust standing. See 392 U.S. at 492-93.                The motions for leave to amend brought by Freddie Mac,
107                                                               Principal, the FDIC, and the NCUA are granted in part and
       OTC plaintiffs define the securities at issue to
       include “an interest rate swap or bond/floating rate       denied in part. Lender plaintiffs' motion for leave to amend
       note that includes any term, provision, obligation         is denied. Moving plaintiffs are ordered to file their amended
       or right for the purchaser or counterparty to be           complaints in accordance with our rulings in this opinion by
       paid interest by a Panel Bank (or a Panel Bank's           April 16, 2019.
       subsidiaries or affiliates) based upon the 1 month
       or 3 month U.S. dollar LIBOR rate).” OTC Pls.'             Defendants' motion for partial dismissal of Schwab's and
       Compl., ECF No. 1857, ¶ 44.                                Doral's claims is granted in part and denied in part. As agreed
                                                                  upon by the FDIC and defendants, Doral's surviving claims
In their complaint, OTC plaintiffs do not provide enough          will be incorporated into the amended complaint filed by the
information about their transactions to permit us to determine    FDIC on behalf of the 38 other failed banks.
the exact role that Panel Banks' subsidiaries and affiliates
played. However, based on this District's precedents, we          The motion for partial judgment on OTC plaintiffs' pleadings
find that plaintiffs' antitrust standing extends only to claims   brought by Bank of America, N.A. and JPMorgan Chase
based on purchases of Panel Bank-issued, LIBOR-based              Bank, N.A. is granted in part and denied in part.
instruments 108 from Panel Banks' subsidiaries and affiliates
that effectuated transactions “for the account of others.”         *41 This Memorandum and Order resolves the motions
15 U.S.C. § 78c. In other words, if the subsidiaries and          listed at docket entries 2544, 2546, 2551, 2552, 2562, 2563,
affiliates played the role of a broker by simply “execut[ing]     2620, and 2622.
the purchases and sales requested by” OTC plaintiffs for panel
bank issuances, then antitrust standing attaches. NASDAQ,         SO ORDERED.
169 F.R.D. at 506.

108    Presumably, this ruling does not have any impact                                   APPENDIX
       on the antitrust standing of OTC plaintiffs who
       purchased interest rate swaps from defendants,             This Memorandum and Order resolves the following docket
       since swap agreements are “bespoke” contracts              entries in the following cases:
       executed directly between two parties.
 CASE NAME                                                            CASE NO.                           ECF No.

 In re Libor-Based Financial Instruments Antitrust                    11-md-2262                         2544
 Litigation
                                                                                                         2546
                                                                                                         2551
                                                                                                         2552
                                                                                                         2562
                                                                                                         2563
                                                                                                         2620
                                                                                                         2622

 Mayor & City Council of Baltimore v. Credit                          11-cv-5450                         432
 Suisse Group AG


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 Berkshire Bank v. Bank of America Corp.                            12-cv-5723                          327

 Federal Home Loan Mortgage Corp. v. Bank of                        13-cv-3952                          293
 America Corp.

 Principal Financial Group, Inc. v. Bank of                         15-cv-9792                          58
 America Corp.

 Principal Funds, Inc. v. Bank of America Corp.                     15-cv-9793                          52

 Charles Schwab Corp. v. Bank of America Corp.                      13-cv-7005                          286

 National Credit Union Administration Board v.                      13-cv-7394                          244
 Credit Suisse Group AG

 Federal Deposit Insurance Co. v. Bank of                           14-cv-1757                          251
 America Corp.

 Federal Deposit Insurance Co. v. Bank of                           18-cv-1540                          56
 America, N.A.


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Masimo Corporation v. Wireless, Slip Copy (2020)
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                                                              on May 8, 2020. (See Order Granting Mot. to Dismiss.)
                    2020 WL 7260660                           Plaintiff then filed a First Amended Complaint (“FAC”) on
      Only the Westlaw citation is currently available.       June 8, 2020. (ECF No. 52.) Hon Hai now brings a Motion to
       United States District Court, S.D. California.         Dismiss Plaintiff's FAC (“Motion”) for failing to state a claim
                                                              upon which relief can be granted under Federal Rule of Civil
          MASIMO CORPORATION, Plaintiff,                      Procedure 12(b)(6). (Mot., ECF No. 62.) The Court finds the
                             v.                               Motion suitable for determination without oral argument. See
          Sotera WIRELESS; Hon Hai Precision                  CivL.R. 7.1(d)(1). For the reasons stated below, the Court
                                                              GRANTS IN PART Hon Hai's Motion.
              Industry Co., Ltd., Defendants.

              Case No. 19-cv-01100-BAS-NLS                    1      The Court previously noted that the parties did not
                             |                                       address the appropriate name by which to identify
                    Signed 12/09/2020                                Defendant Hon Hai. (Order Granting Foxconn's
                             |                                       Mot. to Dismiss Pl.’s Compl. (“Order Granting
                     Filed 12/10/2020                                Mot. to Dismiss”) at 1 n.1, ECF No. 46.) Hon
                                                                     Hai now states that it should be referred to by this
Attorneys and Law Firms
                                                                     name instead of “Foxconn” because Hon Hai is
Baraa Kahf, Brian Christopher Claassen, Irfan A. Lateef,             the parent company of “an assortment of affiliated
Jonathan Bachand, Joseph R. Re, Perry D. Oldham, Stephen             legal entities” also using Foxconn as an identifier.
C. Jensen, Knobbe Martens, Irvine, CA, for Plaintiff.                (Mem. of P. & A. in supp. of Mot. to Dismiss
                                                                     FAC (“Mem. of P. & A.”) at 1 n.1, ECF No.
Daisy Manning, Pro Hac Vice, Dustin L. Taylor, Pro Hac               62-1.) Masimo disputes this, claiming that Foxconn
Vice, Nathan P. Sportel, Pro Hac Vice, Jennifer E. Hoekel,           and Hon Hai are synonymous. (Opp'n to Mot. to
Pro Hac Vice, Rudolph A. Telscher, Jr., Pro Hac Vice, Husch          Dismiss (“Opp'n”) at 12, ECF No. 68.) To avoid
Blackwell, LLP, St. Louis, MO, John Christopher Jaczko,              confusion with other corporate entities, the Court
Procopio, Cory, Hargreaves & Savitch, LLP, San Diego, CA,            will refer to the parent company as “Hon Hai,”
for Defendants.                                                      consistent with the named defendant in the original
                                                                     Complaint and the FAC. This includes modifying
                                                                     Masimo's allegations to refer to “Hon Hai” instead
                         ORDER:                                      of “Foxconn” where necessary, as Masimo intends
                                                                     the terms to be synonymous. However, the Court's
                                                                     use of this identifier is not a legal conclusion about
     (1) GRANTING IN PART DEFENDANT HON
                                                                     any of the issues underlying the instant Motion to
      HAI'S MOTION TO DISMISS PLAINTIFF'S
                                                                     Dismiss.
    FIRST AMENDED COMPLAINT (ECF No. 62);

                                                              I. BACKGROUND 2
                           AND                                2     The Court adopts the factual background from its
                                                                     previous order regarding other specifics about the
     (2) TERMINATING AS MOOT PLAINTIFF'S                             technology at issue in this case and the patents
           MOTION TO SEAL (ECF No. 66)                               alleged to be infringed. (See Order Granting Mot.
                                                                     to Dismiss at 2–4.)
Cynthia Bashant, United States District Judge
                                                              In its FAC, Masimo once again states infringement claims
 *1 Plaintiff Masimo Corporation (“Masimo”) filed this        for each of its nine patents related to a noninvasive patient
patent infringement action on June 12, 2019 against           monitoring device called the “ViSi Mobile Monitoring
Defendants Sotera Wireless, Inc. (“Sotera”) and Hon Hai       System” (“ViSi Mobile” or “Accused Product”) and seeks
Precision Industry Co. Ltd. (“Hon Hai”) (collectively,        to hold Han Hai liable directly and as Sotera's parent
“Defendants”). 1 (Compl., ECF No. 1.) The Court previously    corporation. (See generally, FAC.) The FAC describes ViSi
granted Hon Hai's Motion to Dismiss Plaintiff's Complaint     Mobile


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                                                                    claims asserted in the complaint. Navarro v. Block, 250 F.3d
                                                                    729, 731 (9th Cir. 2001). 3 The court must accept all factual
             as a platform for vital signs                          allegations pleaded in the complaint as true and must construe
             monitoring, including pulse oximetry,                  them and draw all reasonable inferences from them in favor
             pulse rate, and respiration rate.                      of the nonmoving party. Cahill v. Liberty Mut. Ins. Co., 80
             The ViSi Mobile Monitoring System                      F.3d 336, 337–38 (9th Cir. 1996). To avoid a Rule 12(b)
             includes a ViSi Mobile Monitor,                        (6) dismissal, a complaint need not contain detailed factual
             ViSi Mobile Thumb Sensor, ViSi                         allegations; rather, it must plead “enough facts to state a
             Mobile Cuff Module, ViSi Mobile                        claim to relief that is plausible on its face.”Bell Atl. Corp.
             Chest Module, ViSi Mobile Wrist                        v. Twombly, 550 U.S. 544, 570 (2007). A claim has “facial
             Strap, ViSi Mobile Wrist Cradle, ViSi                  plausibility when the plaintiff pleads factual content that
             Mobile Remote Viewer, and associated                   allows the court to draw the reasonable inference that the
             computer resources and cloud-based                     defendant is liable for the misconduct alleged.” Ashcroft v.
             databases.                                             Iqbal, 556 U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at
                                                                    556); see also City of Oakland v. Wells Fargo & Co., 972 F.3d
                                                                    1112, 1135 (9th Cir. 2020) (citing Swierkiewicz v. Sorema N.
(Id. ¶ 53.) Masimo alleges that Hon Hai “directly or indirectly     A., 534 U.S. 506, 515 (2002)) (“It is important to note that
controlled Sotera's activities” to make, use, offer to sell, and/   this case reaches us at the motion to dismiss stage, where
or sell this system within the United States and is involved        Oakland has the burden of meeting a plausibility standard, not
in the manufacturing and supply of the components—such as           a reasonable probability or more-likely-than-not standard.”).
batteries, housings, circuit boards, cables, and sensors—that
comprise the system. (Id. ¶¶ 54–55.) Plaintiff further claims       3      “A motion to dismiss for failure to state a claim
that Hon Hai collects data from the ViSi Mobile device in                  generally raises a ‘purely procedural question not
the United States and markets the ViSi Mobile Monitoring                   pertaining to patent law,’ for which courts apply
System as a “smart hospital product” on the U.S.-based                     “the law of the regional circuit.’ ” Labyrinth
website for Foxconn Health Technology Business Group. (Id.                 Optical Techs., LLC v. Fujitsu Am., Inc., No.
¶¶ 56–57.)                                                                 SACV 13-0030 AGM (LGx), 2013 WL 12126111,
                                                                           at *1 (C.D. Cal. Aug. 21, 2013) (citing McZeal
 *2 Specifically, the FAC includes allegations that Hon Hai                v. Sprint Nextel Corp., 501 F.3d 1354, 1355–56
directly and contributorily infringed the claims of Masimo's               (Fed. Cir. 2007)). Accordingly, the Court applies
patents related to ViSi Mobile and that it is vicariously liable           the Twombly/Iqbal pleading standard—not the
for Sotera's infringing conduct. To this end, Masimo adds                  standard under Form 18— to Masimo's claims. (See
several allegations in the FAC regarding alter ego and agency              Order Granting Foxconn's Mot. to Dismiss Compl.
theories of liability, as well as its direct and contributory              at 8 n.5, ECF No. 46 (citing Vigil Sys. Pty. Ltd.
infringement claims as they relate to Hon Hai, which are                   v. Trackit, LLC, No. 16-CV-198 JLS (JMA), 2016
described in more detail in Section III, infra. (See id. ¶¶ 20–            WL 4595538, at *3 (S.D. Cal. Aug. 22, 2016);
52.)                                                                       Rembrandt Patent Innovations LLC v. Apple Inc.,
                                                                           Case No. C 14-05093 WHA, 2015 WL 8607390, at
Masimo again seeks monetary relief against both Defendants                 *2 (N.D. Cal. Dec. 13, 2015)).)
and equitable relief against Sotera, Hon Hai, and “officers,
                                                                    Nonetheless, “a plaintiff's obligation to provide the ‘grounds’
agents, servants, employees, attorneys and all others in
                                                                    of his ‘entitle[ment] to relief’ requires more than labels
active concert and/or participation with them” for the alleged
                                                                    and conclusions, and a formulaic recitation of the elements
infringement of each of its nine patents. (See FAC, Prayer for
                                                                    of a cause of action will not do.” Twombly, 550 U.S.
Relief.)
                                                                    at 555 (quoting Papasan v. Allain, 478 U.S. 265, 286
                                                                    (1986)) (alteration in original). A court need not accept
II. LEGAL STANDARD                                                  “legal conclusions” as true. Iqbal, 556 U.S. at 678 (quoting
A motion to dismiss pursuant to Rule 12(b)(6) of the Federal        Twombly, 550 U.S. at 557) (“Where a complaint pleads facts
Rules of Civil Procedure tests the legal sufficiency of the         that are ‘merely consistent with’ a defendant's liability, it



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stops short of the line between possibility and plausibility of    Hua Chen (“Chen Decl.”), ECF No. 69-1).) It also attaches
‘entitlement to relief.’ ”). Further, despite the deference the    exhibits to its Reply to show that Sotera is insured and
court must pay to the plaintiff's allegations, it is not proper    therefore not undercapitalized. (Reply at 3–4 (citing Sotera's
for the court to assume that “the [plaintiff] can prove facts      Rule 26 Disclosures, Ex. A to Chen Decl., ECF No. 69-1).)
that [he or she] has not alleged or that the defendants have       Masimo includes multiple exhibits to support its argument
violated the ...laws in ways that have not been alleged.” See      that Hon Hai has sufficient control over and involvement in
Associated Gen. Contractors of Cal., Inc. v. Cal. State Council    Sotera's operations to be held liable for infringement and to
of Carpenters, 459 U.S. 519, 526 (1983).                           support its allegations that Hon Hai seeks to have Sotera file
                                                                   bankruptcy in bad faith. (See generally, Opp'n to Mot. to
 *3 As a general rule, a court freely grants leave to amend        Dismiss (“Opp'n”), ECF No. 68; see also Exs. 1–8, 10 to Decl.
a complaint that has been dismissed. Fed. R. Civ. P. 15(a);        of Baraa Kahf, ECF No. 67-1 (filed under seal), Ex. 9 to Kahf
Schreiber Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d        Decl., ECF No. 68-1.)
1393, 1401 (9th Cir. 1986). However, leave to amend may
be denied when “the court determines that the allegation of        “[W]hen the legal sufficiency of a complaint's allegations is
other facts consistent with the challenged pleading could not      tested by a motion under Rule 12(b)(6), ‘[r]eview is limited to
possibly cure the deficiency.”Schreiber Distrib. Co., 806 F.2d     the complaint.’ ” Lee v. City of Los Angeles, 250 F. 3d 668, 688
at 1401 (citing Bonanno v. Thomas, 309 F.2d 320, 322 (9th          (9th Cir. 2001) (quoting Cervantes v. City of San Diego, 5 F.3d
Cir. 1962)).                                                       1273, 1274 (9th Cir. 1993)). If a court considers documents
                                                                   extraneous to the pleadings on a 12(b)(6) motion, the court
                                                                   must treat the motion as a motion for summary judgment
III. ANALYSIS                                                      under Rule 56. Fed. R. Civ. P. 12(d). However, “[t]here are
Hon Hai moves to dismiss all claims. First, Hon Hai argues         two exceptions to this rule: the incorporation-by-reference
that the amended allegations “do not meet the pleading             doctrine and judicial notice under Federal Rule of Evidence
standards for vicarious infringement.” (Mem. of P. & A. at 1.)     201.”Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 998
As to Masimo's alter ego theory of liability, Hon Hai states       (9th Cir. 2018); see also United States v. Ritchie, 342 F.3d 903,
that it fails because “(1) Masimo does not allege any facts        908 (9th Cir. 2003) (considering whether exhibits attached
supporting the conclusion that Sotera is a sham that exists        to the Government's opposition to a Rule 12(b)(6) motion
solely as an inequitable vehicle for fraud; and (2) the facts      could be considered under the doctrine of incorporation-by-
Masimo alleges are insufficient to show that Sotera and Hon        reference or judicial notice).
Hai have a unity of interest and ownership.” (Id. at 1–2.)
As to Masimo's agency claims, Hon Hai argues that there
are insufficient facts to support “that Hon Hai controls day-
to-day operations of Sotera.” (Id.) Lastly, Hon Hai moves                                 1. Judicial Notice
for dismissal of the direct and contributory infringement
                                                                    *4 Judicial notice permits a court to notice an adjudicative
claims because, it argues, “Masimo conflates Hon Hai and its
                                                                   fact if it is “not subject to reasonable dispute.” Fed. R.
affiliates.” (Id. at 2.)
                                                                   Evid. 201(b). A fact is not subject to reasonable dispute if
                                                                   it is “generally known” or “can be accurately and readily
The Court first addresses the evidentiary issues raised by
                                                                   determined from sources whose accuracy cannot reasonably
the documents submitted in support of the parties' briefings
                                                                   be questioned.” Id. 201(b)(1)–(2). The court may take judicial
before turning to the claims for direct and vicarious liability.
                                                                   notice on its own. Id. 201(c)(1). “Facts subject to judicial
                                                                   notice may be considered on a motion to dismiss.” Maiman v.
   A. Evidentiary Issues                                           Talbott, No. SACV 09–0012 AG (ANx), 2011 WL 13065750,
The parties once again submit materials outside the pleadings      at *2 (C.D. Cal. Aug. 29, 2011) (citing Mullis v. U.S. Bankr.
to support their arguments at the dismissal stage. Hon Hai         Ct., 828 F.2d 1385 (9th Cir. 1987)). However, “accuracy
attaches its annual report to show that its many affiliated        is only part of the inquiry under Rule 201(b). A court
legal entities use the “Foxconn” name. (Mem. of P. & A. at         must also consider—and identify—which fact or facts it is
1 n.1 (citing Annual Rep., Ex. A to Decl. of Ying Lu (“Lu          noticing from [a document]. Just because the document itself
Decl.”), ECF No. 62-3); Reply in supp. of Mot. (“Reply”)           is susceptible to judicial notice does not mean that every
at 9–10, ECF No. 69 (citing Webpage, Ex. B to Decl. of


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assertion of fact within that document is judicially noticeable     (Chen Decl. ¶¶ 2–3.) The minute entry, however, does not
for its truth.” Khoja, 899 F.3d at 999.                             indicate whether insurance representatives were present or
                                                                    not. (ECF No. 40.) As such, the Court does not see the
                                                                    relevance of taking judicial notice of this entry and declines to
                                                                    do so. United Safeguard Distributors Ass'n v. Safeguard Bus.
                     a. Hon Hai's exhibits
                                                                    Sys., Inc., 145 F. Supp. 3d 932, 942 (C.D. Cal. 2015) (citing
Hon Hai submits excerpts from its annual report and a               Plevy v. Haggerty, 38 F. Supp. 2d 816, 821 (C.D. Cal. 1998))
screenshot of a webpage to support its argument that the            (“[T]he court may deny a request for judicial notice of facts
website offering for sale the Accused Product was not               that are not relevant to the question at issue.”).
attributable to Hon Hai, but to other Foxconn affiliates. (Ex.
B to Chen Decl.)                                                     *5 As to the initial disclosures, the facts in these documents
                                                                    were presumably based on Sotera's business records and other
As to the annual report, Hon Hai argues that because Masimo         internal documents. These facts are therefore not “generally
did not dispute its accuracy, judicial notice is appropriate.       known” and derived from sources whose reliability is beyond
(Reply at 1 n.1.) However, the fact that Masimo did not             doubt. See Leonhart v. Nature's Path Foods, Inc., No.
dispute its accuracy does not mean that the report itself, or       13-CV-00492-BLF, 2014 WL 6657809, at *3 (N.D. Cal.
the facts contained therein, are judicially noticeable. As stated   Nov. 21, 2014) (quoting Fed. R. Evid. 201(b)) (denying
above, Rule 201 requires that a judicially noticeable fact be       request for judicial notice of initial disclosures because
both beyond reasonable dispute and originate from a source          “they do not contain facts that ‘can be accurately and
whose accuracy cannot be reasonably questioned. Here, the           readily determined from sources whose accuracy cannot be
report is attached to a declaration from defense counsel and        reasonably questioned’ ”). As such, the Court declines to take
appear to be part of a discovery production. (See Lu Decl.          judicial notice of this exhibit as well.
¶ 3.) There is no indication that the facts in the report are
based on an irrefutable source such that the Court could take
judicial notice of even the existence of the report, let alone                           b. Masimo's exhibits
the truth of its content. See, e.g., In re Am. Apparel, Inc.
S'holder Derivative Litig., No. CV 10-06576 MMM RCX,                Masimo's exhibits include Sotera's board meeting minutes,
2012 WL 9506072, at *18 (C.D. Cal. July 31, 2012) (taking           portions of slideshow presentations presumably made to the
judicial notice of corporate filings with the SEC only for          board, internal emails, and a job description. (Kahf Decl.
their existence and contents, not for “the truth of information     ¶¶ 1–11; Exs. 1–10 to Kahf Decl.) In this case, the exhibits
contained in them”); U.S. ex rel. Calilung v. Ormat Indus.,         are documents produced by Sotera in response to discovery
Ltd., No. 3:14-CV-00325-RCJ, 2015 WL 1321029, at *9                 requests. (See Kahf Decl. ¶ 11 (identifying Exhibit 10 as
(D. Nev. Mar. 24, 2015) (same). Similarly, regarding the            “a document Sotera produced on July 10, 2020, bearing
webpage, the Court does not know who maintains the website          production numbers SOTERA 00023769 and -00023771.”).)
or how information on the webpage is obtained. Thus, the            As stated above, Sotera's business records are not a source
facts contained therein are not from sources whose accuracy is      whose accuracy cannot be reasonably questioned. Thus,
beyond question. Therefore, judicial notice is inappropriate.       these documents are not suitable for judicial notice. See
See Estate of Fuller v. Maxfield & Oberton Holdings, LLC,           United Safeguard Distributors, 145 F. Supp. 3d at 942; U.S.
906 F. Supp. 2d 997, 1004 (N.D. Cal. 2012).                         Commodity Futures Trading Comm'n v. Paron Capital Mgmt.,
                                                                    LLC, No. 11-CV-04577 CW NC, 2012 WL 5389912, at *4
Second, Hon Hai argues that the presence of insurance               (N.D. Cal. Nov. 5, 2012) (declining to take judicial notice
representatives at the Early Neutral Evaluation and the fact        of “documents produced in discovery from other parties”
of Sotera's insurance coverage are also properly subject to         because “they are not undisputed facts, and the Court cannot
judicial notice because these facts are accurately and readily      readily ascertain the accuracy . . . of the documents”).
determined and not subject to dispute. (Reply at 3 n.3.) Hon
Hai alleges that evidence of insurance coverage is contained        Further, the facts in these documents are not properly subject
in Sotera's Rule 26 Initial Disclosures and on the docket in        to judicial notice because their meaning—e.g., whether they
a minute entry for the Early Neutral Evaluation Conference,         reflect Hon Hai's control of Sotera's day-to-day operations
where insurance representatives were purportedly present.           or its bad faith attempt to have Sotera seek bankruptcy—is



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subject to reasonable dispute. See In re Apple Inc. Device                 Inc. v. Fresh Express, Inc., No. 19-CV- 05611-
Performance Litig., 386 F. Supp. 3d 1155, 1165 (N.D. Cal.                  PJH, 2020 WL 1250802, at *3 (N.D. Cal. Mar.
2019) (declining to take judicial notice of an email produced              16, 2020) (“The present situation does not fall
during discovery because “the meaning of the email is subject              within the incorporation by reference doctrine
to reasonable dispute”); see also Brown v. Allstate Ins. Co., 17           because plaintiffs (rather than defendant) seek
F. Supp. 2d 1134, 1138 (S.D. Cal. 1998) (“The court proceeds               to incorporate a new document outside of their
with particular caution with respect to a request for judicial             own initial pleadings.”). However, other district
notice, when, as here, it is urged so to resolve a fundamental,            courts, including in this district, have applied
dispositive factual dispute”). Accordingly, the Court declines             incorporation-by-reference to documents attached
to take judicial notice of these documents.                                to oppositions. See Gerritsen v. Warner Bros.
                                                                           Entm't Inc., 112 F. Supp. 3d 1011, 1021 (C.D.
                                                                           Cal. 2015) (“Courts regularly decline to consider
                                                                           declarations and exhibits submitted in support of or
                2. Incorporation-By-Reference
                                                                           opposition to a motion to dismiss, however, if they
The incorporation-by-reference doctrine permits courts to                  constitute evidence not referenced in the complaint
consider documents “whose contents are alleged in a                        or not a proper subject of judicial notice.”); City of
complaint and whose authenticity no party questions, but                   Royal Oak Ret. Sys. v. Juniper Networks, Inc., 880
which are not physically attached to the [plaintiff's] pleading.”          F. Supp. 2d 1045, 1060 (N.D. Cal. 2012) (noting
In re Silicon Graphics Inc. Sec. Litig., 183 F.3d 970, 986                 that the plaintiffs’ declaration submitted in support
(9th Cir. 1999) (quoting Branch v. Tunnell, 14 F.3d 449,                   of their opposition to a motion to dismiss could
                                                                           only be considered if the document was attached to
454 (9th Cir. 1994)). 4 Under this circuit's precedent, the
                                                                           the complaint, incorporated by reference, or subject
doctrine of incorporation-by-reference allows consideration
                                                                           to judicial notice); Lemperle v. Wash. Mut. Bank,
of the following extrinsic evidence at the Rule 12(b)(6) stage:
                                                                           No. 10-cv-1550-MMA POR, 2011 WL 197590,
(1) materials attached to the complaint that are referenced by
                                                                           at *2 (S.D. Cal. Jan. 20, 2011) (considering a
the complaint; (2) materials not attached to the complaint if
                                                                           letter attached to plaintiff's opposition pursuant to
the complaint “necessarily relies” on them and the complaint
                                                                           the incorporation-by - reference doctrine). Because
refers to the documents, the documents are central to the
                                                                           no controlling authority precludes the application
plaintiff's claim, and no party questions their authenticity;
                                                                           of the incorporation-by- reference doctrine to
and (3) materials not attached to the complaint or referred
                                                                           materials submitted by a plaintiff in opposition, the
to in the complaint, but the plaintiff's claim depends on the
                                                                           Court applies the doctrine to Masimo's exhibits.
contents of the documents and the parties do not dispute their
authenticity. Hsu v. Puma Biotechnology, Inc., 213 F. Supp.          *6 The exhibits attached to the briefings are not attached to
3d 1275, 1281 (C.D. Cal. 2016); see also Daniels-Hall v. Nat'l      the FAC, nor does the FAC refer to these specific documents.
Educ. Ass'n, 629 F.3d 992, 998 (9th Cir. 2010); Knievel v.          Thus, the Court considers whether Masimo's claims depend
ESPN, 393 F.3d 1068, 1076 (9th Cir. 2005).                          on the contents of the documents and whether the parties
                                                                    dispute their authenticity. Hsu, 213 F. Supp. 3d at 1281.
4       Generally, the incorporation-by-reference doctrine
        applies to documents that a defendant seeks to
        submit in support of a 12(b)(6) motion. Branch,                                 a. Hon Hai's exhibits
        14 F.3d at 453 (quoting 5 Charles Alan Wright &
        Arthur R. Miller, Federal Practice and Procedure            The authenticity of Hon Hai's exhibits (the annual report,
        § 1327, at 762–63 (2d ed. 1990)) (“[W]hen [the]             Sotera's initial disclosures, and the webpage) is not disputed
        plaintiff fails to introduce a pertinent document           by either party. The annual report, however, does not “form
        as part of his pleading, [the] defendant may                the basis of any claim” in the FAC such that it is central to
        introduce the exhibit as part of his motion attacking       Masimo's claims. See Khoja, 899 F.3d at 1003 (finding that
        the pleading.”), overruled on other grounds by              the district court abused its discretion by incorporating an
        Galbraith v. Cty. of Santa Clara, 307 F.3d 1119             exhibit that was not extensively referenced in the complaint
        (9th Cir. 2002); see also Five Star Gourmet Foods,          and did not form the basis of any claim in the complaint);
                                                                    see also Walker v. Fred Meyer, Inc., 953 F.3d 1082, 1085 n.1


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(9th Cir. 2020) (incorporating by reference a disclosure where    Univ., Bakersfield, 500 F. Supp. 2d 1244, 1257–58 (E.D. Cal.
the plaintiff alleged claims under the Fair Credit Reporting      2007) (citing Orr v. Bank of America, NT & SA, 285 F.3d
Act, which requires “clear and conspicuous disclosures”           764, 777–78 (9th Cir. 2002) (“Authentication-by-production
about obtaining consumer reports); Mueller v. San Diego           is permitted when the party identifies who produced the
Entm't Partners, LLC, 260 F. Supp. 3d 1283, 1293 n.1              document, or if the party opponent admits to having produced
(S.D. Cal. 2017) (incorporating by reference a subscription       it.”). 6
agreement attached to motion to dismiss that was central to
securities and contract claims). While the report illustrates     6          This is also true for Exhibit 10, which Hon Hai
Hon Hai's corporate structure with its various “affiliated
                                                                             objects to on the grounds of authenticity and
companies,” this is not dispositive of whether an alter ego
                                                                             relevance. (Reply at 2 n.2.)
or agency relationship exists between Hon Hai and Sotera.
Doe v. Unocal Corp., 248 F.3d 915, 928 (9th Cir. 2001)             *7 However, while the contents of the exhibits correspond
(“[R]eferences in the parent's annual report to subsidiaries      to certain factual allegations raised in the FAC, the Court
or chains of subsidiaries as divisions of the parent company      does not find that the claims in the FAC necessarily depend
do not establish the existence of an alter ego relationship.”),   on the contents of most of these documents at this stage in
abrogated on other grounds by Williams v. Yamaha Motor            the litigation. While these exhibits contain facts that, if true,
Co., 851 F.3d 1015 (9th Cir. 2017).                               supplement the theories of liability in the FAC, they are not
                                                                  central to any of Plaintiffs’ claims. See Khoja, 899 F.3d at
Further, Masimo's claims do not depend on the information         1003; see also Ariz. Civil Constructors, Inc. v. Colony Ins.
contained in the initial disclosures. The fact of Sotera's        Co., No. 2:20-cv-00010-JAD-DJA, 2020 WL 5042778, at *3
insurance coverage—for which the Rule 26 disclosures are          (D. Nev. Aug. 25, 2020) (citing Schneider v. Cal. Dep't of
proffered—are not necessary or sufficient for any of Masimo's     Corr., 151 F.3d 1194, 1197 n.1 (9th Cir. 1998)) (declining to
claims.                                                           incorporate by reference documents attached to an opposition
                                                                  to a motion to dismiss that “would provide additional factual
The webpage, however, forms the basis for Masimo's direct         support for [plaintiffs’] claims” because “a deficient pleading
infringement claim against Hon Hai. According to Masimo,          cannot be cured by new allegations raised in a plaintiff's
the page constitutes the offer of sale of the Accused Product     response to a motion to dismiss”). As such, the Court declines
purportedly made by Hon Hai (FAC ¶ 57 (“[O]n information          to incorporate by reference the exhibits attached to Masimo's
and belief, Foxconn has offered for sale the ViSi Mobile          Opposition.
Monitoring System on its U.S.-based website for the Foxconn
Health Technology Business Group”), 5 while Hon Hai cites         In sum, the Court incorporates by reference only the webpage
to the same page to show that this offer was made by its          attached to the Reply (Ex. B to the Chen Decl.). The
affiliate, and not by the parent company itself. As such,         remaining exhibits are not considered by the Court in its
the Court finds it appropriate to incorporate this exhibit by     analysis of the Motion to Dismiss the FAC. See Gerritsen,
reference.                                                        112 F. Supp. 3d at 1021 (“Courts regularly decline to
                                                                  consider declarations and exhibits submitted in support of or
5                                                                 opposition to a motion to dismiss...if they constitute evidence
       Masimo offered the same webpage in support of
                                                                  not referenced in the complaint or not a proper subject of
       its opposition to Hon Hai's first motion to dismiss
                                                                  judicial notice.”). 7
       the Complaint. (See Ex. M to Decl. of Brian C.
       Claassen, ECF No. 33-1.)
                                                                  7          Because the Court did not consider any of
                                                                             Masimo's exhibits in deciding Hon Hai's Motion,
                    b. Masimo's exhibits                                     the Motion to Seal these exhibits (ECF No. 66) is
                                                                             TERMINATED AS MOOT.
Sotera provided the exhibits attached to Masimo's Opposition
in response to discovery requests; the exhibits themselves
                                                                    B. Direct Liability for Direct Infringement
bear bates stamps indicating the documents were produced
                                                                  The Patents Act holds liable for direct infringement “whoever
in discovery. (See Kahf Decl. ¶¶ 2–11.) Thus, they are self-
                                                                  without authority makes, uses, offers to sell, or sells any
authenticating. See Barefield v. Bd. of Trustees of Cal. State
                                                                  patented invention....” 35 U.S.C. § 271(a); see also Joy Techs.,


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Inc. v. Flakt, Inc., 6 F.3d 770, 773 (Fed. Cir. 1993). “[F]or       *8 Masimo's allegation about FHTBG's website is not
a party to be liable for direct patent infringement under 35        sufficient to state a claim against Hon Hai. 8 Although it
U.S.C. § 271(a), that party must commit all the acts necessary      argues that it is “at least entitled to the inference that FHTBG
to infringe the patent, either personally or vicariously.”          is part, or a division of, Hon Hai” (Opp'n at 6), this alone
Aristocrat Tech. Austrl. Pty Ltd. v. Int'l Game Tech., 709 F.3d     does not plausibly show that FHTBG's conduct is attributable
1348, 1362 (Fed. Cir. 2013) (citation omitted); Sorensen v.         to Hon Hai. See Fletcher v. Atex, Inc., 68 F.3d 1451, 1460
Black & Decker Corp., No. 06-cv-1572-BTM-CAB, 2007                  (2d Cir. 1995) (referring to a subsidiary as a “division” of
WL 951839, at *3 (S.D. Cal. Feb. 27, 2007) (holding that            Kodak was not evidence that the two companies operated
direct patent infringement requires a plaintiff to show that a      as “single economic entity”). Moreover, Masimo does not
parent company either: “(1) makes, uses, offers to sell, sells,     present any other legal theory under which Hon Hai should
or imports products that use the [ ] patent process without         be held responsible for the acts of a division.
authorization; or (2) controls similar conduct undertaken by
its subsidiaries such that it justifies piercing the corporate      8      To the extent Hon Hai argues that the FAC's
veil”). Allegations of direct infringement are subject to the
                                                                           reference to “Foxconn” alone does not properly
Rule 8 pleading standards established by Twombly and Iqbal.
                                                                           identify Hon Hai, the Court does not find this
Atlas IP LLC v. Pac. Gas & Elec. Co., No. 15-CV-05469-
                                                                           argument persuasive. Masimo clearly intends
EDL, 2016 WL 1719545, at *2 (N.D. Cal. Mar. 9, 2016).
                                                                           “Foxconn” to refer to Hon Hai Precision Industry
                                                                           Co. Ltd., as indicated in the very first sentence of its
The FAC alleges that Hon Hai's “use and offer for sale of
                                                                           FAC, and Masimo refers to “Foxconn” as the party
the ViSi Mobile directly infringe” each patent. (FAC ¶¶ 70,
                                                                           responsible for holding out the accused product
85, 100, 115, 130, 145, 160, 175, 190.) Specifically, Masimo
                                                                           for sale. (FAC ¶ 3 (using “Foxconn” as a stand-
alleges that Hon Hai:
                                                                           in for Hon Hai and identifying Foxconn—“also
  • “us[es] the ViSi Mobile to collect 12 million hours of                 known as Foxconn Technology Group”—as “a
     de-identified vital signs data from more than 300,000                 multinational electronics manufacturing company”
     patient sessions”;                                                    based in Taiwan with “an undisclosed stake in
                                                                           Sotera” and control of Sotera's management team).)
  • offers the ViSi Mobile for sale on the website of Foxconn
                                                                    The remaining allegations in the FAC do not contain enough
     Health Technology Business Group (“FHTBG”);
                                                                    factual content to allow the Court to reasonably infer that
  • promoted the device as “part of its smart hospital products     Hon Hai's conduct constituted direct infringement. First, the
     that follow the patient throughout the continuum of            allegation that Hon Hai collected data from patient sessions
     care,” which has since been removed from its website;          does not claim that Hon Hai “made, used, offered to sell,
     and                                                            or sold” ViSi Mobile without authorization. Second, the
                                                                    conclusory allegation that Hon Hai “touted” the Accused
  • “touts the ViSi Mobile Monitoring System as its own             Product as its own, without any factual support, is too vague
     product.”                                                      to raise a colorable claim that Hon Hai directly infringed.
                                                                    Lastly, the allegation of Hon Hai's “promotion” of the ViSi
(Id.; see also FAC ¶¶ 56–57.)                                       Mobile Monitoring System as “part of its smart hospital
                                                                    products” does not state a claim for direct infringement.
Hon Hai argues Masimo's failure to distinguish FHTBG from           Specifically, Masimo does not describe what this promoting
Hon Hai is fatal to its claim that Hon Hai directly infringed the   activity entailed such that it plausibly shows Hon Hai offered
patents in question. (Mem. of P. & A. at 16–17.) In support,        to sell or sold the Accused Product. See, e.g., E.Digital
Hon Hai provides a screenshot of the FHTBG website where            Corp. v. Microsemi Corp., No. 15-CV-319-H-BGS, 2015
the Accused Product is offered for sale, noting that nowhere        WL 11237472, at *3 (S.D. Cal. July 28, 2015) (finding a
on the webpage is Hon Hai identified as the entity offering the     pleading that “public websites that describe the functionality
product for sale. (Reply at 9–10; Ex. B to Chen Decl.) Masimo       and use of the accused products in an infringing manner” and
does not dispute this but argues that FHTBG is a “division of       claims that defendant made available “informational material
Foxconn.” (Opp'n at 10.) Masimo does not clarify the status         that encourages customers to use the accused products” in
of the other entities cited in the FAC.                             an infringing manner sufficient to state a claim for direct



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infringement); Mophie, Inc. v. Shah, No. SACV 13-01321                            commodity of commerce suitable for
DMG (JEMx), 2014 WL 12603184, at *2 (C.D. Cal. Aug.                               substantial noninfringing use.
25, 2014) (denying dismissal of direct infringement claim
where complaint alleged that defendant made an “offer of
sale” of infringing product by “listing a price, photograph of       To establish contributory infringement, then, a plaintiff must
the product, product details, and a link reading ‘Buy now!’          show that defendants had knowledge of plaintiff's rights in
”). 9                                                                the patents-in-suit, knew of a third party's infringement, and
                                                                     sold components especially made for infringing use and not
9                                                                    capable of substantial noninfringing uses. Lucent Techs., Inc.
        Promotion of a product generally supports claims
        of active inducement, a cause of action that, while          v. Gateway, Inc., 580 F.3d 1301, 1320 (Fed. Cir. 2009). 10
        included in the Complaint, was not included in the
        FAC. See Techno View IP, Inc. v. Sony Interactive            10     The Court adopts its previous conclusion that the
        Entm't LLC, No. SACV 17-01268 CJC (JCGx),                           ViSi Mobile Monitoring System is not suitable for
        2018 WL 3031518, at *7 (C.D. Cal. Apr. 18,                          any other substantial non-infringing use, which is
        2018) (“[W]here, as here, a party, with knowledge                   not challenged here by Hon Hai. (See Order at 21–
        of another party's patent, advertises or promotes                   22.)
        its product for use in an infringing manner, this
                                                                     The FAC reiterates that “Foxconn” contributorily infringes by
        is sufficient to support an inference that the
                                                                     “mak[ing] and offer[ing] to sell and or sell[ing]...components
        promoting party intended to induce infringement.”)
                                                                     of the ViSi Mobile Monitoring System” protected under
        (citations omitted); see also Randall May Int'l
                                                                     each patent. (FAC ¶¶ 76, 91, 106, 121, 136, 151, 166,
        Inc. v. Pearl Corp., No. SACV 13-00016 JVS
                                                                     181, 196.) It adds the specific allegation that “Foxconn
        (RNBx), 2013 WL 12130018, at *6 (C.D. Cal.
                                                                     supplies Sotera with ‘cables, printed circuit board assemblies
        June 3, 2013) (“Sales-related activities, including
                                                                     (PCBAs), housing parts, sensors, and batteries’ ” for the
        advertising, solicitation, and product instruction
                                                                     ViSi Mobile Monitoring System, is one of “Sotera's main
        that encourage the infringing use may be acts
                                                                     suppliers of sensors and batteries for its medical equipment,”
        constituting inducement.”).
                                                                     and publicizes its involvement in the manufacturing process.
 *9 In sum, the FAC does not contain enough specific facts to        (Id.; see also FAC ¶ 55.) Hon Hai argues that Masimo still fails
allege a clear and definite theory of direct liability against Hon   to state that Hon Hai had pre-suit knowledge of the patents
Hai for direct infringement. Accordingly, the Court GRANTS           to support the contributory infringement claim. (Mem. of P.
Hon Hai's Motion to Dismiss this claim.
                                                                     & A. at 17.) 11


   C. Direct Liability for Contributory Infringement                 11     Hon Hai opposes again on the basis that Masimo's
Under 35 U.S.C. § 271(c), a party is liable for contributory                reference to “Foxconn” does not sufficiently state
infringement if it                                                          claims against Hon Hai. The Court rejects this
                                                                            argument for the same reason stated above. (See
                                                                            supra, n.11.) Masimo makes a specific claim
             offers to sell or sells within the United                      against “Foxconn,” which unambiguously intends
             States or imports into the United                              to refer to the parent company, Hon Hai, and its
             States ...a material or apparatus for                          involvement in making and selling particular parts
             use in practicing a patented process,                          of the product in the United States.
             constituting a material part of the                     Masimo clearly alleges in the FAC that Hon Hai “knew of
             invention, knowing the same to be                       the patents no later than the filing of the Complaint.” (FAC
             especially made or especially adapted                   ¶¶ 74, 89, 104, 119, 134, 149, 164, 179, 194.) Thus, the
             for use in an infringement of such                      contributory infringement claim against Hon Hai survives
             patent, and not a staple article or                     on these allegations, although they are limited in scope to
                                                                     post-filing conduct. See Garrett v. TP-Link Research Am.
                                                                     Corp., No. 20-CV-03491-SI, 2020 WL 5517202, at *6 (N.D.



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Cal. Sept. 14, 2020) (“Because [plaintiff] has pled post-filing     information and subsequent hiring by Sotera. (Id. ¶¶ 16,
knowledge, this element is met, but the claim for contributory      35.) The Court finds that at this stage, this is sufficient to
infringement will be limited to post-filing conduct.”); CG          allege some pre-suit knowledge by Hon Hai regarding the
Tech. Dev., LLC v. Big Fish Games, Inc., 226 F. Supp. 3d            patents at issue, the precise degree of which would be further
1116, 1121–22 (D. Nev. 2017) (granting a motion to dismiss          determined through discovery. See SoftView LLC v. Apple
as to a defendant's pre-filing conduct but denying with respect     Inc., No. CIV. 10-389-LPS, 2012 WL 3061027, at *5 (D. Del.
to post-filing conduct where the plaintiff adequately pled          July 26, 2012) (finding allegations that a defendant parent
knowledge based on the filing of the case).                         company became aware of a patent through litigation of a
                                                                    subsidiary, connection with plaintiff's inventor and general
 *10 However, the FAC also includes allegations implying            manager, and its relationship with a co-defendant).
that Hon Hai had pre-suit knowledge of the patents. For
example, Masimo alleges that “Foxconn” had knowledge “by            Accordingly, the Court DENIES Hon Hai's Motion as to
hiring former Masimo employees and following previous               Masimo's contributory infringement claim.
trade secret misappropriation litigation asserted against
Sotera by Masimo,” during which “Foxconn” purportedly
exercised control over Sotera. (FAC ¶¶ 74, 89, 104, 119, 134,          D. Vicarious Liability for Direct Infringement
149, 164, 179, 194.) Hon Hai claims that none of the alleged        One “infringes vicariously by profiting from direct
actions—“such as investment, ability to seat board members,         infringement while declining to exercise a right to stop or
or participation in settlement negotiations over the prior trade    limit it[.]” Metro-Goldwyn-Mayer Studios Inc. v. Grokster,
secret lawsuit”— permit an inference that Hon Hai knew of           Ltd., 545 U.S. 913, 930 (2005). 12 When a patentee claims
Masimo's patents before this action was filed. (Mem. of P. &        direct infringement through vicarious liability, it “must show
A. at 17.)                                                          that one party directed or controlled the performance of
                                                                    all of the infringing steps to prove direct infringement
Generally, the fact of a parent/subsidiary relationship is          liability.” Grecia v. VUDU, Inc., No. C-14-0775-EMC,
not enough, on its own, to establish that either entity had         2015 WL 538486, at *4 (N.D. Cal. Feb. 9, 2015). In
the requisite knowledge for contributory infringement. See          the parent-subsidiary context, a parent corporation may
Varian Medical Systems, Inc. v. Elekta AB, No. 15-871-LPS,          be liable as a direct infringer under 35 U.S.C. § 271(a)
2016 WL 3748772 at *5 (D. Del. 2016) (finding that the              for infringement by subsidiary corporations only if “the
“[p]laintiff needs to set out more than just the bare fact of the   evidence reveals circumstances justifying disregard of the
parent/subsidiary relationship in order to make out a plausible     status of [the subsidiaries and the parent] as distinct, separate
claim that” subsidiary's knowledge can be imputed to the            corporations.” A. Stucki Co. v. Worthington Inds., Inc., 849
parent); In SoftView LLC v. Apple Inc., No. 10-389-LPS,             F.2d 593, 596 (Fed. Cir. 1988).
2012 WL 3061027, *5 (D. Del. 2012) (finding a subsidiary's
citation to a published application of a patent-at-issue in         12      As explained by the Ninth Circuit:
another case did not provide a plausible basis to infer the                 Although “the lines between direct infringement,
parent's pre-suit knowledge of the patent).                                 contributory infringement, and vicarious liability
                                                                            are not clearly drawn,” in general, contributory
Here, however, the FAC goes beyond merely alleging that                     liability is based on the defendant's failure to
this relationship imputes knowledge to Hon Hai. Masimo                      stop its own actions which facilitate third-party
has alleged that both Sotera and Hon Hai “monitored”                        infringement, while vicarious liability is based on
the patents “by hiring former Masimo employees and                          the defendant's failure to cause a third party to stop
following previous trade secret misappropriation litigation                 its directly infringing activities.
asserted against Sotera by Masimo,” during which Hon Hai                    Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d
purportedly exercised control over Sotera. (FAC ¶¶ 74, 89,                  1146, 1175 (9th Cir. 2007) (quoting Sony Corp. of
104, 119, 134, 149, 164, 179, 194.) The FAC also alleges that               Am. v. Universal City Studios, Inc., 464 U.S. 417,
an employee in common between the two entities represented                  435 n.17 (1984)).
that Hon Hai had authority to resolve the previous trade
secret dispute on Sotera's behalf—a dispute involving former         *11 In the FAC, Masimo alleges Hon Hai is liable for
Masimo employees’ theft of the company's confidential               Sotera's infringing conduct under both alter ego and agency
                                                                    theories of vicarious liability. The Court finds, however, that


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Masimo has failed to state a claim against Hon Hai under              App. 4th at 539; see also Dole Food Co. v. Patrickson,
either theory.                                                        538 U.S. 468, 475 (2003) (“The doctrine of piercing the
                                                                      corporate veil, however, is the rare exception, applied in the
                                                                      case of fraud or certain other exceptional circumstances....”).
                                                                      Because there is a strong presumption against disregarding
               1. Alter Ego Theory of Liability
                                                                      corporate identities, a plaintiff must allege specific facts
It is a fundamental principle of corporate law that a parent and      supporting both of the necessary elements for alter ego
its subsidiary are separate legal entities. See United States v.      liability; conclusory allegations will not suffice. See Johnson
Bestfoods, 524 U.S. 51, 61 (1998). This principle of corporate        v. Serenity Transp., Inc., 141 F. Supp. 3d 974, 984 (N.D. Cal.
separateness generally “insulates a parent corporation from           2015); see also Sandoval v. Ali, 34 F. Supp. 3d 1031, 1040–
liability created by its subsidiary, notwithstanding the parent's     41 (N.D. Cal. 2014).
ownership of the subsidiary.” Ranza v. Nike, Inc., 793 F.3d
1059, 1070 (9th Cir. 2015). However, when the corporate               Hon Hai argues that neither prong of the alter ego test has
form is used for a wrongful or inequitable purpose, a court           been met. For the reasons stated below, the Court agrees.
may disregard the corporate form and impute the acts of a
subsidiary to the parent, under the theory that the subsidiary
is an “alter ego” of the parent. Sonora Diamond Corp. v. Sup.                                a. Unity of Interest
Court, 83 Cal. App. 4th 523, 538 (2000). 13
                                                                       *12 The unity of interest prong “envisions pervasive control
13                                                                    over the subsidiary, such as when a parent corporation dictates
        In patent cases, federal courts look to the alter ego
                                                                      every facet of the subsidiary's business—from broad policy
        law of the regional circuit. Wechsler v. Macke Int'l
                                                                      decisions to routine matters of day-to-day operation.” Ranza,
        Trade, Inc., 486 F.3d 1286, 1295 (Fed. Cir. 2007).
                                                                      793 F.3d at 1073 (quotations omitted). California courts
        The Ninth Circuit applies the law of the forum state
                                                                      consider several factors to determine whether there is a unity
        — in this case, California—to determine whether
                                                                      of interest and ownership between a parent and its subsidiary.
        an alter ego relationship exists between a parent and
                                                                      These include, but are not limited to: (1) the commingling of
        subsidiary. Id. (citing Towe Antique Ford Found. v.
                                                                      funds and other assets, (2) identical equitable ownership of the
        IRS, 999 F.2d 1387, 1391 (9th Cir. 1993)).
                                                                      two entities, (3) use of the same offices and employees, (4) use
The alter ego doctrine prevents a parent corporation from             of the subsidiary as a mere shell for the affairs of the parent,
escaping liability by abusing corporate privilege through a           (5) failure to maintain adequate corporate records, (6) failure
subsidiary that is, in effect, a sham corporation, to commit          to adequately capitalize the subsidiary, and (7) the holding out
wrongful acts. Id.; see also Hennessey's Tavern, Inc. v. Am.          by the parent that it is liable for the debts of the subsidiary. See
Air Filter Co., 204 Cal. App. 3d 1351, 1358 (1988) (“The              Wady v. Provident Life and Accident Ins. Co. of Am., 216 F.
purpose behind the alter ego doctrine is to prevent defendants        Supp. 2d 1060, 1067 (C.D. Cal. 2002) (citing Roman Catholic
who are the alter egos of a sham corporation from escaping            Archbishop of S.F. v. Superior Court, 15 Cal. App. 3d 405, 411
personal liability for its debts.”) (citation omitted). A plaintiff   (1971)); see also Gerritsen, 116 F. Supp. 3d at 1137 (listing
seeking to invoke the alter ego doctrine must allege: (1)             additional factors). This list is not exhaustive, and no single
that there is such a unity of interest and ownership between          factor controls. A court must examine all the circumstances
a subsidiary and its parent corporation that the separate             to determine whether the complaint states a plausible claim
personalities of the two do not exist; and (2) that failure           for liability under an alter ego theory. VirtualMagic Asia, Inc.
to disregard the corporate form would cause inequitable               v. Fil-Cartoons, Inc., 99 Cal. App. 4th 228, 245 (2002).
results by “sanction[ing] a fraud or promot[ing] injustice.”
See Firstmark Capital Corp. v. Hempel Fin. Corp., 859 F.2d            Hon Hai again argues that Masimo “conflates Hon Hai with
92, 94 (9th Cir. 1988) (emphasis omitted) (citing Wood v.             other entities” using the Foxconn name, which it claims
Elling Corp., 572 P.2d 755, 761–62 n.9 (1977)); Sonora, 83            makes the allegations insufficient to state an alter ego claim
Cal. App. 4th at 538.                                                 against Hon Hai. (Mem. of P. & A. at 10.) In its FAC,
                                                                      Masimo's alter ego allegations name FHTBG (FAC ¶¶ 25,
As an exception to basic principles of corporate law, “[a]lter        28, 30) and refer to other Foxconn companies. (Id. ¶¶ 22,
ego is an extreme remedy, sparingly used.” Sonora, 83 Cal.            24– 26, 28, 30 (noting overlapping employees between



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Sotera and “Hon Hai Technology Business Group, “Foxconn
Technology Group – Hon Hai Precision,” FHTBG, “Sharp                    *13 • Hon Hai ordered an executive “to go to the US and
Life Sciences,” and “DCI Health Technology”).                            solve the problem of Sotera Wireless” after it emerged
                                                                         from bankruptcy (id. ¶¶ 21, 22, 32);
As with Masimo's direct liability claim, the fact that FHTBG
                                                                       • Hon Hai entered into discussions with investment bankers
is a division of Hon Hai—even if reflected in the annual report
                                                                          about selling Sotera and “will be negotiating the terms
—cannot establish that the two entities are alter egos of each
                                                                          of any sale” (id. ¶ 23);
other. See Unocal, 248 F.3d at 928 (9th Cir. 2001) (noting
“references in the parent's annual report to subsidiaries or           • Hon Hai and Sotera intermingle several of the same high-
chains of subsidiaries as divisions of the parent company do              level employees (id. ¶¶ 24–30);
not establish the existence of an alter ego relationship”); see
also Sandoval, 34 F. Supp. 3d at 1040 (finding allegations             • Hon Hai “has exercised control over discussions between
that collectively referred to separate corporate entities “too            Masimo and Sotera” and had authority to resolve the
conclusory” to state a claim for alter ego liability); Akzona             trade secret dispute (id. ¶¶ 31, 35); and
Inc. v. E.I. Du Pont De Nemours & Co., 607 F. Supp. 227,
                                                                       • The CEO of Sotera represented that Hon Hai had plans
238 (D. Del. 1984) (determining language of annual report
                                                                          to use Sotera technology in a cancer hospital that
and employee testimony describing subsidiaries as divisions
                                                                          the company's founder was developing in Taiwan, had
of a parent were not sufficient, even in conjunction with other
                                                                          instituted the changes to Sotera's management team, and
evidence, to establish alter ego relationship). In turn, actions
                                                                          had the authority to resolve the trade secret dispute
attributed to employees of FHTBG cannot be understood by
                                                                          between Sotera and Masimo (id. ¶¶ 31–36, 47).
the Court to be actions taken on behalf of Hon Hai. The same
applies to the other entities named in the FAC that have no
                                                                     Hon Hai argues that these allegations taken together, even
specified relationship to Hon Hai. 14 The Court simply does          if true, do not sufficiently allege the factors necessary to
not have enough information from which it can plausibly infer        establish unity of interest. (Mem. of P. & A. at 9–10.)
that these entities’ actions equate with the actions of the parent
company. Thus, to the extent Masimo relies on allegations            Construing the facts most favorably to Masimo, the Court
about these other entities to support its alter ego theory against   finds that it has not pled unity of interest. First, the Court notes
Hon Hai, the Court does not consider them in its evaluation          that Masimo does not allege at all that Hon Hai and Sotera
of the claim.                                                        commingled funds or other assets, failed to maintain adequate
                                                                     corporate records, or that Hon Hai failed to adequately
14                                                                   capitalize Sotera. In fact, as Hon Hai points out, Masimo
        To the extent Masimo argues that Hon Hai's
        representations on its website are evidence of an            alleges that Hon Hai invested $100 million in Sotera. (FAC
        alter ego relationship, the Court finds that this is         ¶¶ 22, 51.) Further, the FAC does not claim that Hon Hai has
        also insufficient. See Moody v. Charming Shoppes             ever held itself out as liable for Sotera's debts, or that Sotera
        of Del., Inc., No. C 07-06073 MHP, 2008 WL                   was used as a mere shell for Hon Hai's affairs. The failure
        2128955, at *3 (N.D. Cal. May 20, 2008) (“Generic            to discuss these factors weighs against a finding of alter ego
        language on [company's] website and in its press             liability. See Stewart v. Screen Gems-EMI Music, Inc., 81 F.
        releases simply do not rise to the day-to-day control        Supp. 3d 938, 955 (N.D. Cal. 2015).
        required to impute the subsidiary's contacts to the
        parent.”).                                                   Masimo's allegations that Hon Hai has a significant
                                                                     ownership stake in Sotera, played a role in negotiating the sale
The remaining allegations regarding unity of interest include
                                                                     of Sotera, and placed its employees at high-level positions in
the following:
                                                                     Sotera, reflect high-level involvement by a parent company
  • Hon Hai made substantial investments in Sotera during            in a subsidiaries’ operations or finances that is generally
    its Chapter 11 reorganization and is its majority                insufficient to establish unity of interest. See Unocal, 248
    shareholder, owning a two-thirds equity stake in Sotera          F.3d at 927–28 (finding high-level involvement, without
    and has two board seats, and recently increased its              any indication that corporate formalities were not observed,
    investment to $100 million (FAC ¶¶ 20, 22);                      established only that the defendant was “an active parent




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corporation involved directly in decision-making about its         No. 20-CV-02117-JSC, 2020 WL 5074391, at *4 (N.D. Cal.
subsidiaries’ holdings”).                                          Aug. 26, 2020); Nakanwagi v. Tenet Healthcare Corp., No.
                                                                   CV-15-01596-PHX-DGC, 2017 WL 394492, at *3 (D. Ariz.
Further, it is well-established “that directors and officers       Jan. 30, 2017) (finding no showing of unity of interest where
holding positions with a parent and its subsidiary can             the plaintiff alleged only that the subsidiary's “operational
and do ‘change hats’ to represent the two corporations             activities [we]re controlled by” a parent corporation but
separately, despite their common ownership.” Bestfoods,            provided no facts to show pervasive control over the day-to-
524 U.S. at 69. “Courts generally presume that such dual           day operations of the subsidiary).
status individuals wear their ‘parent hats’ when serving the
parent's interests, and their ‘subsidiary hats’ when serving       The Court therefore finds Masimo has inadequately pled unity
the subsidiary's interests.” Bastidas v. Good Samaritan Hosp.,     of interest.
No. C 13-04388 SI, 2014 WL 3362214, at *4 (N.D. Cal. July
7, 2014). “To defeat this presumption, a plaintiff would need
to allege facts demonstrating that the dual status individuals
                                                                                       b. Inequitable Results
were acting in the parent's interest, and not the subsidiary's,
when they engaged in the challenged conduct.” Id.                  Even had Masimo satisfactorily pled unity of interest, the
                                                                   Court cannot find that Masimo has adequately alleged that an
 *14 Masimo has alleged no such facts here. The FAC does           inequitable result would follow if the corporate separateness
not specifically allege that any of the several individuals        of the defendant entities was not disregarded.
named in the FAC that were simultaneously serving in
positions at both Hon Hai and Sotera were acting solely in         As aforementioned, the inequitable results prong of the alter
the interest of Hon Hai. (See FAC ¶¶ 24–30.) The mere fact         ego doctrine requires a showing that failing to pierce the
of their dual roles therefore does not lend plausibility to the    corporate veil would sanction a fraud or promote injustice.
allegation that an alter-ego relationship exists between the two   Gerritsen, 116 F. Supp. 3d at 1143. The parties presume
entities. See Ranza, 793 F.3d at 1074–75 (holding that because     that bad faith is required for this factor. Relying on various
“total ownership and shared management personnel are
                                                                   California case law, 15 the Ninth Circuit has held that a
alone insufficient to establish the requisite level of control,”
                                                                   specific showing of bad faith is not required where there
placement of “[a parent's] directors on the subsidiary's board”
                                                                   has been an abuse of the corporate form, “such as under-
does not singularly create an alter-ego relationship) (internal
                                                                   capitalization or misrepresentation of the corporate structure
quotations and citations omitted); see also Barantsevich v.
                                                                   to creditors,” but is required where no such abuse is alleged.
VTB Bank, 954 F. Supp. 2d 972, 988 (C.D. Cal. 2013) (holding
                                                                   Sentry Life Ins. Co. v. Roberts, 925 F.2d 1470 (9th Cir. 1991);
that “general policy-setting” or direct involvement of “macro-
                                                                   see also Orloff v. Allman, 819 F.2d 904, 908 (9th Cir. 1987)
management” of a subsidiary does not expose the parent
                                                                   (citing RRX Indus., Inc. v. Lab-Con, Inc., 772 F.2d 543, 546
company to alter ego allegations”).
                                                                   (9th Cir. 1985) (unpublished)), abrogated on other grounds
                                                                   by Hollinger v. Titan Capital Corp., 914 F.2d 1564 (9th
Lastly, Masimo supports its alter ego theory with Sotera
                                                                   Cir. 1990); *15 United States v. Standard Beauty Supply
CEO Francis Chen's statements about Hon Hai's increased
                                                                   Stores, Inc., 561 F.2d 774, 777 (9th Cir. 1977) (holding that
control over Sotera in the wake of its bankruptcy and its
                                                                   California's alter ego doctrine applies “where some conduct
representation of ownership over the proprietary information
                                                                   amounting to bad faith makes it inequitable” for the defendant
in question. However, as pointed out by Hon Hai, Masimo
                                                                   to hide behind the corporate veil) (quotation omitted); Neilson
does not indicate which of the alter ego factors these
                                                                   v. Union Bank of Cal., N.A., 290 F. Supp. 2d 1101, 1117 (C.D.
facts are intended to support. See NetApp, Inc. v. Nimble
                                                                   Cal. 2003) (dismissing alter ego claims because plaintiff
Storage, Inc., No. 5:13-CV-05058-LHK-HRL, 2015 WL
                                                                   failed to allege that parent company engaged in any bad faith
400251, at *6 (N.D. Cal. Jan. 29, 2015) (“As a preliminary
matter, [the plaintiff] fails to explain how several of its        conduct)). 16
[factual] allegations...are relevant to the eight factors in
the unity of interest and ownership inquiry....[The plaintiff]     15
                                                                          See Westinghouse Elec. Corp. v. Superior Court
does not otherwise explain how these alleged facts are                    of Alameda County, 17 Cal. 3d 259, 274 (1976)
applicable.”); see also Reynolds v. Binance Holdings Ltd.,                (“Bad faith in one form or another must be shown



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      before the court may disregard the fiction of                   is required to prove only “that the alter ego's
      separate corporate existence.”); Mid–Century Ins.               acts caused an inequitable result,” not conduct
      Co. v. Gardner, 9 Cal. App. 4th 1205, 1213 (1992)               amounting to bad faith), reh'g denied (Nov. 17,
      (“The purpose of the doctrine is not to protect                 2020); Relentless Air Racing, LLC v. Airborne
      every unsatisfied creditor, but rather to afford him            Turbine Ltd., 222 Cal. App. 4th 811, 813, 816
      protection, where some conduct amounting to bad                 (2013) (“An inequitable result does not require a
      faith makes it inequitable, under the applicable                wrongful intent” and that the trial court erred by
      rule above cited, for the equitable owner of a                  requiring the creditor to prove otherwise.”).
      corporation to hide behind its corporate veil.”);               However, the controlling precedent in this circuit
      Arnold v. Browne, 27 Cal. App. 3d 386, 397 (1972)               and from the California Supreme Court, cited
      (requiring fraud or bad faith to pierce the corporate           above, establish that bad faith is a necessary part of
      veil pursuant to the alter ego doctrine), disapproved           the alter ego test where a plaintiff does not show an
      of on other grounds by Reynolds Metals Co.                      abuse of the corporate form. Further, Masimo does
      v. Alperson, 25 Cal. 3d 124 (1979); Associated                  not dispute that bad faith is required in this case.
      Vendors, Inc. v. Oakland Meat Co., 210 Cal. App.                (See Opp'n at 18.) As such, the Court follows the
      2d 825, 838 (1962) (“[B]ad faith in one form or                 line of precedent requiring a showing of bad faith
      another is an underlying consideration and will                 to sufficiently plead an alter ego theory of liability.
      be found in some form or another in those cases         The FAC itself states that “[o]n information and belief, [Hon
      wherein the trial court was justified in disregarding   Hai] desires to potentially escape liability for infringement by
      the corporate entity.”); see also Automotriz Del        having Sotera again seek bankruptcy protection.” (Id. ¶ 37.)
      Golfo De Cal. S. A. De C. V. v. Resnick, 47 Cal.        Masimo provides some context for this claim, stating that in
      2d 792, 797 (1957) (“If a corporation is organized      2016, Sotera petitioned for bankruptcy five weeks before trial
      and carries on business without substantial capital     in a trade secrets case previously brought by Masimo for the
      in such a way that the corporation is likely to         express purpose of preventing the claims from going to trial.
      have no sufficient assets available to meet its         (Id. ¶ 18.) It further alleges that after Sotera's bankruptcy, Hon
      debts, it is inequitable that shareholders should set   Hai made significant investments in the company, became
      up such a flimsy organization to escape personal        its largest investor, and effectively “had taken control of the
      liability.”) (quotations omitted); Am. Home Ins. Co.    company as it emerged from bankruptcy.” (Id. ¶¶ 20, 32.) In
      v. Travelers Indem. Co., 122 Cal. App. 3d 951,          this way, Masimo argues, Hon Hai is in a position to execute
      966 (1981) (“The fraud or inequity sought to be         a “bad faith scheme” by threatening Sotera's bankruptcy as
      eliminated must be that of the party against whom       a means of immunizing both Sotera and itself from liability.
      the alter ego doctrine is invoked, and such party       (Opp'n at 18– 19.) Hon Hai argues that this amounts to only
      must have been an actor in the course of conduct        “speculative assertions that ‘Foxconn’ may have Sotera seek
      constituting the ‘abuse of corporate privilege.”)       bankruptcy protection to avoid potential patent infringement
      (quotations omitted).                                   liability,” which are insufficient because Masimo has not
16                                                            also alleged bad faith conduct. (Mem. of P. & A. at 8.)
      The Court notes, however, that whether bad faith
                                                              Masimo's claimed inequity, according to Hon Hai, amounts to
      is required to show inequitable results is not
                                                              an argument that it will not be able to recover if Sotera seeks
      fully resolved in this circuit. See Updateme Inc.
                                                              bankruptcy. (Id.)
      v. Axel Springer SE, No. 17-CV-05054-SI, 2018
      WL 1184797, at *10 n.13 (N.D. Cal. Mar. 7,
                                                              Even if Masimo's “bad faith scheme” is more than just
      2018). Other courts have found that “the bulk
                                                              an argument that it will be unable to recover against an
      of [California] case law seems to omit or even
                                                              insolvent defendant, its allegations still fall short of alleging
      expressly disavow a bad-faith or fraudulent-intent
                                                              an inequitable result for the purposes of alter ego liability.
      requirement.” Pac. Bell Tel. Co. v. 88 Connection
                                                              Masimo only states that Hon Hai “potentially” seeks to pursue
      Corp., No. 15-CV-04554-LB, 2016 WL 3257656,
                                                              Sotera's bankruptcy to escape liability; it offers no support for
      at *4 (N.D. Cal. June 14, 2016); see Triyar
                                                              the allegation that Hon Hai is, in fact, pursuing this option. See
      Hospitality Mgmt., LLC v. WSI (II) - HWP, LLC,
                                                              Cook v. Brewer, 637 F.3d 1002, 1006 (9th Cir. 2011) (quoting
      No. B301158, 2020 WL 6816648, at *4 (Cal. Ct.
                                                              Twombly, 550 U.S. at 555) (“While the pleading standard for
      App. Oct. 22, 2020) (finding that a moving party


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Rule 8(a) is liberal, the ‘[f]actual allegations must be enough     establishment of general policy and direction for the
to raise a right to relief above the speculative level.’’ ”). The   subsidiary and in effect taken over performance of the
allegation is based solely “[o]n information and belief”; there     subsidiary's day-to-day operations in carrying out that
are no other specific facts from which the Court can infer          policy”; or (2) the subsidiary is shown to “perform[ ] services
that Hon Hai seeks to have Sotera file for bankruptcy at all,       that are sufficiently important to the [parent] corporation
let alone for bad faith reasons that would make treating the        that if it did not have a representative to perform them,
two entities as separate inequitable. See In re Hydroxycut          the corporation's own officials would undertake to perform
Mktg. & Sales Practices Litig., 810 F. Supp. 2d 1100, 1123          substantially similar services.” See whiteCryption Corp. v.
(S.D. Cal. 2011) (inferring bad faith motive where parent           Arxan Techs., Inc., No. 15-CV-00754-WHO, 2015 WL
company selling nutritional supplements changed its name            3275944, at *11 (N.D. Cal. June 15, 2016); see also Dong AH
and description of business activities to that of a “holding        Tire & Rubber Co. v. Glasforms, Inc., No. C 06-3359 JFRS,
company” in response to litigation from the FDA); Craigslist,       2009 WL 975817, at *7 (N.D. Cal. Apr. 10, 2009).
Inc. v. Mesiab, No. C 08-05064 CW MEJ, 2010 WL 5300883,
at *7 (N.D. Cal. Nov. 15, 2010) (finding statements by              In the first test, which appears to be at issue here, an agency
the individual defendant that entity defendant was created          relationship exists “where the nature and extent of the control
to remain “untouchable by present litigation” sufficient to         exercised over the subsidiary by the parent is so pervasive and
establish bad faith on a motion for default judgment), report       continual that the subsidiary may be considered nothing more
and recommendation adopted, No. C 08-5064 CW, 2010 WL               than an agent or instrumentality of the parent, notwithstanding
5300881 (N.D. Cal. Dec. 20, 2010). In any event, Hon Hai            the maintenance of separate corporate formalities.” Sonora,
considering or even pursuing Sotera's bankruptcy does not,          83 Cal. App. 4th at 541. The California Court of Appeal
without more, satisfy the bad faith standard if the bankruptcy      has described the level of “control” necessary for an
was sought in the best financial interest of the company. See       agency relationship as extending beyond control incident
Sonora, 83 Cal. App. 4th at 539 (citing Lowell Staats Mining        to ownership, such as “interlocking directors and officers,
Co., Inc. v. Pioneer Uravan Inc., 878 F.2d 1259, 1263 (10th         consolidated reporting, and shared professional services,”
Cir. 1989)) (holding that a parent company is not “exposed          as well as “a close financial connection.” Id. at 540–42
to liability for the obligations of [the subsidiary] when [the      (citations omitted). Practically speaking, a parent company's
parent] contributes funds to [the subsidiary] for the purpose of    control must be so extensive that the subsidiary becomes
assisting [the subsidiary] in meeting its financial obligations     “only a means through which the parent acts, or nothing
and not for the purpose of perpetuating a fraud”).                  more than an incorporated department of the parent[.]” Id.
                                                                    at 541; Consortium of Servs. Innovation v. Microsoft Corp.,
 *16 Thus, the Court finds that Masimo has not sufficiently         No. C19-0750-JCC, 2020 WL 885742, at *2 (W.D. Wash.
alleged inequitable results for purposes of stating an alter ego    Feb. 24, 2020) (citing Campagnolo S.R.L. v. Full Speed
claim against Hon Hai.                                              Ahead, Inc., Case No. C08-1372-RSM, Dkt. No. 331 at
                                                                    12 (W.D. Wash. 2010), aff'd, 447 F. App'x 814 (9th Cir.
                                                                    2011)) (agency requires that a parent exercise “complete
                                                                    domination,” the subsidiary is a mere shell, or a parent uses
                2. Agency Theory of Liability
                                                                    its ownership interest to “command rather than merely cajole”
A parent corporation can also be held vicariously liable for        the subsidiary).
the acts of a subsidiary corporation if an agency relationship
exists between the two entities. Unlike piercing the corporate      In support of its agency theory, Masimo alleges that Hon Hai:
veil to recover from a parent company, finding a parent liable
                                                                      • has “effectively taken over the day-to-day operation of
under agency theory is premised on the idea “that the parent
                                                                         Sotera” because it controls Sotera's executives, board
fraudulently induced the subsidiary to incur the obligation”
                                                                         members, and management (FAC ¶¶ 38, 42, 44);
underlying legal liability. Royal Indus. Ltd. v. Kraft Foods,
Inc., 926 F. Supp. 407, 412 (S.D.N.Y. 1996), aff'd, 164 F.3d          • intermingles employees by appointing “several high-level
619, 1998 WL 695034 (2d Cir. 1998).                                      Sotera employees” to “high-level positions” at Hon Hai
                                                                         (id. ¶¶ 38, 50) and sending one such employee to “take
Agency can be established in two ways: (1) the parent                    control” of Sotera after its bankruptcy (id. ¶¶ 40, 46, 47);
company must be shown to have “moved beyond the



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                                                                    See Sun Microsystems Inc. v. Hynix Semiconductor Inc., 622
   *17 • retained authority to resolve the trade dispute            F. Supp. 2d 890, 901 (N.D. Cal. 2009) (“[S]ome degree of
    between Sotera and Masimo (id.);                                control is usually[,] even if not necessarily[,] implicit in the
                                                                    parent subsidiary relationship. Thus, the degree of control
  • invested heavily in Sotera (id. ¶¶ 40, 41);
                                                                    exercised by the parent in order for the subsidiary to qualify
  • has negotiating power over the sale of Sotera (id. ¶¶ 43,       as an agent must therefore exceed that which is to be expected
     51).                                                           in the normal scope of any such relationship.”).

  • hired the same counsel for the bankruptcy proceeding as         17        Hon Hai's involvement in Sotera's legal affairs
     Sotera (id. ¶ 45);
                                                                              is also insufficient to show the degree of
  • has jointly developed the ViSi Mobile Monitoring System                   control necessary for unity of interest. See MLC
     with Sotera and manufactures parts of it (id. ¶¶ 48–49),                 Intellectual Prop., LLC v. Micron Tech., Inc.,
     and                                                                      2019 WL 4963253, at *12–13 (N.D. Cal. Oct.
                                                                              8, 2019) (finding no alter ego liability where
  • is a “real party-in-interest” to Sotera's petition for inter              parent and wholly owned subsidiaries had identical
     partes review seeking to invalidate Masimo's patents                     officers and directors, shared employees, and
     before the U.S. Patent and Trademark Office (id. ¶ 52).                  parent provided financial and legal support to
                                                                              subsidiaries); NetApp, 2015 WL 400251, at *5
Hon Hai argues that these allegations reflect nothing more                    (same); Grayson Serv., Inc. v. Crimson Res. Mgmt.
than “high-level involvement” that do not concern the day-to-                 Corp., 2016 WL 8730734, at *8 (E.D. Cal. Feb. 5,
day activity of Masimo's operation and are merely incidental                  2016) (same).
to its ownership of Sotera. (Mem. of P. & A. at 13–14.)              *18 Neither does the alleged joint development of the ViSi
                                                                    Mobile Monitoring system plausibly allege that Sotera was
The Court finds the FAC's allegations fail to show that Sotera      an agent of Hon Hai. A parent company's involvement in
is an agent of Hon Hai. First, as aforementioned, a bare            the minutia of a product line does not give rise to agency
allegation that two entities share officers and/or directors does   liability. See Kramer Motors, Inc. v. British Leyland, Ltd., 628
not suffice to show any dissolution of the corporate structure      F.2d 1175, 1177 (9th Cir. 1980) (concluding that no agency
warranting piercing of the corporate veil. See Bestfoods, 524       liability existed where a parent company was responsible for
U.S. at 69; Bastidas, 2014 WL 3362214, at *4. Further,              sale of subsidiary's products abroad, “had general executive
a parent's investment in a subsidiary and authority over            responsibility for the operation of” the subsidiary, “reviewed
its possible sale are well within the typical scope of a            and approved its major policy decisions,” guaranteed
parent-subsidiary relationship. See Bestfoods, 524 U.S. at 72       its obligations, and worked closely with the subsidiary's
(holding that “monitoring of the subsidiary's performance”          executives regarding pricing and marketing); whiteCryption
and “supervision of the subsidiary's finance and capital            Corp., 2016 WL 3275944, at *11 (finding a parent
budget decisions...are consistent with the parent's investor        company's role in branding decisions, providing technical
status”).                                                           support, naming and pricing products, developing marketing
                                                                    strategies, and reselling and distributing subsidiary's products
Second, Hon Hai's oversight or management of Sotera's legal         did not establish agency relationship). Further, allegations
actions, such as the trade dispute or Sotera's bankruptcy, also     about the “joint development” of a product implies Sotera
does not give rise to the plausible inference that Sotera is        independently contributed to the venture, belying the notion
merely an “incorporated department” of Hon Hai. Sonora,             that Sotera was a mere instrumentality through which Hon
83 Cal. App. 4th at 541. Supervision over legal decisions           Hai conducted its business. See Sonora, 83 Cal. App. 4th at
is incident to Hon Hai's ownership over Sotera and does
                                                                    541. 18
not reflect any purposeful disregard of Sotera's independent
corporate existence. 17 Sonora, 83 Cal. App. 4th at 542.            18
Masimo does not allege any additional specifics about Hon                     To the extent Masimo intends allegations about
Hai's involvement in the bankruptcy or trade dispute that                     Defendants’ joint development of the product to
indicate it went beyond this standard oversight to the type of                support alter ego liability, this argument also fails.
pervasive control that characterizes an agency relationship.                  See Tahaya Misr Inv., Inc. v. Helwan Cement



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                                                                      Accordingly, the Court ORDERS the following:
       S.A.E., No. 2:16- cv-01001-CAS (AFMx), 2016
       WL 9024808, at *4 (C.D. Cal. May 23, 2016)
                                                                      (1) Hon Hai's Motion to Dismiss the FAC (ECF No. 62)
       (noting “the mere fact that a parent coordinates its
                                                                      is GRANTED IN PART. Masimo's direct infringement
       efforts with its subsidiary does not establish that the
                                                                      claim and vicarious liability claims against Hon Hai are
       subsidiary is the alter ego of the parent”); see also
                                                                      DISMISSED WITH LEAVE TO AMEND. Masimo has
       Unocal, 248 F.3d at 927–28 (finding no unity of
                                                                      until December 31, 2020 to file an amended complaint.
       interest even where a parent company was involved
       in forming the subsidiary's business plan).
                                                                      (2) The Motion is DENIED as to Masimo's contributory
Accordingly, having found insufficient allegations to                 infringement claim.
plausibly demonstrate that an alter ego or agency relationship
exists between Hon Hai and Sotera, the Court GRANTS Hon               (3) The associated Motion to Seal (ECF No. 66) is
Hai's Motion to dismiss these claims. See Tegal Corp. v. Tokyo        TERMINATED AS MOOT.
Electron Co., 248 F.3d 1376, 1379 (Fed. Cir. 2001) (“In the
absence of evidence showing that the parent company either            IT IS SO ORDERED.
was an alter ego of the subsidiary or controlled the conduct of
the subsidiary, we have refused to find direct infringement.”).
                                                                      All Citations

IV. CONCLUSION                                                        Slip Copy, 2020 WL 7260660

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                                                                        *1 On April 22, 2005, the Court heard oral argument on
                                                                       counterdefendants PostX and Mayfield's motion for summary
     KeyCite Yellow Flag - Negative Treatment                          adjudication of Sigaba's first, third, and fifth counterclaims.
Order Amended on Reconsideration by PostX Corporation v. Secure Data
                                                                       Having carefully considered the arguments of counsel and the
in Motion, N.D.Cal., August 31, 2005
                                                                       papers submitted, the Court hereby GRANTS the motion for
                    2005 WL 8177634                                    the reasons set forth below.
      Only the Westlaw citation is currently available.
       United States District Court, N.D. California.
                                                                                             BACKGROUND
             POSTX CORPORATION, Plaintiff,
                              v.                                       OnSeptember 13, 2002, PostX Corporation (“PostX”) filed
            SECURE DATA IN MOTION, INC.,                               a complaint for patent infringement against Secure Data In
               d/b/a Sigaba, et al., Defendants.                       Motion, d/b/a Sigaba (“Sigaba”). On September 29, 2003
                 and Related Counterclaims.                            and November 25, 2003, the Court granted Sigaba's motions
                                                                       for summary judgment of non-infringement of United States
                        No. C 02-04483 SI                              Patent No. 6,477,647 (“the '647 Patent”) and U.S. Patent No.
                                 |                                     6,014,688 (“the '688 patent”). The Federal Circuit affirmed
                        Signed 08/16/2005                              without opinion on November 15, 2004. On February 4,
                                 |                                     2004, the Court granted summary judgment for defendants
                         Filed 08/17/2005                              on PostX's claim for misappropriation of trade secrets under
                                                                       the UniformTrade Secrets Act (“UTSA”) because of PostX's
Attorneys and Law Firms                                                failure to adequately disclose the trade secrets at issue in
                                                                       that claim. This left for resolution defendant's three antitrust
David A. Jakopin, Joseph R. Tiffany, II, Mark J. Danielson,
                                                                       counterclaims and one false advertising counterclaim.
Chang H. Kim, Dianne L. Sweeney, Theodore K. Bell,
Pillsbury Winthrop Shaw Pittman LLP, William Frederick
                                                                       In its counterclaims, Sigaba alleges that PostX initiated
Abrams, Steptoe & Johnson LLP, Palo Alto, CA, John
                                                                       the patent suit against it for improper and anticompetitive
M. Grenfell, Pillsbury Winthrop Shaw PittmanLLP, San
                                                                       purposes. Sigaba's Answer and Counterclaims ¶ 20. In August
Francisco, CA, Nicole Townsend Bartow, Atmel Corporation,
                                                                       2000, officers of both companies met to explore business
San Jose, CA, for Plaintiff.
                                                                       opportunities and entered into a Non-Disclosure Agreement.
John L. Cooper, Eric W. Bass, James W. Morando, Jeffrey M.             Id. at ¶ 14. After these discussions ended, PostX and Sigaba
Fisher, Stephanie Powers Skaff, Farella Braun & Martel LLP,            remained competitors in the market for “non-PKI-based
San Francisco, CA, Heather S. Tewksbury, Wilmer Cutler                 Secure Document Delivery Systems,” particularly for the
Pickering Hale and Dorr LLP, Palo Alto, CA, for Defendant              business of Bank of America. Id. at ¶ 10, 16. On about August
Secure Data In Motion, Inc.                                            28, 2002, Bank of America signed a contract to purchase
                                                                       Sigaba's secure document delivery system. Id. at ¶ 16.
Heather S. Tewksbury, Wilmer Cutler Pickering Hale and
Dorr LLP, Palo Alto, CA, Stephanie Powers Skaff, Farella               According to the counterclaims, PostX learned that it had lost
Braun and Martel LLP, San Francisco, CA, for Defendant                 the Bank of America contract to Sigaba and, on September
Clearswift Corporation.                                                12, 2002, sent a fax to Bank of America informing the bank
                                                                       that it had filed a patent infringement suit against Sigaba,
                                                                       and posted a press release on its website announcing the
        ORDER GRANTING PLAINTIFF'S AND                                 filing of its suit. Id. at ¶ 18-19. PostX did not actually file
          COUNTERDEFENDANTS' MOTION                                    the patent infringement suit until September 13, 2002. Id.
         FOR SUMMARY ADJUDICATION OF                                   at ¶ 19. Sigaba alleges that, because of the 2000 meeting
         ANTITRUST CONSPIRACY CLAIMS                                   between the companies, PostX knew that Sigaba's products
                                                                       did not infringe the '688 patent, and in fact PostX's Chief
SUSAN ILLSTON, United States District Judge                            Technology Officer admitted that the suit had no technical
                                                                       merit. Id. at ¶ 21-22. After a second patent, the '647 patent,



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was issued to PostX in November 2002, PostX filed a second        335:20-336:18. No other PostX board members participated
patent infringement suit against Sigaba, which Sigaba also        in this call. Id. at 304:1-9.
claims is sham litigation. Id. at ¶ 23. According to Sigaba's
counterclaims, PostX conspired with counterdefendant the          Then, on September 13, 2002, at 9:00 a.m., the PostX board
Mayfield Funds (“Mayfield” or “the Mayfield Funds”) and           voted to (1) remove Dalal as the Mayfield representative
attempted to monopolize the market for “non-PKI-based             on the PostX board and appoint Mr. Morgan as a PostX
Secure Document Delivery Systems.” Id. at ¶¶ 10-11.               director, and (2) approve the filing of the lawsuit. Cooper
                                                                  Decl., Ex. CC at PXT 0087030. The PostX board made
The Mayfield Funds are the investment vehicles for a venture      Morgan's appointment effective September 11, 2002 by a
capital firm that invested in PostX multiple times since 1998     resolution stating “[t]hat all actions taken by Allen Morgan
and has owned approximately 20% of PostX's stock during           from and after September 11, 2002, and his participation in all
this time. Decl. of Yogen Dalal (“Dalal Decl.”) at ¶ 4.           deliberations of the Board from and after that date, are hereby
Mayfield has the right to appoint a director of PostX, and        ratified, approved and confirmed as taken in his capacity as
Mayfield managing director Yogen Dalal served on PostX's          a member of the Board.” Id. at 0087029. Morgan states that
board from November 1998 to September 2002. PostX and             he attended the board meetings prior to September 13, 2002
Mayfield also entered into a Management Rights Agreement          as a non-voting observer, and became a director of PostX on
(“MRA”) which gave Mayfield the right, among others, to:          September 11, 2002, “for the purpose of casting a vote at the
“consult with and advise management of PostX on significant       September 13, 2002 PostX Board meeting.” Morgan Decl. ¶
business issues, including management's proposed annual and       8. When Dr. Dalal returned from sabbatical at the beginning
quarterly operating plans,” and stated that “if [Mayfield] is     of October 2002, he replaced Morgan as a director of PostX.
not represented on PostX's Board of Directors, PostX shall        Id. at ¶ 11.
invite a representative of [Mayfield] to attend all meetings of
its Board of Directors in a non-voting observer capacity ...      Sigaba alleges that this conduct by PostX and Mayfield
[who] may participate in discussions of matters brought to        reveals their anticompetitive objectives in filing the sham
the Board provided that the representative will recuse himself    litigation. In addition, it contends that Mayfield materially
or herself from discussions that involve conflict of interest     contributed to the anticompetitive conduct “pledg[ing]
between PostX and Mayfield.” Dalal Decl., Ex. A at PXT            continuing support” to PostX and thereby helping to finance
0089751. According to Sigaba, this MRA granted unique             the litigation. Cooper Decl., Ex. G (Dean Mayer Depo.)
rights to Mayfield that exceeded those guaranteed other PostX     at 428:20-22. Mayfield provided $1 million in PostX's
investors. Def.'s Opp'n at 2:22-24.                               December 2002 round of financing and $1.5 million in an
                                                                  August 2003 financing for PostX's operating expenses, which
 *2 According to PostX, Dr. Dalal took a sabbatical from          would include the litigation expenses for the Sigaba suit. Id.,
late June through September 2002. Dalal Decl. ¶ 8; Decl.          Ex. A (Dalal Depo.) at 274:15-275:8.
of Allen Morgan (“Morgan Decl.”) ¶ 8. Allen Morgan, a
managing director of Mayfield, had been attending PostX           Now before the Court is a motion by PostX and the Mayfield
board meetings as a non-voting observer during the late           Funds for summary adjudication of three of defendant's
spring and summer of 2002. Before Dalal's departure, Sigaba       counterclaims: (1) for “restraint of trade” under Section
alleges that Dalal led the PostX board in its decision            1 of the Sherman Act; (2) for “conspiracy to attempt
to fire the current CEO and replace him with Thampy               monopolization” under Section 2 of the Sherman Act; and (3)
Thomas in June 2002. Def.'s Opp'n at 4:19;5:3. Thomas             for declaratory relief as to these claims.
developed a “counteroffensive” strategy to win the Bank
of America business, which included the patent lawsuit.
According to Sigaba, PostX sought the “agreement, approval
                                                                                     LEGAL STANDARD
and backing of Mayfield” to initiate the lawsuit by involving
Allen Morgan in the decision-making process. Specifically,        Summary judgment or adjudicatio n is proper when
Thomas, Morgan, and PostX CTO Cayce Ullman held a                 “the pleadings, depositions, answers to interrogatories, and
one-hour conference call on September 12, 2002, during            admissions on file, together with affidavits, if any, show that
which they reached agreement that PostX would file the sham       there is no genuine issue as to any materialfact and that the
suit. Decl. of John L. Cooper, Ex. P (Thomas Depo.) at



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moving party is entitled to a judgment as a matter of law.”       enterprise” do not meet the “concerted action” requirement
Fed. R. Civ. P. 56(c).                                            of Section 1 of the Sherman Act. Podiatrist Ass'n, Inc.
                                                                  v. La Cruz Azul de Puerto Rico, Inc., 332 F.3d 6, 13
In a motion for summary judgment, “[if] the moving party          (1st Cir. 2003). 1 The doctrine precludes antitrust claims
for summary judgment meets its initialburden of identifying       where the officers or employees of a company are alleged
for the court those portions of the materials on file that it     to have conspired with the corporation. See Copperweld
believes demonstrate the absence of any genuine issues of         Corp. v. Independence Tube Corp., 467 U.S. 752, 769
materialfact, the burden of production then shifts so that the    (1984) (“officers of a single firm are notseparate economic
non-moving party must set forth, by affidavit or as otherwise     actors pursuing separate economic interests, so agreements
provided in Rule 56, specific facts showing that there is a       among them do not bring together economic power that
genuine issue for trial.” See T.W. Elec. Service, Inc., v. Pac.   was previously pursuing divergent goals”). The doctrine
Elec. Contractors Ass'n, 809 F.2d 626, 630 (9th Cir. 1987)        also applies generally to the “internally coordinated conduct
(citing Celotex Corp. v. Catrett, 477 U.S. 317, 106 S. Ct. 317    of a corporation and one of its unincorporated divisions.”
(1986)). In judging evidence at the summary judgment stage,       Id. at 770. In Copperweld, the Supreme Court extended
the court does not make credibility determinations or weigh       this doctrine to a claim that a corporation conspired with
conflicting evidence, and draws all inferences in the light       its wholly-owned subsidiary. Id. at 771. Many courts have
most favorable to the non-moving party. See T.W. Electric,        recognized an exception for “corporate officers acting on their
809 F.2d at 630-31 (citing Matsushita Elec. Indus. Co., Ltd.      own behalf,” see Copperweld, 476 U.S. at 770 n. 15, which
v. Zenith Radio Corp., 475 U.S. 574, 106 S. Ct. 1348 (1986));     applies when an officer has “an independent personal stake
Ting v. United States, 927 F.2d 1504, 1509 (9th Cir. 1991).       in achieving the corporation's illegal objective.” Greenville
The evidence presented by the parties must be admissible.         Publ'g Co. v. Daily Reflector, Inc., 496 F.2d 1391, 1399 (4th
Fed. R. Civ. P. 56(e). Conclusory, speculative testimony in       Cir. 1974).
affidavits and moving papers is insufficient to raise genuine
issues of fact and defeat summary judgment. Thornhill Publ'g      1      According to PostX, the concerted action
Co., Inc. v. GTE Corp., 594 F.2d 730, 738 (9th Cir. 1979).
                                                                         requirement for Section 1 claims also applies to
                                                                         Section 2 claims of conspiracy to monopolize.
                                                                  In two recent decisions, the Ninth Circuit has clarified
                       DISCUSSION
                                                                  the general principles to guide the inquiry when separate
 *3 PostX and Mayfield bring this motion for summary              entities with a common economic interest are alleged to have
adjudication of Sigaba's first and third counterclaims, which     conspired. In Freeman v. San Diego Ass'n of Realtors, 322
allege a conspiracy to violate §§ 1 and 2 of the Sherman Act,     F.3d 1133, 1148-49 (9th Cir.), cert. denied, 540 U.S. 940
and the fifth counterclaim, which seeks declaratory relief. The   (2003), the Court of Appeals stated:
gravamen of Sigaba's allegations is that PostX's patent suit
constituted sham litigation prosecuted for an anticompetitive
purpose, and that Mayfield and PostX together conspired to                    Although the single-entity inquiry is
initiate and finance the suit. PostX and Mayfield contend                     fact-specific, a few general guidelines
that these counterclaims must be dismissed because, under                     emerge. First, in the absence of
the “intracorporate conspiracy doctrine,” PostX and Mayfield                  economic unity, the fact that joint
were legally incapable of an antitrust conspiracy because                     venturers pursue the common interests
Mayfield's nominees to the PostX board do not have an                         of the whole is generally not enough,
independent personal stake in the antitrust violation and                     by itself, to render them a single
because Mayfield does not compete with PostX in the relevant                  entity ... Second, in the absence
market.                                                                       of economic unity, the fact that
                                                                              firms are not actual competitors is
                                                                              also usually not enough, by itself,
A. Application of the intracorporate conspiracy doctrine                      to render them a single entity.
Under the intracorporate conspiracy doctrine, certain actors                  Absence of actual competition may
who “operate within and for the benefit of a single economic                  simply be a manifestation of the



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             anticompetitive agreement itself ...                  or, at the very least, interests which are sufficiently divergent
             Cases have required instead that the                  so that a reasonable juror could conclude that the entities have
             constituent entities be neither actual                not always worked together for a common cause.”).
             nor potential competitors. Finally,
             where firms are not an economic unit                  While in some contexts, courts have apparently recognized
             and are at least potential competitors,               antitrust conspiracies among individuals or entities without
             they are usually not a single entity for              a competitive relationship, like lawyers and their clients,
             antitrust purposes.                                   the Court finds that the general principles enunciated in
                                                                   Freeman and Jack Russell apply in this case, where the
                                                                   alleged conspiracy is between two economic actors with
322 F.3d at 1148-49 (italics in original).                         independent – though not necessarily diverse – economic
                                                                   interests. Copperweld teaches that the fundamental issue is
                                                                   whether the entities are “separate economic actors pursuing
Since Freeman, the Ninth Circuit has reaffirmed these general      separate economic interests [such that] agreements among
principles and held that “[t]he crucial question is whether        them ... suddenly bring together economic power that was
the entities alleged to have conspired maintain an ‘economic       previously pursuing divergent goals.” In the context of
unity,’ and whether the entities were either actual or potential   an investor and an investee like PostX and Mayfield, the
competitors. Our inquiry is a functional one.” Jack Russell        appropriate inquiry is whether the two maintain an economic
Terrier Network of Northern Cal. v. Amer. Kennel Club,             unity and whether they are actual or potential competitors.
Inc., 407 F.3d 1027, 1034 (9th Cir. 2005), citing Freeman,
322 F.3d at 1148-49, and Copperweld, 467 U.S. at 773 n.21
(“substance, not form, should determine whether a separately       B. Economic unity and competition between PostX and
                                                           2       Mayfield
incorporated entity is capable of conspiring under § 1”).
                                                                   In conducting the fact-specific inquiry under the principles
2      The parties have briefed the significance of the Jack       of Freeman and Jack Russell, the Court considers whether
       Russell decision in letter briefs to the Court filed        PostX and Mayfield possessed economic unity at the time of
       since the hearing.                                          their agreement and whether they are actual or even potential
 *4 Sigaba cites several cases for the propositions that (1)       competitors.
entities may share one aligned economic interest but not be
entitled to single entity status, and (2) there need not be any    Mayfield was the most important PostX investor, holding
competitive relationship between the conspiring parties for a      20% ofits shares, and had significant access to and influence
conspiracy to exist. See Minpeco, S.A. v. ContiCommodity           over PostX, including a Management Rights Agreement that
Services, Inc., 673 F. Supp. 684 (S.D.N.Y. 1987) (finding          was favorable to Mayfield. While Sigaba suggests that this
conspiracy between investors and silver traders, despite their     level of access and involvement was somehow illicit, it is
aligned interest in the restraint of trade); Pinhas v. Summit      difficult to see how such substantialinfluence would make
Health Ltd., 894 F.2d 1024 (9th Cir. 1989) (finding no             the two entities more capable of conspiring rather than less.
immunity from conspiracy for an attorney and client allegedly      See Fresh Made, Inc. v. Lifeway Foods, Inc., 2002 WL
engaging in anticompetitive behavior); Agron, Inc. v. Chien-       31246922 at *7 (E.D. Pa. Aug. 9, 2002). At the same time,
Lu Lin, 2004 WL 555377 (C.D. Cal. March 16, 2004)                  PostX and Sigaba are separate economic entities, and of
(applying Pinhas and finding a cognizable conspiracy claim         course they do not have identical economic interests in all
against a lawyer and patent holder who agreed to bring             circumstances. Nonetheless, their interests in PostX's success
baseless patent suits). According to Sigaba, the question          were one and the same, and the Court cannot conceive of
of actual or potential competition is “not the only method         how Mayfield's interest in obtaining a favorable return on
to determine whether the entities economic interests are           its investment in PostX constitutes a “separate” interest from
diverse,” see Def.s' June 3, 2005 Letter Br. at 2 (italics in      that of PostX's other shareholders or of PostX itself. 3 The
original), citing City of Mt. Pleasant v. Associated Elec.         aligned interest of PostX and Mayfield in PostX's success
Coop., Inc., 838 F.2d 268, 276 (8th Cir. 1988) (“By ‘diverse,’     is not the “commonality of interest” that “exists in every
we mean interests which tend to show that any two of the           cartel,” L.A. Memorial Coliseum Comm'n v. N.F.L., 726 F.2d
defendants are, or have been, actual or potential competitors,     1381, 1389 (9th Cir. 1984), but rather the unity of economic



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interest shared between any shareholder and the company in    out, Dalal's suggestion does not so much reflect an interest
which it invests. Sigaba's only concrete suggestion of how    diverse from PostX's as the interest in maximizing PostX's
those interests might diverge is that Dr. Dalale mailed the   shareholder value. In addition, while Sigaba suggests that
PostX board on May 16, 2002, suggesting a possible merger     Mayfield was the animating force behind the strategy to
of PostX with another company:                                eliminate competition from Sigaba, it is clear that PostX's
                                                              “counteroffensive” plan to defeat Sigaba was initiated by
                                                              PostX CEO Thampy Thomas.
            I have been thinking about what the               Rather than indicating divergent or potentially competing
            future holds for PostX and I don't feel           interests coming together for a single anticompetitive
            good ... Mayfield has a lot invested              objective, these facts weigh in favor of a finding that PostX
            and I can't watch it get wasted without           and Mayfield shared a common interest in PostX's financial
            doing all I can to make this investment           success before the decision to file the patent suit. In addition,
            return something for us ... We must               there is no evidence that they were or might be competitors
            consolidate or we will find ourselves             previously pursuing separate interests “sudden[ly] joining
            with no cash at the end of the year               economic power.” Copperweld, 467 U.S. at 771. Rather,
            and then its lights out. Mike has been            at all times, the two entities and their representatives were
            unsuccessful in raising any money and             engaged in corporate governance decisions regarding PostX,
            it's not surprising why – no revenues             a company in which they have shared an economic interest
            and high valuation at PostX! I suggest            since 1998. Accordingly, they are entitled to the protection of
            we cut the company back and merge                 the intracorporate conspiracy doctrine.
            it with Boldfish ASAP ... I had a long
            chat with John Shoch today and he
                                                              C. Morgan's director status
            is supportive as both Mayfield and
                                                              Because the Court finds that PostX and Mayfield were
            Alloy have a lot of money in both
                                                              legally incapable of an antitrust conspiracy, the matter of
            companies and we need to get some
                                                              Allen Morgan's precise status on September 12, 2002 is not
            returns now ... We need to salvage all
                                                              dispositive of this motion. Sigaba contends that Allen Morgan
            our work quickly.
                                                              was not a board member at the time of his September 12,
                                                              2002 conversation with Thampy Thomas, during which they
                                                              agreed that PostX should file suit. Sigaba characterizes the
*5 Cooper Decl., Ex. O (Dalal Depo.), Depo. Ex. 1034.         board's retroactive appointment of Morgan as “backdating”
                                                              his directorship precisely to avoid liability for conspiracy, and
3      According to Dr. Dalal's deposition, Mayfield          it argues that Morgan was acting on Mayfield's behalf, not
       would now no longer be considered the “lead            PostX's, at the time of the allegedly conspiratorial agreement.
       investor” in PostX (which is the term for an           In addition, Sigaba contends that Morgan was capable of
       investor that provides the largest dollar amount       conspiring with PostX even when he was a director, because
       and sets the terms of the company's financings),       Mayfield had independent economic interests which Morgan
       because another firm led the investment and set        was protecting.
       the terms of the most recent financing, and that
       firm now owns the same percentage of PostX as          PostX contends that this issue is a red herring, because
       Mayfield. Cooper Decl., Ex. O (Dalal Depo.) at         Thomas could consult with Morgan under the terms of the
       23:8-24:15.                                            Management Rights Agreement between PostX and Mayfield
                                                              both before and after his appointment to the board, and the
Sigaba argues that this email is proof that Mayfield sought   board's retroactive ratification of Morgan as a director was
return on its investment regardless of the consequences       entirely effective under California law. In addition, PostX and
for PostX. But, as Thampy Thomas testified, that merger       Mayfield apparently seek a broader holding from the Court
never occurred because the PostX board, including Dalal,      that corporate directors and the minority shareholders who
and together with Thomas, “decided against it.” Cooper        appoint them are legally incapable of conspiring with the
Decl., Ex. P (Thomas Depo.) at 848:18. As PostX points        corporation in which the shareholder invests.



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 *6 As PostX points out, counterdefendants do not dispute
that Mayfield's representative on the PostX board, Allen             D. Objections to evidence
Morgan, participated in and supported the decision to                PostX has filed a series of objections to statements
sue Sigaba. The Court agrees that the application of the             in Sigaba's Opposition brief and evidence submitted.
intracorporate conspiracy doctrine rests on the above analysis       The Court finds that, even assuming all statements and
of PostX and Mayfield's corporate relationships, not “on             evidence are admissible, Sigaba has not established that
dispute issues of who knew what when, or who said what               a triable issue of material fact exists to defeat summary
to whom.” Pls.' Reply at 2:18-19. Both parties correctly             judgment. Accordingly, it does not rule on PostX's objections
recognize that, regardless of Morgan's director status on            individually.
September 12, 2002, the intracorporate conspiracy doctrine
looks to economic reality, not corporate form. Copperweld,
467 U.S. at 772; City of Mt. Pleasant, supra, 838 F.2d at 275.
Viewing the evidence in the light most favorable to Sigaba,                                 CONCLUSION
the Court declines to hold that Allen Morgan's director status
                                                                     For the foregoing reasons and for good cause shown, the
itself on September 12, 2002, makes PostX and Mayfield
                                                                     Court hereby GRANTS PostX and Mayfield's motion for
legally incapable of antitrust conspiracy.
                                                                     summary adjudication of Sigaba's antitrust counterclaims.
                                                                     [Docket # 509].
However, the Court also declines to adopt a broader
holding that would suggest that a corporate director and the
                                                                     IT IS SO ORDERED.
shareholder he or she represents are always shielded under the
intracorporate conspiracy doctrine. Under the circumstances
of this case, and on the record before the Court, Mayfield           All Citations
and PostX enjoyed an economic unity, were neither actual
nor potential competitors, and were legally incapable of the         Slip Copy, 2005 WL 8177634
alleged conspiracy. Sigaba has not established a triable issue
of fact on any of these issues.

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                                                                 Shujauddin and Najma Shuja, (“Plaintiffs”), [ECF 8], OMH's
                    2019 WL 9102043                              reply, [ECF 21], and the allegations in the complaint, [ECF
      Only the Westlaw citation is currently available.          1 at 38], it is hereby ORDERED that OMH's motion to
      United States District Court, E.D. Pennsylvania.           dismiss is GRANTED. Accordingly, all claims against OMH
                                                                 are DISMISSED. 2
          Khokar SHUJAUDDIN, et al., Plaintiffs
                             v.                                  1      Though Plaintiff sued OMH and EMH as separate
           BERGER BUILDING PRODUCTS,                                    Defendants, OMH has consistently maintained
                 INC., et al., Defendants                               that they are a single entity. [See, e.g., ECF 5
                                                                        at 6]. In support, OMH supplied a Certificate
                 CIVIL ACTION NO. 19-876
                                                                        of Amendment signed by the Secretary of State
                              |
                                                                        of Delaware which reflects that EMH officially
                      Filed 06/18/2019
                                                                        changed its name to OMH on January 6, 2017.
Attorneys and Law Firms                                                 [ECF 5-1 at Ex. E]. Plaintiffs have not challenged
                                                                        this certificate. Accordingly, though OMH is
James D. Golkow, Kyle D. Reich, Timothy J. Ryan, Golkow                 discussed herein as a single entity, for the reasons
Hessel LLC, Philadelphia, PA, for Plaintiffs.                           set forth below, Plaintiffs' claims against both
                                                                        OMH and EMH are dismissed.
Kiernan G. Cavanagh, Campbell Conroy & O'Neil, PC,
                                                                 2
Berwyn, PA, Keith D. Heinold, Marshall Dennehey Warner                  On January 23, 2019, Plaintiffs filed this civil
Coleman & Goggin, Tara Gill Nalencz, Rawle & Henderson                  action in state court asserting claims of strict
LLP, Philadelphia, PA, for Defendant Omnimax International,             product liability, negligence, breach of express
Inc.                                                                    and/or implied warranty, and loss of consortium
                                                                        stemming from an accident Shujauddin allegedly
Kiernan G. Cavanagh, Campbell Conroy & O'Neil, PC,                      suffered in July 2017 when, while working as
Berwyn, PA, Eric A. Weiss, Keith D. Heinold, Marshall,                  a die setter, the press machine he was using
Dennehey, Warner, Coleman, & Goggin, Tara Gill Nalencz,                 “unexpectedly cycled,” causing severe injuries
Rawle & Henderson LLP, Philadelphia, PA, for Defendant                  to Shujauddin's left hand. [ECF 1]. On March
Euramax International, Inc.                                             15, 2019, OMH filed the underlying motion
                                                                        to dismiss. [ECF 5]. In said motion, OMH
John R. O'Rourke, McTighe, Weiss & O'Rourke, Norristown,
                                                                        argues that Plaintiffs' claims against it should be
PA, for Defendant the Heim Group.
                                                                        dismissed because, inter alia, Plaintiffs have failed
Joseph H. Riches, Law Offices of Mason & Eiseman,                       to make a prima facie showing that this Court
Philadelphia, PA, for Defendant Automation Direct.                      has personal jurisdiction. Plaintiffs disagree and
                                                                        argue that OMH is subject to (1) general personal
Daniel W. Gerber, Gerber Ciano Kelly Brady LLP, New York,               jurisdiction because its wholly-owned subsidiary,
NY, for Defendant Comepi, Srl.                                          OmniMax International, Inc., conducts business
                                                                        in Pennsylvania, and (2) specific jurisdiction
                                                                        because sufficient contacts exist between OMH and
                          ORDER                                         Pennsylvania, and this litigation arises out of those
                                                                        contacts.
NITZA I. QUIÑONES ALEJANDRO, Judge                                      Under Rule 12(b)(2), a defendant may move to
                                                                        dismiss a claim for lack of personal jurisdiction.
 *1 AND NOW, this 18 th day of June 2019, upon                          To determine whether personal jurisdiction exists,
consideration of the motion to dismiss filed pursuant to                courts “must accept all of the plaintiff's allegations
Federal Rules of Civil Procedure (“Rules”) 12(b)(2), (5),               as true and construe disputed facts in favor of
and (6) by Defendant OmniMax Holdings, Inc. (“OMH”)                     the plaintiff.” Pinker v. Roche Holdings Ltd.,
(formerly known as EuraMax Holdings, Inc. (“EMH”)), 1                   292 F.3d 361, 368 (3d Cir. 2002). However,
[ECF 5], the response in opposition filed by Plaintiffs Khokar          once a defendant has raised a jurisdictional



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       defense, a plaintiff has the burden to show,               (citing Helicopteros Nacionales de Colombia v.
       “with reasonable particularity,” enough contact            Hall, 466 U.S. 408, 414-15, 104 S.Ct. 1868, 80
       between the defendant and the forum to support             L.Ed.2d 404 (1984)). General jurisdiction allows
       the exercise of personal jurisdiction by the forum         a court to hear any claim against a party whose
       state. Id.; see also Mellon Bank PSFS, Nat'l Ass'n         “affiliations with the State are so continuous and
       v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992)              systematic as to render them essentially at home in
       (internal citations omitted); Action Mfg. Co. v.           the forum State.” Daimler AG v. Bauman, 571 U.S.
       Simon Wrecking Co., 375 F. Supp. 2d 411, 418               117, 127, 134 S.Ct. 746, 187 L.Ed.2d 624 (2014)
       (E.D. Pa. 2005) (“In order to establish a prima            (quoting Goodyear Dunlop Tires Operations, S.A.
       facie case, the plaintiff must present specific facts      v. Brown, 564 U.S. 915, 919, 131 S.Ct. 2846,
       that would allow the court to exercise jurisdiction        180 L.Ed.2d 796 (2011)). In all but “exceptional
       over the defendant.”). Moreover, once a plaintiff's        case[s],” corporate defendants like OMH and EMH
       “allegations are contradicted by an opposing               are “at home” in the states in which they are
       affidavit ... [the plaintiff] must present similar         incorporated and maintain their principal place of
       evidence in support of personal jurisdiction.” In          business. BNSF Ry. Co. v. Tyrrell, ––– U.S. ––––,
       re Chocolate Confectionary Antitrust Litig., 602           137 S. Ct. 1549, 1552, 198 L.Ed.2d 36 (2017)
       F. Supp. 2d 538, 556 (M.D. Pa. 2009). That is,             (citing Daimler, 571 U.S. at 137, 134 S.Ct. 746);
       to counter opposing affidavits, “[p]laintiffs may          see also Chavez v. Dole Food Co., 836 F.3d 205,
       not repose upon their pleadings ... [r]ather, they         223 (3d Cir. 2016). Specific jurisdiction allows
       must counter defendant['s] affidavits with contrary        a court to hear only claims that “aris[e] out of
       evidence in support of purposeful availment                or relat[e] to the defendant's contacts with the
       jurisdiction.” Id. at 559. To that end, “[t]he plaintiff   forum.” Helicopteros, 466 U.S. at 414 n.8, 104
       must respond to the defendant's motion with ‘actual        S.Ct. 1868. To be subject to specific jurisdiction,
       proofs;’ ‘affidavits which parrot and do no more           “[t]he defendant must have ‘purposefully directed
       than restate [the] plaintiff's allegations ... do not      his activities at the forum.’ ” O'Connor v. Sandy
       end the inquiry.’ ” Lionti v. Dipna, Inc., 2017 WL         Lane Hotel Co., 496 F.3d 312, 317 (3d Cir. 2007)
       2779576, at *1 (E.D. Pa. June 27, 2017) (quoting           (quoting Burger King v. Rudzewicz, 471 U.S. 462,
       Time Share Vacation Club v. Atl. Resorts, Ltd., 735        472, 105 S.Ct. 2174, 85 L.Ed.2d 528 (1985)). In
       F.2d 61, 66, n.9 (3d Cir. 1984)); see also Lehigh          determining whether specific jurisdiction exists,
       Gas Wholesale, LLC v. LAP Petro., LLC, 2015 WL             courts are to consider “the relationship among the
       1312213, at *2 (E.D. Pa. Mar. 23, 2015) (“Plaintiff        forum, the defendant and the litigation in order
       carries the burden to prove personal jurisdiction          to determine whether the defendant's conduct and
       using ‘affidavits or other competent evidence.’ ”)         connection with the forum state are such that he
       (quoting Metcalfe v. Renaissance Marine, Inc., 566         should reasonably anticipate being haled into court
       F.3d 324, 330 (3d Cir. 2009)).                             there.” Mellon Bank PSFS, Nat'l Ass'n v. Farino,
       Federal courts may assert jurisdiction over a              960 F.2d 1217, 1221 (3d Cir. 1992) (internal
       nonresident of the forum state to the extent               quotations and citations omitted).
       authorized by the law of the forum. Remick v.              In the underlying motion, OMH argues that it
       Manfredy, 238 F.3d 248, 255 (3d Cir. 2001). Here,          (1) is incorporated in Delaware and maintains
       Pennsylvania's long-arm statute is the applicable          its principal place of business in Georgia, and
       statute, and it grants jurisdiction coextensive with       (2) “had no involvement in the purchase, design,
       that permitted by the due process clause of                installation, testing, safety assessment, or operation
       the Fourteenth Amendment of the United States              of any equipment located at the subject facility,
       Constitution. Id.; see also 42 Pa. Cons. Stat. §           does not employ anyone who works at the facility,
       5322(b). Under the Fourteenth Amendment due                and is not otherwise involved with the operations
       process analysis, a federal court must possess either      at the facility” where Shujauddin was injured.
       general jurisdiction or specific jurisdiction. See         [ECF 5 at 8]. To support these contentions, OMH
       D'Jamoos ex rel. Estate of Weingeroff v. Pilatus           offers a signed affidavit in which Christopher
       Aircraft Ltd., 566 F.3d 94, 102 (3d Cir. 2009)             Berg, Vice President, General Counsel, and



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                                                                        caused Plaintiff [Shujauddin]'s injuries.” [ECF
       Corporate Secretary of OMH subsidiary, OmniMax
                                                                        8 at 7]. This argument, however, contains two
       International, Inc. (“OMI”), attests to those facts.
                                                                        critical flaws. First, the complaint contains no
       [ECF 5 at Ex. D]. In response, Plaintiffs argue
                                                                        such specific allegation against OMH. Rather the
       that (1) OMH's ownership of subsidiary OMI,
                                                                        complaint contains only generalized allegations
       which conducts business in Pennsylvania, subjects
       OMH to both general and specific jurisdiction                    that all Defendants “designed, manufactured ...”
       in this forum, and that (2) Plaintiffs' allegations              the machinery in question. Such allegations fail.
       that OMH “designed, manufactured, supplied,                      “Even under the most liberal notice pleading
       distributed, modified, and/or sold the subject die               requirements of Rule 8(a), a plaintiff must
       press machinery and equipment which caused                       differentiate between defendants. An allegation
       Plaintiff [Shujauddin]'s injuries,” [ECF 8 at 7], are            against multiple defendants that is bereft of specific
       sufficient to support specific jurisdiction. Plaintiffs          wrongdoing by those proposed defendants is
       are mistaken on both arguments.                                  insufficient to state a claim.” Binder v. Weststar
       With respect to Plaintiffs' argument that OMH's                  Mortg., 2016 WL 3762710, at *3 (E.D. Pa. July 13,
       relationship to OMI supports personal jurisdiction               2016) (internal quotations and citations omitted).
       in Pennsylvania, Plaintiffs cite to the state court's            Generalized pleadings “are not entitled to the
       observation in Hall v. Penn Hosp., 429 A.2d 80                   assumption of truth.” Iqbal, 556 U.S. at 679,
       (Pa. Super. Ct. 1980), that “a foreign corporation               129 S.Ct. 1937. Second, “[w]hen a defendant
       cannot avoid jurisdiction of Pennsylvania Courts                 challenges personal jurisdiction, the plaintiff has
       by conducting business in Pennsylvania through                   the burden of proof to establish ‘jurisdictional
       a subsidiary corporation.” Id. at *7-8. This single              facts through sworn affidavits or other competent
       proposition of law is, however, insufficient to                  evidence.’ ” Regan v. Loewenstein, 292 F. App'x
       establish federal personal jurisdiction over OMH.                200, 204-05 (3d Cir. 2008) (quoting Patterson by
       “In order to impute the jurisdictional contacts of               Patterson v. F.B.I., 893 F.2d 595, 604 (3d Cir.
       [a subsidiary to a parent], [Plaintiffs] must present            1990)); see also Time Share Vacation Club, 735
       prima facie evidence to overcome the general                     F.2d at 66 n.9 (“at no point may a plaintiff rely
       rule that mere ownership of a subsidiary does                    on the bare pleadings alone in order to withstand
       not subject the parent corporation to personal                   a defendant's Rule 12(b)(2) motion to dismiss
       jurisdiction in the state of the subsidiary.”                    for lack of in personam jurisdiction.”). Here,
       Blackwell v. Marina Assocs., 2006 WL 573793,                     Plaintiffs have offered no “sworn affidavits or other
       at *5 (E.D. Pa. Mar. 9, 2006). Moreover, Daimler                 competent evidence” to rebut OMH's assertion that
       all but closed the door on the viability of the                  it “had no involvement in the purchase, design,
       “agency” theory of personal jurisdiction on which                installation, testing, safety assessment, or operation
       Plaintiffs rely. 571 U.S. at 136, 134 S.Ct. 746                  of any equipment located at the subject facility,
       (“Even if we were to assume that [a subsidiary]                  does not employ anyone who works at the facility,
       is at home in California, and further to assume                  and is not otherwise involved with the operations
       that [the subsidiary's] contacts are imputable to [the           at the facility” where Shujauddin was injured.
       nonresident parent], there would still be no basis               This Court agrees with OMH that Plaintiffs
       to subject [the parent] to general jurisdiction in               have failed to make a prima facie showing of
       California, for [the parent's] slim contacts with the            personal jurisdiction. Accordingly, OMH's motion
       state hardly render it at home there.”). Therefore,              is granted, and Plaintiffs' claims against both OMH
       Plaintiffs' reliance on the mere fact that OMH owns              and EMH are dismissed pursuant to Rule 12(b)(2).
       OMI to establish personal jurisdiction is baseless.              Under these circumstances, discussion of OMH's
       Plaintiffs also argue that OMH should be subject                 remaining arguments (under Rules 12(b)(5) and
       to specific jurisdiction in Pennsylvania because                 (6)) is unnecessary.
       “Omnimax Holdings, Inc. designed, manufactured,
       supplied, distributed, modified, and/or sold the          All Citations
       subject die press machinery and equipment which
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                                                              filed its Opposition [Docket No. 79]. On September 25, 2015,
                    2015 WL 9948936                           the Haymon Defendants filed a Reply [Docket No. 81].
       United States District Court, C.D. California.
                                                              On August 31, 2015, Defendants Waddell & Reed
                   TOP RANK, INC.                             Financial, Inc. (“W & R Financial”), Waddell & Reed
                          v.                                  Investment Management Company (“WRIMCO”), Ivy
                  Alan HAYMON, et al.                         Investment Management Company (“IICO”), and Media
                                                              Group Holdings, LLC (“MGH”) (collectively, the “Waddell
                CV 15–4961–JFW (MRWx)                         Defendants”) filed a Motion to Dismiss Plaintiff's First
                            |                                 Amended Complaint Pursuant to Federal Rule of Civil
                    Signed 10/16/2015                         Procedure 12(b)(6) (“Motion to Dismiss”) [Docket No. 61].
                                                              On September 18, 2015, Top Rank filed its Opposition
Attorneys and Law Firms                                       [Docket No. 78]. On September 25, 2015, the Waddell
                                                              Defendants filed a Reply [Docket No. 80].
Daniel M. Petrocelli, David Marroso, James Michael Pearl,
Stephen Mcintyre, O'Melveny and Myers LLP, Los Angeles,
                                                              Pursuant to Rule 78 of the Federal Rules of Civil Procedure
CA, for Plaintiffs.
                                                              and Local Rule 7–15, the Court found these matters
Howard Weitzman, Jeremiah Tracy Reynolds, Kinsella            appropriate for submission on the papers without oral
Weitzman Iser Kump and Aldisert LLP, Santa Monica, CA,        argument. The matters were, therefore, removed from the
Barry H. Berke, Marjorie E. Sheldon, Norman C. Simon,         Court's October 5, 2015 hearing calendar and the parties
Kramer Levin Naftalis and Frankel LLP, New York, NY,          were given advance notice. After considering the moving,
Russell F. Sauer, Monica R. Klosterman, Robin A. Kelley,      opposing, and reply papers, and the arguments therein, the
Thomas Rickeman, Latham & Watkins LLP, Los Angeles,           Court rules as follows:
CA, Brendan A. McShane, Christopher S. Yates, Latham and
Watkins LLP, San Francisco, CA, for Defendants.
                                                              I. FACTUAL AND PROCEDURAL BACKGROUND
                                                              In its First Amended Complaint filed on August 3, 2015,
                                                              Top Rank alleges that the Haymon Defendants, “[w]ith
    PROCEEDINGS (IN CHAMBERS): ORDER                          the financial backing, complicity, strategic planning, and
GRANTING IN PART THE HAYMON DEFENDANTS'                       material assistance” of the Waddell Defendants, are seeking
     MOTION TO DISMISS PURSUANT TO                            to monopolize and restrain trade in the markets for managing
   FRCP 12(b)(6) [filed 8/31/2015; Docket No. 60];            and promoting “Championship–Caliber Boxers” in the
                                                              United States. First Amended Complaint (“FAC”) at ¶¶ 1, 3,
  ORDER GRANTING WADDELL DEFENDANTS'                          137–155. Top Rank alleges that the Haymon Defendants' and
   MOTION TO DISMISS PLAINTIFF'S FIRST                        Waddell Defendants' conduct violates the Sherman Act, the
    AMENDED COMPLAINT PURSUANT TO                             Muhammad Ali Boxing Reform Act, and other federal and
    FEDERAL RULE OF CIVIL PROCEDURE                           state laws. FAC at ¶¶ 137–184.
      12(b)(6) [filed 8/31/2015; Docket No. 61]

HONORABLE JOHN F. WALTER, UNITED STATES                          A. The Parties
DISTRICT JUDGE                                                Plaintiff Top Rank is a boxing promoter licensed in the States
                                                              of California and Nevada, among others. FAC at ¶ 9.
 *1 On August 31, 2015, Defendants Alan Haymon, Haymon
Boxing LLC (“Haymon Boxing”), Haymon Sports LLC               Defendant Alan Haymon, and the other Haymon Defendants,
(“Haymon Sports”), Haymon Holdings LLC (“Haymon               are allegedly engaged in the business of professional boxing
Holdings”), and Alan Haymon Development, Inc. (“Haymon        management as well as the business of professional boxing
Development”) (collectively, the “Haymon Defendants”)         promotion throughout the United States. FAC at ¶ 122.
filed a Motion to Dismiss Pursuant to FRCP 12(b)(6)           The Haymon Defendants have approximately 200 fighters in
(“Motion to Dismiss”) [Docket No. 60]. On September 18,       their management stable, including current and former world
2015, Plaintiff Top Rank, Inc. (“Plaintiff” or “Top Rank”)    champions Adonis Stevenson, Danny Garcia, Adrien Broner,


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Anthony Dirrell, Peter Quillin, and Keith Thurman. FAC at          promoters” that are controlled by the Haymon Defendants.
¶ 45.                                                              FAC at ¶¶ 73, 82. Top Rank alleges that the use of
                                                                   these “tie out” contracts and “sham promoters” excludes
The Waddell Defendants are asset management and                    legitimate promoters from accessing and promoting many of
investment advisory firms. Specifically, W & R Financial is        the industry's top boxers and allows the Haymon Defendants
a “publicly traded asset management and financial planning         to act illegally as both manager and promoter in violation
company.” FAC at ¶ 15. WRIMCO and IICO, subsidiaries               of the “firewall” provisions of the Muhammad Ali Boxing
of W & R Financial, are a “national investment advisory            Reform Act. FAC at ¶¶ 65, 82.
business” and a “registered investment advisor for [W & R
Financial's] 'Ivy Funds,' ” respectively. FAC at ¶¶ 16–17.
MGH, a Delaware series LLC, is alleged to be a subsidiary of
                                                                                 2. Predatory “Payola” Practices
W & R Financial and the vehicle through which the Waddell
Defendants invested in the Haymon Defendants. FAC at ¶¶            The Haymon Defendants have allegedly reversed the ordinary
18, 57. MGH is allegedly a member of Haymon Holdings.              flow of money between television broadcasters and promoters
FAC at ¶ 18. According to the First Amended Complaint, the         by purchasing air time with over half a dozen leading
Waddell Defendants are allegedly agents and alter egos of one      broadcasters to air fights involving Haymon-contracted
another. FAC at ¶ 19.                                              boxers under the “Premier Boxing Champions” (“PBC”)
                                                                   brand. FAC at ¶¶ 6, 86, 87, 92. Top Rank alleges
                                                                   that the Haymon Defendants have obtained “exclusive
   B. The Haymon Defendants' Alleged Conduct
                                                                   commitments,” from broadcasters, either tacit or express, and
 *2 As discussed in greater detail below, Top Rank alleges
                                                                   have locked up over 100 different dates, allegedly leaving no
that the Haymon Defendants have engaged in at least four
                                                                   room, dates, or opportunities for other promoters or fighters.
types of anticompetitive and tortious behavior: (1) inducing
                                                                   FAC at ¶¶ 6, 87, 94. Top Rank alleges that, between paying
professional boxers to enter unlawful “tie out” agreements,
                                                                   the broadcasters for air time and the expenses of promoting
which prevent the boxers from “freely” or “independently”
                                                                   each televised match, the Haymon Defendants are operating
contracting with legitimate promoters (FAC at ¶¶ 63–66,
                                                                   significantly below cost in the short term so that they can
137–144); (2) illegally acting as a promoter and fraudulently
                                                                   expand their presence in the boxing promotion business,
operating in the promotion business through a network of
                                                                   eliminate competition from promoters, build a monopoly, and
“sham promoters;” (FAC at ¶¶ 72–82, 147); (3) blocking
                                                                   ultimately charge supracompetitive prices. FAC at ¶¶ 6, 92,
legitimate promoters' access to major venues through fraud,
                                                                   93.
overbooking, and other unlawful means (FAC at ¶¶ 97–
100, 147); and (4) utilizing predatory “payola” practices, i.e.,
preventing legitimate promoters from access to television
broadcasters through exclusive dealing, overbooking, and                                3. Venue Blocking
other unlawful means (FAC at ¶¶ 83-96).
                                                                   Top Rank alleges that the Haymon Defendants have used
                                                                   their dominant position in the management market to
                                                                   block legitimate promoters from obtaining favorable dates
      1. “Tie Out” Contracts and “Sham Promoters”                  at top venues. FAC at ¶¶ 4, 97–100. Specifically, Top
                                                                   Rank alleges that two promoters, Golden Boy and Banner
The Haymon Defendants allegedly require boxers to sign
                                                                   Promotions, recently attempted to stage a fight between
long-term, exclusive management agreements, which prevent
                                                                   Ruslan Provodnikov and Lucas Matthyse at the StubHub
boxers from entering into contracts with “legitimate”
                                                                   Center in Carson, California. FAC at ¶ 97. The fight was
promoters without the Haymon Defendants' express consent.
                                                                   originally scheduled for March 28, 2015. FAC at ¶ 97.
FAC at ¶¶ 63–66. Top Rank alleges that the Haymon
                                                                   However, Top Rank alleges that the Haymon Defendants
Defendants, on one occasion, withheld their consent and
                                                                   “locked up” the desired date for the Provodnikov–Matthyse
refused to allow Roc Nation to promote a bout involving
                                                                   fight at the StubHub Center (as well as other Southern
one of the Haymon Defendants' boxers. FAC at ¶ 80. In
                                                                   California venues), ostensibly to host a fight between Jhonny
addition, Top Rank alleges that “in at least some instances,”
                                                                   Gonzalez and Garry Russell Jr. FAC at ¶¶ 97–98. Because the
the Haymon Defendants employ the services of “sham
                                                                   StubHub Center and other Southern California venues were



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booked, Golden Boy and Banner Promotions were forced             In addition to the Waddell Defendants' alleged investment in
to move the fight to another location. FAC at ¶ 98. As           Haymon Holdings, Top Rank alleges that Ryan Caldwell, and
soon as the Provodnikov–Matthyse fight was relocated, the        other representatives of the Waddell Defendants: (1) attended
Haymon Defendants allegedly moved the Gonzalez–Russell           meetings and engaged in negotiations for the possible
fight to The Palms in Las Vegas. FAC at ¶ 98. Top Rank           acquisition of Golden Boy Promotions, one of the industry's
alleges that the Haymon Defendants' purpose in “locking          premier promoters (FAC at ¶¶ 67–71); 1 and (2) attended
up” the StubHub Center and alternative Southern California       meetings and engaged in negotiations with broadcasters to
venues was to “lock out” the Provodnikov–Matthyse fight and      reassure them that the Haymon Defendants had adequate
prevent any possible cannibalization of tickets sales in the     funding for their new PBC boxing venture and alleged
same local area for the Haymon Defendants' bout between          “payola” scheme (FAC at ¶¶ 91, 95).
Julio Cesar Chavez, Jr. and Andrzej Fonfara, which was
scheduled to take place at the StubHub Center just three         1       Due to Top Rank's reliance on group pleading, it
weeks later, on April 18, 2015. FAC at ¶ 98.
                                                                         is impossible to determine which entity that Top
                                                                         Rank claims attempted to acquire Golden Boy
   C. The Waddell Defendants' Alleged Conduct                            Promotions.
 *3 Top Rank alleges that Ryan Caldwell, a senior executive      The remainder of the allegations concerning the Waddell
and portfolio manager of W & R Financial, WRIMCO, and            Defendants consist of impermissible group pleading, i.e.,
IICO, had ambitions to “own live sports.” FAC at ¶ 56.           lumping the Waddell Defendants and the Haymon Defendants
After discussions with Alan Haymon, he allegedly agreed that     together, or are bare legal conclusions cleverly disguised as
the Waddell Defendants would “commit funding, business           factual allegations.
expertise, and operational supervision” to the Haymon
Defendants. FAC at ¶ 56 Pursuant to that agreement, the
Waddell Defendants arranged for at least four investment            D. Top Rank's Claims
funds, under the management of WRIMCO and IICO, to               In its First Amended Complaint filed on August 3, 2015,
collectively purchase hundreds of millions of dollars of         Top Rank alleges the following claims for relief against all
“Series H” stock in MGH. FAC at ¶ 57. MGH in turn invested       defendants: (1) unlawful “tie out” in violation of Section 1 of
these funds in Haymon Holdings on August 29, 2013 and            the Sherman Act, 15 U.S.C. § 1; (2) conspiracy in restraint of
October 31, 2013. FAC at ¶ 57.                                   trade in violation of Section 1 of the Sherman Act, 15 U.S.C.
                                                                 § 1; (3) attempted monopolization in violation of Section
On August 29, 2013, concurrent with its investment, MGH          2 of the Sherman Act, 15 U.S.C. § 2; (4) injunctive relief
entered into an Amended and Restated Limited Liability           under Section 16 of the Clayton Act, 15 U.S.C. § 26; (5)
Company Agreement with respect to Haymon Holdings                violation of the California Unfair Practices Act, Cal. Bus. &
(which is, in turn, the managing member of Haymon Sports).       Prof.Code §§ 17000 et seq.; (6) violation of the California
FAC at ¶ 58. The Agreement provided that MGH would               Unfair Competition Law, Cal. Bus. & Prof.Code §§ 17200 et
become a “member” of Haymon Holdings, along with                 seq.; and (7) tortious interference with prospective economic
Haymon Development and at least one other member. FAC at         advantage.
¶ 58. Pursuant to the Agreement, MGH is allegedly entitled
to appoint two “Observers” to Haymon Holdings' Board of          The Haymon Defendants and the Waddell Defendants move
Directors, who receive all of the information provided to any    to dismiss all of the claims asserted against them for failure to
Board member, and who, in the past, had the power to convene     state a claim under Federal Rule of Civil Procedure 12(b)(6).
special meetings of the Board of Directors. FAC at ¶ 59. In
addition, MGH allegedly possesses approval rights (or veto
power) over Haymon Holdings' and its subsidiaries' “Major        II. LEGAL STANDARD
Decisions,” including those related to material contracts, any   A motion to dismiss brought pursuant to Federal Rule of
material change in business, adoption of annual budgets          Civil Procedure 12(b)(6) tests the legal sufficiency of the
and business plans, and any material action or material          claims asserted in the complaint. “A Rule 12(b)(6) dismissal
expenditure. FAC at ¶ 61.                                        is proper only where there is either a 'lack of a cognizable
                                                                 legal theory' or 'the absence of sufficient facts alleged under a
                                                                 cognizable legal theory.' ” Summit Technology, Inc. v. High–


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Line Medical Instruments Co., Inc., 922 F.Supp. 299, 304
(C.D.Cal.1996) (quoting Balistreri v. Pacifica Police Dept.,       III. THE HAYMON DEFENDANTS' MOTION TO
901 F.2d 696, 699 (9th Cir.1988)). However, “[w]hile a             DISMISS
complaint attacked by a Rule 12(b)(6) motion to dismiss does
                                                                     A. The Sherman Act Claims
not need detailed factual allegations, a plaintiff's obligation
                                                                   Top Rank alleges three claims for violation of the Sherman
to provide the 'grounds' of his 'entitlement to relief' requires
                                                                   Act—two claims for violation of Section 1, which governs
more than labels and conclusions, and a formulaic recitation
of the elements of a cause of action will not do.” Bell            unreasonable restraints of trade and tying, 2 and one
Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal      claim for violation of Section 2, which governs attempted
citations and alterations omitted). “[F]actual allegations must    monopolization. 3 The Haymon Defendants move to dismiss
be enough to raise a right to relief above the speculative         Top Rank's three Sherman Act claims, arguing that they
level.” Id.                                                        suffer from certain common pleading defects, including Top
                                                                   Rank's (1) failure to adequately plead antitrust injury; (2)
 *4 In deciding a motion to dismiss, a court must                  failure to adequately define the relevant markets; (3) failure
accept as true the allegations of the complaint and must           to adequately allege market power; and (4) impermissible
construe those allegations in the light most favorable to          reliance on group pleading.
the nonmoving party. See, e.g., Wyler Summit Partnership
v. Turner Broadcasting System, Inc., 135 F.3d 658, 661             2      Section 1 of the Sherman Act prohibits “[e]very
(9th Cir.1998). “However, a court need not accept as true                 contract, combination in the form of trust or
unreasonable inferences, unwarranted deductions of fact,                  otherwise, or conspiracy, in restraint of trade or
or conclusory legal allegations cast in the form of factual               commerce.” 15 U.S.C. § 1. Despite the literal
allegations.” Summit Technology, 922 F.Supp. at 304 (citing               language of the statute, Section 1 “outlaw[s] only
Western Mining Council v. Watt, 643 F.2d 618, 624 (9th                    unreasonable restraints.” State Oil Co. v. Khan, 522
Cir.1981) cert. denied, 454 U.S. 1031 (1981)).                            U.S. 3, 10 (1997).

“Generally, a district court may not consider any material         3      Section 2 of the Sherman Act makes it illegal
beyond the pleadings in ruling on a Rule 12(b)(6) motion.”                to “monopolize, or attempt to monopolize, or
Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d                 combine or conspire with any other person or
1542, 1555 n. 19 (9th Cir.1990) (citations omitted). However,             persons, to monopolize any part of the trade
a court may consider material which is properly submitted                 or commerce among the several States, or with
as part of the complaint and matters which may be judicially              foreign nations ... ” 15 U.S.C. § 2.
noticed pursuant to Federal Rule of Evidence 201 without
                                                                   In addition, the Haymon Defendants move to dismiss
converting the motion to dismiss into a motion for summary
                                                                   each Sherman Act claim on individual grounds. The Court
judgment. See, e.g., id.; Branch v. Tunnel, 14 F.3d 449, 454
                                                                   addresses the common pleading requirements first, and then
(9th Cir.1994).
                                                                   the pleading requirements for each individual claim.

Where a motion to dismiss is granted, a district court must
decide whether to grant leave to amend. Generally, the Ninth
Circuit has a liberal policy favoring amendments and, thus,                     1. Common pleading requirements
leave to amend should be freely granted. See, e.g., DeSoto v.
Yellow Freight System, Inc., 957 F.2d 655, 658 (9th Cir.1992).                           a. Antitrust injury
However, a Court does not need to grant leave to amend in
cases where the Court determines that permitting a plaintiff to     *5 The Haymon Defendants move to dismiss Top Rank's
amend would be an exercise in futility. See, e.g., Rutman Wine     antitrust claims on the grounds that Top Rank has failed to
Co. v. E. & J. Gallo Winery, 829 F.2d 729, 738 (9th Cir.1987)      allege “antitrust injury.” Specifically, the Haymon Defendants
(“Denial of leave to amend is not an abuse of discretion           argue that Top Rank has failed to allege injury to itself or to
where the pleadings before the court demonstrate that further      competition.
amendment would be futile.”).




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A plaintiff may only pursue an antitrust action if it can show      Rank only alleges that the Haymon Defendants blocked
“antitrust injury,” i.e., “injury of the type the antitrust laws    Golden Boy and Banner Promotions from booking a venue
were intended to prevent and that flows from that which             for a single fight. FAC at ¶¶ 97–98. With respect to the alleged
makes defendants' acts unlawful.” Atl. Richfield Co. v. USA         “payola practice,” Top Rank merely alleges that the Haymon
Petroleum Co., 495 U.S. 328, 334 (1990) (quoting Brunswick          Defendants have booked “over 100 different show dates” on
v. Pueblo Bowl–O–Mat, Inc., 429 U.S. 477, 489 (1977)).              “over half a dozen major broadcasters” and that the Haymon
The four requirements for antitrust injury are: “(1) unlawful       Defendants obtained undefined “exclusivity commitments
conduct, (2) causing an injury to the plaintiff, (3) that flows     (tacit or express)”. FAC at ¶ 94. These alleged actions may
from that which makes the conduct unlawful, and (4) that is         not have affected all promoters equally, may not have affected
of the type the antitrust laws were intended to prevent.” Am.       certain promoters at all, and in fact, may have even helped
Ad Mgmt., Inc. v. Gen. Tel. Co. of California, 190 F.3d 1051,       certain promoters. Without any additional factual allegations,
1055 (9th Cir.1999). “Injury of the type antitrust laws were        the Court cannot determine whether Top Rank has alleged an
intended to prevent” means harm to competition, not harm            injury-in-fact, let alone whether that injury flows from that
to individual competitors. See Brunswick, 429 U.S. at 488           which makes the conduct unlawful.
(quoting Brown Shoe Co. v. United States, 370 U.S. 294, 320
(1962)) (“The antitrust laws ... were enacted for 'the protection
of competition not competitors.' ”). In order to plead harm to
                                                                                         b. Market definition
competition sufficiently to withstand a motion to dismiss, a
claimant “may not merely recite the bare legal conclusion that       *6 The Haymon Defendants also move to dismiss Top
competition has been restrained unreasonably.” Les Shockley         Rank's Sherman Act claims on the grounds that Top Rank has
Racing, Inc. v. Nat'l Hot Rod Ass'n, 884 F.2d 504, 507–08 (9th      not adequately defined the relevant markets.
Cir.1989). “Rather, a claimant must, at a minimum, sketch
the outline of [the injury to competition] with allegations of      “In order to state a valid claim under the Sherman Act, a
supporting factual detail.” Id. at 508.                             plaintiff must allege that the defendant has market power
                                                                    within a 'relevant market.' That is, the plaintiff must allege
The Court concludes that Top Rank has not adequately alleged        both that a 'relevant market' exists and that the defendant
injury to itself, which is not only an element of antitrust         has power within that market.” Newcal Indus., Inc. v. Ikon
injury, but also of Article III standing. As discussed, Top         Office Sol., 513 F.3d 1038, 1044 (9th Cir.2008). Allegations
Rank alleges that the Haymon Defendants engage in unlawful          concerning the relevant market and the defendant's market
conduct in the form of exclusionary “tie out” contracts, the        power are required under both Section 1 and Section 2 of
use of “sham” promoters, predatory “payola practices,” and          the Sherman Act. Id. at 1044 n.3 (“The 'relevant market' and
venue blocking. However, as the Haymon Defendants point             'market power' requirements apply identically under the two
out, Top Rank has failed to allege how it has been injured          different sections of the [Sherman] Act....”).
by the alleged conduct. Indeed, it has not identified a single
bout that it has attempted to promote but was precluded             The relevant market definition must include both a product
from promoting by the Haymon Defendants, a single venue             market and a geographic market. Id. at 1045 n.4. The product
from which it has been blocked, or a single network that has        market “must encompass the product at issue as well as
refused to broadcast a fight promoted by Top Rank. Top Rank         all economic substitutes for the product.” Id. at 1045. “The
correctly argues that competitors who are “frozen out” of a         outer boundaries of a product market are determined by the
market by an antitrust violation have suffered antitrust injury     reasonable interchangeability of use or the cross-elasticity of
and possess antitrust standing. However, Top Rank has failed        demand between the product itself and substitutes for it.”
to allege any facts demonstrating that it has actually been         Brown Shoe v. United States, 370 U.S. 294, 325 (1962).
“frozen out” by any of the Haymon Defendants' conduct.
                                                                    As the Ninth Circuit has held, “there is no requirement that
With respect to the alleged “tie out,” for example, Top Rank        [the relevant market and defendant's market power] ... be pled
only alleges that the Haymon Defendants, on one occasion,           with specificity.” Newcal, 413 F.3d at 1045. “An antitrust
withheld their consent and refused to allow Roc Nation to           complaint therefore survives a Rule 12(b)(6) motion unless
promote a bout involving one of the Haymon Defendants'              it is apparent from the face of the complaint that the alleged
boxers. FAC at ¶ 80. With respect to venue blocking, Top            market suffers a fatal legal defect. And since the validity of



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the 'relevant market' is typically a factual element rather than    in the tying product.”); FAC at ¶ 141 (alleging that the
a legal element, alleged markets may survive scrutiny under         tying product is the management of Championship–Caliber
Rule 12(b)(6) subject to factual testing by summary judgment        Boxers). The relevant markets for the conspiracy claim are
or trial.” Id. A complaint, however, may be dismissed under         the alleged markets for the management and promotion of
Rule 12(b)(6) if the complaint's “relevant market” definition       Championship–Caliber Boxers. 5 See Copperweld Corp. v.
is “facially unsustainable.” Id.                                    Indep. Tube Corp., 467 U.S. 752, 768 (1984) (equating
                                                                    analysis under “rule of reason” for alleged unreasonable
In this case, Top Rank identifies two relevant markets:             restraints under Section 1 to “an inquiry into market power
(1) the market for the management of Championship–                  and market structure designed to assess the combination's
Caliber Boxers 4 in the United States; and (2) the market           actual effect”); FAC at ¶ 147 (alleging an unreasonable
for the promotion of Championship–Caliber Boxers in the             restraint of trade in both the management and promotion
United States. The Court cannot conclude that these market          markets). And, finally, the relevant market for the attempted
definitions are facially unsustainable, especially given that the   monopolization claim is the alleged market for the promotion
Supreme Court upheld a market definition for the “promotion         of Championship–Caliber Boxers. Spectrum Sports, Inc. v.
of championship boxing contests” in the United States (albeit       McQuillan, 506 U.S. 447, 459 (1993) (“[D]emonstrating the
over 50 years ago). See Int'l Boxing Club of New York, v.           dangerous probability of monopolization in an attempt case
United States, 358 U.S. 242, 249–52 (1959); United States           also requires inquiry into the relevant product and geographic
v. Int'l Boxing Club of New York, 150 F.Supp. 397, 418–             market and the defendant's economic power in that market.”);
21 (S.D.N.Y.1957). Although these market definitions may            FAC at ¶ 152 (alleging attempted monopolization of the
prove to be unsustainable on a motion for summary judgment,         promotion market).
the Court concludes that they survive scrutiny on a motion to
dismiss under Rule 12(b)(6).                                        5      Top Rank argues that it need not allege dominance
                                                                           in the promotion market for its conspiracy
4                                                                          in restraint of trade claim, relying on cases
        “Championship–Caliber Boxers” are defined as
        “professional boxers who, within the past three                    concerning tying arrangements. However, Top
        years, have demonstrated through such quantitative                 Rank's conspiracy claim does not appear to limit
        factors as purse size, television rights, viewership,              itself to tying arrangements. See FAC at ¶ 147.
        ticket revenue, and other objective criteria that they      Market power is the ability “(1) to price substantially
        belong to the 'cream' of the boxing business.” FAC          above the competitive level and (2) to persist in doing
        at ¶ 104 (quotations and citations omitted).                so for a significant period without erosion by new entry
                                                                    or expansion.” Phillip E. Areeda & Herbert Hovenkamp,
                                                                    Antitrust Law ¶ 501. Market power may be demonstrated
                       c. Market power
                                                                    through either of two types of proof: (1) “direct evidence
 *7 Although the Court concludes that Top Rank's definitions        of the injurious exercise of market power,” i.e., “evidence
of the relevant markets survive the pleading stage, the Court       of restricted output and supracompetitive prices;” or (2)
concludes that Top Rank has failed to adequately allege             more commonly, “circumstantial evidence pertaining to the
market power or economic power within those markets.                structure of the market.” Rebel Oil Co., Inc. v. Atl. Richfield
                                                                    Co., 51 F.3d 1421, 1434 (9th Cir.1995). “To demonstrate
Each of Top Rank's Sherman Act claims requires Top Rank             market power circumstantially, a plaintiff must: (1) define the
to allege market power or economic power in the relevant            relevant market, (2) show that the defendant owns a dominant
market. Newcal, 513 F.3d at 1044 n.3 (9th Cir.2008) (“The           share of that market, and (3) show that there are significant
'relevant market' and 'market power' requirements apply             barriers to entry and show that existing competitors lack
identically under the two different sections of the [Sherman]       the capacity to increase their output in the short run.” Id.
Act.”). The relevant market for the tying claim is the alleged      Although market power need not be pled with specificity,
market for management of Championship–Caliber Boxers.               the allegations must be sufficiently detailed “to raise a right
See Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28, 46       to relief above the speculative level.” Rick–Mik Enters., Inc.
(2006) (“[I]n all cases involving a tying arrangement, the          v. Equilon Enters. LLC, 532 F.3d 963, 973 (9th Cir.2008)
plaintiff must prove that the defendant has market power            (quoting Twombly, 550 U.S. at 555).



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                                                                   of market power inadequate where the allegations related to
 *8 In this case, the Court concludes that Top Rank has failed     the retail gasoline market and not the relevant market for
to adequately allege that the Haymon Defendants possess            franchises).
market power or economic power in either of the relevant
markets. With respect to the management market, Top Rank's         Top Rank's allegations with respect to the Haymon
allegations of the Haymon Defendants' market power are             Defendants' market power or economic power in the
completely disconnected from the relevant market definition.       promotion market are even weaker, more speculative, and
Top Rank defines the relevant market as the market for             virtually non-existent. Indeed, although Top Rank contends
the management of “Championship–Caliber Boxers” in the             that it has alleged the Haymon Defendants' economic power
United States. FAC at ¶ 104. Yet, Top Rank's allegations           circumstantially, Top Rank utterly fails to allege any facts
supposedly reflecting the Haymon Defendants' “dominant             concerning the Haymon Defendants' market share in the
share” of that market are not limited to Championship–             promotion market, and instead relies on the same flawed
Caliber Boxers, but encompass all boxers. Specifically, Top        allegations concerning the Haymon Defendants' power in the
Rank alleges that:                                                 management market. See FAC at ¶¶ 119–121 (only alleging
                                                                   that the Haymon Defendants possess market power in the
                                                                   management market); Opposition [Docket No. 79] at p. 26
             Haymon's         stable        includes               (relying on allegations related to Defendants' power in the
             approximately 200 fighters, including                 management market).
             numerous      Championship–Caliber
             Boxers. No other boxing manager                       Although Top Rank argues that it has also alleged direct
             represents more than a handful of                     evidence of the Haymon Defendants' market power, based on,
             boxers. While Plaintiff does not have                 for example, their ability to elicit “exclusionary” terms from
             access to precise figures, Plaintiff                  broadcasters and to make “exclusionary demands” of venues,
             alleges that Haymon's share of this                   these conclusory allegations are insufficient. Although Top
             relevant market is greater than 50%.                  Rank may allege market power through “direct evidence of
                                                                   the injurious exercise of market power,” i.e., “evidence of
                                                                   restricted output and supracompetitive prices,” see Rebel Oil,
FAC at ¶ 119. As the Haymon Defendants point out,                  51 F.3d at 1434, Top Rank fails to allege any evidentiary facts
“Top Rank alleges no such facts or figures concerning              plausibly suggesting restricted output or supracompetitive
                                                                   prices in the promotion market.
Championship–Caliber Boxers : how many of them there are,
how many promoters promote them, how many managers
                                                                    *9 Accordingly, the Court concludes that Top Rank has
manage them, or how many of them the Haymon Defendants
                                                                   failed to allege market power in either the management
manage.” Reply [Docket No. 81] at 5. Moreover, although
                                                                   market or promotion market for Championship–Caliber
Top Rank alleges that “Haymon's share of this relevant
                                                                   Boxers.
market is greater than 50%,” the Court has no idea how Top
Rank arrived at this figure, or whether it is limited to the
management of Championship–Caliber Boxers. Top Rank's
Opposition, rather than clarifying the issue, merely repeats                             d. Group pleading
the same confusing allegations, and, in fact, creates additional
confusion. See, e.g., Opposition [Docket No. 79] at p. 25          The Haymon Defendants also move to dismiss Top Rank's
(“Top Rank did allege the approximate number of boxers             antitrust claims on the grounds that Top Rank's allegations
Defendants manage, averred that their control exceeds 50%          draw no meaningful distinctions between or among the nine
of the overall market, and is at least 15 times greater than       defendants against whom they are collectively asserted.
any other manager.”). Although the Court agrees with Top
Rank that it does not have to allege an exact, percentage-         The Court agrees that Top Rank has impermissibly
based market share, Top Rank must include enough facts             relied on group pleading, especially by lumping the
to raise its right to relief above the speculative level. The      Waddell Defendants and the Haymon Defendants together.
Court concludes that Top Rank has failed to do so. See Rick–       Accordingly, in its Second Amended Complaint, Top Rank
Mik Enters., Inc., 532 F.3d at 972–73 (finding the allegations


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shall allege the specific conduct engaged in by each of the        of a tied product that the buyer either did not want at all,
remaining defendants.                                              or might have preferred to purchase elsewhere on different
                                                                   terms.” Jefferson Parish Hosp. Dist. No. 2 v. Hyde, 466
                                                                   U.S. 2, 12 (1984) (emphasis added). “Tying arrangements are
                                                                   forbidden on the theory that, if the seller has market power
       2. Pleading Requirements for Individual Claims
                                                                   over the tying product, the seller can leverage this market
                                                                   power through tying arrangements to exclude other sellers of
                a. Tying in violation of Section                   the tied product.” Cascade, 515 F.3d at 912.
                1 of the Sherman Act (Count I)
                                                                    *10 A tying arrangement is a per se violation 7 of Section
In its first claim for relief, Top Rank alleges that the Haymon
                                                                   1 of the Sherman Act if the plaintiff establishes that: “(1)
Defendants have violated Section 1 of the Sherman Act by
                                                                   the defendant tied together the sale of two distinct products
entering into unlawful “tying” or “tie out” arrangements.
                                                                   or services; (2) the defendant possesses enough economic
Specifically, Top Rank alleges that the Haymon Defendants
                                                                   power in the tying product market to coerce its customers into
condition the provision of their management services on the
                                                                   purchasing the tied product; and (3) the tying arrangement
boxers' agreement “to not contract with legitimate boxing
                                                                   affects a 'not insubstantial volume of commerce' in the tied
promoters without [the Haymon Defendants'] consent.” FAC
                                                                   product market.” See Cascade, 515 F.3d at 912; Paladin
at ¶ 139. The Haymon Defendants move to dismiss the tying
                                                                   Assocs., 328 F.3d at 1159 (citing Eastman Kodak, 504 U.S.
claim on the grounds that the alleged “tie out” does not, on its
                                                                   at 461–62).
face, constitute a tie out. 6
                                                                   7
6                                                                          “Per se liability is reserved for only those
        The Haymon Defendants also move to dismiss
                                                                           agreements that are 'so plainly anticompetitive that
        the tying claim on the grounds that their
                                                                           no elaborate study of the industry is needed to
        alleged market power cannot be premised on a
                                                                           establish their illegality.' ” Texaco v. Dagher, 547
        voluntary contractual relationship. See, e.g., Rick–
                                                                           U.S. 1, 5 (2006) (quoting Nat'l Soc'y of Prof'l
        Mik Enters. Inc. v. Equilon Enters., LLC, 532 F.3d
                                                                           Eng'rs v. United States, 435 U.S. 679, 692 (1978)).
        963, 973 (9th Cir.2008) (“A tying claim generally
        requires that the defendant's economic power be            The Court concludes that Top Rank has failed to allege
        derived from the market, not from a contractual            sufficient facts to support its per se tying claim. As previously
        relationship that the plaintiff has entered into           discussed, Top Rank has failed to adequately allege that
        voluntarily.”). However, contrary to the Haymon            the Haymon Defendants possess market or economic power
        Defendants' argument, Top Rank alleges that the            in the management market and has failed to allege injury
        Haymon Defendants' economic power is derived               to itself. Moreover, although Top Rank's allegations are
        from the market, not from a voluntary contractual          carefully and creatively worded, Top Rank has failed to
        relationship.                                              allege that the Haymon Defendants tied together the sale of
                                                                   two distinct services. Indeed, Top Rank merely alleges that
“A tying arrangement is a device used by a seller with market
                                                                   the Haymon Defendants' management agreement provides
power in one product market to extend its market power
                                                                   that boxers cannot contract with promoters without the
to a distinct product market.” Cascade Health Solutions
                                                                   Haymon Defendants' consent. See FAC at ¶ 64 (“These
v. PeaceHealth, 515 F.3d 883, 912 (9th Cir.2008). “To
                                                                   purported management agreements – which Haymon often
accomplish this objective, the competitor agrees 'to sell one
                                                                   styles as 'advisor contracts' – not only lock up managerial
product (the tying product) but only on the condition that the
                                                                   rights, but also restrict boxers from entering into any
buyer also purchase a different product (the tied product), or
                                                                   other agreement, including those related to promotional
at least agrees that he will not purchase the tied product from
                                                                   rights, without Haymon's express consent.”); FAC at ¶ 139
any other supplier.' ” Paladin Assocs., Inc. v. Mont. Power
                                                                   (“Haymon's 'advisor' contracts with Championship–Caliber
Co., 328 F.3d 1145, 1159 (9th Cir.2003) (quoting Eastman           Boxers contain exclusionary provisions that condition his
Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 461           professional services on the boxers' agreement to not contract
(1992)). “[T]he essential characteristic of an invalid tying       with legitimate boxing promoters without his consent.
arrangement lies in the seller's exploitation of its control       These agreements constitute unlawful 'tying' or 'tie out'
over the tying product to force the buyer into the purchase


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arrangements.”). Contrary to Top Rank's argument, this             at least provides for the possibility of purchasing processing
“consent” provision does not, on its face, tie two services        from non-Fotomat sources, we are reluctant to find a tying
together (management services and promotion services). See         arrangement without some evidence that Fotomat applied the
Midwestern Waffles, Inc. v. Waffle House, Inc., 734 F.2d           contract language so restrictively as to constitute a de facto
705, 712 (11th Cir.1984) (“An approved source requirement          tying clause.”).
is not, alone, illegal. Only if a franchisee is coerced into
purchasing products from a company in which the franchisor         8       In its Opposition, Top Rank contends that it has
has a financial interest does an illegal tie exist.” ); Phillip            alleged that the Haymon Defendants have “never
E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 1753g                       consented” to allowing boxers in their management
(“And when there are many approved suppliers in which the                  stable to sign with “legitimate” promoters, citing
defendant lacks a financial interest, the products should not              to paragraph 65 of the First Amended Complaint.
be deemed tied together because buyers have not been denied                See Opposition at p. 26. However, paragraph
a competitive market in the tied product.”).                               65 does not so allege. If Top Rank can, in
                                                                           good faith, allege facts showing that the Haymon
Top Rank correctly argues that illegal tying arrangements                  Defendants have never consented to allowing
need not be express, and that “consent” clauses may                        boxers in their management stable to sign with
practically function as unlawful tying arrangements. See, e.g.,            “legitimate promoters,” Top Rank may be able to
Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶                     state a viable tying claim.
1753g (“To be sure, a tie-in would exist if the willingness
to approve others is merely a charade.”); Tix–X–Press, Inc.         *11 For the foregoing reasons, the Haymon Defendants'
v. Omni Promotions Co. of Ga., 815 F.2d 1407, 1416 (11th           Motion to Dismiss Top Rank's claim for an unlawful “tie out”
Cir1987) (“Where a contract ... provides that buyers shall use     in violation of Section 1 of the Sherman Act (Count I) is
only the seller or a source 'approved' by the seller to purchase   GRANTED.
the tied product, the courts have looked to see if the approval
clause was reasonable and permitted the buyer meaningful
freedom of choice, or whether it is manipulated by the seller to          b. Conspiracy in restraint of trade in violation
force the buyer to purchase the tied product from the seller.”).            of Section 1 of the Sherman Act (Count II)
However, Top Rank's First Amended Complaint is devoid of
any factual allegations demonstrating that the consent clause      In its second claim for relief, Top Rank alleges that the
functioned, in practice, as a tying arrangement or “tie out,”      Haymon Defendants entered into a contract, combination, or
at least with respect to Top Rank. Indeed, Top Rank does           conspiracy (with the Waddell Defendants, Championship–
not allege, for example, that it was generally understood that     Caliber Boxers, boxing venues, television broadcasters,
boxers in the Haymon Defendants' management stable were            advertisers, sponsors and/or “sham promoters”) in restraint of
not allowed to contract with all or even certain legitimate        trade in violation of Section 1 of the Sherman Act, 15 U.S.C.
promoters or that they were required to use one of the             § 1. FAC at ¶¶ 145–150. In addition to the grounds previously
Haymon Defendants' alleged sham promoters. 8 Rather, all           discussed, the Haymon Defendants move to dismiss this claim
that Top Rank alleges is that “in at least some instances,”        on the grounds that it lacks the requisite factual specificity.
the Haymon Defendants' boxers have used “sham promoters”
who are in fact controlled by the Haymon Defendants, and,          “To state a claim under Section 1 of the Sherman Act, 15
on one occasion, the Haymon Defendants withheld their              U.S.C. § 1, claimants must plead not just ultimate facts (such
consent and did not allow one of their boxers to fight in          as conspiracy), but evidentiary facts which, if true, will prove:
a bout promoted by Roc Nation. Without any additional              (1) a contract, combination or conspiracy among two or more
factual allegations supporting the existence of a de facto         persons or distinct business entities; (2) by which the persons
tying arrangement, these allegations fail to state a plausible     or entities intended to harm or restrain trade or commerce
tying claim. See Phillip E. Areeda & Herbert Hovenkamp,            among the several States, or with foreign nations; (3) which
Antitrust Law ¶ 1755c (“Absent an announced or reasonably          actually injures competition.” Kendall v. Visa U.S.A., Inc., 518
understood tying condition, ... two products have not been tied    F.3d 1042, 1047 (9th Cir.2008).
together.”); Photovest Corp. v. Fotomat Corp., 606 F.2d 704,
722 (7th Cir.1979) (“Given the contractual language, which



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As discussed, Top Rank fails to state a claim for conspiracy      be created by leveraging conduct, then the conduct will be
in restraint of trade in violation of Section 1 of the Sherman    reached under the doctrine of attempted monopoly.” Id. at
Act because it fails to adequately allege that the Haymon         549.
Defendants possess market power in either the management
market or promotion market and has failed to adequately           “[D]emonstrating       the     dangerous     probability     of
                     9
allege injury to itself. Accordingly, the Haymon Defendants'      monopolization in an attempt case [ ] requires inquiry into the
Motion to Dismiss Top Rank's claim for conspiracy in              relevant product and geographic market and the defendant's
restraint of trade in violation of Section 1 of the Sherman Act   economic power in that market.” Spectrum Sports, Inc. v.
(Count II) is GRANTED. However, with the exception of             McQuillan, 506 U.S. 447, 459 (1993). In this case, Top Rank
these defects, the Court concludes that, although Top Rank's      alleges attempted monopolization of the promotion market.
First Amended Complaint is short on factual detail and clarity,   Although a lower percentage of market share can support
                                                                  a claim for attempted monopolization than that required for
Top Rank's allegations, for the most part, 10 sufficiently
                                                                  actual monopolization, as the Court has already concluded,
answer the basic questions of “who, did what, to whom (or
                                                                  Top Rank fails to allege any facts regarding the Haymon
with whom), where, and when?” Kendall, 518 F.3d at 1048.
                                                                  Defendants' economic power in the promotion market and
                                                                  thus has not alleged any facts to demonstrate that the Haymon
9      In addition, although Top Rank alleges the                 Defendants' economic power meets even this lower threshold.
       existence of several other allegedly anticompetitive       Accordingly the Court concludes that Top Rank has failed
       agreements, as discussed infra, the Court concludes        to state a claim for attempted monopolization. See, e.g.,
       that Top Rank has failed to adequately allege an           ChriMar Sys., Inc v. Cisco Sys., Inc., 72 F.Supp.3d 1012,
       agreement between the Waddell Defendants and               1019–20 (N.D.Cal.2014) (“[A]lthough a lower percentage is
       the Haymon Defendants.                                     required for an attempted monopoly claim, as opposed to
10                                                                an actual monopoly claim, HP must still allege sufficient
       Although Top Rank's allegations, for the most
                                                                  market power.”); Rheumatology Diagnostics Lab., Inc. v.
       part, meet the applicable pleading standard, Top
                                                                  Aetna, Inc., 2013 WL 5694452, at *15–16 (N.D.Cal. Oct. 18,
       Rank's allegations with respect to, for example,
                                                                  2013) (dismissing attempted monopolization claim for failure
       the “exclusivity commitments” with unspecified
                                                                  to adequately allege market power in the relevant market).
       broadcasters are vague and lack the requisite
       factual detail. See FAC at ¶ 94.
                                                                  Accordingly, the Haymon Defendants' Motion to Dismiss Top
                                                                  Rank's claim for attempted monopolization in violation of
                                                                  Section 2 of the Sherman Act (Count III) is GRANTED.
          c. Attempted monopolization in violation
         of Section 2 of the Sherman Act (Count III)
                                                                     B. Injunctive Relief Under Section 16 of the Clayton
In its third claim for relief, Top Rank alleges that the Haymon
                                                                     Act (Count IV)
Defendants “orchestrated a predatory and anticompetitive
                                                                  Section 16 of the Clayton Act “does not furnish an
scheme to leverage Haymon's monopoly power in the market
                                                                  independent cause of action.” Kendall v. Visa U.S.A., Inc., 518
for management of Championship–Caliber Boxers, in an
                                                                  F.3d 1042, 1051 (9th Cir.2008). “Rather, it allows the court
attempt to obtain a monopoly in the market for promotion of
                                                                  to fashion relief upon a showing of a separate violation of
Championship–Caliber Boxers, in violation of Section 2 of
                                                                  the antitrust laws.” Id. Because Top Rank has failed to state a
the Sherman Act.” FAC at ¶ 152.
                                                                  claim for relief under Section 1 or Section 2 of the Sherman
                                                                  Act, the Haymon Defendants' Motion to Dismiss Top Rank's
 *12 “A claim for attempted monopolization has three
                                                                  claim for injunctive relief under Section 16 of the Clayton Act
elements: 1) a specific intent to monopolize a relevant
                                                                  (Count IV) is GRANTED.
market; 2) predatory or anticompetitive conduct; and 3) a
dangerous probability of success.” Alaska Airlines, Inc. v.
United Airlines, Inc., 948 F.2d 536, 542 (9th Cir.1991). In the      C. State Law Claims
Ninth Circuit, leveraging of a monopoly does not constitute       The Haymon Defendants also move to dismiss Top Rank's
an independent Section 2 claim. Id. at 546–49. However,           claims for violation of the California Unfair Practices Act,
“[i]f there is a dangerous probability that a monopoly will       Cal. Bus. & Prof.Code §§ 17000 et seq. (Count V), violation


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of the California Unfair Competition Law, Cal. Bus. & Prof         Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1047 (9th
Code §§ 17200 et seq. (Count VI), and tortious interference        Cir.2008).
with prospective economic advantage (Count VII).
                                                                   Whether a restraint is analyzed under the rule of reason or a
The Court declines to address the Haymon Defendants'               per se rule, a claim for violation of Section 1 of the Sherman
arguments relating to Top Rank's state law claims for relief       Act, “requires a complaint with enough factual matter (taken
at this time. If Top Rank is able to cure the pleading defects     as true) to suggest that an agreement was made.” Bell Atlantic
with respect to its Sherman Act claims and states viable claims    Corp. v. Twombly, 550 U.S. 544, 556 (2007). In other words,
for relief under the Sherman Act (and Clayton Act), many of        the pleaded facts must “raise a reasonable expectation that
the pleading defects raised by the Haymon Defendants with          discovery will reveal evidence of illegal agreement.” Id.
respect to the state law claims will also be cured. On the other   at 555–56. “[T]erms like 'conspiracy,' or even 'agreement,'
hand, if Top Rank ultimately fails to allege a viable federal      are borderline: they might well be sufficient in conjunction
claim for relief under the Sherman Act (or Clayton Act), the       with a more specific allegation—for example, identifying
Court will likely decline to exercise supplemental jurisdiction    a written agreement or even a basis for inferring a tacit
over Top Rank's state law claims for relief. Accordingly, the      agreement, ... but a court is not required to accept such terms
Court DEFERS ruling on the Haymon Defendants' Motion               as a sufficient basis for a complaint.” Id. at 557 (quoting DM
to Dismiss Top Rank's claims for violation of the California       Research, Inc. v. College of Am. Pathologists, 170 F.3d 53,
Unfair Practices Act, Cal. Bus. & Prof.Code §§ 17000 et seq.       56 (1st Cir.1999)). Indeed, “[a] bare allegation of conspiracy
(Count V), violation of the California Unfair Competition          is almost impossible to defend against, particularly where the
Law, Cal. Bus. & Prof Code §§ 17200 et seq. (Count VI), and        defendants are large institutions with hundreds of employees
tortious interference with prospective economic advantage          entering into contracts and agreements daily.” Kendall, 518
(Count VII).                                                       F.3d at 1047. Importantly, “[a]llegations of facts that could
                                                                   just as easily suggest rational, legal business behavior by the
                                                                   defendants as they could suggest an illegal conspiracy are
IV. THE WADDELL DEFENDANTS' MOTION TO                              insufficient to plead a violation of the antitrust laws.” Id. at
DISMISS                                                            1049.
   A. Claims for Violation of Section 1 of the Sherman
                                                                   When the First Amended Complaint is stripped of conclusory
   Act (Counts I and II)
                                                                   statements, legal conclusions disguised as factual allegations,
 *13 The Waddell Defendants move to dismiss Top Rank's
                                                                   and group pleading allegations, the allegations regarding
claims for violation of Section 1 of the Sherman Act, in
                                                                   the Waddell Defendants can be summarized as follows:
relevant part, on the grounds that: (1) there are no allegations
                                                                   (1) the Waddell Defendants are investment advisors; (2)
which plausibly suggest that the Waddell Defendants entered
                                                                   the Waddell Defendants made an investment in Haymon
into an “illegal agreement;” (2) the Waddell Defendants are
                                                                   Holdings through MGH; (3) as a result of that investment
incapable of conspiring with the Haymon Defendants; and
                                                                   and pursuant to the “Amended and Restated Limited Liability
(3) there is no recognized claim for “aiding and abetting” a
                                                                   Company Agreement,” MGH allegedly possesses approval
Sherman Act violation.
                                                                   rights (or veto power) over Haymon Holdings' and its
                                                                   subsidiaries' “Major Decisions;” (4) Ryan Caldwell, and
                                                                   other representatives of the Waddell Defendants, attended
    1. The allegations regarding the Waddell Defendants            meetings and engaged in negotiations for the possible
        do not plausibly suggest an illegal agreement.             acquisition of Golden Boy Promotions, which ultimately
                                                                   failed; and (5) Ryan Caldwell attended meetings and engaged
As previously stated, “[t]o state a claim under Section 1 of
                                                                   in negotiations with broadcasters to reassure them that the
the Sherman Act, 15 U.S.C. § 1, claimants must plead not
                                                                   Haymon Defendants had adequate funding for their new PBC
just ultimate facts (such as conspiracy), but evidentiary facts
                                                                   boxing venture.
which, if true, will prove: (1) a contract, combination or
conspiracy among two or more persons or distinct business
                                                                   The Court concludes that these allegations do not plausibly
entities; (2) by which the persons or entities intended to harm
                                                                   suggest that the Waddell Defendants entered into a conspiracy
or restrain trade or commerce among the several States, or
                                                                   or agreement to restrain trade. Indeed, the only agreements
with foreign nations; (3) which actually injures competition.”


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                                                  WCAS101
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allegedly entered into by the Waddell Defendants (and
supported by the facts alleged in the First Amended
Complaint) are the alleged investment in Haymon Holdings                     The Waddell & Reed Defendants'
and the corresponding Amended and Restated Limited                           involvement in the conspiracy began
Liability Company Agreement. 11 However, there is nothing                    when a senior executive and portfolio
about these agreements, standing alone, that suggest or                      manager with WRF, WRIMCO, and
hint of an agreement to restrain trade in the management                     IICO named Ryan Caldwell was
or promotion markets, and these agreements are entirely                      presented with an opportunity to
consistent with rational, legal business behavior. “The                      meet Al Haymon. An avid boxing
antitrust laws are not offended by agreements as such,                       fan with ambitions to “own live
but only by those with an anticompetitive content.” 49er                     sports,” Caldwell leapt at the chance.
Chevrolet, Inc. v. Gen. Motors Corp., 803 F.2d 1463, 1467                    Haymon first spoke with Caldwell
(9th Cir.1986).                                                              from an office in Burbank, California.
                                                                             In the course of this and later
11                                                                           discussions, Caldwell agreed that
       Although it initially appeared to the Court that
                                                                             the Waddell & Reed Defendants
       Top Rank was attempting to hold the Waddell
                                                                             would commit funding, business
       Defendants vicariously or indirectly liable for
                                                                             expertise, and operational supervision
       the conduct of the Haymon Defendants (based
                                                                             to Haymon's illegal scheme — which
       on their investment in the Haymon Defendants
                                                                             was, in substantial part, directed at the
       and their approval power or veto power over
                                                                             State of California and at California
       the Haymon Defendants' major decisions), Top
                                                                             businesses and consumers. From that
       Rank adamantly disavows any attempt to impose
                                                                             time forward, the Waddell & Reed
       “indirect or vicarious liability” on the Waddell
                                                                             Defendants actively participated in,
       Defendants based on a principal-agent relationship
                                                                             and materially furthered, the plot
       between the Waddell Defendants and the Haymon
                                                                             to take over the boxing promotion
       Defendants. See Opposition [Docket No. 78] at 7
                                                                             business.
       n. 3.
 *14 Top Rank has not alleged that the Waddell
Defendants signed, or entered into, any of the other
                                                                FAC at ¶ 56 (emphasis added); Opposition [Docket No. 78]
allegedly anticompetitive agreements described in the First
                                                                at 1, 6, 9, 10, 11, 12, 18, 24, 27 (relying on paragraph
Amended Complaint. Instead, Top Rank argues that it has
                                                                56 of the First Amended Complaint). The allegations that
adequately alleged that the Waddell Defendants entered into
                                                                the Waddell Defendants were involved in a “conspiracy”,
an “overarching” conspiracy or agreement to “eliminate
                                                                agreed to enter into an “illegal scheme,” and “actively
competition in the markets for managing and promoting
                                                                participated in, and materially furthered, the plot to take over
Championship–Caliber Boxers,” and seeks to hold the
                                                                the boxing promotion business” are conclusory statements
Waddell Defendants liable for acts taken by the Haymon
                                                                coupled with legal conclusions that cannot support the
Defendants in furtherance of that alleged conspiracy.
                                                                existence of an agreement to restrain trade in violation of
However, before the Waddell Defendants can be liable for acts
taken by the Haymon Defendants in furtherance of the alleged    Section 1 of the Sherman Act. 12 See Kendall, 518 F.3d
conspiracy, Top Rank must allege sufficient facts, taken as     at 1048 (“Although appellants allege the Banks 'knowingly,
true, to plausibly suggest that the Waddell Defendants were     intentionally and actively participated in an individual
in fact members of the alleged conspiracy. As the Waddell       capacity in the alleged scheme' to fix the interchange fee or
Defendants point out in their Reply [Docket No. 80 at 3–        the merchant discount fee, this allegation is nothing more than
4], Top Rank's “overarching” conspiracy theory relies almost    a conclusory statement.”). In fact, stripped of its conclusory
exclusively on paragraph 56 of the First Amended Complaint,     statements, paragraph 56 merely alleges that Caldwell desired
which states in its entirety:                                   to “own live sports” and agreed that the Waddell Defendants
                                                                would commit “funding, business expertise, and operational
                                                                supervision” to the Haymon Defendants, which is consistent




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with and suggests rational, legal business behavior rather than   unreasonable restraint of trade, while § 2 covers unilateral
an illegal conspiracy.                                            action only when monopoly power is present or attempted.”
                                                                  Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶
12                                                                1402a. “Concerted activity subject to § 1 is judged more
       Top Rank's First Amended Complaint is littered
       with such conclusory statements and hyperbole              sternly than unilateral activity under § 2.” Copperweld, 467
                                                                  U.S. at 768.
       regarding the Waddell Defendants. See, e.g., FAC
       at ¶ 55 (“The Waddell & Reed Defendants have
                                                                  Accordingly, in analyzing any Section 1 claim, the Court must
       played an active, complicit, and indispensable
                                                                  first determine whether the alleged contract, combination,
       role in bringing the anticompetitive scheme
                                                                  or conspiracy constitutes “concerted action.” Athough the
       to fruition.”); ¶ 57 (“The Waddell & Reed
                                                                  Waddell Defendants and the Haymon Defendants are legally
       Defendants orchestrated an elaborate business
                                                                  distinct entities, that does not automatically result in the
       arrangement to facilitate—and to try to conceal—
                                                                  conclusion that there is concerted action for the purposes
       their involvement in the conspiracy.”).
                                                                  of Section 1 of the Sherman Act. As the Supreme Court
Top Rank also relies heavily on the Waddell Defendants'           explained:
participation in meetings and negotiations regarding the failed
acquisition of Golden Boy Promotions and their participation
in meetings and negotiations with broadcasters regarding
                                                                              [S]ubstance, not form, should
the Haymon Defendants' new PBC venture. However, this
                                                                              determine whether a[n] ... entity
alleged conduct is also entirely consistent with the Waddell
                                                                              is capable of conspiring under
Defendants' ordinary business activities as asset management
                                                                              § 1. This inquiry is sometimes
and investment advisory firms, and does not plausibly suggest
                                                                              described as asking whether the
that the Waddell Defendants entered into an “overarching
                                                                              alleged conspirators are a single entity.
conspiracy” to eliminate competition in the markets for
                                                                              That is perhaps a misdescription,
the management and promotion of Championship–Caliber
                                                                              however, because the question is not
Boxers.
                                                                              whether the defendant is a legally
                                                                              single entity or has a single name;
 *15 Accordingly, the Court concludes that Top Rank has
                                                                              nor is the question whether the parties
failed to allege sufficient facts to suggest that the Waddell
                                                                              involved 'seem' like one firm or
Defendants entered into an illegal agreement to restrain trade.
                                                                              multiple firms in any metaphysical
                                                                              sense. The key is whether the
                                                                              alleged 'contract, combination ...,
        2. The Waddell Defendants cannot conspire                             or conspiracy' is concerted action
      with the Haymon Defendants as a matter of law.                          – that is, whether it joins
                                                                              together separate decisionmakers.
Moreover, even if the Waddell Defendants “agreed”                             The relevant inquiry, therefore,
to participate in the Haymon Defendants' alleged                              is whether there is a 'contract,
anticompetitive scheme, the Court concludes that the Waddell                  combination ... or conspiracy' amongst
Defendants are not legally capable of conspiring with the                     separate economic actors pursuing
Haymon Defendants under Section 1 of the Sherman Act.                         separate economic interests, such
Rather, the Court concludes that the conduct of the Haymon                    that the agreement deprives the
Defendants and the Waddell Defendants must be viewed as                       marketplace of independent centers
that of a single enterprise.                                                  of decisionmaking, and therefore of
                                                                              diversity of entrepreneurial interests,
“The Sherman Act contains a 'basic distinction between                        and thus of actual or potential
concerted and independent action.' ” Copperweld Corp. v.                      competition.
Indep. Tube Corp., 467 U.S. 752, 767 (1984) (quoting
Monsanto Co. v. Spray–Rite Service Corp., 465 U.S. 752,
761 (1984)). “Sherman Act § 1 reaches concerted action in



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                                                                  Defendants does not constitute “concerted action” for the
Am. Needle, Inc. v. Nat'l Football League, 560 U.S. 183,          purposes of Section 1. As pled by Top Rank, the Waddell
195 (2010) (internal quotations and citations omitted).           Defendants and the Haymon Defendants share a complete
Two Supreme Court cases – Copperweld and American                 unity of economic interest in the venture's success, and
Needle – demonstrate the application of these principles. In      have no alleged separate interest, at least as it relates to
Copperweld, the Supreme Court held that a parent corporation      the relevant management and promotion markets. Indeed,
and its wholly owned subsidiary were not legally capable of       as investors, the Waddell Defendants are similar to the
conspiring, reasoning:                                            “components of single firm that act to maximize the firm's
                                                                  profits.” 13 Am. Needle, 560 U.S. at 201. Moreover, the
                                                                  Waddell Defendants, as asset management and investment
            A parent and its wholly owned                         advisory firms, are not actual or potential competitors of the
            subsidiary have a complete unity
                                                                  Haymon Defendants. 14 Accordingly, their alleged venture
            of interest. Their objectives are
                                                                  with the Haymon Defendants does not “deprive[ ] the
            common, not disparate; their general
                                                                  marketplace of independent centers of decisionmaking,” or of
            corporate actions are guided or
                                                                  a “diversity of entrepreneurial interests,” and “thus of actual
            determined not by two separate
                                                                  or potential competition.” Am. Needle, 560 U.S. at 195.
            corporate consciousnesses, but one....
            With or without a formal 'agreement,'
                                                                  13
            the subsidiary acts for the benefit of the                   This unity of interest is further supported by
            parent, its sole shareholder. If a parent                    Top Rank's allegations that Waddell Defendants
            and a wholly owned subsidiary do                             and Haymon Defendants are, at least to some
            'agree' to a course of action, there is no                   extent, under common control. See, e.g., FAC at
            sudden joining of economic resources                         ¶ 15 (alleging that W & R Financial actively
            that had previously served different                         manages and controls Haymon Holdings, which is
            interests, and there is no justification                     “exercised by its President and General Counsel
            for § 1 scrutiny.                                            who sit as MGH's 'Observer' representatives
                                                                         on the Haymon Holdings Board of Directors”);
                                                                         ¶ 16 (alleging that WRIMCO's senior officers
 *16 Copperweld, 467 U.S. at 771. In contrast, in American               actively manage and control Haymon Holdings);
Needle, the Supreme Court held that the licensing activities of          ¶ 18 (alleging that MGH is a member of
National Football League Properties (“NFLP”)—a corporate                 Haymon Holdings and “exercises strategic and
joint venture formed by thirty-two National Football League              operational control” over Haymon Holdings'
teams to manage their intellectual property—constituted                  business activities).
“concerted activity.” Am. Needle, 560 U.S. at 196–202. The        14     Top Rank argues that it has alleged that the Waddell
Supreme Court partially relied on the fact that the teams
                                                                         Defendants are actual competitors in the relevant
compete in the market for intellectual property, and concluded
                                                                         markets. However, those allegations are solely
that, “[a]lthough NFL teams have common interests such
                                                                         based on the Waddell Defendants' investment and
as promoting the NFL brand, they are still separate,
                                                                         alleged management and control over Haymon
profit-maximizing entities, and their interests in licensing
                                                                         Holdings. See FAC at ¶ 15 (“[W & R Financial]
team trademarks are not necessarily aligned.” Id. at 198.
                                                                         participates in the managerial and promotional
Accordingly, “[t]hirty-two teams operating independently
                                                                         market in California through its active management
through the vehicle of the NFLP are not like the components
                                                                         and control over Haymon Holdings, exercised by
of a single firm that act to maximize the firm's profits.
                                                                         its President and General Counsel who sit as
The teams remain separately controlled, potential competitors
                                                                         MGH's 'Observer' representatives on the Haymon
with economic interests that are distinct from NFLP's well-
                                                                         Holdings Board of Directors.”); ¶ 16 (“WRIMCO
being.” Id. at 201.
                                                                         also participates in the managerial and promotional
                                                                         market in California through its senior officers'
Applying these principles, the Court concludes that the
Waddell Defendants' alleged “agreement” with the Haymon



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        active management and control over and direct               monopoly claim.”); Spanish Broad. Sys. of Fla., Inc. v. Clear
        financial interest in Haymon Holdings.”).                   Channel Commc'ns, Inc., 376 F.3d 1065, 1075 (11th Cir.2004)
Accordingly, the Court concludes that the Waddell                   (“There is no question that CC does not participate in the
Defendants cannot, as a matter of law, conspire with the            Spanish-language radio market. Thus, CC cannot attempt to
Haymon Defendants.                                                  monopolize that market.”) (cited favorably by name.space,
                                                                    Inc., 795 F.3d at 1131); Transphase Sys., Inc. v. S. Cal. Edison
                                                                    Co., 839 F.Supp. 711, 717 (C.D.Cal.1993) (“It is axiomatic in
                                                                    antitrust law that a defendant may not be found liable under
            3. The Waddell Defendants cannot be                     the Sherman act for monopolizing or attempting or conspiring
            held liable as “aiders and abetters.”                   to monopolize a market unless that defendant is a competitor
                                                                    in the relevant market and his conduct creates a dangerous
Top Rank contends that, even if the Waddell Defendants are
                                                                    probability that he will gain a dominant share of the market.”).
not members of the conspiracy, they can be held liable as
“aiders and abetters” of that conspiracy. However, the Court
                                                                    Top Rank argues that it has sufficiently alleged that the
concludes that aiding and abetting is not an independent
                                                                    Waddell Defendants are competitors in the relevant market.
theory of civil liability under the Sherman Act. See MCI
                                                                    However, as stated in footnote 14, those allegations are
Telecomms. Corp. v. Graphnet, Inc., 881 F.Supp. 126,
                                                                    solely based on the Waddell Defendants' investment and
129 (D.N.J.1995) (“Because the Sherman Act is a statute
                                                                    alleged management and control over Haymon Holdings
providing for civil damages for violative conduct and fails
                                                                    via their veto or approval power over “Major Decisions.”
to explicitly provide for aiding and abetting liability, none
                                                                    The Court concludes that these allegations are insufficient
will be presumed unless there is sufficient evidence of
                                                                    to find that the Waddell Defendants are competitors in
congressional intent to the contrary.”). Moreover, even if it
                                                                    the relevant markets. “[O]ne company's minority ownership
is an independent theory of civil liability under the Sherman
                                                                    interest in another company is not sufficient by itself to
Act, for the same reasons that the Waddell Defendants are
                                                                    make the owner a competitor, for purposes of the antitrust
not capable of conspiring with the Haymon Defendants, the
                                                                    laws, of the subsidiaries rivals. To be a competitor at the
Court concludes that the Waddell Defendants are not capable
                                                                    level of the subsidiary, the parent must have substantial
of aiding and abetting the Haymon Defendants. Cf id. at 131
                                                                    control over the affairs and policies of the subsidiary.”
(noting that the “Graphnet's efforts to allege antitrust aiding
                                                                    Caribbean Broad. Sys., Ltd. v. Cable & Wireless P.L.C., 148
and abetting against MCIT seem ... to be primarily an attempt
                                                                    F.3d 1080, 1088 (D.C.Cir.1998); see also Spanish Broad.
to circumvent the limitation on intraenterprise conspiracy
                                                                    Sys. of Fla., Inc., 376 F.3d at 1075 (“Absent allegations of
claims” and dismissing the antitrust counterclaim).
                                                                    significant control over the policies of a subsidiary, a minority
                                                                    ownership share does not convert a parent corporation into
 *17 For the foregoing reasons, the Waddell Defendants'
                                                                    a competitior.”). In other words, Top Rank would have to
Motion to Dismiss Top Rank's claims for unlawful 'tie out' in
                                                                    allege a principal-agent relationship between the Waddell
violation of Section 1 of the Sherman Act (Count I) and for
                                                                    Defendants and the Haymon Defendants. See Caribbean
conspiracy in restraint of trade in violation of Section 1 of the
                                                                    Broad. Sys., Ltd., 148 F.3d at 1088–89. However, Top
Sherman Act (Count II) is GRANTED.
                                                                    Rank disavows any reliance whatsoever on a a principal-
                                                                    agent relationship between the Waddell Defendants and the
   B. Attempted Monopolization in Violation of Section 2            Haymon Defendants. See Opposition [Docket No. 78] at 7
   of the Sherman Act (Count III)                                   n.3. Accordingly, because the Waddell Defendants are not
The Waddell Defendants move to dismiss Top Rank's claim             competitors in the relevant market, Top Rank cannot state a
for attempted monopolization in violation of Section 2 of the       claim for attempted monopolization in violation of Section 2
Sherman Act, on the grounds that the Waddell Defendants are         of the Sherman Act against the Waddell Defendants.
not competitors in the relevant market.
                                                                     *18 In addition, to the extent Top Rank seeks to assert
The Court agrees. See, e.g., name.space, Inc. v. Internet Corp.     a claim for “conspiring to attempt to monopolize” under
for Assigned Names and Numbers, 795 F.3d 1124, 1131 (9th            Section 2 of the Sherman Act, no such claim exists. See Phillip
Cir.2015) (“Because ICANN is not a competitor in any of             E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 809 (“An
the three markets, they cannot serve as the basis for a § 2         occasional complaint has alleged that the defendant conspired



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to attempt to monopolize. Courts have correctly held that § 2      allegations solely relate to the Haymon Defendants, not the
states no such offense.”).                                         Waddell Defendants.

Accordingly, the Waddell Defendants' Motion to Dismiss Top         Accordingly, the Waddell Defendants' Motion to Dismiss Top
Rank's claim for attempted monopolization in violation of          Rank's claim for violation of the California Unfair Practices
Section 2 of the Sherman Act (Count III) is GRANTED.               Act (Count V) is GRANTED.


   C. Injunctive Relief Under Section 16 of the Clayton
   Act (Count IV)                                                               2. Violation of California's Unfair
Because Top Rank has failed to state a claim for relief                            Competition Law (Count VI)
under Section 1 or Section 2 of the Sherman Act, the
                                                                   In its sixth claim for relief, Top Rank alleges that the
Waddell Defendants' Motion to Dismiss Top Rank's claim for
                                                                   Waddell Defendants violated California's Unfair Competition
injunctive relief under Section 16 of the Clayton Act (Count
                                                                   Law (“UCL”), Cal. Bus. & Prof.Code § 17200 et seq. The
IV) is GRANTED. Kendall v. Visa U.S.A., Inc., 518 F.3d
                                                                   Waddell Defendants move to dismiss the UCL claim on the
1042, 1051 (9th Cir.2008).
                                                                   grounds that the alleged conduct underlying this claim does
                                                                   not relate to any business practices engaged in by the Waddell
  D. State Law Claims                                              Defendants. The Court agrees.

                                                                   The UCL prohibits “any unlawful, unfair or fraudulent
       1. Violation of the California Unfair Practices             business act or practice.” Cal. Bus. & Prof.Code § 17200.
        Act as to the Waddell Defendants (Count V)                 “Each prong of the UCL is a separate and distinct theory of
                                                                   liability.” Kearns v. Ford Motor Co., 567 F.3d 1120, 1127 (9th
In its fifth claim for Relief, Top Rank alleges that the Waddell
                                                                   Cir.2009). “As to the unlawful prong, the UCL incorporates
Defendants sold “boxing broadcast rights” at less than the
                                                                   other laws and treats violations of those laws as unlawful
cost thereof, and/or gave away that product to television
                                                                   business practices independently actionable under state law.”
broadcasters, as a “loss leader” in violation of the California
                                                                   See Clark v. Countrywide Home Loans, Inc., 732 F.Supp.2d
Unfair Practices Act, Cal. Bus. & Prof.Code §§ 17043 and
                                                                   1038, 1049 (E.D.Cal.2010) (citing Chabner v. United Omaha
17044. FAC at ¶¶ 161–168.
                                                                   Life Ins. Co., 225 F.3d 1042, 1048 (9th Cir.2000)). An
                                                                   “unfair” business practice is one “that threatens an incipient
In order to be liable under Section 17043 or 17043, a
                                                                   violation of an antitrust law, or violates the policy or spirit
defendant must have sold an article or product at less than cost
                                                                   of one of those laws because its effects are comparable to or
of the article or product or given away that article or product.
                                                                   the same as a violation of the law, or otherwise significantly
See Cal. Bus. & Prof.Code § 17043, (“It is unlawful for any
                                                                   threatens or harms competition.” Cel–Tech Commc'ns, Inc.
person engaged in business within this State to sell any article
                                                                   v. LA. Cellular Tel. Co., 20 Cal.4th 163, 187 (1999). In
or product at less than the cost thereof to such vendor, or to
                                                                   addition, a business practice is “unfair” when that practice
give away any article or product, for the purpose of injuring
                                                                   “either offends an established public policy or is immoral,
competitors or destroying competition.”); Cal. Bus. & Prof
                                                                   unethical, oppressive, unscrupulous or substantially injurious
Code §§ 17044, 17030 (making it unlawful for any person
                                                                   to consumers.” McDonald v. Coldwell Banker, 543 F.3d
engaged in business in California to sell or use any article
                                                                   498, 506 (9th Cir.2008) (quotations and citations omitted).
or product as a “loss leader,” i.e., any article or product sold
                                                                   Finally, a business practice is “fraudulent” if members of the
at less than cost where the purpose is to induce, promote,
                                                                   public are likely to be deceived. Prata v. Superior Court, 91
or encourage the purchase of other merchandise, or where
                                                                   Cal.App. 4th 1128, 1146 (2001). If the claim is grounded in
the effect is a tendency or capacity to mislead or deceive
                                                                   fraud, the pleading of that claim must satisfy the heightened
purchasers or prospective purchasers, or where the effect is to
                                                                   pleading requirements of Federal Rule of Civil Procedure
divert trade from or otherwise injure competitors). However,
                                                                   9(b). See, e.g., Ward v. Wells Fargo Home Mortg., Inc., 2015
Top Rank fails to allege any facts demonstrating that the
                                                                   WL 1744235, at *9 (N.D.Cal. Apr. 13, 2015). Although
Waddell Defendants sold any article or product at less than
                                                                   Top Rank appears to allege in its First Amended Complaint
cost, or gave away an article or product. Indeed, Top Rank's
                                                                   that the Waddell Defendants violated all three prongs of the



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UCL, Top Rank solely relies on the “unlawful” prong in its         on the “unfair” or “fraudulent” prongs, Top Rank failed to
Opposition.   15                                                   oppose the Waddell Defendants' Motion to Dismiss the UCL
                                                                   claim based on these prongs.
15     Top Rank does not address any of the state law
                                                                   Accordingly, the Waddell Defendants' Motion to Dismiss
       claims in its Opposition to the Waddell Defendants'
                                                                   Top Rank's claim for violation of the UCL (Count VI) is
       Motion to Dismiss, but merely incorporates its
                                                                   GRANTED.
       Opposition to the Haymon Defendants' Motion to
       Dismiss (even though the Waddell Defendants and
       Haymon Defendants primarily moved to dismiss
       on different grounds). See Opposition to Waddell                      3. Tortious Interference with Prospective
       Defendants' Motion to Dismiss [Docket No. 78] at                          Economic Advantage (Count VII)
       20. In its Opposition to the Haymon Defendants'
                                                                   In its seventh claim for relief, Top Rank alleges a claim
       Motion to Dismiss, Top Rank only argues that its
                                                                   against the Waddell Defendants for tortious interference with
       UCL claim is sufficient based on the “unlawful”
                                                                   prospective economic advantage.
       prong.
 *19 Top Rank's UCL claim based on the “unlawful” prong            In order to state a claim for tortious interference with
is premised on alleged violations of the following laws: (1)       prospective economic advantage, a plaintiff must plead the
Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2; (2)        following elements: “(1) an economic relationship between
the Muhammad Ali Boxing Reform Act, 15 U.S.C. § 6301               the plaintiff and some third party, with the probability of
et seq., which prohibits, in relevant part, a manager from         future economic benefit to the plaintiff; (2) the defendant's
having a direct or indirect financial interest in the promotion    knowledge of the relationship; (3) intentional acts on the
of a boxer; (3) California Code of Regulations, title 4, §         part of the defendant designed to disrupt the relationship;
396, which prohibits, in relevant part, a promoter from acting     (4) actual disruption of the relationship; and (5) economic
directly or indirectly as a manager of a boxer; and (4) the        harm to the plaintiff proximately caused by the acts of the
California Unfair Practices Act, Cal. Bus. & Prof.Code §§          defendant.” Korea Supply Co. v. Lockheed Martin Corp., 29
17000 et seq. However, as previously discussed, the Court          Cal.4th 1134, 1153 (2003) (quotations and citations omitted).
concludes that Top Rank has failed to state a claim against        In addition, a plaintiff must allege that the defendant's conduct
the Waddell Defendants for violation of Sections 1 or 2 of         was “wrongful by some legal measure other than the fact
the Sherman Act or the California Unfair Practices Act. In         of interference itself.” Della Penna v. Toyota Motor Sales,
addition, the Court concludes that Top Rank fails to allege that   U.S.A., Inc., 11 Cal.4th 376, 393 (1995); see also Korea
the Waddell Defendants violated the Muhammad Ali Boxing            Supply Co., 29 Cal.4th at 1158 (“To establish a claim
Reform Act, 15 U.S.C. § 6301 et seq. or California Code            for interference with prospective economic advantage, ...
of Regulations § 396 because the Waddell Defendants have           a plaintiff must plead that the defendant engaged in an
never acted as boxing managers or promoters. Accordingly,          independently wrongful act.”). “[A]n act is independently
because Top Rank fails to allege that the Waddell Defendants       wrongful if it is unlawful, that is, if it is proscribed by some
committed a predicate violation of another law, Top Rank           constitutional, statutory, regulatory, common law, or other
fails to state a UCL claim against the Waddell Defendants          determinable legal standard.” Korea Supply Co., 29 Cal.4th
based on the “unlawful” prong. See Dorado v. Shea Homes            at 1159.
Ltd. Partnership, 2011 WL 3875626, at *19 (E.D.Cal. Aug.
31, 2011) (“Where a plaintiff cannot state a claim under the       As the Court previously concluded, Top Rank has
'borrowed' law, she cannot state a UCL claim either.”).            failed to allege any independently wrongful or unlawful
                                                                   conduct committed specifically by the Waddell Defendants.
Top Rank also fails to state a claim against the Waddell           Accordingly, the Waddell Defendants' Motion to Dismiss
Defendants premised on the “unfair” or “fraudulent” prongs         Top Rank's claim for tortious interference with prospective
of the UCL. Indeed, Top Rank has failed to allege any              economic advantage (Count VII) is GRANTED.
“unfair” or “fraudulent” conduct specifically committed by
the Waddell Defendants. Apparently recognizing its inability
to plead a UCL claim against the Waddell Defendants based          V. CONCLUSION



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                                                                   leave to amend if the Court determines that permitting Top
For the foregoing reasons, the Haymon Defendants' Motion
to Dismiss is GRANTED in part. The Haymon Defendants'              Rank to amend would be an exercise in futility. See, e.g.,
Motion to Dismiss Counts I, II, III, and IV is GRANTED.            Rutman Wine Co. v. E. & J. Gallo Winery, 829 F.2d 729,
The Court will grant Top Rank an opportunity to amend              738 (9th Cir.1987) (“Denial of leave to amend is not an
these claims, and, thus, Counts I, II, III, and IV as to the       abuse of discretion where the pleadings before the court
Haymon Defendants are DISMISSED with leave to amend.               demonstrate that further amendment would be futile.”). In
Top Rank shall file its Second Amended Complaint on or             this case, Top Rank has already had an opportunity to file an
before October 30, 2015. The Court DEFERS ruling on the            amended pleading and has failed to provide the Court with
Haymon Defendants' Motion to Dismiss Counts V, VI, and             any facts or arguments in its Opposition that indicate leave to
VII.                                                               amend with respect to the Waddell Defendants would not be
                                                                   futile. Accordingly, the Court denies leave to amend as to the
 *20 The Waddell Defendants' Motion to Dismiss is                  Waddell Defendants.
GRANTED in its entirety. Because the Court concludes
that granting leave to amend as to the Waddell Defendants          IT IS SO ORDERED.
would be futile, the First Amended Complaint against
the Waddell Defendants is DISMISSED without leave to               All Citations
amend. Although the Court recognizes that this Circuit has a
liberal policy favoring amendments and that leave to amend         Not Reported in Fed. Supp., 2015 WL 9948936, 2015-2 Trade
should be freely granted, the Court is not required to grant       Cases P 79,332

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                                                                 On October 24, 2008, Trinity filed a complaint against
                   2014 WL 1766083                               Greenlease and Ampco setting forth the following claims:
      Only the Westlaw citation is currently available.
                                                                   • count I seeking cost recovery under § 107
               United States District Court,
                                                                     under the Comprehensive Environmental Response,
                   W.D. Pennsylvania.
                                                                     Compensation and Liability Act (“CERCLA”), 42
                                                                     U.S.C. § 9601 et seq.;
          TRINITY INDUSTRIES, INC., Trinity
         Industries Railcar Corporation, Plaintiffs,               • count II seeking contribution under §§ 113(f)(1) and
                             v.                                      113(f) (3)(B) of the CERCLA;
         GREENLEASE HOLDING COMPANY,
        Ampco–Pittsburgh Corporation, Defendants.                  • count III seeking recovery under § 7002(a)(1)(B) of the
                                                                      Resource Conservation and Recovery Act (“RCRA”), 42
                  Civil Action No. 08–1498.                           U.S.C. § 6901 et seq.;
                               |
                    Signed May 2, 2014.                            • count IV seeking recovery under section 1101 of the
                                                                     Pennsylvania Hazardous Sites Cleanup Act (“HSCA”),
Attorneys and Law Firms                                              35 PA. CONS.STAT. § 6020.101 et seq.;

Frederick W. Addison, III, Nolan C. Knight, Munsch Hardt           • count V seeking recovery under sections 701 and 702 of
Kopf & Harr, Dallas, TX, Leonard G. Ambrose, III, Ambrose             the HSCA;
Law Firm, Erie, PA, for Plaintiffs.
                                                                   • count VI seeking contribution under section 705(c)(2) of
Steven F. Baicker-McKee, Marc J. Felezzola, Mark K.                   the HSCA;
Dausch, Babst, Calland, Clements & Zomnir, Paul D.
Steinman, Eckert, Seamans, Cherin & Mellott, Pittsburgh,           • count VII seeking contribution under Pennsylvania state
PA, for Defendants.                                                   law; and

                                                                   • count VIII setting forth a state law claim for negligence
                                                                      per se.
                         OPINION
                                                                 (ECF No. 1.)
CONTI, Chief Judge.
                                                                 On October 30, 2013, Ampco filed a motion for summary
   I. Introduction
                                                                 judgment seeking a judgment in its favor with respect to all
 *1 The issues before the court in this opinion are whether
                                                                 counts of the complaint arguing that as a matter of law, it is
defendant Ampco–Pittsburgh Corporation (“Ampco”) can
                                                                 not directly liable under any claim or derivatively liable for
be held directly liable for its actions or derivatively liable
                                                                 the alleged acts of Greenlease with respect to North Plant.
for the actions of its subsidiary, defendant Greenlease
                                                                 (ECF No. 143.) On the same day, Trinity filed a partial motion
Holding Company (“Greenlease”) with respect to enumerated
                                                                 for summary judgment arguing, among other things, that it is
claims raised in connection with a manufacturing plant,
                                                                 entitled to summary judgment on its claims against Ampco
located at 60 Union Street, Greenville, Mercer County,
                                                                 because Ampco operated the North Plant and piercing of the
Pennsylvania (the “North Plant”), which previously was
                                                                 corporate veil is warranted under the applicable statutes and
owned by Greenlease and currently is owned by plaintiffs
                                                                 case law. (ECF No. 151.) On November 4, 2013, Ampco
Trinity Industries, Inc. (“Trinity Industries”) and Trinity
                                                                 filed a response in opposition to Trinity's partial motion
Industries Railcar Corporation (“Trinity Railcar”) (together,
                                                                 for summary judgment, (ECF No. 209), and Trinity filed
“Trinity” or “plaintiffs”). These issues were raised in cross-
                                                                 a response in opposition to Ampco's motion for summary
motions for summary judgment filed by Trinity (ECF No.
                                                                 judgment, (ECF No. 212). On November 7, 2013, Trinity
151), and Ampco (ECF No. 147).
                                                                 filed a reply brief to Ampco's brief in opposition to its partial
                                                                 motion for summary judgment, (ECF No. 219), and Ampco
  II. Procedural History                                         filed a reply brief to Trinity's brief in opposition to its motion
                                                                 for summary judgment, (ECF No. 221). On November 12,


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2013, Ampco filed a combined concise statement of facts with
respect to its motion for summary judgment, (ECF No. 223),
and Trinity filed a combined concise statement of fact with         B. Greenville's Operation of the North Plant
respect to plaintiffs' motion for summary judgment, (ECF No.     Greenville's employees were responsible for all day-to-
224).                                                            day operations at the North Plant, including any waste
                                                                 disposal, waste handling, painting, abrasive blasting, welding,
 *2 On December 19, 2013, the court held a hearing with          and fabrication operations. (ACSOF ¶ 20.) For example,
respect to the Ampco's and Trinity's motions for summary         Greenville's management met with paint manufacturers to
judgment limited to the issue whether Ampco may be held          discuss what changes needed to be made to the paint
liable to Trinity as a matter of law. The court—based upon       that Greenville used in order to ensure the paint would
its review of the submissions of Ampco and Trinity and the       meet new standards and regulations coming into effect.
arguments presented at the hearing—determined Ampco's            (Id. ¶ 21.) William C. Bubeck (“Bubeck”), director of
motion for summary judgment should be granted and Trinity's      safety and security for Greenville, communicated with the
motion for summary judgment should be denied. This opinion       Pennsylvania Department of Environmental Protection (the
sets forth the reasoning for the court's decision.               “DEP”), formerly known as the Pennsylvania Department
                                                                 of Environmental Resources, with respect to environmental
                                                                 matters including air toxics emissions, PCB transformers,
    III. Background 1                                            hazardous waste inspections, and alleged violations of
1                                                                the solid waste management act. (Id. ¶ 22.) George
        Other factual matters of record will be discussed in
                                                                 Fisher (“Fisher”), plant maintenance engineer for Greenville,
        context when pertinent to a particular issue.
                                                                 communicated with the DEP with respect to environmental
                                                                 matters, including air emissions calculations from the paint
   A. Greenville and Ampco                                       booths and hazardous waste notification forms. (Id. ¶ 23.)
In or about 1910, Greenville Steel Car Company                   Fisher was responsible for obtaining information about the
(“Greenville”) began operating a railcar manufacturing           DEP's volatile organic compound (“VOC”) regulations and
facility at the North Plant. (Ampco's Combined Statement of      disseminating it to the plant. (Id.)
Fact (“ACSOF”) ¶ 1.) Greenville was originally organized
as the Greenville Metal Products Company. (Id. ¶ 2.) In           *3 Albert Beers (“Beers”) was a Greenville employee from
1914, the company adopted the name Greenville Steel Car          1965 until 1986. (ACSOF ¶ 24.) While a plant engineer
Company. (Id.) In 1924, Greenville Steel Car Company was         for Greenville, Beers communicated with the DEP with
formally chartered in the Commonwealth of Pennsylvania.          respect to environmental matters, including hazardous waste
(Id.) In August 1937, Pittsburgh Forging Company (“PFC”)         generator inspections and a permit to construct and use an on-
purchased all Greenville's stock. (Id. ¶ 3.)                     site solid waste incinerator. (Id. ¶ 25.) Beers communicated
                                                                 with outside contractors with respect to off-site disposal
In or about October 1979, Ampco acquired all PFC's stock         of used paint mixtures. (Id. ¶ 26 .) After the North Plant
through a wholly-owned acquisition subsidiary, Ampco–            was sold in 1986, Gottschall provided documentation to
Pittsburgh Securities I Corporation. (ACSOF ¶ 4.) On             the Environmental Protection Agency with respect to waste
December 29, 1983, Greenville declared a dividend to PFC of      Greenville may have sent to an offsite landfill known as the
the stock of Greenville's then subsidiary, Greenville Leasing    River Road Landfill. (Id. ¶ 33.)
Company, which was an entity that leased railcars. (Id. ¶
6.) On that same day, PFC declared a dividend to Ampco–
Pittsburgh Securities I Corporation of the stock of PFC's then     C. Ampco's Parent–Subsidiary Relationship with
subsidiary, Greenville, making Ampco–Pittsburgh Securities         Greenville
I Corporation the sole shareholder of Greenville. (Id. ¶ 5.)     At all relevant times, Ampco held an ownership interest
In January 1984, PFC changed its name to GLC Holding             in various entities, including companies engaged in
Company. (Id. ¶ 7.) On December 21, 1984, the stock of           manufacturing diversified engineered products or industrial
GLC Holding Company was purchased by GATLX Leasing               equipment, employed only a professional staff, e.g.,
Corporation. (Id. ¶ 8.) In 1985, Ampco–Pittsburgh Securities     accountants, actuaries, and lawyers, and did not employ
I Corporation was merged into Ampco, making Ampco the            any engineers or persons with technical experience in
sole shareholder of Greenville. (ACSOF ¶ 10.)                    manufacturing. (ACSOF ¶ 34.)


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                                                                  from Greenville, pursuant to a Purchase and Sale Agreement,
Between 1979 and 1986, Ampco and Greenville had                   for an $8,000,000 cash payment and in consideration of
overlapping board members, but did not share formal               Trinity's execution of a promissory note in the face amount
corporate office space. (ACSOF ¶¶ 36, 38.) Gottschall, Ed         of $6,075,120 for the benefit of Greenville. (Id. ¶¶ 11, 49.)
Moores, and John R. Young were overlapping board members          Ampco, as the sole shareholder of Greenville, authorized the
from 1979 to 1986, and Ernest Siddons was an overlapping          Greenville board of directors to proceed with negotiations
officer from 1984 to 1986. (Id. ¶ 38.) No employees,              and sell the North Plant on terms deemed by Greenville's
other than officers and directors, were employees both of         board to be in the best interest of Greenville and Ampco.
Greenville and Ampco. (Id. ¶ 37.) Greenville adopted a            (Id. ¶ 51.) From 1986 until 2000, Trinity operated a railcar
resolution that said “any action which the [Ampco] Board, or      manufacturing business at the North Plant as its Greenville
its Executive Committee, may think necessary and desirable        Steel Car Division. (Id. ¶ 50.)
to take on behalf of [Greenville] shall be deemed to be the
action of [Greenville's Board].” (Id. ¶ 39.)
                                                                     E. Greenville After the Sale of the North Plant to
Ampco retained the right to approve Greenville's                     Trinity
expenditures that exceeded a certain threshold. (ACSOF            In February 1987, following the sale of the North Plant to
¶ 42.) Ampco provided certain high level services to its          Trinity, Greenville maintained a reserve for liabilities in the
subsidiaries in the areas of insurance, legal, banking, and       amount of $250,000 and amended its articles of incorporation
accounting. (Id. ¶ 43.) In 1985, Greenville's pension plan        to change its name to Greenlease Holding Company. (ACSOF
for salaried employees was merged into Ampco's retirement         ¶¶ 13, 54; ECF No. 150–1 at 22–23; ECF No. 150–40 at 2.) In
plan. (Id. ¶ 44.) Ampco's retirement plan covered all             or about May 1987, Ampco authorized Greenlease to sell the
its subsidiaries for purposes of administration. (Id.) Each       promissory note directly to Principal Mutual Life Insurance.
subsidiary maintained its separate identity and separate          (ACSOF ¶ 56.) On August 1, 1989, and October 15, 1990,
individual plans. (Id.) Ampco used a centralized banking          respectively three and four years after Trinity purchased the
system for all its subsidiaries in order to maximize the amount   North Plant from Greenlease, Greenlease issued dividends to
on which it could obtain interest and either maximize or          Ampco. (Id. ¶ 57.)
minimize borrowing amounts. (Id. ¶ 45.) Greenville had
its own banking account, account number, and all checks
                                                                     F. The Criminal Complaint against Trinity with
were signed and approved by officers of Greenville. (Id.)
                                                                     respect to the North Plant
Ampco had master insurance policies in order to obtain lower
                                                                  The Commonwealth of Pennsylvania and the DEP, began an
costs and better coverage, in which all subsidiaries, including
                                                                  investigation at the North Plant based upon allegations that
Greenville, were named insureds. (Id. ¶ 46.) The individual
                                                                  Trinity illegally dumped and disposed of hazardous waste
subsidiaries were charged for their pro rata portion of the
                                                                  on the site. (ACSOF ¶ 16.) In April 2006—twenty years
premium payment. (Id.)
                                                                  after Trinity purchased the North Plant from Greenlease
                                                                  —the Commonwealth of Pennsylvania filed a criminal
 *4 Ampco had bulk services agreements on behalf of its
                                                                  complaint against Trinity asserting three felony counts related
subsidiaries in order to obtain lower prices due to the bulk
                                                                  to the illegal management of hazardous waste and eight
purchasing capability of the group. (ACSOF ¶ 47.) The actual
                                                                  misdemeanor counts related to the illegal dumping and
order placement and payment for such orders would be made
                                                                  disposal of solid hazardous waste. (Id. ¶ 17.) On October
in the normal course by the subsidiary, such as Greenville.
(Id.) Ampco had a revolving credit agreement with several         31, 2006, Trinity 2 entered into a plea agreement with the
banks to benefit the entire organization as a whole and on        Pennsylvania Office of Attorney General. (ECF No. 150–
occasion, used the value of its investment in Greenville to       19 at 2.) Pursuant to the plea agreement, Trinity was to:
guaranty these lines of credit. (Id. ¶ 48.)                       (i) plead nolo contendere to five counts of the criminal
                                                                  information filed at CP–43–1655–2006; (ii) reimburse the
                                                                  DEP in the amount of $54,502.55 for investigative costs;
  D. The Sale of the North Plant from Greenville to               (iii) pay a $200,000 fine to Pennsylvania's Solid Waste
  Trinity                                                         Abatement Fund; (iv) make a $50,000 contribution to a
As of December 1986, Greenville was solvent. (ACSOF ¶             nonprofit organization; and (v) remediate all environmental
52.) On December 9, 1986, Trinity purchased the North Plant       contamination at the North Plant as set forth in the consent


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order and agreement attached to the plea agreement. (Id.)
Trinity was sentenced on December 21, 2006, in the Court                  c. The Response Actions 5 required by Paragraph
of Common Pleas of Mercer County, pursuant to the consent                 6.a. and 6.b., above, shall include, without limitation:
order and agreement (“Consent Order”) entered into by DEP                 paying all fees required under the Land Recycling Act;
and Trinity on the same day. 3 (ECF No. 150–19 at 5.)                     publishing notices; submitting, revising, and finalizing
                                                                          all required documents for [the DEP]'s approval; and
2                                                                         completing and maintaining the Response Actions,
         The designation of the parties involved in the                   including the investigations, remediation, and post-
         criminal matter is inconsistent. The plea agreement              remediation care activities at each Plant, if necessary,
         was entered between the Pennsylvania Attorney                    in accordance with the Land Recycling Act, any other
         General and Trinity Railroad. (ECF No. 150–19.)                  applicable environmental laws and Regulations, and the
         The Consent Order was entered into between the                   requirements of this Consent Order and Agreement.
         DEP and Trinity Industries. (ECF No. 150–19 at              5
         31.) The sentence, imposed on December 21, 2006,                   Under the Consent Order, the term “Response
         was against Trinity Industries. (ECF No. 150–19 at                 Actions” is defined as follows:
         42.)                                                                    “Response Actions” shall mean any and
                                                                                 all of the actions taken or to be taken
3                                                                                by [the DEP], Trinity, and/or any other
         The parties agreed that the Consent Order “is an
         Order of [the DEP] authorized and issued pursuant                       responsible persons under the direction of [the
         to Section 1102 of HSCA, 35 P.S. § 6020.1102;                           DEP], relating to and addressing the release
         Section 104(b) of the Land Recycling Act, 35                            and threatened release of any hazardous
         P.S. § 6026.104(b); and Section 1917–A of the                           substances at the North Plant and South
         Administrative Code, 71 P.S. §§ 510–17.” (ECF                           Plant. Response Actions include, but are
         No. 150–19 at 5.)                                                       not limited to: investigations of responsible
                                                                                 persons; investigations of environmental
*5 The Consent Order, in pertinent part, provided:
                                                                                 conditions at the North Plant and South Plant;
    6. a. The North Plant and South Plant 4 . Trinity shall obtain               investigations of contaminated groundwater,
    prior approval from [the DEP] and conduct the Response                       if any, at and potentially migrating from
    Actions in accordance with [the DEP]-approved schedule                       the Plants, including groundwater (if any)
    to fully investigate and respond to the release of hazardous                 that has migrated and contaminated drinking
    substances at the North Plant and South Plant to attain one                  water; actions to respond to the release and
    or a combination of the Background, Statewide Health,                        threatened release of any hazardous substance
    or Site Specific cleanup standards selected by Trinity and                   at and/or potentially migrating from the North
    approved by [the DEP] pursuant to Chapter 3 of the Land                      Plant and South Plant; and maintenance of
    Recycling Act, 35 P.S. §§ 6026.302–6026.303, for non-                        those actions.
    residential use.                                                          (ECF No. 150–19 at 9–10.)
                                                                     (ECF No. 150–19 at 11.)
4        The Consent Order involves, in addition to the
         North Plant, the “South Plant,” which is not part of
                                                                        G. Greenlease and the North Plant—2009 to the
         this litigation. (See ECF No. 150–19 at 6.)
                                                                        Present
                                                                     As of 2009, Greenlease had positive reserves and equity. (Id.
    b. Contamination migrating from the North Plant or               ¶ 58.) Greenlease exists today as a shell holding company and
    South Plant. For any release of hazardous substances in          it does not have any employees, business activities, for profit
    groundwater or soil that is migrating from the North Plant       activities, or other commercial undertakings. (Id. ¶ 14.)
    and/or South Plant, Trinity shall attain one or a combination
    of the Background or Statewide Health cleanup standards          The North Plant currently is a non-operating facility held
    selected by Trinity, and approved by [the DEP] pursuant          by Trinity's subsidiary Waldorf Properties, Inc. and is
    to Chapter 3 of the Land Recycling Act, 35 P.S. §§               contaminated with substances that include, inter alia, iron,
    6026.302–6026.303, for non-residential use.                      lead, trichloroethene, xylene, and polychlorinated bi-phenyls


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(“PCBs”) such as “Aroclor.” (Trinity's Combined Statement           and other papers that have been identified by affidavit or
of Facts (“TCSOF”) ¶ 1.)                                            otherwise made admissible in evidence.”).


   IV. Standard of Review                                             V. Discussion
Federal Rule of Civil Procedure 56(a) provides that summary         Trinity is suing Ampco directly for “operating” the North
judgment shall be granted “if the movant shows that there is        Plant and derivatively for Greenlease's actions in operating
no genuine dispute as to any material fact and the movant is        the North Plant by piercing the corporate veil. 6 The Supreme
entitled to judgment as a matter of law.” FED. R. CIV. P.           Court of the United States in United States v. Bestfoods, 524
56(a). A motion for summary judgment will not be defeated           U.S. 51, 118 S.Ct. 1876, 141 L.Ed.2d 43 (1998), discussed
by the mere existence of some disputed facts, but will be           the law applicable to a parent corporation's direct liability for
defeated when there is a genuine issue of material fact.            operating a plant and derivative liability for its subsidiary's
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48, 106          actions in operating a plant.
S.Ct. 2505, 91 L.Ed.2d 202 (1986). In determining whether
the dispute is genuine, the court's function is not to weigh        6        The foregoing discussion refers only to the
the evidence or to determine the truth of the matter, but only
                                                                             CERCLA claims (counts I and II) and not the
to determine whether the evidence of record is such that a
                                                                             RCRA claim (count III) or the HSCA claims
reasonable jury could return a verdict for the nonmoving
                                                                             (counts IV and V). The discussion is equally
party. Id. at 249. The court is to draw all reasonable inferences
                                                                             applicable to the RCRA claim and the HSCA
in favor of the nonmoving party. El v. Se. Pa. Transp.
                                                                             claims, however, because those statutes have the
Auth., 479 F.3d 232, 238 (3d Cir.2007) (“In considering the
                                                                             same liability schemes as the CERCLA with
evidence, the court should draw all reasonable inferences
                                                                             respect to owners and operators. Agere Sys., Inc.
against the moving party.”).
                                                                             v. Advanced Envtl. Tech. Corp., 602 F.3d 204,
                                                                             236 (3d Cir.2010) (“The District Court correctly
 *6 The United States Court of Appeals for the Third Circuit
                                                                             held that Carpenter's liability “is neither greater
has stated:
                                                                             nor lesser under the HSCA.”... Indeed, the cost
                                                                             recovery and contribution provisions in HSCA are
                                                                             virtually identical to those in CERCLA....Thus,
             [I]f there is a chance that a reasonable
                                                                             on remand, the District Court should continue to
             factfinder would not accept a moving
                                                                             address the CERCLA and HSCA issues in this
             party's necessary propositions of fact,
                                                                             case identically.); Bd. of Cnty. Commissioners v.
             pre-trial judgment cannot be granted.
                                                                             Brown Grp. Retail, Inc., Civ. Action 08–855, 2009
             Specious objections will not, of
                                                                             WL 1108463, at *4 (D.Colo. April 24, 2009)
             course, defeat a motion for summary
                                                                             (“As the definition of “operator” under RCRA
             judgment, but real questions about
                                                                             is substantially the same as the definition under
             credibility, gaps in the evidence, and
                                                                             CERCLA, a finding that Plaintiff meets the former
             doubts as to the sufficiency of the
                                                                             is sufficient to show Plaintiff meets the latter.”).
             movant's proof, will.
                                                                    With respect to distinguishing a parent corporation's direct
                                                                    liability for its own action from derivative liability, the
                                                                    Supreme Court explained:
Id. The court may consider material evidence that would
be admissible or usable at trial in deciding the merits of a            [D]erivative liability cases are to be distinguished from
motion for summary judgment. Horta v. Sullivan, 4 F.3d 2,               those in which “the alleged wrong can seemingly be traced
8 (1st Cir.1993) (citing 10A CHARLES ALAN WRIGHT,                       to the parent through the conduit of its own personnel
ARTHUR R. MILLER & MARY KAY KANE, FEDERAL                               and management” and “the parent is directly a participant
PRACTICE AND PROCEDURE § 2721, at 40 (2d ed.1983));                     in the wrong complained of.” Douglas 207, 208. In such
Pollack v. Newark, 147 F.Supp. 35, 39 (D.N.J.1956), aff'd,              instances, the parent is directly liable for its own actions.
248 F.2d 543 (3d Cir.1957) (“[I]n considering a motion for              See H. Henn & J. Alexander, Laws of Corporations 347
summary judgment, the court is entitled to consider exhibits            (3d ed.1983) (hereinafter Henn & Alexander) (“Apart from


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  corporation law principles, a shareholder, whether a natural          otherwise be misused to accomplish certain wrongful
  person or a corporation, may be liable on the ground                  purposes, most notably fraud, on the shareholder's
  that such shareholder's activity resulted in the liability”).         behalf.
  The fact that a corporate subsidiary happens to own a
  polluting facility operated by its parent does nothing, then,
                                                                                                 ...
  to displace the rule that the parent “corporation is [itself]
  responsible for the wrongs committed by its agents in              The Court of Appeals was accordingly correct in holding
  the course of its business,” Mine Workers v. Coronado              that when (but only when) the corporate veil may
  Coal Co., 259 U.S. 344, 395, 42 S.Ct. 570, 577, 66 L.Ed.           be pierced, may a parent corporation be charged with
  975 (1922), and whereas the rules of veil piercing limit           derivative CERCLA liability for its subsidiary's actions.
  derivative liability for the actions of another corporation,       Id. at 64. Whether Ampco can be directly or derivatively
  CERCLA's “operator” provision is concerned primarily               liable to Trinity will be addressed below.
  with direct liability for one's own actions. See, e.g., Sidney
  S. Arst Co. v. Pipefitters Welfare Ed. Fund, 25 F.3d 417, 420       A. Direct Liability
  (C.A.7 1994) (“[T]he direct, personal liability provided by      Trinity asserts Ampco is directly liable to Trinity under the
  CERCLA is distinct from the derivative liability that results    following provision of 42 U.S.C. § 9607:
  from piercing the corporate veil” (internal quotation marks
  omitted)).
                                                                               (1) the owner and operator of ... a
*7 Id. at 64–65.                                                               facility, [or] (2) any person who at
                                                                               the time of disposal of any hazardous
The Court noted with respect to a corporation's protection                     substance owned or operated any
from liability for acts of its subsidiary:                                     facility at which such hazardous
                                                                               substances were disposed of ... shall
  It is a general principle of corporate law deeply
                                                                               be liable for ... any ... necessary costs
  “ingrained in our economic and legal systems” that a
                                                                               of response incurred by any other
  parent corporation (so-called because of control through
                                                                               person consistent with the national
  ownership of another corporation's stock) is not liable for
                                                                               contingency plan.
  the acts of its subsidiaries. Douglas & Shanks, Insulation
  from Liability Through Subsidiary Corporations, 39 Yale
  L.J. 193 (1929) (hereinafter Douglas)
                                                                   42 U.S.C. § 9607(a)(4)(B) (emphasis added). In Bestfoods,
                                                                   the Supreme Court explained:

                              ...

  Thus it is hornbook law that “the exercise of the ‘control’                  [U]nder CERCLA, an operator
  which stock ownership gives to the stockholders ... will                     is simply someone who directs
  not create liability beyond the assets of the subsidiary.                    the workings of, manages, or
  That ‘control’ includes the election of directors, the making                conducts the affairs of a facility.
  of by-laws ... and the doing of all other acts incident to                   To sharpen the definition for
  the legal status of stockholders. Nor will a duplication of                  purposes of CERCLA's concern
  some or all of the directors or executive officers be fatal.”                with environmental contamination, an
  Douglas 196 (footnotes omitted).                                             operator must manage, direct, or
  Bestfoods, 524 U.S. at 60. The Court, however, explained:                    conduct operations specifically related
                                                                               to pollution, that is, operations having
    [T]here is an equally fundamental principle of corporate                   to do with the leakage or disposal
    law, applicable to the parent-subsidiary relationship as                   of hazardous waste, or decisions
    well as generally, that the corporate veil may be pierced
    and the shareholder held liable for the corporation's
    conduct when, inter alia, the corporate form would


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            about compliance with environmental                                 held directly liable when the parent
            regulations.                                                        operates the facility in the stead of its
                                                                                subsidiary or alongside the subsidiary
                                                                                in some sort of a joint venture. See
Id. at 66–67. The Supreme Court gave the following guidance                     [U.S. v. Cordova Chemical Co. of
to aide a court in determining whether a parent “operated” its                  Michigan, 113 F.3d 572, 579 (1997)
subsidiary's facility:                                                          ]. We anticipated a further possibility
                                                                                above, however, when we observed
   *8 Identifying such an occurrence calls for line-drawing                     that a dual officer or director might
  yet again, since the acts of direct operation that give rise                  depart so far from the norms of
  to parental liability must necessarily be distinguished from                  parental influence exercised through
  the interference that stems from the normal relationship                      dual officeholding as to serve the
  between parent and subsidiary. Again norms of corporate                       parent, even when ostensibly acting
  behavior (undisturbed by any CERCLA provision) are                            on behalf of the subsidiary in
  crucial reference points. Just as we may look to such norms                   operating the facility. See n. 13, supra.
  in identifying the limits of the presumption that a dual                      Yet another possibility, suggested by
  officeholder acts in his ostensible capacity, so here we                      the facts of this case, is that an agent of
  may refer to them in distinguishing a parental officer's                      the parent with no hat to wear but the
  oversight of a subsidiary from such an officer's control                      parent's hat might manage or direct
  over the operation of the subsidiary's facility. “[A]ctivities                activities at the facility.
  that involve the facility but which are consistent with
  the parent's investor status, such as monitoring of the
  subsidiary's performance, supervision of the subsidiary's         Id. at 71–72 (emphasis added).
  finance and capital budget decisions, and articulation of
  general policies and procedures, should not give rise to          Here, Trinity argues that “Ampco's involvement with relevant
  direct liability.” [Oswald, Bifurcation of the Owner and          North Plant operations exceeded anything that could be
  Operator Analysis under CERCLA, 72 Wash. U.L.Q. 223,              characterized as a ‘normal relationship between parent and
  282 (1994) ]. The critical question is whether, in degree         subsidiary.’ ” (ECF No. 152 at 12) (quoting Bestfoods, 524
  and detail, actions directed to the facility by an agent of the   U.S. at 71). Trinity argues Ampco:
  parent alone are eccentric under accepted norms of parental
  oversight of a subsidiary's facility.                                *9 • advised Greenlease regarding the operation of laws
                                                                        and regulations related to Greenlease's waste generation
Id. at 71–72. The Supreme Court identified three possible               practices;
scenarios in which a parent corporation could be held directly
liable for operating its subsidiary's facility:                       • monitored Greenlease's waste generation practices;

                                                                      • authorized its personnel to seek funding for and assist
                                                                         with portions of Greenlease's effort to ‘modernize’
            In our enquiry into the meaning
                                                                         painting operations at the North Plant after it was evident
            Congress presumably had in mind
                                                                         the operations were causing product releases into the
            when it used the verb “to operate,”
                                                                         environment;
            we recognized that the statute
            obviously meant something more than                       • had its officers or directors that constituted Greenlease's
            mere mechanical activation of pumps                          board make decisions regarding Greenlease's core
            and valves, and must be read to                              manufacturing activities by approving leases or
            contemplate “operation” as including                         customer financing for railcars that were manufactured
            the exercise of direction over the                           at the North Plant; and
            facility's activities. See supra, at [67–
            8]. The Court of Appeals recognized                       • had its officers submit filings to the Commonwealth
            this by indicating that a parent can be                     wherein they acted as if they did not recognize a



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     meaningful distinction between Ampco and Greenlease,           *10 There is no dispute that Gotschall provided free legal
     because Ampco referred to the changing of “our name           advice to Greenville during the relevant time period. Courts
     from Greenville Steel Car Company to Greenlease               have recognized, however, that it is within the normal bounds
     Holding Company.”                                             of a parent-subsidiary relationship for a parent corporation to
                                                                   provide in-house legal counsel to its subsidiaries. Catalina
(ECF Nos. 212; 224.) Trinity argues that Ampco personnel           Mktg. Int'l, Inc. v. Coolsavings.com, Inc., Civ. Action No.
—Fisher and Beers—believed Ampco owned the North Plant             00–2447, 2003 WL 21542491, at *5 (N.D.Ill. July 3, 2003)
or “otherwise had an intimate connection to operations at the      (“It is also common practice that certain functions, such as
North Plant.” (ECF No. 212 at 3.) Based upon the foregoing         accounting and legal services, be shared within a corporate
evidence, Trinity asserts that Ampco “operated” the North          family.”); Schiavone v. Pearce, 77 F.Supp.2d 284, 290
Plant and can be held directly liable for its actions in doing     (D.Conn.1999) (finding that a parent was not directly liable
so. Ampco argues that the evidence of record is insufficient       under CERCLA where the subsidiary used the parent's legal
for a reasonable jury to conclude that Ampco's involvement         department).
with the North Plant was “eccentric under accepted norms of
parental oversight of a subsidiary's facility.” Bestfoods, 524     With respect to Ampco's monitoring of Greenlease's waste
U.S. at 72.                                                        generation services, the Supreme Court in Bestfoods noted
                                                                   that a parent corporation's monitoring of its subsidiary's
The arguments and evidence presented by the parties do             performance does not give rise to direct liability for the
not support the argument that Ampco's involvement with             parent corporation. Bestfoods, 524 U.S. at 72. Ampco being
the North Plant was outside the bounds of a normal                 interested in and paying close attention to Greenlease's waste
parent-subsidiary relationship. First, there is no dispute that    disposal, therefore, is not sufficient to support Ampco being
Greenville employees were responsible for all day-to-day           directly liable for the activities of the North Plant. As
operations at the North Plant, including any waste disposal,       noted, Ampco only employed a professional staff and under
waste handling, painting, abrasive blasting, welding, and          that circumstance, its involvement in the waste generation
fabrication operations. (ACSOF ¶ 20.) Beers communicated           services could not give rise to an eccentric parent-subsidiary
with outside contractors regarding off-site disposal of            relationship.
used paint mixtures. (Id. ¶ 26.) Bubeck, director of
safety and security for Greenville, communicated with the          The approval by Ampco's officers or directors, who served
DEP regarding environmental matters including air toxics           on Greenlease's board of directors, of leases or customer
emissions, PCB transformers, hazardous waste inspections           financing for railcars that were manufactured at the North
and alleged violations of the solid waste management act.          Plant is insufficient evidence to support Ampco's direct
(Id. ¶ 22.) Fisher, plant maintenance engineer for Greenville,     liability for the North Plant. In Bestfoods, the court noted
communicated with the DEP regarding environmental                  that “[s]ince courts generally presume ‘that the directors
matters, including air emissions calculations from the paint       are wearing their ‘subsidiary hats' and not their ‘parent
booths and hazardous waste notification forms. (Id. ¶ 23.)         hats' when acting for the subsidiary’... it cannot be enough
Fisher was responsible for obtaining information about the         to establish liability [where] dual officers and directors
Environmental Protection Agency's VOC regulations and              made policy decisions and supervised activities at the
disseminating it to Greenville employees. (Id.) Beers, as          facility.” Bestfoods, 524 U.S. at 69 (quoting PHILLIP I.
plant engineer for Greenville, communicated with the DEP           BLUMBERG, THE LAW OF CORPORATION GROUPS:
regarding environmental matters, including hazardous waste         PROCEDURAL PROBLEMS IN THE LAW OF PARENT
generator inspections and a permit to construct and use an         AND SUBSIDIARY CORPORATIONS § 1.02.1 at 12
on-site solid waste incinerator. (Id. ¶ 25.) Most significantly,   (1983)). In order to prevail at the summary judgment stage,
during the relevant time period, Ampco employed only a             Trinity would have to adduce evidence to show that the dual
professional staff, such as accountants, actuaries, and lawyers,   officers and directors were acting only in their capacities as
and did not employ any engineers or persons with technical         directors and officers of Ampco when they committed those
experience in manufacturing that could make decisions for          acts. Bestfoods, 524 U.S. at 70 (“The Government would have
Greenville with respect to environmental compliance or waste       to show that, despite the general presumption to the contrary,
management. (Id. ¶ 34.)                                            the officers and directors were acting in their capacities as
                                                                   CPC officers and directors, and not as Ott II officers and



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directors, when they committed those acts.”). The Court in         With respect to exhibits 315 and 316, Ampco argues:
Bestfoods did not describe in detail how a party could rebut
the presumption, but explained:                                      Trinity's characterization [of the documents cited] is
                                                                     misleading because Trinity conflates two separate projects.
                                                                     Trinity's Exhibits 315 and 316 refer to Greenville minutes
                                                                     approving an appropriation request for a spray booth
             We do not attempt to recite the
                                                                     project that was part of an overall modernization that was
             ways in which the Government could
                                                                     approved by the Greenville board in 1976, prior to the
             show that dual officers or directors
                                                                     acquisition by Ampco of Greenville's parent PFC's stock
             were in fact acting on behalf of
                                                                     in 1979. Neither exhibit evidences that “Ampco authorized
             the parent. Here, it is prudent to
                                                                     and allowed its personnel to seek funding for and assist”
             say only that the presumption that
                                                                     Greenville's effort in this spray booth project.
             an act is taken on behalf of the
             corporation for whom the officer                      (ECF No. 224 at 27–28.) To the extent Greenville approved
             claims to act is strongest when the act               the modernization plan, Ampco's subsequent approval of the
             is perfectly consistent with the norms                expenditure to fund the spray booth and modernization plan
             of corporate behavior, but wanes                      is not a basis to find Ampco directly liable for operating
             as the distance from those accepted                   the North Plant. Fletcher v. Atex, Inc., 68 F.3d 1451, 1459
             norms approaches the point of action                  (2d Cir.1995) (finding a parent's approval for major capital
             by a dual officer plainly contrary                    expenditures was “typical of a majority shareholder or parent
             to the interests of the subsidiary                    corporation”) (citing Phoenix Canada Oil Co. v. Texaco, 842
             yet nonetheless advantageous to the                   F.2d 1466, 1476 (3d Cir.1988)). Exhibit 315, board minutes
             parent.                                               of Greenville from August 31, 1979 (prior to its acquisition
                                                                   by a subsidiary of Ampco), shows that the board on August
                                                                   15, 1979, approved an expenditure of $330,000 for a spray
 *11 Bestfoods, 524 U.S. at 70 n. 13. Here, Trinity did not        paint booth improvement at Greenville. (ECF No. 193–3 at
point to evidence to show that Ampco's officers or directors       6.) The approval of the spray paint booth expenditure was part
acted on Greenlease's board in any way that was “plainly           of an overall modernization project the Greenville's board of
contrary to the interests of [Greenlease] yet nonetheless          directors approved totaling $1,394,000. (Id. at 7.) Exhibit 316
advantageous to [Ampco].” Id. Trinity, therefore, failed to        is the board minutes from the August 15, 1979, board meeting
rebut the presumption that the dual officers and directors acted   at which the board approved the expenditure for the spray
in their capacity as Greenlease board members and to show          paint booth. (ECF No. 193–4.) Ampco's subsequent approval
they acted solely as officers or directors of Ampco.               of the major capital expenditure, i.e., the spray paint booth
                                                                   and the modernization as a whole, was within the bounds of a
The reference by John Young, an Ampco officer, to the name         normal parent-subsidiary relationship and does not support a
Greenlease as “our name” in a letter to the Commonwealth           reasonable jury finding that Ampco operated the North Plant.
of Pennsylvania is not sufficient to support a direct liability
claim against Ampco. Ampco owned all shares of Greenlease.          *12 Exhibit 317 is a “Plan to Increase Production
It is not out of the bounds of a normal parent-subsidiary          Capacity.” (ECF No. 193–5.) Exhibit 318 is an inter-
relationship for an Ampco officer to use a possessive to refer     office correspondence showing Gotschall—an officer of
to the subsidiary's name.                                          both Ampco and Greenville—attended a meeting and told
                                                                   the meeting participants, which included at least three
The authorization by Ampco personnel to seek funding               other persons from Greenville, about the plan to increase
for and to assist with portions of Greenlease's effort to          Greenville's production capacity. (ECF No. 194–1.) With
‘modernize’ painting operations at the North Plant after it        respect to exhibits 317 and 318, Ampco argues:
was evident the operations were causing product releases into
the environment, is likewise not sufficient to support a direct      Trinity's Exhibits 317 and 318 refer to a ‘Greenville Steel
liability claim against Ampco. Trinity cites to exhibits 315,        Car Company Plan to Increase Production Capacity.” This
316, 317, and 318 in support of this evidence.                       plan was never implemented. Trinity's Exh. 7 at p. 62.
                                                                     Further, Mr. Gottschall, a dual officer for both Greenville



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    and Ampco, was the only person with a connection                 light of eight non-exclusive factors: (i) its subsidiary's gross
    to Ampco who attended a meeting in Washington DC                 undercapitalization for its purpose, (ii) failure to observe
    regarding Greenville's Plan. Trinity's App. Exh. 318;            corporate formalities; (iii) nonpayment of dividends; (iv) the
    Ampco's App. Exhs. 30 and 31.                                    insolvency of the subsidiary; (v) siphoning of funds of the
                                                                     corporation by the dominant stockholder; (vi) nonfunctioning
(ECF No. 224 at 29) (emphasis added.) The parties did                of other officers or directors; (vii) absence of corporate
not provide the court the page of Siddons' deposition, i.e.,         records; and (viii) whether the corporation is merely a
Trinity's exhibit 7, page 62, that Ampco refers to as evidence       facade for the operations of the dominant stockholder or
that the plan to increase capacity was never implemented.            stockholders. United States v. Pisani, 646 F.2d 83, 88 (3d
Trinity provided page 61 of Siddons' deposition. The last            Cir.1981). The situation “must present an element of injustice
question on that page reads: “Whatever came of that                  or fundamental unfairness, but a number of these factors can
process? Was it something that was implemented? Help me              be sufficient to show such unfairness.” Id. No single factor is
understand?” (ECF No. 155–4 at 15.) The very next page of            dispositive; rather, a determination on veil-piercing is to be
the deposition, i.e., page 62, is not included in the record. It     made based on the totality of the circumstances. Id. Piercing
is difficult to understand how exhibits 317 and 318 support          the corporate veil “does not require proof of actual fraud.”
Trinity's position. The plan to increase capacity appears to         Trustees of Nat. Elevator Indus. Pension, Health Benefit &
be authored by Greenville. Although Gottschall is listed as          Educ. Funds v. Lutyk, 332 F.3d 188, 194 (3d Cir.2003). Alter
a representative of Ampco in the meeting notes in exhibit            ego theory, however, “has elements of fraud theory, [so] it too
318, he is an officer of Greenville. Under those circumstances,      must be shown by clear and convincing evidence.” Id. at 192.
exhibits 317 and 318 are insufficient to show Ampco operated         The alter ego factors relevant to this case that were addressed
the North Plant.                                                     by Trinity and Ampco and the evidence of record with respect
                                                                     to those factors are discussed below.
A reasonable jury based upon the evidence of record could
not conclude that Ampco's actions with respect to North Plant
were “eccentric under accepted norms of parental oversight              1. Subsidiary's gross undercapitalization for its purpose;
of a subsidiary's facility.” Bestfoods, 524 U.S. at 72. For this        siphoning of funds of the corporation by the dominant
reason, Ampco's motion for summary judgment with respect                stockholder
to Trinity's direct liability claims will be granted and Trinity's    *13 Trinity argues that “Ampco's siphoning of funds
partial motion for summary judgment with respect to Trinity's        from Greenlease once Greenlease became a non-operating
direct liability claims will be denied.                              subsidiary warrants veil piercing” in this case because it left
                                                                     Greenlease undercapitalized and shows Ampco's dominion
                                                                     and control over Greenlease. (ECF No. 152 at 20; ECF No.
    B. Derivative Liability 7                                        212 at 7.) Ampco argues that at all relevant times, Greenlease
7                                                                    was adequately capitalized in light of the liabilities known to
         The veil piercing principles are similar under
         federal and Pennsylvania law. See United States             Ampco, and, therefore, veil piercing is not warranted in this
         v. Union Corp., 259 F.Supp.2d 356, 389                      case. (ECF No. 209 at 7.)
         (E.D.Pa.2003) (citing Ashley v. Ashley, 482 Pa.
         228, 393 A.2d 637, 641 (Pa.1978)). The foregoing            The general rule is gross undercapitalization is to be analyzed
         discussion is, therefore, equally applicable with           according to the subsidiary's initial capitalization. Trustees
         respect to Trinity's state law claims.                      of Nat'l Elevator Indus. Pension, Health Benefit & Educ.
                                                                     Funds v. Lutyk, 332 F.3d 188, 197 (3d Cir.2003) (“[T]he
The second issue before the court is whether Ampco may be            inquiry into corporate capitalization is most relevant for
held derivatively liable for Greenlease's actions in operating       the inference it provides into whether the corporation was
the North Plant. “Corporate veil-piercing has been approved          established to defraud its creditors or other improper purpose
in the context of CERCLA actions. The contours of alter ego          such as avoiding the risks known to be attendant to a
liability in this context are determined by federal common           type of business”). The relevant inquiry with respect to
law.” United States v. Union Corp., 259 F.Supp.2d 356,               whether a subsidiary is grossly undercapitalized is whether
388 (E.D.Pa.2003) (citing Bestfoods, 524 U.S. at 63–64.)             the corporation's “resources [are] reasonable ‘in relation
Under the Court of Appeals for the Third Circuit's alter ego         to the nature of the business of the corporation and the
test, a parent company's derivative liability is determined in       risks attendant to such businesses.’ ” Pharmacia Corp. v.


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Motor Carrier Servs. Corp., 309 F. App'x 666, 672 (3d              “given its lack of revenue and acknowledged responsibility
Cir.2009). Trinity argues that veil piercing is warranted “when    under the Agreement for (at least some) environmental
a non-operating subsidiary is drained of assets that could         contamination”); Bernardin, Inc. v. Midland Oil Corp., 520
have been used to satisfy its liabilities—particularly when        F.2d 771, 775 (7th Cir.1975) (affirming district court's
the assets could have been used to satisfy environmental           decision that “the equities among the parties required and
liabilities.” (ECF No. 152 at 19–20.) As pointed out by            dictated [the plaintiff's] recovery from [the parent corporation
Ampco, however, piercing the corporate veil is warranted           defendant] which had taken over and acquired all that [its
based upon the siphoning of a subsidiary's assets only when        subsidiary] had had to offer its creditors.”); Union Corp.,
the parent has knowledge of the subsidiary's liabilities when      259 F.Supp.2d at 390 (“Where the conduct of a dominant
the assets are siphoned from the subsidiary. ITT Corp. v.          corporation is deliberate, with the specific intent to escape
Borgwarner Inc., Civ. Action No. Civ. Action No. 05–               liability for a specific tort or class of torts, corporate veil
674, 2009 WL 2242904, at *7 (W.D.Mich. July 22, 2009)              piercing is justified. The court finds that Union's actions
(“Evidence that a parent corporation drained a subsidiary of       were a deliberate attempt to evade anticipated liability for
its assets so that the subsidiary could not meet its known         contamination of the Cottman Property.” (internal quotations
environmental liabilities might well provide a basis for           marks and citations omitted)); Waykesha v. Viacom, Int'l
piercing the corporate veil. However, Plaintiff would have         Inc., 404 F.Supp.2d 1112, 1119 (E.D.Wis.2005) (holding
to show both knowledge of environmental liabilities and a          piercing the corporate veil was warranted because “[parent
removal of assets to avoid those liabilities.”).                   corporation] evaded its obligation to pay for its share of
                                                                   liability at the West Avenue Landfill by manipulating [the
Here, the undisputed evidence of record in this case shows:        subsidiary] during the 1996 asset sale.”); AT & T Global
                                                                   Info. Solutions Co. v. Union Tank Car Co., 29 F .Supp.2d
  • Greenlease operated the North Plant until it was sold to       857, 869 (S.D.Ohio 1998) (finding piercing the corporate veil
    Trinity in 1986. Up until that time, the company was           was warranted where the parent corporation “owned all the
    solvent;                                                       relevant assets of [the subsidiary] from whom they profited
                                                                   for many years” when the subsidiary violated the CERCLA);
  • After the sale of the North Plant to Trinity, Greenlease
                                                                   see Crane v. Green & Freedman Baking Co., 134 F.3d 17,
    existed as a shell holding company without any business
                                                                   23 (1st Cir.1998) (“wrongful diversion of corporate assets to
    activities, for profit activities, or other commercial
                                                                   or for controlling individuals at a time when the corporation
    undertakings, did not have any employees, and held
                                                                   is in financial distress ... can justify piercing the corporate
    $250,000 in reserve for liabilities;
                                                                   veil”); United States v. Golden Acres, 702 F.Supp. 1097, 1106
  • In 1989 and 1990, respectively three and four years after      (D.Del.1988) (“[D]efendants were siphoning funds out of
     Greenlease sold the North Plant to Trinity, Greenlease        the corporation at regular intervals ... [d]espite a mounting
     issued dividends to Ampco, leaving the $250,000 in            mortgage debt and an insolvent corporate shell.”).
     reserve. At that time, Greenlease's alleged liability with
     respect to the North Plant was not known to Ampco or          As noted, there is no evidence of record that Ampco knew
     Greenlease.                                                   about the environmental liabilities at issue in this case at
                                                                   the time the dividends were issued. Greenlease was not a
 *14 This evidence shows that Greenlease was not knowingly         operating company at the time it paid dividends to Ampco,
grossly undercapitalized because at the time it issued             and it was not knowingly grossly undercapitalized by Ampco.
dividends to Ampco, it was a shell corporation, and there is       There is no evidence that at that time Greenlease or Ampco
no evidence of record that at a time of the issuance of the        knew about liabilities of Greenlease that could exceed the
dividends, Ampco knew about the liabilities at issue in this       $250,000 in reserve. Based upon the foregoing, the issuance
case. As Ampco points out, the facts of this case are unlike       of the dividends by Greenlease to Ampco approximately
the facts in the decisions cited by Trinity. In those decisions,   eighteen years prior to the commencement of this litigation
the parent corporations were aware of the liabilities of the       is not a sufficient basis for piercing the corporate veil in this
subsidiary corporations at the time the parent corporations        case.
siphoned funds from the subsidiary corporations. Pharmacia,
309 F. App'x at 672 (holding the subsidiary's assets were           *15 Trinity cites Atateks Foreign Trade, Ltd. v. Private
not reasonable in relation to the nature of its business           Label Sourcing, LLC, 402 F. App'x 623 (2d Cir.2010), in



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support of its argument that “the siphoning off of funds             8       While this statement was made in the context
from on entity to another can be probative of the domination                 of a direct liability analysis, courts have applied
exerted by one entity over another, especially when there                    this principle when determining derivative liability
is no commercially reasonable explanation for the transfer                   as well, making this distinction inconsequential.
of assets.” (ECF No. 212 at 7.) In this case, however, the
                                                                             Pearson v. Component Tech. Corp., 247 F.3d 471,
undisputed evidence of record shows that Greenelease made
                                                                             484 (3d Cir.2001).
the dividend payments to Ampco and left $250,000 in reserve
for liabilities following the sale of the North Plant because
                                                                       Here, it is prudent to say only that the presumption that
Greenlease was a nonoperating company with no known
                                                                       an act is taken on behalf of the corporation for whom the
liabilities exceeding the $250,000 in reserve at that time.
                                                                       officer claims to act is strongest when the act is perfectly
Trinity did not point to evidence of record to show Ampco
                                                                       consistent with the norms of corporate behavior, but wanes
“siphoned” any of Greenlease's funds during the time when
                                                                       as the distance from those accepted norms approaches the
Greenlease operated North Plant. The payments which Trinity
                                                                       point of action by a dual officer plainly contrary to the
is concerned about in this case, i.e., the dividend payments
                                                                       interests of the subsidiary yet nonetheless advantageous to
issued approximately eighteen years prior to the initiation of
                                                                       the parent.
this case and after Greenlease sold all its assets, do not qualify
                                                                        *16 Bestfoods, 524 U.S. at 70 n. 13.
as payments for which the is no commercially reasonable
                                                                     Greenlease's board of directors was comprised entirely of
explanation. To the contrary, it would be unreasonable for
                                                                     persons from the pool of Ampco's directors and officers;
Ampco to leave Greenlease's earnings from the sale of the
                                                                     indeed, several of Greenlease's officers came from that pool
North Plant in an account when at the time the dividends
                                                                     as well. Greenlease's board of directors passed a resolution
were issued Greenlease was a nonoperating company with
                                                                     providing that Greenlease would be deemed to have adopted
no known liabilities exceeding the $250,000 in reserve.
                                                                     any action Ampco thought necessary and desirable to take
Accordingly, no reasonable jury could find Greenlease was
                                                                     on behalf of Greenlease. Notably, there is no evidence that
grossly undercapitalized or that Ampco siphoned funds from
                                                                     Greenlease in fact deemed adopted any such action or that
Greenlease at any time relevant to this case.
                                                                     Ampco exercised any power under that resolution.


   2. Nonfunctioning of other officers or directors                  As stated by the Supreme Court, “it cannot be enough to
Trinity alleges that Ampco dominated Greenlease because it           establish liability ... that dual officers and directors made
“stocked” the Greenlease board of directors with people from         policy decisions and supervised activities at the [subsidiary].”
the pool of Ampco's directors and officers. (ECF No. 152             Bestfoods, 524 U.S. at 69. Trinity has the burden to show
at 20.) The Supreme Court has made clear, however, “that             that the directors of both corporations were acting solely
directors and officers holding positions with a parent and           for the benefit of Ampco when they made decisions for
its subsidiary can and do ‘change hats' to represent the two         Greenlease. Trinity did not point to any evidence of record to
corporations separately, despite their common ownership.”            show that any measure adopted by Greenlease ran contrary to
Bestfoods, 524 U.S. at 69. Since courts generally presume            Greenlease's best interests or that the conduct of the directors
“that the directors are wearing their ‘subsidiary hats' and          was contrary to “norms of corporate behavior.” 9 Bestfoods,
not their ‘parent hats' when acting for the subsidiary, ... it       524 U.S. at 70 n. 13. Under those circumstances, this factor,
cannot be enough to establish liability ... that dual officers and   i.e., the nonfunctioning of other officers or directors, does not
directors made policy decisions and supervised activities at         weigh in favor of piercing the corporate veil in this case.
the [subsidiary].” 8 Id. A party arguing in favor of piercing
the corporation veil must point to evidence to show the              9       It is “assumed to be the norm that a parent will have
directors purportedly acting for the benefit of the subsidiary               not only ... the potential to exercise control [over
corporation were—in actuality—acting solely for the benefit                  the subsidiary], but to exercise it to a substantial
of the parent corporation. The Supreme Court in Bestfoods did                degree.” Craig v. Lake Asbestos of Quebec, Ltd.,
not “attempt to recite the ways in which [a party] could show                843 F.2d 145, 150 (3d Cir.1988).
that dual officers or directors were in fact acting on behalf of
the parent[,]” but, as previously noted, stated:                         3. Whether the corporation is merely a facade for the
                                                                         operations of the dominant stockholder or stockholders.



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Trinity argues that Greenlease and Ampco “comingled” their        North Plant's liabilities when Greenlease, a nonoperating
assets and that Ampco provided Greenlease with several            company with no employees, paid Ampco dividends in 1989
“free” services, such as legal and accounting services,           and 1990. Under those circumstances, Trinity's motion for
insurance policies, and employee benefit plans. Plaintiffs did    summary judgment will be denied with respect to its claims
not cite to any decision that suggests the provision of these     against Ampco. Ampco's motion for summary judgment will
services from a parent to a subsidiary runs afoul of normal       be granted with respect to those claims.
corporate behavior. To the contrary, courts have held legal and
accounting services, Catalina Mktg., 2003 WL 21542491,
at *5, the provision of employee benefit plants, Wehner v.          C. Common Law Claims—Negligence Per Se and
Syntex Agribusiness, Inc., 616 F.Supp. 27, 30 (E.D.Mo.1985),        Contribution
and a centralized cash management system where accounting         The law concerning negligence per se “is so well established
records reflect the indebtedness of one entity to another, In     as to be beyond cavil.” C.C.H. v. Phila. Phillies, Inc.,
re Acushnet River & New Bedford Harbour Proceedings, 675          596 Pa. 23, 940 A.2d 336, 347 n. 17 (Pa.2008). In In re
F.Supp. 22, 34 (D.Mass.1987), are consistent with the normal      Reglan/Metoclopramide Litigation, 81 A.3d 80, 94 n. 13
parent-subsidiary relationship. No reasonable jury could,         (Pa.Super.Ct.2013), the court explained:
therefore, find that based upon Ampco providing Greenlease
                                                                    Pennsylvania recognizes that the standard of care may be
with legal and accounting services, insurance policies, and
                                                                    prescribed by legislative enactment so that “a violation
employee benefit plans warrants piercing the corporate veil
                                                                    of the statute or ordinance may serve as the basis for
in this case.
                                                                    negligence per se.” Wagner v. Anzon, Inc., 453 Pa.Super.
                                                                    619, 684 A.2d 570, 574 (1996). The plaintiff must show:
   4. Policy Considerations                                         (1) that the purpose of the statute is “at least in part, to
Trinity argues that “Ampco's actions threaten to circumvent         protect the interest of a group of individuals, as opposed to
the fundamental purposes of CERCLA, HSCA, and                       the public generally;” (2) that the statute clearly applies to
RCRA.” (ECF No. 212 at 9.) Trinity argues those statutes            the conduct of the defendant; (3) that the defendant violated
are meant to reach as far back into the past as necessary           the statute; and (4) that the violation was the proximate
to identify those responsible for the harm, and, therefore,         cause of the plaintiff's injuries. 684 A.2d at 574.
Ampco should be held responsible for the alleged harm in
                                                                  Id.
this case. Trinity's argument lacks merit, however, because
based upon the foregoing discussion, Ampco is not directly
                                                                  Here, Trinity argues Ampco was negligent because it
responsible or derivatively responsible for the harm caused at
                                                                  violated the HSCA. In other words, the HSCA establishes
the North Plant. Piercing of the corporate veil is, therefore,
                                                                  the “duty” owed by Ampco, and the violation of that
not warranted in this case.
                                                                  provision constitutes a breach of Ampco's duty of care. See
                                                                  Keifer v. Reinhart Foodservices, LLC, Civ. Action Nos. 09–
   5. Conclusion                                                  1187, 09–1558, 2012 WL 368047, at *5 (W.D.Pa. Feb.1,
 *17 Based upon the foregoing discussion, Trinity failed          2012) (citing Cabiroy v. Scipione, 767 A.2d 1078, 1079
to show by clear and convincing evidence that Greenville          (Pa.Super.Ct.2001)). Summary judgment will be entered in
was an alter ego of Ampco. Ampco may have, among other            favor of Ampco with respect to Trinity's claims for negligence
things, retained oversight over Greenville, shared officers       per se because Ampco—based upon the foregoing discussion
and directors between the two corporations, and approved          —cannot be found to have violated the HSCA 10 as a matter
large expenditures for Greenville, but the evidence of record     of law. Trinity's negligence per se claim, therefore, fails as a
is insufficient for a reasonable jury to find an element of       matter of law because Trinity is unable to establish liability
injustice or fundamental unfairness in this case warranting       on the part of Ampco.
piercing of the corporate veil. Greenville—while an active
corporation—was never knowingly grossly undercapitalized          10
                                                                         See footnote 6 supra.
by Ampco or was insolvent. Greenlease had its own
employees, separate bank account number, and carried on its       Because Trinity cannot establish Ampco was either directly
responsibilities as an entity separate and apart from Ampco.      or derivatively liable for the harm alleged in this case,
There is no evidence of record to show Ampco knew about           a reasonable jury could not find Ampco responsible for



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contribution to Trintiy. United States v. Zarra, Civ. Action No.          VI. Conclusion
10–811, 2011 WL 3667313, at *4 (W.D.Pa. Aug.22, 2011)                   *18 For the reasons stated in this opinion and on the record
(“A claim for contribution based upon negligence is only               at the hearing on December 19, 2013, Ampco's motion for
proper when it arises between joint tortfeasors.”) (citing Nat'l       summary judgment (ECF No. 147) will be GRANTED, and
R.R. Passenger Corp. v. URS Corp., 528 F.Supp.2d 525, 531              Trinity's partial motion for summary judgment (ECF No. 151)
(E.D.Pa.2007). In other words, a reasonable jury could not             will be DENIED with respect to its claims against Ampco.
find Trinity and Ampco are joint tortfeasors with respect to the
North Plant. Under those circumstances, Trinity is not entitled        An appropriate order will be entered.
to contribution from Ampco as a matter of law. Summary
judgment will be entered in favor of Ampco with respect
to Trinity's claim for negligence per se and the request for           All Citations
contribution.
                                                                       Not Reported in F.Supp.3d, 2014 WL 1766083


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                                                                  M. Valdez (“Valdez”) has alleged sufficient facts to show that
                   2010 WL 4643272                                Cavalry Portfolio, CMS and NAFS violated portions of the
      Only the Westlaw citation is currently available.           Fair Debt Collection Practices Act and the Texas Fair Debt
               United States District Court,                      Practices Act. Valdez has also alleged sufficient facts to show
                       S.D. Texas,                                that Cavalry Portfolio violated the Fair Credit Reporting Act.
                 Brownsville Division.                            On the other hand, Valdez has—despite repeated amendments
                                                                  —failed to plead sufficient facts to show the intentional tort
        Jose VALDEZ & Josefina Valdez, Plaintiffs,                of unreasonable collection. Accordingly, for the reasons set
                          v.                                      forth below, it is recommended that the motions to dismiss be
               CAPITAL MANAGEMENT                                 GRANTED in part and DENIED in part.
             SERVICES, LP; et al., Defendants.
                                                                  I. Background
                  Civil Action No. B:09–246.
                               |
                                                                      A. Factual background 1
                        Nov. 16, 2010.
                                                                  1       In deciding a motion under 12(b)(6), the Court
Attorneys and Law Firms                                                   accepts “all well-pleaded facts as true” and views
                                                                          “those facts in the light most favorable to the
Ahmad Keshavarz, The Law Offices of Ahmad Keshavarz,
                                                                          plaintiff.” Sullivan v. Leor Energy, LLC, 600 F.3d
Brooklyn, NY, for Plaintiffs.
                                                                          542, 546 (5th Cir.2010). The factual background
David Clayton Sander, Scanlan Buckle & Young PC, Austin,                  is taken from the Plaintiffs' complaint with these
TX, Amy L. Mitchell, Mitchell and Duff, Richmond, TX,                     principles in mind.
Javier Gonzalez, Royston, Rayzor, Vickery & Williams,             In June 1999, Valdez's identity was stolen and the thief used
L.L.P., Brownsville, TX, for Defendants.                          Valdez's identity to finance the purchase of a mobile home.
                                                                  Dkt. No. 109, ¶ 14. The thief defaulted on the payments,
                                                                  leaving a debt of nearly $40,000. Id. Since 2002, Valdez has
          REPORT AND RECOMMENDATION                               been contacted by various debt collection agencies regarding
            OF THE MAGISTRATE JUDGE                               this debt, which is the basis for this lawsuit. Id.

RONALD G. MORGAN, United States Magistrate Judge.                 Conseco Financial, the original creditor, sold the account to
                                                                  Cavalry Investments. Dkt. No. 109, ¶ 18. The account was
 *1 Pending before the Magistrate Judge are the Motions to
                                                                  then transferred to Cavalry SPV II. Id. Cavalry Portfolio
Dismiss filed by Defendants Capital Management Services
                                                                  serviced the account on behalf of Cavalry SPV II. Dkt. No.
(“CMS”), CMS General Partner, LLC (“CMS General
                                                                  109, ¶ 21.
Partner”), and Travelers Casualty and Surety Company
of America (“Travelers”), Dkt. No. 81; as well as by
                                                                  Valdez asserts that, on October 31, 2002, he informed
Cavalry Portfolio Services (“Cavalry Portfolio”), Dkt. No.
86; International Fidelity Insurance Company (“International      Cavalry 2 that he was represented by counsel, but that Cavalry
Fidelity”), Dkt. No. 100; and Cavalry Investments, LLC and        continued to call “Mr. Valdez's family” to collect on the debt.
Cavalry SPV II, LLC, Dkt. No. 108. Also pending before            Dkt. No. 109, ¶ 27. Valdez also claims that, on January 16,
the Magistrate Judge is the joint motion to dismiss, filed        2003, he again informed Cavalry that he was represented
by the Plaintiffs and Defendants National Action Financial        by counsel, but that Cavalry “continued to call Mr. Valdez's
Services (“NAFS”) and Hartford Fire Insurance Company             home, Mr. Valdez's family and even third parties in an attempt
(“Hartford”). Dkt. No. 131. The final matter currently            to collect” the debt. Id.
pending before the Magistrate Judge is the notice of dismissal
of Josefina Valdez as a plaintiff from this case. Dkt. No. 139.   2       Valdez's complaint is based upon a theory of
                                                                          joint and several liability for Cavalry Investments,
At this stage of the proceedings, and under the standards                 Cavalry SPV II and Cavalry Portfolio. Dkt. No.
established by FED. R. CIV. P. Rule 12(b)(6), Plaintiff Jose              109, ¶ 24. Therefore, Valdez did not specify which



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        Cavalry entity he was communicating with. Any               In his complaint, Valdez asserts that, “on more than one
        references to “Cavalry” in the factual background           occasion in June 2008,” Cavalry—through CMS—pulled a
        are taken directly from the complaint.                      copy of Valdez's credit report to collect “a debt Mr. Valdez did
                                                                    not owe.” Dkt. No. 109, ¶ 35.
Valdez asserts that, through his attorney, he sent Cavalry
a “very detailed” identity theft affidavit, “[m]ultiple times
                                                                    Valdez further asserts that he sent Cavalry Portfolio and
in 2003.” Dkt. No. 109, ¶ 26. Valdez also alleges that, on
                                                                    CMS a letter, dated November 4, 2008, in which he provided
February 28, 2003, Cavalry received a letter from Valdez's
                                                                    written proof that the debt had been removed from Valdez's
attorney, explaining the “circumstances of the identity theft
                                                                    credit report following a fraud investigation. Dkt. No. 109,
affidavit.” This letter, by implication, again informed Cavalry
                                                                    ¶ 36. Despite this letter, “the debt collection activities would
that Valdez was represented by counsel. Dkt. No. 109, ¶
27. Valdez states that, on June 3, 2003, he sent Cavalry            not stop.” Id. Neither Cavalry nor CMS made a written
a “detailed police report” and documentation showing that           record of this dispute; nor did either send Valdez a written
the date of birth on the credit application was incorrect;          statement within 30 days of the dispute, admitting or denying
as well as documentation establishing that he was out of            the accuracy of the dispute, or stating that it did not have
                                                                    sufficient time to investigate the dispute. Id.
the state when the mortgage agreement was signed. Id. 3
Despite receiving the documentation showing identity theft,
                                                                    “Within one year of the filing of this lawsuit,” CMS returned
Valdez alleges that Cavalry took no steps to verify the
                                                                    the account to Cavalry without disclosing that Valdez made
report and continued to contact Valdez directly, rather than
                                                                    a written dispute of the debt or providing notice that Valdez
through his attorney. Dkt. No. 109, ¶ 30. On November
                                                                    was represented by counsel. Dkt. No. 109, ¶ 38.
11, 2003, Valdez's attorney mailed to Cavalry Portfolio the
identity theft affidavit, the police report, documentation that
                                                                    Valdez states that, on May 12, 2009, NAFS received the
the credit application incorrectly listed his date of birth and
                                                                    account from Cavalry. Dkt. No. 109, ¶ 39. Cavalry did not
documentation establishing that he was out of the state when
                                                                    inform NAFS that Valdez disputed the debt in writing or that
the mortgage agreement was signed. Dkt. No. 109, ¶ 28.
                                                                    Valdez was represented by counsel. Id. In the alternative,
                                                                    Valdez asserts that Cavalry did inform NAFS, but that NAFS
3       Valdez admits these alleged violations fall outside         “intentionally” ignored the information. Dkt. No. 109, ¶ 42.
        of the statute of limitations, but pleads them to
        show that Cavalry's violations were “done willfully         On May 14, 2009, Cavalry, through NAFS, obtained a copy
        and wantonly,” justifying punitive damages. Dkt.            of Valdez's credit report. Dkt. No. 109, ¶ 44. On June 4,
        No. 109, n. 3. The statute of limitations under the         2009, NAFS sent Valdez a collection letter, stating that it was
        Fair Debt Collection Practices Act is “one year             attempting to collect the debt on behalf of Cavalry Portfolio,
        from the date on which the violation occurs.” 15            who was listed as the “current creditor.” Dkt. No. 109, ¶ 40.
        U.S.C. § 1692k(d). The statute of limitations for
        the state claims is two years. TEX. CIV. PRAC.
        & REM.CODE § 16.003. Accordingly, any claims                   B. Procedural Background
        predating October 27, 2008—under the FDCPA—                 On October 26, 2009, Jose M. Valdez and Josefina Valdez
        or October 27, 2007—under state law—are barred              filed a complaint against CMS, Cavalry Portfolio Services,
        by the applicable statute of limitations.                   NAFS, CMS General Partner 4 , Travelers, RLI Insurance
 *2 Valdez maintains that Cavalry sent the account to CMS           Company, and Hartford. 5 Dkt. No. 1. On November 30,
“on or about June 14, 2008,” but did not disclose that Valdez       2009, Jose and Josefina Valdez dismissed their claim against
was represented by counsel or that he disputed the debt. Dkt.       RLI Insurance Company. Dkt. No. 4.
No. 109, ¶ 31. Valdez asserts that CMS then sent Valdez a
collection letter, dated July 8, 2008, rather than sending it to    4      No claims of independent wrong-doing are made
his attorney. Id. In the alternative, Valdez alleges that Cavalry          against CMS General Partner. Valdez has pled
did inform CMS—that Valdez was represented by counsel                      that there is a general partnership agreement
and that he disputed the debt—but, despite that knowledge,                 between CMS and CMS General Partner. Dkt.
CMS continued to contact Valdez directly. Dkt. No. 109, ¶ 33.              No. 109, p. 10, n. 1. Under both Delaware (state
                                                                           of incorporation) and Texas (forum state) law, a


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       general partner is liable to third parties for actions   to dismiss. Id. Instead, the defendants were afforded an
       taken by the partnership. 6 Del. C. § 17–403(b);         opportunity to supplement their motions and the plaintiff was
       6 Del. C. § 1515(2); TEX. BUS. ORG.CODE §                given an opportunity to respond to those supplements. Id.
       152.303–.304.                                            Cavalry Portfolio, Cavalry Investments and Cavalry SPV II
5                                                               (“the Cavalry companies”) and CMS availed themselves of
       No independent causes of action are alleged against      this opportunity. Dkt Nos. 122, 123. Valdez filed a response
       Travelers, Fidelity and Hartford; they are bonding       to those pleadings. Dkt. No. 126.
       companies employed by various co-defendants
       as required by Texas law. TEX. FIN.CODE §                In his second amended complaint, Valdez asserts that Cavalry
       392.101–102. The bonding companies are being             Portfolio, Cavalry SPV II, and Cavalry Investments “are
       sued in their capacity as sureties. TEX. FIN.CODE        jointly and severally liable for each other's actions acts [sic]
       § 392.102.                                               because they share a common control and management, and
On May 5, 2010, Jose and Josefina Valdez moved to amend         act as agents or assigns for one another.” Dkt. No. 109,
their complaint to add Cavalry SPV II, Cavalry Investments,     ¶ 15. In support of this claim, Valdez cites the collection
and International Fidelity as defendants. Dkt. No. 54. On       agreement between NAFS and Cavalry Portfolio, which was
May 11, 2010, the Court granted the motion to amend and         also signed on behalf of “Cavalry Portfolio Services, LLC,
dismissed the original complaint, as moot. Dkt. No. 70.         and any and all of its affiliates, subsidiaries, or related
                                                                business entities, including but not limited to Cavalry SPV I,
On May 25, 2010, Defendants NAFS and Hartford filed             LLC, Cavalry SPV II, LLC, and Cavalry Investments, LLC
a motion to dismiss pursuant to FED. R. CIV. P. 12(b)           (herein collectively referred to as ‘Client’).” Dkt. No. 109,
(6). Dkt. No. 80. That same day, Defendants CMS, CMS            ¶ 16. Based upon public records attached to the complaint,
General Partner, and Travelers filed a motion to dismiss,       Valdez “suggest[s]” that Cavalry Investments “manages and
pursuant to the same rule. Dkt. No. 83. On May 26, 2010,        controls” Cavalry SPV II and Cavalry Portfolio. Dkt. No. 109,
Defendant Cavalry Portfolio did the same, Dkt. No. 84; as       ¶ 17. 7
did International Fidelity, on June 24, 2010. Dkt. No. 100.
On July 19, 2010, Cavalry Investments and Cavalry SPV           7         Valdez has pled that Cavalry Investments, Cavalry
II did the same. Dkt. No. 108. In each of their motions,
                                                                          SPV II, Cavalry Portfolio, CMS, and CMS General
the defendants requested—in the alternative—a more definite
                                                                          Partner are corporations organized under the laws
statement pursuant to FED. R. CIV. P. 12(e).
                                                                          of Delaware. Dkt. No. 109, p. 2–5. Valdez has pled
                                                                          that NAFS is incorporated in Georgia. Id. at p. 4.
 *3 On July 28, 2010, Valdez 6 filed a second amended
complaint. Dkt. No. 109. Valdez claimed the right to file the   The Second Amended Complaint alleges that the Cavalry
second amended complaint as a matter of course, pursuant        companies, NAFS, and CMS violated 15 U.S.C. §§ 1692b-
to FED. R. CIV. P. 15, but—in the alternative—also sought       g, which are various provisions of the Fair Debt Collection
leave to file the amended complaint. Id. Because the second     Practices Act. Dkt. No. 109, ¶ 57. Valdez also alleges that the
amended complaint was more detailed than the previously         Defendants violated the Texas Debt Collection Practices Act,
filed complaints, and effectively served as a more definite     Tex. Fin.Code § 392.001, et seq. Dkt. No. 109, ¶ 64. Valdez
statement, the Court granted the motion for leave to file the   further alleges that the Defendants committed the common
second amended complaint. Dkt. No. 120.                         law tort of unreasonable debt collection. Dkt. No. 109, ¶
                                                                69. Valdez also claims that the Cavalry defendants—through
6                                                               CMS and NAFS—obtained Valdez's credit report, despite
       Josefina Valdez was dropped as a plaintiff in this       knowing that he did not owe the debt; thereby, violating the
       amended complaint. On November 10, 2010, the             Fair Credit Reporting Act. Dkt. No. 109, ¶ 83.
       parties filed a stipulation of dismissal of all claims
       by Josefina Valdez. Dkt. No. 109.                        On October 11, 2010, Valdez, NAFS, and Hartford filed a
Further, because the second amended complaint only added        joint motion to dismiss, with prejudice, the claims against
an additional theory of recovery based upon previously pled     those defendants—based upon a settlement agreement. Dkt.
facts and to “facilitate speedy resolution,” the Court did      No. 131. The motion stated that an unnamed party objected to
not require the defendants to re-file their pending motions     the dismissal. Id . On October 14, 2010, the Court ordered any



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party with an objection to the joint motion to dismiss to file
their objection no later than October 19, 2010. Dkt. No. 132.     III. Dismissal Standards
On October 19, 2010, CMS and CMS General Partner filed
                                                                     A. Motion to dismiss pursuant to FED. R. CIV. P.
their objection, which was procedural rather than substantive.
                                                                     12(b)(6)
Dkt. No. 136. CMS wanted NAFS to comply with outstanding
                                                                  “Motions to dismiss under Rule 12(b)(6) are rarely granted
discovery requests before they were dismissed from the case.
                                                                  and generally disfavored.” Rodriguez v. Rutter, 310 Fed.
Id. On October 20, 2010, the Court informed the parties that it
                                                                  Appx. 623, 626 (5th Cir.2009) (unpubl.) (citing Collins
would hold NAFS's motion to dismiss in abeyance until CMS
                                                                  v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th
filed “an affirmative representation” that NAFS had complied
                                                                  Cir.2000)). Nevertheless, dismissal under Rule 12(b)(6) is
with all outstanding discovery requests. Dkt. No. 137. On
                                                                  appropriate when the plaintiff has failed to allege “enough
November 1, 2010, CMS filed that affirmative representation.
                                                                  facts to state a claim to relief that is plausible on its face' and
Dkt. No. 138. Thus, the joint motion to dismiss NAFS and
                                                                  fails to ‘raise a right to relief above the speculative level.’ ”
Hartford, as defendants, is unopposed.
                                                                  Nationwide Bi–Weekly Admin., Inc. v. Belo Corp., 512 F.3d
                                                                  137, 140 (5th Cir.2007) (quoting Bell Atl. Corp. v. Twombly,
II. Jurisdiction                                                  550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). The
 *4 As identified above, Valdez asserts claims under the Fair     Supreme Court has further defined the Twombly standard,
Debt Collection Practices Act (“FDCPA”), the Fair Credit          explaining that “[t]o survive a motion to dismiss, a complaint
Reporting Act (“FCRA”), the Texas Debt Collection Practices       must contain sufficient factual matter, accepted as true, to
Act (“TDCPA”), and Texas tort law. Dkt. No. 109. The Court        ‘state a claim to relief that is plausible on its face.’ “ Ashcroft
has jurisdiction over the FDCPA and FCRA claims pursuant          v. Iqbal, ––– U.S. ––––, ––––, 129 S.Ct. 1937, 1949, 173
to 28 U.S.C. § 1331 because they arise under federal law.         L.Ed.2d 868 (2009) (quoting Twombly, 550 U.S. at 570).


The Court must exercise supplemental jurisdiction over state      “A claim has facial plausibility when the plaintiff pleads
law claims “that are so related to claims in the action within    factual content that allows the court to draw the reasonable
such original jurisdiction that they form part of the same case   inference that the defendant is liable for the misconduct
or controversy.” 28 U.S.C. § 1367(a). Section 1367(a) has         alleged.” Id. It follows that, “where the well-pleaded facts do
been described as mandatory in nature. Certain Underwriters       not permit the court to infer more than the mere possibility
at Lloyd's, London et. al. v. Warrantech Corp., 461 F.3d 568,     of misconduct, the complaint has alleged—but it has not
578 (5th Cir.2006). The reasons for declining supplemental        ‘show[n]’—‘that the pleader is entitled to relief.’ ” Id. at 1950
jurisdiction over related state law claims are found in 28        (quoting FED. R. CIV. P. 8(a)(2)).

U.S.C. § 1367(c). 8 None of the listed reasons apply here.
                                                                  Generally, if evidence outside of the pleadings is considered
Supplemental jurisdiction extends to parties against whom
                                                                  in ruling on a motion to dismiss, the matter must be converted
solely state law claims are alleged. 28 U.S.C. § 1367(a)
                                                                  into a motion for summary judgment. FED. R. CIV. P.
(“Such supplemental jurisdiction shall include claims that
                                                                  12(d). “However, if the complaint refers to the document,
involve the joinder or intervention of additional parties.”).
                                                                  the document is central to the Plaintiff's case and no party
                                                                  questions its authenticity[,] the Court may consider it without
8      “The district courts may decline to exercise               the need of converting the Motion to Dismiss to a Motion
       supplemental jurisdiction over a claim under               for Summary Judgment.” Hensley v. Livingston, Civil Action
       subsection (a) if (1) the claim raises a novel             No. G–07–123, 2007 WL 4528063, *1, n. 1 (S.D.Tex.2007)
       or complex issue of State law[;] (2) the claim             (citing Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir.1994));
       substantially predominates over the claim or               see Clorox Co. Puerto Rico v. Proctor & Gamble, 228 F.3d
       claims over which the district court has original          24, 32 (1st Cir.2000) (“Were the rule otherwise, a plaintiff
       jurisdiction[;] (3) the district court has dismissed       could maintain a claim ... by excising an isolated statement
       all claims over which it has original jurisdiction,        from a document and importing it into the complaint....”)
       or (4) in exceptional circumstances, there are other       (citing Shaw v. Digital Equip. Corp., 82 F.3d 1194, 1220 (1st
       compelling reasons for declining jurisdiction.” 28         Cir.1996)).
       U.S.C. § 1367(c).




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 *5 In this case, various documents relating to the               The stated purpose of the Fair Credit Reporting Act
ownership and control of the Cavalry entities are referenced      (“FCRA”) is “to require that consumer reporting agencies
in the complaint; are central to Plaintiff's case; and no         adopt reasonable procedures for meeting the needs of
party questions their authenticity—only their relevance and       commerce for consumer credit ... in a manner which is fair
meaning. Additionally, Plaintiff has referenced the contracts     and equitable to the consumer ... in accordance with the
between various Defendants to prove the relationships             requirements of this subchapter.” 15 U.S.C. § 1681(b). The
between the various Cavalry entities. Again, the contracts        FCRA also creates a private cause of action for consumers.
are part of the record; are central to Plaintiff's case; and      15 USC § 1681n.
no party questions their authenticity. As such, each may
be considered without converting the motion into one for
summary judgment.                                                    C. Texas Debt Collection Practices Act
                                                                  The Texas Debt Collection Practices Act (“TDCPA”) permits
                                                                  a consumer to sue for threats, coercion, harassment, abuse,
   B. Motion to Dismiss pursuant to FED. R. CIV. P.               unconscionable collection methods, or misrepresentations
   41(a)(2)                                                       made in connection with the collection of a debt. TEX.
“Except as provided in Rule 41(a)(1), an action may be            FIN.CODE ANN. § 392.001, et seq. A prevailing plaintiff
dismissed at the plaintiff's request only by court order, on      may recover actual damages, attorneys' fees, and at least $100
terms that the court considers proper.” FED. R. CIV. P. 41(a)     for each violation. Id. at § 392.403.
(2). Motions for voluntary dismissal should be freely granted,
absent some “plain legal prejudice” to a non-moving party.
Elbaor v. Tripath Imaging, Inc., 279 F.3d 314, 317 (5th             D. Unreasonable Debt Collection
Cir.2002).                                                         *6 Under Texas common law, unreasonable collection is
                                                                  an intentional tort. EMC Mortgage Corp. v. Jones, 252
                                                                  S.W.3d 857, 868 (Tex.App.-Dallas 2008); Pullins v. Credit
IV. Applicable Law                                                Exchange of Dallas, Inc., 538 S.W.2d 681 (Tex.Civ.App.-
                                                                  Waco 1976, writ refused n.r.e.) (“contributory negligence
   A. Fair Debt Collection Practices Act                          is not a defense”). Unreasonable is measured by the
The Fair Debt Collection Practices Act (“FDCPA”) was              common meaning of the word. EMC, 252 S.W.3d at 869
written to “eliminate abusive debt collection practices by        (defining unreasonable as “exceeding the bounds of reason or
debt collectors.” 15 U.S.C. § 1692(e). The FDCPA sets out         moderation.”).
which parties qualify as debt collectors and regulates their
collection activities to prevent “abusive” practices. 15 U.S.C.   Conduct amounting to unreasonable collection varies by case.
§ 1692, et seq. The FDCPA permits individual consumers            Carlson v. Trans Union, LLC., No. 3:02–CV–2654–H, 2003
to seek damages in federal court. 15 U .S.C. § 1692k.             WL 21750706 at *3 (N.D.Tex. July 22, 2003). In every
“[I]n determining whether a violation of the FDCPA has            case though, the predicate acts must be “willful, wanton
occurred, the debt collector's representations, notices[,] and    and malicious and intended to inflict mental anguish and
communications to the consumer must be viewed objectively         result in bodily harm.” Mitchell v. Chase Home Finance LLC,
from the standpoint of the ‘least sophisticated consumer.’        No. 3:06–CV–2099–K, 2008 WL 623395 at *6 (N.D.Tex.
“ Taylor v. Perrin, Landry, deLaunay & Durand, 103                March 4, 2008) (citing Connell v. Rosales, 419 S.W.2d 673,
F.3d 1232, 1236 (5th Cir.1997). The “least sophisticated          676 (Tex.Civ.App.-Texarkana 1967)); Montgomery Ward &
consumer standard ... serves the dual purpose of protecting       Co. v. Brewer, 416 S.W.2d 837, 844 (Tex.Civ.App.-Waco
all consumers, including the inexperienced, the untrained[,]      1967, writ refused n.r.e.). “Exemplary damages may be
and the credulous, from deceptive debt collection practices       properly awarded for a violation of the common law tort of
and protecting debt collectors against liability for bizarre      unreasonable collection.” EMC, 252 S.W.3d at 873.
or idiosyncratic consumer interpretations of collection
materials.” Id.                                                   Generally speaking, however, “mental anguish alone is
                                                                  insufficient to sustain a recovery of damages, at common law,
                                                                  for unreasonable collection efforts.” Naranjo v. Universal Sur.
  B. Fair Credit Reporting Act
                                                                  of America, 679 F.Supp.2d 787, 802 (S.D.Tex.2010) (citing
                                                                  McDonald v. Bennett, 674 F.2d 1080, 1088 (5th Cir.1982)).


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                                                                   other defendants and each, accordingly, is liable for the acts
                                                                   of the other. Thus, the question is whether Valdez has pled
V. Analysis                                                        sufficient facts to establish that, despite the different corporate
                                                                   entities, the corporate forms should be ignored. Each theory
  A. Joint and Several Liability for Cavalry Companies
                                                                   is addressed in turn.
Without citing any authority, Valdez asserts that, because
Cavalry Portfolio, Cavalry SPV II, and Cavalry Investments
“share a common control and management, and act as agents             1. Alter Ego Theory
or assigns for one another[,]” they are to be held jointly         When a parent company “totally dominates and controls its
and severally liable for their actions. Dkt. No. 109, ¶ 15.        subsidiary,” the subsidiary is considered to be the “alter ego”
As evidence of common control, et cetera, Valdez cites the         of the parent. Jon–T Chemicals, 768 F.2d at 691. When this
collection agreement between NAFS and Cavalry Portfolio,           occurs, “the district court, acting in its equitable capacity, is
which was signed on behalf of “Cavalry Portfolio Services,         entitled to pierce the corporate veil.” Id. “In lieu of articulating
LLC, and any and all of its affiliates, subsidiaries, or related   a coherent doctrinal basis for the alter ego theory,” the Fifth
business entities, including but not limited to Cavalry SPV I,     Circuit has “developed a laundry list of factors to be used in
LLC, Cavalry SPV II, LLC, and Cavalry Investments, LLC             determining” if the alter ego exception is applicable. Id.
(herein collectively referred to as ‘Client’).” Dkt. No. 109, ¶
16. In the collection agreement between CMS and Cavalry            The twelve factors include whether the parent and subsidiary
Investments, Cavalry Portfolio is added as an assignee for         have common directors or officers; the subsidiary operates
Cavalry Investments. Dkt. No. 109, ¶ 16.                           with grossly inadequate capital; the subsidiary only receives
                                                                   business from the parent; and the subsidiary does not observe
Valdez also points to public records, filed with the Texas         basic corporate formalities. Id. at 692. The only factor pled by
Secretary of State and the North Carolina Secretary of State,
                                                                   Valdez is common directors and officers. 10 The decisional
to show that the Cavalry entities share a common control and
                                                                   law in this circuit, however, makes it “clear that one-hundred
ownership. Dkt. No. 109, ¶ 17. Valdez also introduces records
                                                                   percent [commonality of] ownership and identity of directors
from the Cavalry Investments website, which lists Cavalry
                                                                   and officers are, even together, an insufficient basis for
Portfolio, Cavalry SPV I, and Cavalry SPV II as affiliates.
                                                                   applying the alter ego theory to pierce the corporate veil.” Id.
Dkt. No. 109, ¶ 19.
                                                                   at 691. Yet, this appears to be Valdez's sole basis for applying
                                                                   the alter ego theory amongst the various Cavalry entities.
The plain import of Valdez's argument is that, because of
the common ownership and control—as well as the fact that
                                                                   10
the entities act as agents and assigns for each other—the                  A subsidiary that is wholly owned by a parent
corporate form should be disregarded for purposes of liability.            corporation is rather obviously going to have a
The Fifth Circuit has made it clear that the doctrine of limited           common control—both companies are owned and
liability, which respects the corporate form, is to be the norm.           managed by the same people. In that situation,
U.S. v. Jon–T Chemicals, Inc., 768 F.2d 686, 691–92 (5th                   “operating the subsidiary independently of the
Cir.1985). 9 There are exceptions to this rule. Id.                        parent company not only has little practical
                                                                           meaning, it would also constitute a breach both
9                                                                          of the subsidiary's duty to further the interests of
       Jon–T Chemicals was before the Fifth Circuit                        its owner, and of the directors' and officers' duty
       under federal question jurisdiction. “Our non-                      towards the parent company.” Jon–T Chemicals,
       diversity alter ego cases have rarely stated whether                768 F.2d at 691. However, this commonality of
       they were applying a federal or state standard, and                 interests does not mean the corporate form is to be
       have cited federal and state cases interchangeably.”                disregarded. Id.
       Jon–T Chemicals, 768 F.2d at 690, n. 6.
                                                                   None of the other factors, supporting an alter ego, have been
 *7 Three possible theories, that would support disregarding       pled by Valdez. Thus, as a matter of law, Valdez has failed to
the corporate forms, are raised by Valdez's pleadings. The first   plead sufficient facts to show that the alter ego theory should
is that the defendants were acting as each others' alter ego.      be applied in this case.
The second is that the defendants operated as a joint venture.
The third is that each of the defendants were agents of the


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                                                                   established if any one of the four elements is not present.”
   2. Joint Venture                                                Swinehart v. Stubbeman, 48 S.W.3d 865, 879 (Tex.App.-
Valdez also asserts that the Cavalry companies “are in a           Houston [14th Dist.] 2001, pet. denied).
joint venture to collect alleged debts.” Dkt. No. 109, ¶
15. Affording Valdez the benefit of the doubt, the Court           Thus, Texas, the forum state, and Delaware, the state of
understands the claim to be a joint venture, as a legal entity;    formation, use similar tests to determine whether a joint
rather than generally as a common undertaking. Because the         venture exists. Despite this similarity, Valdez has pled no facts
latter is not a basis for piercing the corporate veil, the Court   to show any of the elements of joint venture under either test.
will focus upon the former. In resolving this issue, the initial   Therefore, Valdez cannot sustain a theory of joint venture
inquiry is which jurisdiction's substantive law applies.           to hold the Cavalry companies jointly and severally liable
                                                                   for each others' actions. Simply undertaking a single effort
Federal courts apply state substantive law “to any issue           does not make the participants a “joint venture,” warranting
or claim which has its source in state law.” Camacho v.            disregard of the distinct corporate entities involved in the
Texas Workforce Com'n, 445 F.3d 407, 409 (5th Cir.2006). 11        effort.
“There is no federal general common law,” Erie R. Co. v.
Tompkins, 304 U.S. 64, 78, 58 S.Ct. 817, 82 L.Ed. 1188
(1938). More specifically, there is no federal law regarding         3. Agency Theory
joint ventures. Therefore, the Court determines the existence      The third possible theory alleged by Valdez for seeking joint
of a joint venture according to state law. The initial question    and several liability against the Cavalry entities is that of
is which state's law should be applied.                            agency. Valdez also asserts that CMS and NAFS acted as
                                                                   agents of the Cavalry companies; thus making the Cavalry
11                                                                 entities liable for the acts of CMS and NAFS.
       This rule applies regardless of whether the case
       comes to the Court on diversity jurisdiction or
       federal question jurisdiction. Camacho, 445 F.3d               a. Cavalry companies
       409, n. 1.                                                  Valdez asserts that because the Cavalry companies “act as
 *8 “Texas choice of law rules follow the ‘internal affairs        agents or assigns for one another” they may be held jointly
doctrine,’ so that the laws of the state of formation govern       and severally liable. There is no federal law of agency. Again,
the internal affairs of an entity.” (In re Parkcentral Global      the Court must turn to state law to resolve the issue of agency.
Litigation, 2010 WL 3119403, *4 (N.D.Tex. August 5, 2010)          Again, the threshold issue is which state's law to apply.
(citing TEX. BUS. ORGS.CODE ANN. § § 1.102, 1.105). As
previously noted, all of the Cavalry entities were formed in       In determining which state law applies, the Court must
Delaware. Dkt. No. 109, p. 2–5.                                    consider the conflict of law principles of the forum state and
                                                                   the federal common law of conflicts. F.D.I.C. v. Massingill,
Under Delaware law, the elements of a joint venture are: “1)       24 F.3d 768, 775 (5th Cir.1994). Both lead to the same
a community of interest in the performance of a common             conclusion. Texas law and the federal common law of
purpose, 2) joint control or right of control, 3) a joint          conflicts rely upon the Restatement (Second) of Conflict
proprietary interest in the subject matter, 4) a right to share    of Laws. Gutierrez v. Collins, 583 S.W.2d 312, 318–19
in the profits, and 5) a duty to share in the losses which         (Tex.1979); Grand Isle Shipyard, Inc. v. Seacor Marine, LLC,
may be sustained.” Haley v. Talcott, 864 A.2d 86, 95,              589 F.3d 778, 809, n. 39 (5th Cir.2009).
n. 22 (Del.Ch.2004) (unpubl.) (citing Warren v. Goldinger
Brothers, Inc., 414 A.2d 507, 509 (Del.1980)). All of these         *9 The Restatement (Second) provides “[t]he rights and
elements “must” be present. Warren, 414 A.2d at 509.               duties of a principal and agent toward each other are
                                                                   determined by the local law of the state which, with respect
The test for joint venture is not substantially different under    to the particular issue, has the most significant relationship
Texas law. Texas law requires: “(1) a community of interest in     to the parties and the transaction....” Restatement (Second)
the venture; (2) an agreement to share profits; (3) an express     of Conflict of Laws § 291 (1971). The state that best fits
agreement to share losses; and (4) a mutual right of control or    this test is Texas. The transaction at issue is an attempt by
management of the venture.” Arthur v. Grimmett, 319 S.W.3d         various entities to collect a debt from Valdez. The defendants
711, 721 (Tex. Ct.App.-El Paso 2009). “A joint venture is not      were communicating with a Texas citizen regarding a debt


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that was incurred in Texas—regardless of the identity of who
actually incurred the debt. By attempting to collect this debt,
the defendants were doing business in Texas. The nexus of             b. CMS and NAFS
this transaction was centered in Texas and Texas law applies.      Based upon the pleadings, it further appears that nearly all
                                                                   of the defendants have a relationship with each other. It is
Under Texas law, “[a] principal is liable for the acts of its      clear that CMS contracted with both Cavalry Investments
agent when the agent has actual or apparent authority to do        and Cavalry Portfolio Services 13 to collect unpaid accounts
those acts or when the principal ratifies those acts.” Spring      on behalf of those Cavalry companies. Dkt. No. 128. It is
Garden 79U, Inc. v. Stewart Title Co., 874 S.W.2d 945, 948         equally clear that NAFS contracted with Cavalry Portfolio
(Tex.App. Houston [1st Dist.] 1994). Actual authority, “which      Services, Cavalry SPV II, and Cavalry Investments to collect
includes both express and implied authority, usually denotes       unpaid accounts on behalf of those companies. Dkt. No. 129.
that authority a principal 1) intentionally confers upon an        Thus, according to the factual allegations contained in the
agent, 2) intentionally allows the agent to believe that he        complaint, the Cavalry companies entered into a contractual
possesses, or 3) allows the agent to believe that he possesses     agreement to have NAFS collect unpaid accounts on their
by want of due care.” Id. Generally, in Texas, the doctrine of     behalf; the exact duty that is the basis for this lawsuit.
vicarious liability, or respondeat superior, makes a principal     Meanwhile, Cavalry Portfolio and Cavalry Investments
liable for the conduct of his employee or agent. Owens             entered into a contractual obligation to have CMS collect
v. McLeroy, Litzler, Rutherford, Bauer & Friday, P.C., 235         unpaid accounts on their behalf, again the subject of this
S.W.3d 388, 392 (Tex.App.-Texarkana 2007) (citing Minyard          litigation.
Food Stores v. Goodman, 80 S.W.3d 573, 578 (Tex.2002)). 12
                                                                   13     Cavalry Portfolio was added as an assignee to the
12                                                                        contract. Dkt. No. 128, p. 13.
       Courts interchangeably use the terms “vicariously
       liable” and “jointly and severally liable” to express        *10 While the Fifth Circuit has not addressed the question,
       the same idea. Vestal v. Wright, 2009 WL 2751020,           the Third and Ninth Circuits have concluded that “an entity
       *6, n. 23 (Tex.App.-Fort Worth 2009) (unpubl.)              which itself meets the definition of “debt collector” may
       (citing In re Enron Corp. Securities, Derivative &          be held vicariously liable for unlawful collection activities
       ERISA Litigation, 623 F.Supp.2d 798, 834, n. 33             carried out by another on its behalf.” Pollice v. National
       (S.D.Tex.2009))                                             Tax Funding, L.P., 225 F.3d 379, 404 (3d Cir.2000); Fox
Valdez alleges that Cavalry Investments purchased the debt         v. Citicorp Credit Services, Inc., 15 F.3d 1507, 1516 (9th
and “transferred” the debt to Cavalry SPV II, who in turn          Cir.1994). The rule makes sense and, for purposes of Rule
retained Cavalry Portfolio to service the debt. Dkt. No.           12(b)(6), Valdez has pled sufficient facts to sustain a theory
109, ¶ 17. While Valdez does not specifically define what          that holds all of the Cavalry companies liable for its own
“transferred” means in this context, the Court will construe       actions as well as actions taken by NAFS on behalf of
it in “the light most favorable to the plaintiffs.” Dorsey v.      the Cavalry companies. 14 Cavalry Portfolio and Cavalry
Portfolio Equities, Inc., 540 F.3d 333, 338 (5th Cir.2008).        Investments may be held liable for any actions taken by CMS
                                                                   on their behalf.
Accepting the allegations as true, Valdez claims that Cavalry
Investments retained ownership of the debt, transferred the        14     While NAFS and Valdez have reached a settlement
debt for purposes of servicing to Cavalry SPV II, who in                  of their dispute and request dismissal of Valdez's
turn transferred the debt for purposes of servicing to Cavalry            claim against NAFS, that settlement does not
Portfolio. Based solely upon the pleadings, it appears that               necessarily affect any claims of vicarious liability
Cavalry Investments owns the debt and has created an agency               against a Cavalry company for actions taken
relationship with Cavalry SPV II for purposes of servicing                by NAFS. Under Texas law, a release of one
the debt. It also appears, based solely upon the pleadings, that          party does not automatically release one who
Cavalry SPV II created an agency relationship with Cavalry                is vicariously liable for the dismissed party's
Portfolio for purposes of servicing the debt. At this stage,              conduct. Wasson v. Stracener, 786 S.W.2d 414, 416
Valdez has pled sufficient factual information to show an                 (Tex.Ct.App.1990).
agency relationship between the Cavalry companies.



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                                                                     15     Valdez also asserts that Cavalry called Valdez's
   B. FDCPA Claims
                                                                            home, family and third parties between October
Valdez further alleges that various acts by Cavalry Portfolio,
                                                                            31, 2002 and October 31, 2003. Dkt. No. 109,
Cavalry Investments, Cavalry SPV II, CMS and NAFS
                                                                            ¶ 27. This conduct, however, is beyond the
violated the Fair Debt Collection Practices Act. Valdez alleges
                                                                            FDCPA's one-year statute of limitations. 15 U.S.C.
that those defendants violated 15 U.S.C. 1692b through
                                                                            § 1692k(d).
1692g. Dkt. No. 109, ¶ 57.
                                                                      *11 As to the Cavalry companies, Valdez has stated a claim
                                                                     upon which relief can be granted. As a general matter, a
   1. Definitions                                                    principal is responsible for the acts of its agent. Nahm v. J.R.
The FDCPA defines which persons, companies, and debts are            Fleming & Co., 116 S.W.2d 1174, 1176 (Tex.Civ.App.1938).
subject to its provisions. 15 U.S.C. § 1692a. Valdez has pled        Here, Valdez alleges that the Cavalry companies—through
sufficient facts to show that this case falls within the ambit       the actions of NAFS and CMS—communicated with “any
of the FDCPA. He has shown that he is a “consumer”—“any              person” other than Valdez's attorney to obtain location
natural person obligated or allegedly obligated to pay any           information. Moreover, this communication occurred despite
debt”—as defined by the FDCPA. 15 U.S.C. § 1692a(3).                 Cavalry's knowledge of Valdez's representation by counsel.
Valdez has also alleged sufficient facts to show that the debt       Thus, as alleged, a claim is stated against Cavalry.
at issue—which is for the purchase of a mobile home—is one
for the purchase of a good “primarily for personal, family,          As to CMS, Valdez has alleged that Cavalry did not inform
or household purposes” and qualifies as a debt under the             CMS that Valdez was represented by counsel, an allegation
FDCPA. 15 U.S.C. § 1692a(5). Finally, § 1692a defines a              that CMS “concurs with.” Dkt. No. 109, ¶ 31; Dkt. No. 104,
debt collector as “any person who uses any instrumentality of
                                                                     p. 16. In the alternative, 16 Valdez has pled that Cavalry did
interstate commerce or the mails in any business the principal
                                                                     inform CMS, that Valdez was represented by counsel, and that
purpose of which is the collection of any debts, or who
                                                                     CMS ignored that information. Dkt. No. 109, ¶ 33.
regularly collects or attempts to collect, directly or indirectly,
debts owed or due or asserted to be owed or due another.” 15
                                                                     16
U.S.C. 1692a(6). Again, Valdez has alleged sufficient facts                 “If a party makes alternative statements, the
to show that Cavalry Portfolio, Cavalry Investments, Cavalry                pleading is sufficient if any one of them
SPV II, CMS and NAFS are debt collectors pursuant to the                    is sufficient.” FED. R. CIV. P. 8(d)(2). It
statute.                                                                    is not necessary for Valdez to know the
                                                                            exact communications at this stage. See Deston
                                                                            Therapeutics LLC v. Trigen Laboratories Inc.,
   2. 15 U.S.C. § 1692b                                                     Civil No. 09–809, 2010 WL 2773317, *7,
Valdez alleges that the Defendants violated 15 U.S.C.                       (D.Del.2010) (holding that one well-pled factual
§ 1692b, which regulates communications between debt                        allegation permitted the alternative pleading
collectors and persons other than the consumer solely for                   pursuant to FED. R. CIV. P. 8(d)(2)).
the purposes of acquiring location-identifying information.
                                                                     Under the alternative pleading—that CMS knew Valdez was
Pursuant to this section, if the debt collector knows that the
                                                                     represented by counsel—Valdez has pled sufficient facts to
consumer is represented by an attorney, the debt collector
                                                                     state a claim upon which relief can be granted. Assuming the
shall “not communicate with any person other than that
                                                                     facts to be true, CMS knew Valdez was represented by counsel
attorney.” 15 U.S.C. § 1692b(6). Valdez's only timely factual
                                                                     and communicated with the credit bureau to acquire location-
pleading 15 is that CMS and NAFS—after knowing that                  identifying information. This conduct violated § 1692b(6)
Valdez was represented by counsel—communicated with a                and states a claim that is not subject to dismissal under the
credit reporting agency seeking location information about           applicable standard.
Valdez. Dkt. No. 109, ¶ 35, 44. Further, Valdez maintains
that this act was carried out by CMS and NAFS on behalf of           The alternative pleading analysis regarding CMS is equally
Cavalry.                                                             true for the allegations against NAFS. Valdez has also alleged
                                                                     —under the alternative pleading—that NAFS knew Valdez
                                                                     was represented by counsel, but, despite this knowledge,
                                                                     contacted someone other than that attorney. Valdez has


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alleged sufficient facts to overcome the motion to dismiss, for   conduct by any Defendant. See McGinnis v. Dodeka, LLC,
which reason it should be denied, as to this claim.               No. 4:09cv334, 2010 WL 1856450 (E.D.Tex.2010) (unpubl.)
                                                                  (dismissing a § 1692d claim under a Rule 12(b)(6) standard
                                                                  when the conduct pled was “misleading” and “unfair,” but
   3. 15 U.S.C. § 1692c                                           was not abusive or harassing). In short, despite repeated
Valdez also alleges that Defendants violated 15 U.S.C. §          opportunities, Valdez has alleged no facts showing such
1692c. Dkt. No. 109, ¶ 57. Under this provision, after a          conduct. Accordingly, the FDCPA claims pursuant to § 1692d
debt collector knows that the consumer is represented by an       should be dismissed for failing to state a claim.
attorney “with regard to the subject debt,” the debt collector
shall not “communicate with a consumer in connection with
the collection” of the debt. 15 U.S.C. § 1692c(a)(2).                5. 15 U.S.C. § 1692e
                                                                  Valdez also alleges that the Defendants violated 15 U.S.C. §
Valdez alleges that Cavalry Portfolio had known—since             1692e, which prohibits debt collectors from misrepresenting
October 2002—that Valdez was represented by counsel.              the status of the debt. Dkt. No. 109, ¶ 57. This section
Valdez further alleges that despite this knowledge, Cavalry       prohibits debt collectors from falsely representing the
Portfolio, through the acts of NAFS and CMS, continued to         “character, amount, or legal status of any debt.” 15 U.S.C. §
communicate directly with Valdez. Dkt. No. 109, ¶ 31, 40.         1692e(2)(A).
Valdez has alleged sufficient factual matter against Cavalry
Portfolio to survive a 12(b)(6) motion to dismiss this claim.     Several district courts have held that attempting to collect a
                                                                  debt from a person whom the debt collector knows does not
Valdez also alleges that CMS communicated directly with           owe the debt misrepresents the “character” or “legal status”
Valdez. Under the previously discussed alternative pleading,      of the debt and is actionable under 15 U.S.C. § 1692e(2)
Valdez alleges that CMS contacted Valdez—despite knowing          (A). Beattie v. D.M. Collections, Inc., 754 F.Supp. 383, 392
that Valdez was represented by counsel. Again, Valdez has         (D.Del.1991); Taylor v. Midland Credit Management, Inc.,
alleged sufficient facts to overcome a motion to dismiss for      2008 WL 544548, *4 (W.D.Mich.2008); Johnson v. Bullhead
failure to state a claim against CMS. Dkt. No. 109, ¶ 31.         Investments, LLC, 2010 WL 118274, *6 (M.D.N.C.2010).

Valdez alleges the same alternative theories for NAFS's           Valdez has alleged that Cavalry Portfolio continued to attempt
liability under 5 U.S.C. § 1692c(2). The analysis applicable      to collect the debt, through CMS and NAFS, despite knowing
to the claim against CMS applies equally to the claim against     that Valdez did not incur or owe the debt. Dkt. No. 109, ¶
NAFS. Thus, Valdez has stated sufficient facts to overcome        46. This action would, if true, misrepresent the “character” or
a motion to dismiss. Dkt. No. 109, ¶ 40. Accordingly, the         “legal status” of the debt. Valdez has stated a claim against
motion to dismiss as to this claim against NAFS should be         Cavalry Portfolio upon which relief can be granted.
denied as well.
                                                                  Valdez has alleged, under the alternative pleading, that
                                                                  Cavalry informed CMS that Valdez “had disputed the debt by
   4. 15 U.S.C. § 1692d                                           providing an identity theft affidavit and police report.” Dkt.
 *12 Valdez also alleges that all of the Defendants violated      No. 109, ¶ 33. Despite knowing that Valdez's identity was
15 U.S.C. § 1692d, which prohibits “any conduct the natural       stolen and that he did not incur or owe the debt, CMS sent a
consequence of which is to harass, oppress, or abuse any          collection letter to Valdez. Dkt. No. 109, ¶ 31. If true, the letter
person in connection with the collection of a debt.” Dkt.         would have misrepresented the “character” or “legal status”
No. 109, ¶ 57. While the statute specifically states that it      of the debt. Valdez has stated a claim against CMS upon which
is not an exhaustive list, the types of conduct prohibited        relief can be granted.
by § 1692d include: threats of violence; profane language;
threatening to publish a list of customers who refuse to pay      Valdez makes identical factual allegations regarding NAFS
debts; advertising sale of the debt as a means of coercion;       under the alternative pleading. Dkt. No. 109, ¶ 42. Under
and repeatedly and continuously calling a consumer. It is clear   this pleading, Valdez has alleged NAFS, despite knowing that
that the statute intends to prohibit conduct that is abusive,     Valdez did not incur or owe the debt, nevertheless attempted
regardless of the nature of the debt. Valdez has not pled         to collect the debt from him.
any evidence to show this type of abusive or harassing


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 *13 Each of the foregoing states a claim upon which relief       Valdez has failed to allege sufficient factual matter to show
can be granted against the named defendants and the motion        that any defendant violated its duties pursuant to 15 U.S.C. §
to dismiss should be denied as to each of these claims.           1692g. Valdez has not timely alleged that any defendant failed
                                                                  to include the information required by 15 U.S.C. § 1692g(a).
                                                                  Nor has Valdez alleged that he disputed the debt within the
   6. 15 U.S.C. § 1692f                                           30–day period described in 15 U.S.C. § 1692g(a), which
Valdez claims that the defendants violated 15 U.S.C. § 1692f,     would have created affirmative obligations for the defendants
which prohibits debt collectors from collecting any amount        under 15 U.S.C. § 1692g(b). Thus, as to this allegation, Valdez
“unless such amount is expressly authorized by the agreement      fails to plead sufficient facts to state a claim upon which
creating the debt or permitted by law.” Dkt. No. 109, ¶ 57.       relief can be granted and the corresponding motion to dismiss
Valdez asserts that, because the agreement was invalid due        should be granted.
to identity theft, the Defendants were attempting to collect a
debt under an invalid contract. This argument is not supported
by the language Valdez cites. Section 1692f is primarily            B. TDCPA Claims
concerned with preventing debt collectors from collecting          *14 Valdez alleges that various acts by Cavalry Portfolio,
charges greater than the sum that is owed. Beattie, 754 F.Supp.   Cavalry Investments, Cavalry SPV II, CMS, and NAFS
at 392 (citing S.Rep. 382 95th Cong., 1st Sess. 4 reprinted in    “violated Tex. Fin. C. § 392.001 et seq., the Texas debt
1977 U.S.Code Cong. & Admin. News 1695, 1698).                    collection act.” Dkt. No. 109, ¶ 64. Based upon the general
                                                                  nature of this pleading, if any of the actions of any Defendant
Valdez does not allege that the defendants were attempting        violated the Texas Debt Collection Practices Act (“TDCPA”),
to charge more than the putative contract allowed; rather,        Count II survives the motion to dismiss.
he disputes the validity of the contract. This does not state
a claim pursuant to § 1692f(1). Taylor v. Midland Credit
Management, Inc., 2008 WL 544548, * 4 (W.D.Mich.2008)                1. Definitions
( “Accordingly, where the amount being collected by the           The TDCPA defines which individuals, companies, and debts
collection agency was not different than the amount owed,         are within its coverage. TEX. FIN.CODE § 392.001. Valdez
§ 1692f(1) was inapplicable to the plaintiff's claim that the     has pled sufficient facts to show that this case falls within
collection agency was attempting to collect the debt from the     the ambit of the TDCPA. Under the TDCPA, a consumer is
wrong person”). Accordingly, Valdez does not state a claim        defined as “an individual who has a consumer debt.” TEX.
pursuant to § 1692f(1) against any defendant and the motion       FIN.CODE § 392.001(1). The debt at issue is alleged to be
to dismiss as to this claim should be granted.                    one “primarily for personal, family, or household purposes,”
                                                                  which comports with the definition of a consumer debt.
                                                                  TEX. FIN.CODE § 392.001(2). Finally, the TDCPA defines
   7. 15 U.S.C. § 1692g                                           a “third party debt collector” in the same terms used for “debt
Valdez further claims that Defendants violated 15 U.S.C. §        collector” in the FDCPA; as previously discussed, Cavalry
1692g, which creates procedures by which consumers can            Portfolio, Cavalry Investments, Cavalry SPV II, CMS and
dispute debts. Dkt. No. 109, ¶ 57. Section 1692g(a) requires      NAFS meet that definition.
that “[w]ithin five days after the initial communication with
a consumer in connection with the collection of any debt,”
the debt collector shall provide the consumer with certain           2. Cavalry Portfolio and CMS
information, including that he or she has a right to dispute      If a consumer disputes, in writing, the accuracy of an item in
the debt. 15 U.S.C. § 1692g(a) (emphasis added). Valdez           the file of a third party debt collector, there are affirmative
alleges that Cavalry Portfolio Services never provided the §      obligations placed upon the third party debt collector. TEX.
1692g(a) notices. Even assuming this to be true, the initial      FIN.CODE § 392.202(a). The third party debt collector (1)
communications between Cavalry Portfolio and Valdez took          shall make a record of the dispute; (2) if they do not report
place in 2002. Dkt. No. 109, ¶ 27. This failure is beyond         “information related to the dispute” to a credit bureau, the
the one-year statute of limitations for FDCPA violations. 15      third party debt collector must cease collection efforts until
U.S.C. § 1692k(e).                                                an investigation is completed; and, (3) within 30 days of
                                                                  the written notice from the consumer, the third party debt
                                                                  collector must send a written statement either admitting the



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inaccuracy, denying it, or stating it has not had sufficient time   is to “draw on its judicial experience and common sense.”
to complete its investigation. TEX. FIN.CODE § 392.202(a)-          Ashcroft v. Iqbal, –––U.S. ––––, ––––, 129 S.Ct. 1937, 1950,
(b). The TDCPA does not specify when the debt must be               173 L.Ed.2d 868 (2009).
disputed for these provisions to apply.
                                                                    Valdez does not allege that any of the defendants' actions
Valdez alleges that, on November 4, 2008, his counsel sent a        were abusive individually; for example, there are no claims
letter to Cavalry Portfolio and CMS disputing that he owed          of: repeated phone calls at odd hours; obscene language;
the debt. Dkt. No. 109, ¶ 36. Valdez alleges that Cavalry           threats of bodily harm; or, criminal prosecution. Rather,
Portfolio and CMS took none of the affirmative steps required       Valdez bases this claim upon the theory that the Cavalry
by TEX. FIN.CODE § 392.202(a)-(b). Therefore, Valdez has            companies continued to attempt to collect a disputed debt.
pled sufficient facts—if accepted as true—to survive a motion       Even accepted as true, the actions pled by Valdez are
to dismiss against Cavalry Portfolio and CMS and the motion         insufficient to state a plausible claim for unreasonable debt
to dismiss should be denied . 17                                    collection. In essence, Valdez argues a theory of liability
                                                                    arising out of the defendants' persistence. Mere persistence,
17                                                                  however, is insufficient to state a claim for unreasonable debt
        CMS alleges that because it did not report
                                                                    collection.
        the debt to a credit bureau and did not
        continue collection efforts, it complied with TEX.
                                                                    The Fifth Circuit has observed that the tort of unreasonable
        FIN.CODE § 392.202(a)-(b). However, the statute
                                                                    collection is intended to deter “outrageous collection
        also establishes an obligation to make a written
                                                                    techniques.” McDonald v. Bennett, 674 F.2d 1080, 1089, n. 8
        record of the dispute and, within 30 days, to report
                                                                    (5th Cir.1982). Among the techniques that have been found to
        to the consumer the findings of its investigation.
                                                                    sufficiently state a cause of action are: sending a large man to
        CMS does not argue that it complied with those
                                                                    the plaintiff's home, who “yelling and screaming, demanded
        affirmative responsibilities.
                                                                    the keys to the house, and told the [Plaintiff's] family to get
                                                                    out.” EMC Mortg. Corp. v. Jones, 252 S.W.3d at 864; falsely
   3. NAFS                                                          accusing the plaintiff of committing a crime to collect a debt,
The TDCPA prohibits a debt collector from “misrepresenting          Lloyd v. Myers, 586 S.W.2d 222, 227 (Tex.Civ.App.-Waco
the character, extent, or amount of a consumer debt.” TEX.          1979); sending a large man to the plaintiff's home, who stood
FIN.CODE § 392.304(8). This language tracks the language            over the plaintiff shouting, shaking his finger and calling him
of 15 U.S.C. § 1692e(2)(A). As previously discussed, under          a liar, Credit Plan Corp. of Houston v. Gentry, 516 S.W.2d
the theory that Cavalry informed NAFS that the debt was             471, 475 (Tex.Civ.App.-Houston [14th Dist.] 1974) (rev'd on
disputed, Valdez has pled sufficient facts to survive a motion      other grounds in Gentry v. Credit Plan Corp. of Houston,
to dismiss and the motion to dismiss this specific claim should     528 S.W.2d 571 (Tex.1975)); sending a representative to the
be denied. 18                                                       plaintiff's home, confronting and embarrassing the plaintiff's
                                                                    fiancee in front of social guests, Bank of North America
18                                                                  v. Bell, 493 S.W.2d 633, 635 (Tex.Civ.App.-Houston [14th
        Rather, than resolving the validity of each of
        Valdez's claims under FDCPA and TDCPA, as                   Dist.] 1973); calling the plaintiff five times in one night,
        would be the case with summary judgment, the                with the final call including a threat of personal violence,
        Court limits the discussion to the motions before it.       Pioneer Finance & Thrift Corp. v. Adams, 426 S.W.2d 317,
        If the complaint states a claim under a count, then         319 (Tex.Civ.App.-Eastland 1968).
        the motion to dismiss that count should be denied.
                                                                    By the same token, merely making mistakes, because the
                                                                    defendant is inefficient, is not enough to sustain a claim of
   C. Unreasonable Debt Collection
                                                                    unreasonable debt collection. Montgomery Ward & Co. v.
 *15 As discussed earlier, the Texas common law tort of
                                                                    Brewer, 416 S.W.2d 837, 844 (Tex.Civ.App.-Waco 1967).
unreasonable debt collection requires actions by the debt
                                                                    Moreover, attempting to collect a time-barred debt, by itself,
collector that are “willful, wanton and malicious and intended
                                                                    does not rise to the level of unreasonable debt collection.
to inflict mental anguish and result in bodily harm.” Connell v.
                                                                    Naranjo v. Universal Sur. of America, 679 F.Supp.2d 787,
Rosales, 419 S.W.2d 673, 676 (Tex.App.1967). To determine
                                                                    801 (S.D.Tex.2010). Thus, Valdez has not pled the type of
whether Valdez has pled a plausible case for relief, the Court


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outrageous collection techniques needed to sustain a claim of      either willfully or negligently obtained his credit report
unreasonable collection.                                           without having a legitimate business purpose for doing so.
                                                                   See Cappetta v. GC Services Ltd. Partnership, 654 F.Supp.2d
 *16 Furthermore, the statute of limitations for an intentional    453, 461 (E.D.Va.2009) (holding that a plaintiff may state a
tort in Texas is two years. TEX. CIV. PRAC. & REM.CODE             claim for relief under the FCRA when she pled facts to show
16.003(a). Within this limitations period, the only collections    that the defendant pulled her credit report despite knowing
actions pled by Valdez are that the Cavalry companies              she was not the account holder). Accordingly, the motion to
forwarded the account to CMS and NAFS; that both CMS and           dismiss this claim should be denied.
NAFS each sent one letter to Valdez; and that both CMS and
NAFS returned the account to the Cavalry companies. This
conduct does not rise to the level of an outrageous collection        E. Joint Motion to Dismiss
technique, irrespective of the age of the debt.                    NAFS, Hartford and Valdez have filed a joint motion to
                                                                   dismiss, pursuant to a confidential settlement agreement. Dkt.
Thus, even assuming outrageous conduct at some point during        No. 131. No party has lodged any substantive objections to
the collection process, none has been alleged within the           the motion to dismiss. Finding no reasons to deny the motion,
statute of limitations. This failure to plead, despite repeated    the Court recommends that it be granted.
amendments, clearly indicates that no such actions—and
certainly none within the statute of limitations period—have
                                                                      F. Dismissal of Josefina Valdez
been alleged and dismissal of this count is appropriate.
                                                                    *17 The parties have filed a stipulation which dismisses—
                                                                   with prejudice—all claims made by Josefina Valdez. Given
   D. Fair Credit Reporting Act                                    that the dismissal appears to be for good cause, the Court
The FCRA forbids using or obtaining a credit report unless         recommends that all claims by Josefina Valdez be dismissed
the report is obtained for a permissible purpose. 15 U.S.C.        with prejudice.
§ 1681b(f). Among the permissible purposes for obtaining
a credit report are “collection of an account” belonging to
                                                                   VI. Recommendation
the consumer, as well as “in connection with a business
                                                                   For the reasons stated above, the Court recommends that
transaction that is initiated by the consumer.” 15 U.S.C. §
                                                                   the motions to dismiss by CMS, CMS General Partner
1681b(a)(3)(A); (a)(3)(F)(I). The FCRA also creates civil
                                                                   and Travelers, Dkt. No. 81; Cavalry Portfolio, Dkt. No 86;
liability for those who violate its provisions. 15 U.S.C. §
                                                                   International Fidelity, Dkt. No. 100; Cavalry Investments and
1681n-o.
                                                                   Cavalry SPV II, Dkt. No. 108, be GRANTED in part and
                                                                   DENIED in part.
Valdez alleges that the Cavalry companies knew Valdez
did not owe the debt, based upon the dispute letters and
                                                                   Specifically, as to the Fair Debt Collection Practices Act, the
evidence sent by his attorney. Valdez also alleges that the
                                                                   motions to dismiss should be granted as to all defendants for
Cavalry companies forwarded the Valdez account to NAFS
                                                                   claims under 15 U.S.C. §§ 1692d, 1692f, and 1692g. The
and CMS, “knowing and intending” that those entities would
                                                                   motions to dismiss should be denied as to all defendants for
pull Valdez's credit report. Dkt. No. 109, ¶ 83.
                                                                   claims arising under 15 U.S.C. §§ 1692b, 1692c and 1692e.

Under the law of agency, a principal is responsible for the acts
                                                                   The motions to dismiss should be denied for all defendants
of its agent. Nahm, 116 S.W.2d at 1176. Valdez has alleged
                                                                   for claims under the Texas Debt Collection Practices Act.
that the Cavalry companies sent NAFS and CMS to do what
it knew (based upon its knowledge that the debt was invalid)
                                                                   The motions to dismiss should be granted as to all defendants
it could not do: pull Valdez's credit report. Valdez has alleged
                                                                   for claims of unreasonable debt collection.
sufficient facts to state a claim that—despite knowing that
the debt was not Valdez's—the Cavalry companies forwarded
                                                                   The motion to dismiss should be denied as to the Cavalry
the debt to their agents and knew that their agents, after
                                                                   companies for claims pursuant to the Fair Credit Reporting
receiving the information from Cavalry, would pull Valdez's
                                                                   Act.
credit report. Thus, assuming the truth of the assertions,
Valdez has alleged facts to show that the Cavalry companies


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                                                                 Honorable Andrew S. Hanen, United States District Judge.
The Court further RECOMMENDS that the joint motion to
                                                                 28 U.S.C. § 636(b)(1) (eff.Dec. 1, 2009). Failure to file
dismiss filed by NAFS, Hartford and Valdez be GRANTED.
Dkt. No. 131. Accordingly, all claims against NAFS and           objections timely shall bar the parties from a de novo
Hartford should be dismissed. This dismissal renders the         determination by the District Judge of an issue covered in
motion to dismiss filed by NAFS and Hartford, Dkt. No. 80,       the report and shall bar the parties from attacking on appeal
moot, for which reason it should be denied.                      factual findings accepted or adopted by the district court
                                                                 except upon grounds of plain error or manifest injustice. See
The Court further RECOMMENDS that Josefina Valdez be             § 636(b)(1); Thomas v. Arn, 474 U.S. 140, 149, 106 S.Ct. 466,
dismissed with prejudice as a plaintiff in this case.            88 L.Ed.2d 435 (1985); Douglass v. United Servs. Auto. Ass'n,
                                                                 79 F.3d 1415, 1428–29 (5th Cir.1996).

   A. Notice to Parties
                                                                 All Citations
The parties have fourteen (14) days from the date of being
served with a copy of this Report and Recommendation
                                                                 Not Reported in F.Supp.2d, 2010 WL 4643272
within which to file written objections, if any, with the

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                                                                Also before the Court is a Motion to Dismiss the plaintiff's
                    2010 WL 3488244                             claims on the following grounds: (1) the claims are
                United States District Court,                   defectively pled; (2) plaintiff alleges no antitrust injury and
                      E.D. Louisiana.                           therefore fails to state a claim; (3) plaintiff has not and can
                                                                not plead a relevant market, thereby precluding the assertion
             VAUGHN MEDICAL EQUIPMENT                           of the antitrust claims; (3) plaintiff's specific antitrust theories
                  REPAIR SERVICE, L.L.C.,                       fail as a matter of law; (4) the Noerr–Pennington doctrine
                               v.                               bars all antitrust claims; (5) the facts alleged do not support
                                                                plaintiff's civil rights claims; (6) plaintiff's state law claims
    JORDAN RESES SUPPLY COMPANY, Respironics,
                                                                are unsupported by the facts alleged. (Rec. Doc. 18–1 at
     Inc., a/k/a/ Philips Respironics, and Resmed. Corp.
                                                                4). The motions are before the Court on the briefs without
                 Civil Action No. 10–00124.                     oral argument. Having considered the memoranda of counsel,
                              |                                 the record, and the applicable law, the Court DENIES the
                       Aug. 26, 2010.                           defendants' 12(b)(3) motion to dismiss, but GRANTS the
                                                                defendants' 12(b)(6) motion to dismiss all claims for reasons
Attorneys and Law Firms                                         explained below. Because the Court grants the 12(b)(6)
                                                                motion to dismiss, it need not reach the motion to transfer,
Robert P. Wynne, Arnold & Itkin, LLP, Houston, TX, for          which is MOOT.
Plaintiff.

Donald Richard Abaunza, Kelly Titus Scalise, Liskow &
                                                                I. Plaintiff's Allegations 2
Lewis, Wayne J. Lee, Jennifer Borum Bechet, Stone, Pigman,
                                                                2
Walther, Wittmann, LLC, James M. Garner, Peter L. Hilbert,              The following section details the factual allegations
Jr., Sher, Garner, Cahill, Richter, Klein & Hilbert, LLC, New           made by the plaintiff, which are accepted as true
Orleans, LA, Brett Ackerman, Curtis L. Frisbie, Jr., Randy              solely for the purposes of ruling on the motions
D. Gordon, Gardere, Wynne & Sewell, LLP, Dallas, TX,                    before the Court.
Geoffrey H. Bracken, Jessica Glatzer Mason, Gardere, Wynne      Vaughn Medical Equipment Service, L.L.C. (“Vaughn
& Sewell, LLP, Timothy S. McConn, Andrews Kurth, LLP,           Medical” or “plaintiff”) contracted with defendants
Houston, TX, for Defendant.                                     Respironics, Inc. (“Respironics”) to purchase certain devices
                                                                used to treat sleep apnea known as continuous positive airway
R. Casey Low, Andrews Kurth, LLP, Austin, TX, Pro Hac,
                                                                pressure devices and related products (“CPAPs”). (Rec. Doc.
Vice.
                                                                14–1 at 2). Plaintiff later sought to expand their services
                                                                to provide CPAPs and related products to the United States
                                                                Department of Veteran Affairs (“VA”). (Rec. Doc. 4–2 at
                ORDER AND REASONS 1                             9). However, plaintiff's distribution rights for Respironics'
                                                                CPAPs and related products were limited by contract to
1       Geoffrey M. Sweeney, a student at the Loyola            patient-only. (Rec. Doc. 4–2 at 8). Although the VA and
        University of New Orleans College of Law,               Vaughn Medical mutually sought to establish a relationship,
        assisted in the preparation of this Order and           Respironics refused plaintiff's requests to provide a “Letter of
        Reasons.                                                Commitment,” which the VA required as a means to guarantee
                                                                an uninterrupted source of supply. (Rec. Doc. 4–2 at 9).
HELEN G. BERRIGAN, District Judge.                              After discussing the matter with the VA, a representative
                                                                of the plaintiff was informed that the necessary “Letter of
 *1 Before the Court is a Motion to Dismiss for improper        Commitment” could be obtained from a third-party vendor.
venue pursuant to Federal Rule of Civil Procedure 12(b)(3).     (Rec. Doc. 4–2 at 10). As a result, plaintiff proceeded to obtain
(Rec.Doc.14). In the alternative, defendants assert that this   Respironics' CPAPs and related products from third-party
case should be transferred to the Southern District of Texas    vendor Sleep Management Solutions (“Sleep Management”).
under 28 U.S.C. § 1404(a). (Rec.Doc.16).                        (Rec. Doc. 4–2 at 10–11). Despite the added costs of
                                                                procuring Respironics' products from a third party vendor,



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Vaughn Medical was selling these products to the VA for less      The prices reflected on the distribution agreement were higher
than JRS. (Rec. Doc. 4–2 at 12).                                  than the prices Vaughn Medical was paying its third-party
                                                                  vendor. (Rec. Doc. 4–2 at 17). Vaughn Medical signed and
Plaintiff alleges that its efforts to enter the VA market drew    executed the distribution agreement, and submitted it to the
the ire of Respironics and Jordan Reses Supply Company            VA. Id. When the VA contacted Respironics to validate the
(“JRS”), and that the following actions occurred as a             agreement, Respironics informed the VA that it had rescinded
result. After procuring the necessary CPAPs through Sleep         the distribution contract with plaintiff, claiming that the terms
Management for a short while, Respironics contacted the           of the agreement restricted plaintiff from selling Respironics
VA to inform them that Vaughn Medical was not legally             CPAPs to the VA. Id. As a result of submitting this new
authorized to sell Respironics' CPAPs. (Rec. Doc. 4–2 at 13).     agreement, Vaughn Medical unknowingly terminated its pre-
As a result, the VA ceased to purchase these products from        existing Letter of Commitment with Sleep Management. Id.
Vaughn Medical. Id. Shortly thereafter, Vaughn Medical met        Furthermore, the VA refused to honor any third-party Letter
with the VA to discuss why it would no longer purchase            of Commitment. Id.
Respironics CPAPs from plaintiff. Id. The VA informed
Vaughn Medical that it needed to “increase its prices” to those   Respironics and JRS then informed the VA that only JRS was
of the VA. Id. After Vaughn Medical contacted members of          permitted to sell Respironics CPAPs to the VA. (Rec. Doc. 4–
the U.S. Congress about the matter, the VA once again began       2 at 18). The VA, however, refused to honor the defendants'
to purchase Respironics' CPAPs from the plaintiff. Id.            position, but did implicitly reaffirm their preference for
                                                                  Respironics' CPAPs by discouraging individual VA medical
 *2 A few weeks later, representatives of JRS confronted          centers from purchasing CPAPs from any company other than
Vaughn Medical personnel at a conference to inform them of        JRS. Id.
JRS' “strong influence at Respironics and the VA.” (Rec. Doc.
4–2 at 14). Despite this alleged power to influence, Vaughn       After a meeting with the Undersecretary of the VA, Vaughn
Medical began to increase its sales of Respironics CPAPs          Medical was informed that the VA would honor a Letter of
to individual VA medical centers throughout the country.          Commitment from a third party vendor. (Rec. Doc. 4–2 at 19).
Id. At the same time, Respironics began to investigate how        The defendants then stepped up their efforts to exterminate
Vaughn Medical was obtaining its CPAPs. Id. After learning        Vaughn Medical's supply lines. Representatives of JRS began
of the third-party resale system, Respironics threatened Sleep    to obtain serial numbers from Respironics' CPAPs at VA
Management with punitive measures unless it agreed to             medical centers. Id. JRS then passed those numbers to
extinguish its relationship with Vaughn Medical. Id. Around       Respironics, who could use them to track which third-party
this same time, Respironics informed the VA that it would         vendors were selling to Vaughn Medical. (Rec. Doc. 4–2 at
not warrant CPAPs sold to the VA by Vaughn Medical.               20). As a result of this activity, Respironics learned that Sleep
(Rec. Doc. 4–2 at 15). The VA advised plaintiff that a            Management was Vaughn Medical's sole source of supply.
viable alternative was necessary. Id. Eventually, after another   Id. Respironics contacted Sleep Management and encouraged
incident of Congressional intervention, the VA accepted           the firm to cease its business with Vaughn Medical, which it
Vaughn Medical's personal warranty in place of Respironics        eventually did. Id.
warranty. (Rec. Doc. 4–2 at 16).
                                                                   *3 Vaughn Medical found additional third-party vendors
JRS then approached Vaughn Medical to discuss terms of            from which to buy Respironics' CPAPs. Id. In response,
a possible business relationship. (Rec. Doc. 4–2 at 15). In       JRS representatives continued to track serial numbers. Id.
exchange for certain concessions relating to the VA market,       Respironics then informed all of its suppliers that they were
JRS agreed to push Vaughn Medical as a vendor to the              not authorized to sell products to Vaughn Medical. (Rec. Doc.
Department of Defense. (Rec. Doc. 4–2 at 16). At this             4–2 at 20). Simultaneously, local representatives for JRS and
meeting, JRS also informed Vaughn Medical that it realized        Respironics began to disparage Vaughn Medical to individual
over $30 million per month in revenue from the sale of CPAPs      VA medical centers. (Rec. Doc. 4–2 at 21). Respironics
and related products to the VA. Id.                               implemented an “Honesty, Ethics and Integrity Campaign,”
                                                                  the purpose of which was to undermine Vaughn Medical's
Eventually, Vaughn Medical met with Respironics to discuss        credibility. Id. Respironics and JRS once again informed
entering a distribution agreement. (Rec. Doc. 4–2 at 16–17).      the VA that only JRS was permitted to sell Respironics'



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CPAPs to the VA, (Rec. Doc. 4–2 at 22), and have falsified          Plaintiff, Vaughn Medical, pursuant to Federal Rule of Civil
correspondence from the VA in an attempt to further tarnish         Procedure 12(b)(3).
the plaintiff's reputation. Id.
                                                                    Federal Rule of Civil Procedure 12(b)(3) states that a party
In the summer of 2009, the VA was informed that Respironics         may move the court to dismiss the action for “improper
CPAP masks were manufactured in China, which was a                  venue.” FED. R. CIV. P. 12(b)(3). Once a defendant has raised
clear violation of federal regulations. (Rec. Doc. 4–2 at           the improper venue issue by motion, the burden of sustaining
24). The VA then began to purchase these products from              venue rests with the plaintiff. 3 Dupree v. Valero Energy
ResMed Corporation (“ResMed”). Id. ResMed also falsified            Corp., 2003 WL 22466234 at *1 (E.D.La.2003); see also
correspondence from the VA to read that Vaughn Medical              Corbello v. Devito, 2008 WL 2097435 at *2 (E.D.Tex.2008);
was not permitted to sell CPAPs and related products. (Rec.         McCaskey v. Continental Airlines, Inc., 133 F.Supp.2d 514,
Doc. 4–2 at 25). This correspondence was then shown to              523 (S.D.Tex.2001). In the absence of an evidentiary hearing,
individuals at VA medical centers. Id. Additionally, ResMed         a plaintiff may carry this burden by pleading facts that,
terminated its contract with Sleep Management after learning        if taken as true, establish proper venue. McCaskey, 133
that firm was selling the defendants' products to Vaughn            F.Supp.2d at 523; Wilson v. Belin, 20 F.3d 644, 648 (5th
Medical. (Rec. Doc. 4–2 at 26).                                     Cir.1994). The court accepts undisputed facts in the Plaintiff's
                                                                    pleadings as true, and resolves any conflicts in the Plaintiff's
Plaintiff originally filed suit on August 24, 2009, in Jefferson    favor. McCaskey, 133 F.Supp.2d at 523.
County, Texas, alleging violations of Texas antitrust law, libel,
slander, business disparagement, tortuous interference and          3      The Court recognizes that the federal district courts
other causes of action. (Rec. Doc. 14–1 at 2). On October
                                                                           in the Fifth Circuit have been inconsistent on the
12, 2009, two individual defendants filed motions to transfer
                                                                           question of which party bears the burden of proof
venue to Fort Bend County, Texas. Id. at 3. Plaintiff amended
                                                                           on a Rule 12(b)(3) Motion to Dismiss for improper
its petition twice while the Jefferson County state court
                                                                           venue. Some cases have held that the movant bears
considered the defendants' motions to transfer venue. Id.
                                                                           the burden to establish that venue is improper. See,
The Jefferson County state court ultimately concluded that
                                                                           e.g., Texas Marine & Brokerage, Inc., v. Euton, 120
the Fort Bend County state court was the proper venue for
                                                                           F.Supp.2d 611, 612 (E.D.Tex.2000) (stating that the
the case, and granted the individual defendants' motions to
                                                                           burden to demonstrate that venue is improper lies
transfer. (Rec. Doc. 14–1 at 3).
                                                                           with the movant); Sanders v. Seal Fleet, Inc., 998
                                                                           F.Supp. 729, 733 (E.D.Tex.1998). “But ‘the better
Plaintiff filed the present suit in the Eastern District of
                                                                           view,’ and the clear weight of authority, is that
Louisiana while the state case was pending in Fort Bend
                                                                           when an objection has been raised, the burden is on
County, Texas. Id. After filing the present suit, the Plaintiff
                                                                           the plaintiff to establish that the district he chose is a
nonsuited its claims against all defendants in the Fort Bend
                                                                           proper venue.” 14D CHARLES ALAN WRIGHT,
County, Texas litigation. Id. Defendants JRS and Respironics
                                                                           ARTHUR R. MILLER, & EDWARD H. COOPER,
retain pending counter-claims against the Plaintiff Vaughn
                                                                           FEDERAL PRACTICE & PROCEDURE § 3826
Medical in the state court action. Id. Plaintiff sought to
                                                                           (3d ed.2010); see, e.g., Terra Nova Sciences, LLC
transfer venue of the state court case back to Jefferson County,
                                                                           v. JOA Oil and Gas Houston, 2010 WL 2671584 at
Texas. That motion was denied. Id. Defendants subsequently
                                                                           *3 (S.D.Tex.2010); Psarros v. Avior Shipping, Inc.,
filed these motions that are now before this Court.
                                                                           192 F.Supp.2d 751, 753 (S.D.Tex .2002).

II. Law and Analysis                                                2. Analysis
                                                                    Plaintiff asserts venue in the Eastern District of Louisiana
A. Motion to Dismiss for Improper Venue                             under 15 U.S.C. § 22 is proper due to federal antitrust

1. Standard of Review                                               allegations against defendants. 4 This statutory venue
 *4 Defendants, JRS, Respironics, and ResMed (collectively,         provision provides that “[A]ny suit, action, or proceeding
“defendants”) seek dismissal of the claims asserted by              under the antitrust laws against a corporation may be brought
                                                                    not only in the judicial district whereof it is an inhabitant,



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but also in any district wherein it may be found or transacts         the presence of agents soliciting or taking orders.” 46 F.2d
business.” 15 U.S.C. § 22.                                            623, 625 (1st Cir.1931). Nor is “the sale of goods essential
                                                                      to constitute transacting business. All the steps leading to or
4                                                                     promoting sales may constitute the transaction of business.”
        In its complaint, Plaintiff did not plead 15 U.S.C. §
        22 as grounds for venue in this court. Plaintiff did          Id.
        so in its opposition to Defendants' 12(b)(3) motion
        to dismiss. This Court may consider venue grounds             5      The Fifth Circuit has addressed how to evaluate
        that the plaintiff did not plead in its complaint to                 whether a corporation conducts business of a
        establish venue. Bro–Tech Corp. v. Purity Water                      substantial character in the context of gross sales
        Co. of San Antonio, Inc., 2008 WL 4326345 at *2                      revenue. See Green v. U.S. Chewing Gum Mfg. Co.,
        (W.D.Tex.2008).                                                      224 F.2d 369 (5th Cir.1955). In Green, the Fifth
Taking the Plaintiff's allegations as true, the defendants'                  Circuit reasoned that the test of substantiality is
CPAPs and related products are distributed to VA hospitals in                not one of percentages. Id. at 371–72. If it were,
every district in the United States. (Rec. Doc. 25 at 4). Plaintiff          courts “would have different tests of substantiality
also alleges that defendants JRS, Respironics, and ResMed                    applying to different corporations according to
all maintain a presence in Louisiana and have engaged in                     their size; a large corporation could, with impunity,
business transactions in Louisiana, thereby rendering this                   engage in the same acts which would subject a
court a proper venue. (Rec. Doc. 4–2 at 3–4).                                smaller corporation to jurisdiction and venue.” Id.
                                                                             Instead, the proper test is “whether or not the sales
The test for “transacting business” within the meaning of                    would appear to be substantial from the average
15 U.S.C. § 22 was set forth in Eastman Kodak Company                        businessman's point of view.” Id.
v. Southern Photo Materials Company. 273 U.S. 359,                    The defendants have neither challenged nor denied the
373 (1927). In Eastman Kodak, the Court stated that “a                Plaintiff's allegation that they have transacted business in
corporation is engaged in transacting business in a district ...      this district within the meaning of 15 U.S.C. § 22. Instead,
if, in fact, in the ordinary and usual sense, it ‘transacts           the defendants argue that Plaintiff has failed to illustrate any
business' therein of any substantial character.” Eastman              “reasonable relation” between its lawsuit and this district.
Kodak Co. v. Southern Photo Materials Co., 273 U.S.                   There is no case law found in this district or otherwise to show
359, 373 (1927); see United States v. Scophony Corp., 333             a specific requirement for a “reasonable relation” between
U.S. 795, 807 (1948); see also National Athletic Trainers'            the lawsuit and the judicial district in which venue is sought
Ass'n, Inc., v. American Physical Therapy Ass'n, 2008 WL              under 15 U.S.C. § 22. The defendants argument is seemingly
4146022 at *11 (N.D.Tex.2008) (stating that “a corporation            a response to a pleading deficiency under the general venue
transacts business ... when a substantial business activity is        statute, see 28 U.S.C. § 1391(b), (c), and does not address the
performed within the jurisdiction with continuity of character,       plaintiff's reliance on 15 U.S.C. § 22 to establish this court
regularity, ... and not looking toward cessation of business.”)       as a proper venue. Since venue is proper under the antitrust
(quoting Daniel v. Am. Board of Emergency Med., 988                   venue provision of 15 U.S.C. § 22, this court need not address
F.Supp. 127, 260 (W.D.N.Y.1997). The Eastman Kodak                    the general venue statute.
decision effectively broadened the venue of the district courts
in anti-trust suits. Datamedia Computer Service, Inc. v. AVM          Defendants' further allege that Plaintiff has engaged in forum
Corp., 441 F.2d 604 (5th Cir.1974).                                   shopping. Defendants cite to certain decisions that, they
                                                                      contend, support the proposition that dismissal under Rule
 *5 With regard to the character of a corporation's business          12(b)(3) is appropriate when a plaintiff engages in “improper
activity, numerous courts have discussed the test for                 forum shopping.” (Rec. Doc. 14 at 4).
substantiality in various contexts. 5 For example, in Jeffrey–
Nichols Motor Company v. Hupp Motor Car Corporation,                  After a review of these decisions, this court finds that
the United States Court of Appeals for the First Circuit              defendants mischaracterize the cases cited as support. In King
explained that “while a single transaction of business may            v. Russell, plaintiff filed suit in the district court for the
not be sufficient to establish venue in a district, it does not       District of Arizona. 963 F.2d 1301 (9th Cir.1992). In that case,
require the maintenance of an office or place of business or          plaintiff's choice of venue was reviewed under the general
                                                                      venue statute, 28 USC § 1391, and not 15 U.S.C. § 22. Id.


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at 1305–06. Furthermore, in King, the only connection of               Wood. The defendants' attempt to analogize these cases with
Arizona to the lawsuit was that the plaintiff was a resident           the procedural circumstances of this case is unwarranted.
of Arizona at the time the suit was filed. Id. at 1304. The
district court, under its own discretion, chose to dismiss the         Lastly, the defendants seek to limit the deference accorded
case instead of transfer because “interests of justice” did            to plaintiff's choice of forum by citing to a Second Circuit
not support a transfer to United States District Court for the         case, which stated “the sliding scale of deference tilts in
Central District of California. Id. at 1304–05. The United             favor of dismissal where the choice of forum is ‘indicative
States Court of Appeals for the Ninth Circuit explained that           of forum shopping .’ “ Lasker v. UBS Securities, LLC, 614
the district court did so because, “[the Plaintiff] expressed no       F.Supp.2d 345, 358 (E.D.N.Y.2008) (citing Norex Petroleum
interest in transfer and because ‘of the fact that the action          Ltd. v. Access Indus. Inc., 416 F.3d 146, 155 (2d Cir.2005).
smacks of harassment and bad faith on the plaintiff's part in          In reviewing Lasker, this Court disagrees with defendants'
that it appears that she filed it here after repeatedly losing         interpretation of that holding.
on at least some similar claims in California.’ “ King, 963
F.2d at 1304 (emphasis added). The court therefore issued a            In Lasker, the defendants had filed a motion to dismiss
dismissal pursuant to 28 U.S.C. § 1406 based primarily on the          based on the doctrine of forum non conveniens. Forum non
fact that the plaintiff had already lost on several similar claims     conveniens “permits a court, in its discretion, ‘to resist the
in previous litigation in California state courts; the court did       imposition upon its jurisdiction,’ even though jurisdiction
not issue a 12(b)(3) dismissal based solely on improper forum          may be lawfully exercised and venue is technically proper,
shopping. See id. at 1304–05.                                          where the convenience of the parties and interests of justice
                                                                       favor trial in another forum .” Lasker, 614 F.Supp.2d at 358
 *6 In this case, Plaintiff had not lost on any claims prior           (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 507 (1947)
to filing its suit in this court. According to the defendants'         (emphasis added). The statement cited by the defendants was
memorandum in support for their 12(b)(3) motion to dismiss,            offered by the Lasker court in the context of a three-step
the plaintiff filed this lawsuit in this court while the state court   process used by the Second Circuit to guide the exercise
case was still pending. (Rec. Doc. 14–1 at 3). The merits of           of judicial discretion in applying the doctrine of forum non
the state law claims had yet to be addressed or adjudicated by         conveniens. Id. at 358. Therefore, in Lasker, the court's
any Texas state court.                                                 reference to the diminished deference afforded a plaintiff's
                                                                       choice of forum was limited to the Second Circuit's forum
Defendants also cite Wood v. Santa Barbara Chamber of                  non conveniens analysis, and is inapplicable to the instant
Commerce Incorporated as support to assert that dismissal is           litigation.
appropriate under Rule 12(b)(3) when a plaintiff engages in
forum shopping. 705 F.2d 1515 (9th Cir.1983). In Wood, the              *7 Since the defendants “transact business” within the
plaintiff originally filed a lawsuit against his employer in the       meaning of the antitrust venue provision 15 U.S.C. § 22,
district court for the Central District of California. Wood v.         and the Eastern District of Louisiana may properly exercise
McEwen, 644 F.2d 797, 799 (9th Cir.1981). After a United               subject matter jurisdiction over the claims and personal
States magistrate dismissed his original lawsuit for abuse             jurisdiction over the defendants, venue is this court is
of discovery, Wood filed a second action claiming that the             proper. Defendants' motion to dismiss for improper venue is
magistrate was fraudulently biased. Id. at 800. After losing his       DENIED. Because the Court holds, infra, that the Defendants'
action against the magistrate, Wood shifted his original claims        Motion to Dismiss should be granted, it need not reach their
and redirected his litigation against over 250 defendants. Id.         Motion to Transfer pursuant to 28 U.S.C. § 1404(a), which is
At one point, Wood had filed suits containing the same or              now MOOT. 6
similar claims in over 30 district courts. Id. Neither the district
court's initial determination to dismiss Wood's case, nor the          6      To succeed in such a motion, the movant must
Ninth Circuit's affirmation of the district court's decision, was
                                                                              “clearly demonstrate that the requested transfer is
a 12(b)(3) dismissal for improper venue based on improper
                                                                              ‘[f]or the convenience of the parties and witnesses,
forum shopping. In the present case, the plaintiff's conduct
                                                                              in the interest of justice.’ “ In re Volkswagen of
is not indicative of an egregious exploitation of the Federal
                                                                              America, Inc., 545 F.3d 304, 315 (5th Cir.2008).
Rules of Civil Procedure, as was the case in both King and
                                                                              It would be neither efficient nor in the interests of
                                                                              justice for the Court to transfer a case which, on the


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       merits of a 12(b)(6) motion, should ultimately be           the [unlawful conduct].” Twombly, 550 U.S. at 556. Despite
       dismissed.                                                  this reasonability requirement, the Twombly Court further
                                                                   explained that “a well-pleaded complaint may proceed even
B. Motion to Dismiss for Failure to State a Claim                  if it strikes a savvy judge that actual proof of those facts is
                                                                   improbable, and that a recovery is very remote and unlikely.”
1. Plaintiff Has Failed to State Claim                             Id. Thus, plausibility pleading still retains the primary
                                                                   function of serving notice to a defendant of the pending
a. Standard of Review
                                                                   claims. The Supreme Court's mandate for contextualized
Federal Rule of Civil Procedure 8(a) provides, in relevant
                                                                   factual assertions is critical to this notice function, since a
part, that
                                                                   complaint that relies on legal conclusions and bare assertions
  [a] pleading that states a claim for relief must contain:        would leave a defendant “seeking to respond to plaintiffs'
                                                                   conclusory allegations ... [with] little idea where to begin.”
  (1) a short and plain statement of the grounds for the court's   Twombly, 550 U.S. at 565.
     jurisdiction, unless the court already has jurisdiction and
     the claim needs no jurisdictional support; and
                                                                   b. Antitrust Claims
  (2) a short and plain statement of the claim showing that
     the pleader is entitled to relief; and                           i). Section 1 of the Sherman Act
                                                                    *8 In the Fifth Circuit, to allege a violation of § 1 of the
  (3) a demand for the relief sought, which may include relief     Sherman Act, a plaintiff must plead that (1) the defendants
     in the alternative or different types of relief.              engaged in a conspiracy, (2) the conspiracy restrained trade,
                                                                   and (3) trade was restrained in the relevant market. See
FED.R.CIV.P. 8(a)                                                  Wampler v. Sw. Bell Tele. Co., 597 F.3d 741, 744 (5th
                                                                   Cir.2010) (citing Apani S.W., Inc. v.. Coca–Cola Enters.,
Under Rule 8(a)(2), the statement need only “give the              300 F.3d 620, 627 (5th Cir.2002). Stating a claim under
defendant fair notice of what the ... claim is and the grounds     this provision requires a complaint with enough factual
upon which it rests.” Bell Atlantic Corp. v. Twombly, 550          matter, taken as true, to suggest that an agreement was
U.S. 544, 555 (2007) (quoting Conley v. Gibson, 355 U.S.           made. Twombly, 550 U.S. at 555. In addition to presenting
41, 47 (1957)). While a complaint attacked by a Rule 12(b)         contextualized facts to show an agreement or conspiracy, the
(6) motion to dismiss need not contain detailed factual            plaintiff must also allege sufficient factual material to show
allegations, a plaintiff's obligation to provide the grounds       the alleged agreement had an anticompetitive effect. N. Tex.
of his entitlement to relief requires more than labels and         Specialty Physicians v. F.T.C., 528 F.3d 346, 358–363 (5th
conclusions; a formulaic recitation of the elements of a cause     Cir.2008).
of action will not suffice. Twombly, 550 U.S. at 555.
                                                                   Plaintiff alleges that Respironics and ResMed, pursuant to an
To survive a 12(b)(6) motion to dismiss, a complaint must          illicit agreement among the defendants, refused to offer the
contain sufficient factual matter, accepted as true, to state      products necessary to compete in the VA market to companies
a claim to relief that is plausible on its face. Ashcroft v.       other than JRS. (Rec. Doc. 4–2 at 9–10, 18, 24–25). Plaintiff
Iqbal, 129 S.Ct. 1937, 1949 (2009) (citing Twombly, 550            also contends that Respironics and JRS fixed minimum prices
U.S. at 570). A plaintiff must do more than pleads facts           at which Respironics' products could be sold to the VA, (Rec.
that are “merely consistent with” a defendant's liability. Id.     Doc. 4–2 at 13), and that they took numerous steps to staunch
Facial plausibility exists when the facts pleaded permit the       Vaughn Medical's third-party supply lines for defendants'
reasonable inference that the defendant is liable for the          products (Rec. Doc. 4–2 at 14, 19–21). Finally, the plaintiff
misconduct alleged. Id. This is not to say that the plausibility   asserts that the defendants falsified correspondence from the
standard is akin to a probability requirement, but it does ask     VA with the sole purpose of damaging Vaughn Medical's
for more than the sheer possibility that a defendant has acted     credibility, thereby eliminating opportunities to generate sales
unlawfully. Id.                                                    to VA medical centers. (Rec. Doc. 4–2 at 23–24). Taking the
                                                                   complaint's factual allegations as true, plaintiff has pleaded
Plausibility pleading calls for “enough fact to raise a            sufficient facts to state a claim under § 1. See In re Katrina
reasonable expectation that discovery will reveal evidence of      Canal Breaches Litigation, 495 F.3d 191, 205 (5th Cir.2007)


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(“The court accepts all well-pleaded facts as true, viewing        to distribute Respironics CPAPs and ResMed CPAP masks
them in the light most favorable to the plaintiff.”).              to the VA. (Rec. Doc. 4–2 at 9–10, 16, 24–25). Thus, it
                                                                   possesses total control over the flow of these products to
Defendants seek dismissal of plaintiff's section 1 claim           the VA. Plaintiff further alleges that JRS' market position
based on a failure to plead anything more than conclusory          was obtained pursuant to exclusivity agreements, and was
allegations. For its section 1 claim, however, plaintiff is        maintained by improperly influencing the VA's purchasing
required only to plead a plausible claim of an illicit agreement   decisions. (Rec. Doc. 4–2 at 13–16, 18). This is sufficient to
to restrain trade. “Asking for plausible grounds to infer          state a claim of monopolization under § 2.
an agreement does not impose a probability requirement
at the pleading stage; it simply calls for enough fact to          The elements of a claim based on attempted monopolization
raise a reasonable expectation that discovery will reveal          are (1) the specific intent to monopolize; (2) the use of
evidence of illegal agreement.” Twombly, 550 U.S. at 555.          predatory or anticompetitive tactics; and (3) the dangerous
JRS and Respironics are not merely two companies against           probability of success in monopolizing the relevant product
which random accusations of conspiracy have been levied.           and geographic markets. Star Tobacco, Inc. v. Darileck, 298
Defendants Respironics and JRS both admit to the existence         F.Supp.2d 436, 447–48 (E.D.Tex.2003) (emphasis added).
of an intimate business relationship since 1985. (Rec. Doc.        Plaintiff has pleaded that JRS derives monthly revenue of
18–1 at 2). Plaintiff has pleaded that the substantial financial   over $30 million from the sale of CPAPs and related devices
benefits achieved from this relationship are derived from a        to the VA, and that JRS intended to preserve this revenue
mutually beneficial arrangement to artificially inflate prices     stream by any means necessary. (Rec.Doc.15–16). Plaintiff
charged to the VA. (Rec. Doc. 4–2 at 15). If JRS were to lose      has also alleged that JRS representatives began visiting VA
market share in the VA market, the profits of both JRS and         medical centers to obtain serial numbers off of Respironics
Respironics would decline. (Rec. Doc. 4–2 at 16). ResMed           CPAPs that had been sold to the VA by Vaughn Medical.
enters the picture by allegedly agreeing to participate in         The alleged purpose was to determine from where Vaughn
efforts to use falsified documents to attack Vaughn Medical's      Medical was obtaining the CPAPs and to cut off their
reputation, and refusing to sell its products to Vaughn Medical    supply lines. (Rec. Doc. 4–2 at 19–20). Taking well-pleaded
for distribution to the VA. (Rec. Doc. 4–2 at 24–25). The          facts as true, plaintiff has shown that JRS intentionally
Court finds that Vaughn Medical has alleged sufficient facts       engaged in anticompetitive tactics to secure its position of
that, if proven, demonstrate that defendants conspired to          market dominance and exclude all other competitors from the
engage in a pattern of exclusionary and anticompetitive            national VA market for the sale of Respironics' CPAPs and
conduct aimed at eliminating competition for the sale of           ResMed's CPAP masks. (Rec. Doc. 4–2 at 13–16, 18, 19–20)
Respironics' CPAPs and ResMed's CPAP masks to the VA.
Plaintiff has therefore stated a plausible claim under § 1.        Further, to state a claim for conspiracy to monopolize, a
                                                                   plaintiff must allege (1) a specific intent to monopolize;
                                                                   (2) the existence of a combination or conspiracy; and
   ii). Section 2 of the Sherman Act                               (3) an overt act in furtherance of the conspiracy. Stewart
 *9 Plaintiff has alleged that defendants have monopolized,        Glass & Mirror v. Auto Discount Ctrs., Inc., 200 F.3d
attempted to monopolize, and conspired to monopolize the           307, 316 (5th Cir.2000) (emphasis added). Plaintiff cites
sale of CPAPs and related equipment to the VA. Each of these       numerous instances that it alleges are illustrative of an
three allegations requires different measures of proof, and will   elaborate conspiracy to exclude competition and monopolize
be addressed in turn.                                              the VA market. Plaintiff contends that the defendants
                                                                   undertook efforts to cut off Vaughn Medical's supply lines for
To state a claim for monopolization under § 2 of the Sherman       Respironics' CPAPs. (Rec. Doc. 4–2 at 19–20). Plaintiff has
Act, a plaintiff must allege “(1) the possession of monopoly       also pleaded facts to demonstrate that the defendants unveiled
power in the relevant market; and (2) the willful acquisition      an extensive smear campaign, dubbed the “Honesty, Ethics,
or maintenance of that power as distinguished from growth          and Integrity Campaign,” intended to undermine Vaughn
or development as a consequence of a superior product,             Medical's credibility to VA representatives. (Rec. Doc. 4–2
business acumen, or historic accident.” Eastman Kodak Co.          at 21). Finally, plaintiff alleges that representatives for the
v. Image Tech. Servs., Inc., 504 U.S. 451, 481 (1992) (quoting     defendants have falsified certain documents in an attempt
United States v. Grinnel Corp., 384 U.S. 563, 570–71 (1966).       to damage Vaughn Medical's reputation. (Rec. Doc. 4–2
Plaintiff has pleaded that JRS is the only company authorized


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at 25). Here, plaintiff has satisfied the threshold pleading     Respironics and all of its vendors operated according to
requirement by presenting facts to show that defendants          the same or similar terms. (Rec. Doc. 4–2 at 11). Instead,
conspired to undertake numerous anticompetitive measures         Vaughn Medical asserts the price discrimination resulted
intended to secure JRS position as the sole distributor of       from Respironics' refusal to sell its products to plaintiff.
Respironics CPAPs and ResMed's CPAP masks to the VA.             (Rec. Doc. 4–2 at 11). Vaughn Medical avers that, because
                                                                 it bought Respironics CPAPs through a reseller, it was
                                                                 forced to take a less favorable deal by incurring shipping
   iii). Robinson–Patman Act                                     costs, storage costs, and mark-up fees. (Rec. Doc. 4–2 at
 *10 To state a claim under section 2(a) of the Robinson–        11–12). Thus, any difference in pricing resulted not from
Patman Act, 15 U.S.C. § 13(a), a plaintiff must allege           Respironics' sale to Vaughn Medical on discriminatory terms,
facts to demonstrate (1) “the defendant made at least two        but from Respironics refusal to sell to Vaughn Medical. Such
contemporary sales of the same commodity at different            allegations, while potentially viable under other provisions of
prices to different purchasers and (2) the effect of such        the federal antitrust laws, do not give rise to an actionable
discrimination was to injure competition.” Crossroads            claim under the Robinson–Patman Act.
Cogeneration Corp. v. Orange & Rockland Utilities, Inc .,
159 F.3d 129, 142 (3d Cir.1998) (citing Brooke Group, Ltd. v.     *11 Plaintiff's final allegation involves a purported
Brown & Williamson Tobacco Corp., 509 U.S. 209, 219–27,          distribution agreement entered into by Respironics and
113 S.Ct. 2578 (1993)). “[T]o allege a violation of § [13(a) ]   Vaughn Medical. Plaintiff alleges the prices reflected in the
one seller must have made two actual sales to two actual         agreement were significantly higher than those charged by
buyers at different prices.” Staton Holdings, Inc. v. Russell    Respironics to its other vendors. (Rec. Doc. 4–2 at 17).
Athletic, Inc., 2009 WL 4016117 at *6 (N.D.Tex.2009) (citing     Notably, though, Vaughn Medical does not allege any actual
L & L Oil Co. v. Murphy Oil Corp., 674 F.2d 1113, 1120 (5th      sales took place pursuant to the alleged agreement. Merely
Cir.1982).                                                       offering different pricing to different customers does not state
                                                                 a claim for price discrimination under the Robinson–Patman
The Court finds that the plaintiff has not alleged that any      Act. See Stough v. May & Co. of Ga., Inc., 484 F.2d 22,
discriminatory sales actually occurred. Plaintiff has alleged    23 (5th Cir.1973) (“[I]n order for there to be discrimination
only the following: (1) Vaughn Medical has previously            between purchasers, there must be actual sales at two different
purchased CPAPs and related products from Respironics for        prices to two different actual buyers”); see also Crossroads,
patient-only distribution (Rec. Doc. 4–2 at 8); (2) because      159 F.3d at 142 (“Merely offering lower prices to a customer
Respironics refused to sell its CPAPs to Vaughn Medical          does not state a price discrimination claim”); Terry's Floor
for distribution to the VA, Vaughn Medical was forced to         Fashions, Inc. v. Burlington Indus., 763 F.2d 604, 615 (4th
purchase from a reseller for a higher price than that charged    Cir.1985) (noting that a failure to allege “two comparable,
by Respironics to its vendors (Rec. Doc. 4–2 at 11); and         completed sales” will defeat a claim under Section 2(a) of
(3) that Vaughn Medical subsequently entered into a second       Robinson–Patman); Fusco v. Xerox Corp., 676 F.2d 332, 337
distribution agreement with Respironics which contained          (8th Cir.1982). Plaintiff's price discrimination claim brought
discriminatory pricing. (Rec. Doc. 4–2 at 17).                   under 15 U.S.C. § 13(a) is thus fatally flawed and must be
                                                                 DISMISSED.
Regarding the first allegation, Vaughn Medical does not
allege that the CPAPs purchased from Respironics for patient-
only distribution were sold on discriminatory terms. While       2. Failure to Allege Antitrust Injury
plaintiff does speculate that such discriminatory terms would
exist today if Respironics did sell its CPAPs to Vaughn          a. Law
Medical, mere hypothetical transactions do not give rise to a    Defendants also seek dismissal of plaintiff's antitrust claims
claim under the Act.                                             on the grounds that the plaintiff has not pleaded an
                                                                 antitrust injury. (Rec. Doc. 18–1 at 4–5). Failure to plead
As to the second allegation, Vaughn Medical actually             antitrust injury would preclude the plaintiff from establishing
bought Respironics' CPAPs through a reseller, not through        “antitrust standing.” Standing to pursue an antitrust suit
Respironics itself. Plaintiff does not allege that this          requires a plaintiff to plead: 1) injury-in-fact—that is, an
reseller suffered from discriminatory pricing terms. In fact,    injury proximately caused by the defendants' conduct; 2)
plaintiff explicitly alleges the typical arrangement between     antitrust injury; and 3) proper plaintiff status, “which assures


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that other parties are not better situated to bring suit.” Doctor's   the perspective of the plaintiff's position in the marketplace,
Hosp. of Jefferson, Inc. v. Southeast Med. Alliance, Inc.,            not from the merits-related perspective of the impact of a
123 F.3d 301, 305 (5th Cir.1997); see also Hydril Company,            defendant's conduct on overall competition. Id. Thus, to state
L.P., et al. v. Grant Pideco, L.P., et al., 2007 WL 1791663           a claim under the Sherman Act, a plaintiff, in addition to
(S.D.Tex.2007). In this case, the first and third elements are        stating an antitrust violation, must allege facts sufficient to
not in dispute.                                                       show antitrust injury. In re Tamoxifen Antitrust Litigation, 466
                                                                      F.3d 187, 219 (2d Cir.2006).
Courts have made clear that antitrust injury is a predicate
to antitrust standing. See, e.g., Cargill, Inc. v. Monfort of         As support for its assertion that it has pleaded antitrust
Colorado, Inc., 479 U.S. 104, 110 n. 5 (1986) (“A showing of          injury, plaintiff cites to the Fifth Circuit decision in Norris v.
antitrust injury is necessary ... to establish standing under [the    Hearst Trust. 500 F.3d 454 (5th Cir.2007). Plaintiff's reading
antitrust laws]”; T.O. Bell v. Dow Chem. Co., 847 F.2d 1179,          of Norris proposes that the antitrust injury requirement is
1182 (5th Cir.1988) (“Proving antitrust injury is a necessary         met when an injury is inflicted on a business consumer or
requirement for proving standing; the former cannot stand             competitor of a defendant. (Rec. Doc. 27 at 7); see Norris,
alone from the latter”); City of Pittsburgh v. W. Penn Power          500 F.3d 454 at 465–66. The plaintiff seeks recognition of
Co., 147 F.3d 256, 265 (3d Cir.1998) (“If antitrust injury is         its injuries as both a consumer of Respironics' and ResMed's
not found, further inquiry is unnecessary.”). As a threshold          products, and a competitor of Jordan Reses' distribution
matter, the necessary antitrust injury is an injury attributable      services. Under the plaintiff's suggested interpretation of
to the anticompetitive aspect of the practice under scrutiny.         Norris, such recognition would establish the requisite
See Atlantic Richfield Co. v. USA Petroleum Co., 495 U.S.             antitrust injury.
328, 334, 110 S.Ct. 1884 (1990) (“Antitrust injury does not
arise for purposes of [15 U.S.C. § 15] ... until a private            Such a reading of Norris, however, is inaccurate. It drastically
party is adversely affected by an anticompetitive aspect of the       oversimplifies the question of whether the defendants'
defendant's conduct.”).                                               activities resulted in antitrust injury. In that case, the
                                                                      Fifth Circuit was commenting less on the dynamics of
                                                                      anticompetitive conduct and more on which parties are most
b. Analysis                                                           likely to bring suit under the federal antitrust laws. Thus,
 *12 Defendants seek dismissal of plaintiff's antitrust claims        it was focused on the third element of the standing inquiry
on the grounds that the only injuries asserted by Plaintiff are       —the issue of whether the plaintiff is a proper party to
those suffered in an individual capacity. (Rec. Doc. 18–1 at          an antitrust claim. See Norris, 500 F.3d at 466 (noting
4–5). Specifically, defendants assert that the plaintiff cannot       that consumers and competitors are the appropriate parties
state an antitrust claim because it has not alleged facts to show     to bring antitrust claims because they are often the only
a market-wide injury to competition. (Rec. Doc. 18–1 at 5).           parties injured by the harm to competition caused by antitrust
In response, plaintiff contends that it has pleaded an antitrust      violations). The Fifth Circuit was not stating a bright-line rule
injury. (Rec. Doc. 27 at 6–8).                                        for gauging the occurrence of an antitrust injury. While it is
                                                                      typically consumers and competitors who suffer as a result of
The Fifth Circuit has repeatedly distinguished between
                                                                      calculated anticompetitive conduct, 7 this fact alone does not
antitrust injury and injury to competition. See, e.g, Doctors'
                                                                      reflexively manifest an antitrust injury.
Hosp., 123 F.3d at 305; Walker v. U–Haul Co., 747 F.2d
1011, 1016 (5th Cir.1984); Multiflex, Inc. v. Samuel Moore &
                                                                      7
Co., 709 F.2d 980, 986 n. 6 (5th Cir.1983). Antitrust injury                  It is important to note that customers and
exists when (1) the injury was of the type antitrust laws were                competitors do not automatically have antitrust
intended to prevent, and (2) that the injury “flows” or was                   standing. The plaintiff's opposition brief focuses
caused by that which makes the defendant's conduct unlawful.                  mainly on the fact that, as both a consumer and
Brunswick Corp. v. Pueblo Bowl–OMat, Inc., 429 U.S. 477,                      a competitor, it has suffered antitrust injury and
488–89 (1977). Injury to competition, on the other hand,                      should therefore have antitrust standing. Such
while often a necessary component to substantive liability,                   an assertion oversimplifies the antitrust standing
need not be pleaded for a plaintiff's antitrust claims to survive             analysis. See Atl. Richfield, 495 U.S. at 338; accord
a motion to dismiss. Doctor's Hosp., 123 F.3d at 305. In this                 Cargill, 479 U.S. at 122; Brunswick, 429 U.S. at
circuit, antitrust injury for standing purposes is viewed from                488; see also Novell, Inc. v. Microsoft Corp., 505


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        F.3d 302, 310–314 (4th Cir.2007) (declining to               reason of anything forbidden in the antitrust laws.” While
        adopt a bright line rule that only consumers and             this language is seemingly broad, the Supreme Court has
        competitors have antitrust standing).                        construed this provision to afford a remedy to only those
 *13 Nevertheless, Vaughn Medical's alleged losses and               victims of “unreasonable” restraints of trade. See Texaco, Inc.
competitive disadvantage resulting from its exclusion from           v. Dagher, 547 U.S. 1, 5 (2006); State Oil Co. v. Khan, 522
the VA market fall within the conceptual bounds of antitrust         U.S. 3, 10 (1997); Bus. Elecs. Corp. v. Sharp Elecs. Corp.,
injury. Vaughn Medical is a would-be provider of CPAPs               485 U.S. 717, 723 (1988); 15 U.S.C. § 1.
and related products to the VA and a direct competitor of
JRS. Plaintiff alleges that JRS conspired with manufacturers         Ordinarily, alleged violations of § 1 of the Sherman Act
Respironics and ResMed to deprive Vaughn Medical and                 undergo the rule of reason analysis. See Khan, 522 U.S. at 10;
other competitors of the opportunity to actively compete in          Bus. Elecs., 485 U.S. at 723. In the Fifth Circuit, “[p]roof that
the VA market. (Rec. Doc. 4–2 at 26). Plaintiff further alleges      the defendant's activities ... adversely affected competition in
that the defendant JRS exploited its market power in the VA          the appropriate product and geographic markets is essential
market to weaken Vaughn Medical as a competitor. (Rec. Doc.          to recovery under the rule of reason.” Apani, 300 F.3d at 627
27 at 10). Plaintiff also asserts that Respironics and ResMed        (citing Hornsby Oil Co. v. Champion Spark Plug Co., 714
sold their products to JRS at a price lower than that charged to     F.2d 1384, 1392 (5th Cir.1983)).
its competitors. (Rec. Doc. 4–2 at 28). These are the types of
injuries that the antitrust laws were intended to prevent. And        *14 However, if the restraint alleged is among that small
since Vaughn Medical has pleaded that its purported injuries         class of actions that courts have deemed to have “such
flow directly from the defendants' allegedly exclusionary            predictable and pernicious anticompetitive effect, and such
conduct, the second prong of the antitrust injury analysis           limited potential for procompetitive benefit,” it will be
is also satisfied. See Brunswick Corp., 429 U.S. at 488–89.          considered per se unreasonable. Khan, 522 U.S. at 10; see
Thus, Vaughn Medical has adequately alleged antitrust injury.        also Jayco Sys., Inc. v. Savin Bus. Mach. Corp., 777 F.2d
                                                                     306, 317 (5th Cir.1985) (explaining that certain business
                                                                     practices have such an inherently detrimental effect on
3. Failure to Plead a Relevant Market                                competition that they are presumed facially unreasonable
Defendants seek dismissal of plaintiff's section 1 and section       and therefore illegal). Per se liability is reserved for only
2 claims for failure to plead a relevant market. (Rec. Doc. 18–      those agreements that are “so plainly anticompetitive that
1 at 6). In response, the plaintiff asserts that the defendants      no elaborate study of the industry is needed to establish
actions were per se unlawful under the Sherman Act and,              their illegality.” Dagher, 547 U.S. at 5 (quoting National
as a result, it need not plead a relevant market. (Rec. Doc.         Soc. of Professional Engineers v. U.S., 435 U.S. 679, 692
27 at 8–9). In the alternative, plaintiff avers that it has          (1978)). In other words, if the plaintiff's factual allegations
adequately alleged a relevant market. (Rec. Doc. 27 at 10–           create an inference that the defendants' activities were per
12). To determine if the plaintiff is required to plead a relevant   se unlawful, the requirement to plead a relevant market is
market, the Court must first establish whether the defendants'       lifted, as the anticompetitive effects of defendants' activities
alleged anticompetitive activities are per se unlawful, or if        are considered facially apparent. Doctor's Hosp. of Jefferson,
they should be analyzed under the rule of reason. Apani, 300         Inc. v. Southeast Med. Alliance, Inc., 123 F.3d 301, 307 (5th
F.3d at 627; Blanchard & Co. v. Barrick Gold Corp., 2003             Cir.1997).
WL 22071173 at *7 (E.D.La.2003).
                                                                     Plaintiff alleges harm suffered as a result of numerous
                                                                     anticompetitive acts committed by the defendants and asserts
a. Per se or Rule of Reason?                                         a remedy is warranted under § 1. These acts include exclusive
Section 1 of the Sherman Act states that “[e]very contract,          dealing arrangements, group boycotts, and price fixing. Per
combination in the form of trust or otherwise, or conspiracy,        se liability has been applied to certain incarnations of these
in restraint of trade or commerce among the several states ...       particular business practices. See Jayco, 777 F.2d at 317; see
is declared to be illegal.” 15 U.S.C. § 1. Though on its face        also U.S. v. Socony–Vacuum Oil Co., 310 U.S. 150 (1940)
§ 1 creates only a criminal penalty, § 4 of the Clayton Act,         (price fixing); Klors, Inc. v. Broadway–Hale Stores, Inc.,
15 U.S.C. § 15(a), provides treble damages relief to “any            359 U .S. 207 (1959)(group boycotts). Importantly, though,
person who shall be injured in his business or property by           none of these practices receives blanket application of per



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se treatment. Instead, each requires the presence of certain
specific characteristics to trigger per se liability under the       10
                                                                            They generally affect intra brand competition and
antitrust laws. Specifically, the Court must ascertain whether              are analyzed under the rule of reason. Continental
the alleged anticompetitive acts were the result of a horizontal
                                                                            T.V., 433 U.S. at 52 n. 19, 97 S.Ct. at 2558
agreement, from which flows per se liability, or whether they               (emphasis added). Intrabrand competition exists
stem from a vertical agreement, which generally implicates                  between the distributors of the product of a
the rule of reason. 8 Jayco, 777 F.2d at 317; see also Red                  particular manufacturer. Ibid.
Diamond Supply, Inc. v. Liquid Carbonic Corp., 637 F.2d
                                                                     Here, plaintiff alleges that defendants conspired to commit
1001, 1004 (5th Cir.1981).
                                                                     numerous anticompetitive acts, ultimately depriving it of
                                                                     the right to distribute Respironics' CPAPs and ResMed
8       As explained infra, “[r]estraints imposed by                 CPAP masks to VA medical centers. Plaintiff's allegations,
        agreement between competitors have traditionally             however, do not embody the requisite characteristics of
        been denominated as horizontal restraints, and               horizontal restraints to which per se liability would attach.
        those imposed by agreement between firms                     A vast majority of the alleged anticompetitive acts are the
        at different levels of distribution as vertical              result of purported agreements between manufacturers and
        restraints.” Bus. Elecs., 485 U.S. at 730.                   a distributor. These are vertical in nature, since the parties
                                                                     operate on separate levels of distribution. See Muenster, 651
b. Horizontal or Vertical Agreements?                                F.2d at 295. Below, the Court will more fully explain the
“Whether or not a combination or conspiracy falls under the          vertical character of each of the plaintiff's specific antitrust
per se rule often depends upon whether the restriction is            theories.
implemented by a vertical or horizontal agreement.” Jayco,
777 F.2d at 317; see also Red Diamond, 637 F.2d at 1004.
Horizontal combinations are agreements among competitors                i). Group Boycott
that restrain competition among enterprises at the same level        The Supreme Court has defined group boycotts as “joint
                                                                     efforts by a firm or firms to disadvantage competitors by
of distribution. 9 Bus. Elecs., 485 U.S. at 730. These are
                                                                     either directly denying or persuading or coercing suppliers
generally considered facially unreasonable and are therefore
                                                                     or customers to deny relationships the competitors need in
illegal per se. See Catalano, Inc. v. Target Sales, Inc., 446 U.S.
                                                                     the competitive struggle.” N.W. Wholesale Stationers, Inc. v.
643, 647 (1980); Muenster Butane, Inc. v. Stewart Co., 651
                                                                     Pacific Stationary & Printing Co., 472 U.S. 284, 294, 105
F.2d 292, 295 (5th Cir.1981).
                                                                     S.Ct. 2613 (1985). A group boycott, or concerted refusal to
                                                                     deal, can be a violation of section 1 of the Sherman Act.
9
        They affect inter brand competition, which is                Tunica Web Adv. v. Tunica Casino Operators Ass'n, Inc .,
        considered to be the “primary concern of antitrust           496 F.3d 403, 412 (5th Cir.2007). Depending on the factual
        law.” Continental T.V., Inc. v. GTE Sylvania, Inc.,          circumstances, group boycotts may be either unlawful per se
        433 U.S. 36, 52 n. 19, 97 S.Ct. 2561 (1977)                  or subject to the rule of reason. Id.
        (emphasis added). Interbrand competition is the
        competition among the manufacturers of the same              The Supreme Court has clarified that a necessary predicate
        product. Ibid.                                               for a per se group boycott is that it is horizontal, i.e., it
 *15 Vertical restraints are those “imposed by persons               must involve an agreement among enterprises that ordinarily
or firms further up the distribution chain of a specific             compete with each other at the same level of the market.
product (or in rare cases, further down the chain) than              See NYNEX Corp. v. Discon, Inc., 525 U.S. 128, 135, 119
                                                                     S.Ct. 493 (1998) (“[P]recedent limits the per se rule in the
the enterprise restrained.” 10 Muenster, 651 F.2d at 295.
                                                                     boycott context to cases involving horizontal agreements
The courts have concluded that a vertical restraint is
                                                                     among direct competitors”); see also Bus. Elecs., 485 U.S. at
unreasonable when its probable anticompetitive effects
                                                                     723 (“Restraints imposed by agreement between competitors
outweigh any procompetitive benefits. Viazis v. American
                                                                     have traditionally been denominated as horizontal restraints
Ass'n of Orthodontists, 314 F.3d 758, 765 (5th Cir.2002); see
                                                                     [.]”). Moreover, the per se approach is generally limited to
also Atl. Richfield Co. v. USA Petroleum Co., 495 U.S. 328,
                                                                     cases in which firms with market power boycott suppliers or
342 (1990).
                                                                     customers in order to discourage them from doing business


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with a competitor.” F.T.C. v. Indiana Fed. of Dentists, 476         barometer with which to gauge the defendants' alleged
U.S. 447, 458 (1986).                                               anticompetitive activities.

Therefore, to plead a per se group boycott, the plaintiff must
allege facts to demonstrate that the concerted anticompetitive         ii). Price–Fixing
activity involved two or more competitors positioned at the         Plaintiff alleges that Respironics and JRS conspired to fix
same market level with each other. Plaintiff argues that it         prices at which CPAPs were sold to the VA. (Rec. Doc. 4–2
need only plead that JRS has conspired with Respironics             at 13, 15). Specifically, plaintiff argues that Respironics and
and ResMed to make it more difficult for Vaughn Medical             JRS conspired to establish a minimum resale price at which
to obtain the products it needs to conduct business with the        distributors could sell Respironics' CPAPs to the VA. 11
VA. (Rec. Doc. 27 at 13). In response, defendants point to          (Rec. Doc. 4–2 at 13, 15). The Courts have stated that only
plaintiff's failure to present facts alleging that JRS possesses    horizontal price-fixing agreements are per se unlawful. See,
the requisite market power to coerce or influence the VA from       e.g, Dagher, 547 U.S. at 5; North Texas Specialty Physicians
conducting business with Vaughn Medical. (Rec. Doc. 18–1 at         v. F.T.C., 528 F.3d 346, 362 (5th Cir.2008) (noting that
10). Defendants also argue that the boycott alleged by plaintiff    only horizontal price fixing agreements are generally deemed
is a vertical restraint, as plaintiffs have not asserted that the   per se violations); Elliot Indust. Ltd. Partnership v. BP
alleged agreement was between at least two competitors at the       America Prod. Co., 407 F.3d 1091, 1123 n. 29 (10th Cir.2005)
same market level. (Rec. Doc. 18–1 at 10).                          (claim of horizontal price fixing requires conspiracy “among
                                                                    actual competitors (i.e. at the same level of distribution)”).
 *16 To begin, of the defendants, JRS is the plaintiff's            Horizontal price fixing has been defined as “an arrangement
only competitor. Plaintiff has not alleged that JRS conspired       among competitors that interferes with the setting of prices
horizontally with another competitor in an attempt to               by free market forces.” Quest Exploration & Dev. Co. v.
discourage the VA from doing business with Vaughn Medical.          Transco Energy Co., 1992 WL 682756 at *6 (S.D.Tex.1992)
Based on the allegations in the complaint, the plaintiff is         (citing Times–Picayune Pub. Co. v. United States, 345 U.S.
incapable of making such an assertion since there is no             594, 614 (1953). To plead a claim of horizontal price-fixing,
CPAP distributor other than JRS who would benefit from              the plaintiff must allege facts to show the existence of an
the facts underlying the present dispute. Furthermore, while        agreement or conspiracy among actual competitors, with the
the plaintiff has pleaded that both Respironics and ResMed          purpose or effect of depressing, fixing, or stabilizing the
are privy to the alleged conspiracy, it has not alleged that        price of a commodity in interstate commerce. United States
they have conspired in their capacity as competitors. Both          v. Socony–Vacuum Oil Co., 310 U.S.150, 216–19 (1940). The
companies manufacture and sell CPAPs, but only Respironics          complaint, however, does not plead this species of price-
sells their CPAPs to the VA. These firms do not actively            fixing.
compete for the sale of CPAPs to the VA market. Nor has
plaintiff alleged that Respironics and ResMed made threats          11     This type of activity is also referred to as resale
to the VA to withhold their products if the VA continued to                price maintenance, which, when conducted in the
conduct business with Vaughn Medical.                                      manner alleged, is a vertical restraint. See Leegin
                                                                           Creative Leather Products, Inc. v. PSKS, Inc., 551
The Court reads the complaint to allege two separate vertical              U.S. 877, 890, 127 S.Ct. 2705, 2715 (2007).
agreements; the first between Respironics and JRS for the
distribution of CPAPs; and the second between ResMed and             *17 Vertical price-fixing occurs when two firms in a
JRS for the distribution of CPAP masks. Group boycotts              distribution chain establish price ranges of goods or services.
that are vertical in nature must be examined under the              Socony–Vacuum, 310 U.S. at 222–23. Plaintiff alleges that
rule of reason standard, since, although competition among          Respironics and JRS conspired to fix minimum prices at
distributors is reduced, competition of manufacturers may be        which Respironics' brand CPAPs were sold to the VA.
promoted by allowing them to achieve certain efficiencies in        The alleged agreement involves only a manufacturer and a
the distribution of their products. Oreck Corp. v.. Whirlpool       distributor, two parties that undoubtedly operate at different
Corp., 579 F.2d, 126, 131 (2d Cir.1978). Plaintiff's contention     market levels. As a result, this type of alleged price-fixing
that the defendants' alleged group boycott is per se unlawful       agreement is vertical in nature. While vertical price-fixing
is therefore incorrect. The rule of reason is the appropriate       agreements were previously held to be per se unlawful under
                                                                    the antitrust laws, the Supreme Court recently changed its


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position. See Leegin Creative Leather Products, Inc. v. PSKS,       arrangement constitutes ‘a substantial share of the relevant
Inc., 551 U.S. 877, 890, 127 S.Ct. 2705, 2715 (2007). Vertical      market.’ “ Apani, 300 F.3d at 625–26 (explaining that “in
price-fixing is now evaluated under the rule of reason. 12 Id.      order to determine whether a substantial portion of the
                                                                    competition has been foreclosed, [plaintiff] must first identify
12                                                                  the relevant product and geographic markets”). Thus, because
        Horizontal price-fixing remains unlawful per se
                                                                    exclusive dealing agreements are analyzed under the rule of
        under the antitrust laws. See Major League
                                                                    reason, pleading a relevant market is a necessary predicate to
        Baseball Properties, Inc. v. Salvino, Inc., 542 F.3d
                                                                    examining the agreement's anticompetitive impact.
        290, 315 (2d Cir.2008) (citing Arizona v. Maricopa
        County Med. Soc., 457 U.S. 332, 102 S.Ct. 2466
        (1982)).                                                       iv). An Exception
                                                                     *18 While vertical restraints typically undergo a rule of
   iii). Exclusive Dealing                                          reason analysis, there are limited exceptions to the horizontal /
Exclusive dealing occurs “when a seller agrees to sell its          vertical dichotomy. The only exception applicable to the facts
output of a commodity to a particular buyer.” Apani, 300 F.3d       of this case is when a supplier, “although acting vertically,
at 625 (citing WILLIAM C. HOLMES, ANTIRUST LAW                      refuses to deal with ... a customer at the behest of the
HANDBOOK § 4.02[3] (1999)). Plaintiff argues that both              customer's competitor.” Jayco, 777 F.2d at 317–18. Although
Respironics and ResMed violated section 1 through exclusive         the result is, itself, a vertical restraint, “the desired impact
agreements with JRS for the distribution of their products          is horizontal and on the dealer, not the manufacturer, level.”
to the VA. Defendants point out that “exclusive dealing             Cernuto, Inc. v. United Cabinet Corp., 595 F.2d 164, 168 (3d
arrangements are presumptively legal,” and the policing of a        Cir.1979).
valid distribution agreement is not an actionable violation of
section 1. (Rec. Doc. 18–1 at 8); see E & L Consulting, Ltd. v.     To qualify for this exception, JRS must be the source
Doman Indus., Ltd., 472 F.3d 23, 29–30 (2d Cir.2006) (stating       of the alleged restraint, because, of the defendants, JRS
that an exclusive distributorship agreement, standing alone, is     is plaintiff's only competitor. See Abadir & Co. v. First
not illegal).                                                       Miss. Corp., 651 F.2d 422, 427 n. 5 (5th Cir.1981); see
                                                                    also Red Diamond, 637 F.2d at 1004 n. 4 (stating that
Exclusive dealing agreements can be attacked under the rule         “conspiracies between a manufacturer and its distributors
of reason, but are not per se violations of the antitrust laws.     are only treated as horizontal ... when the source of the
Eastern Food Servs., Inc. v. Pontifical Catholic University,        conspiracy is a combination of the distributors.”). With regard
357 F.3d 1, 4–5 (1st Cir.2004); see also A.H. Cox & Co.             to Respironics, plaintiff asserts that JRS had “strong influence
v. Star Machinery Co., 653 F.2d 1302, 1306 (9th Cir.1981)           at Respironics.” (Rec. Doc. 4–2 at 14). Taken as true, this
(stating that exclusive manufacturer dealer arrangements are        statement does not give rise to an inference that JRS was the
generally viewed as vertical in nature, thus rendering the per      source of Respironics' decision to limit Vaughn Medical to
se rule of illegality inapplicable). This is because the focus of   patient-only distribution rights. If anything, the facts pleaded
the analysis remains on market effect. George Haug Co., Inc.        suggest that the defendant manufacturer Respironics acted
v. Rolls Royce Motor Cars, Inc., 148 F.3d 136, 140 n. 1 (2d         independently when it denied Vaughn Medical the right to
Cir.1998). An exclusive dealing arrangement does not violate        distribute its products to the VA. (Rec. Doc. 4–2 at 9). As a
the antitrust laws “unless the probable effect of the agreement     result, the agreement between Respironics and JRS must be
‘will foreclose competition in a substantial share of the line      evaluated using the rule of reason. See Red Diamond, 637 F.2d
of commerce affected.’ “ Apani, 300 F.3d at 625 (citing Bob         at 1004 (“When the manufacturer is the source, the conspiracy
Maxfield, Inc. v. Am. Motors Corp., 637 F.2d 1033, 1036 (5th        is vertical.”) (citing United States v. Arnold Schwinn & Co.,
Cir.1981)).                                                         388 U.S. 365, 372, 87 S.Ct. 1856 (1967).

To properly allege that an exclusive dealing agreement              ResMed's involvement in the alleged conspiracy, though,
violates the Sherman Act, a plaintiff must first define the         warrants closer scrutiny. Plaintiff proposes that JRS may
relevant market in terms of its product and geography.              have initiated an arrangement that granted ResMed access
Apani, 300 F.3d at 625 (citing Tampa Elec., 365 U.S. at             to the VA market, provided that JRS was the only firm
327–28, 81 S.Ct. 623). A plaintiff must then plead facts            allowed to distribute its CPAP masks to the VA. (Rec.
to demonstrate that the “competition foreclosed by the              Doc. 4–2 at 24). Aside from the conclusory nature of this


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allegation, the plaintiff overlooks one key feature of this
exception. The exception is activated only by a concerted             i). Product Market
refusal to deal. Here, the complaint paints the picture of         The boundaries of a product market are determined by the
an exclusive distribution agreement between ResMed and             reasonable interchangeability of use and “the degree of cross-
JRS. The complaint suggests only that ResMed will not              elasticity of demand between the product and substitutes for
allow Vaughn Medical to distribute its CPAP masks to the           it.” Apani, 300 F.3d at 626. “Interchangeability implies that
VA. However, ResMed also manufactures CPAPs. The facts             one product is roughly equivalent to another for the use to
alleged do not permit the Court to reasonably infer that           which it is put.” Queen City Pizza, Inc. v. Domino's Pizza,
ResMed will not allow Vaughn Medical to distribute its             Inc., 124 F .3d 430, 437 (3d Cir.1997) (internal quotation
products to other clients on the open market. It is difficult      and citation omitted). Cross-elasticity of demand measures
to rationalize how any alleged agreement between JRS and           the substitutability of those products from viewpoint of the
ResMed could be per se illegal, as plaintiff suggests, if          buyers. 13 Id. at 438 n. 6.
Vaughn Medical retains the ability to distribute ResMed's
products to clients other than VA. The Court finds this            13      Cross-elasticity of demand is defined as “[a]
exception inapplicable to the facts of this case. Plaintiff has            relationship between two products, usually
not pleaded facts to demonstrate ResMed's blanket refusal to               substitutes for each other, in which a price change
deal with Vaughn Medical. Consequently, the rule of reason                 for one product affects the price of the other.”
applies to all of plaintiff's section 1 claims.                            BLACK'S LAW DICTONARY 405 (8th ed.2004).
                                                                   Defendants read the complaint to imply that the product
c. Relevant Market Allegations                                     market is the sale of Respironics' CPAPs to VA medical
 *19 Under section 1 of the Sherman Act, a relevant market         centers. (Rec. Doc. 18–1 at 6–7). In its opposition brief, the
must be pleaded for the Court to assess any anticompetitive        plaintiff disputes such a reading, insisting that the alleged
effects in a rule of reason analysis. Muenster, 651 F.2d at        product market includes all CPAPs. (Rec. Doc. 27 at 12). The
295. The definition of a relevant market is “a function of the     facts alleged in the complaint, however, wholly contradict
relevant product market and the relevant geographic market.”       such an assertion. Nowhere does plaintiff assert that JRS
Wampler v. S .W. Bell Tel. Co., 597 F.3d 741, 744 (5th             distributes any CPAPs other than Respironics' CPAPs. (Rec.
Cir.2010); see also Apani, 300 F.3d at 627 (citing Spectators',    Doc. 27 at 11). Nor does the plaintiff mention any CPAP
253 F.3d at 220). A relevant product market includes the line      manufacturer other than the defendants Respironics and
of goods or services reasonably interchangeable in use. U.S.       ResMed. In reference to its section 1 claim, all of the plaintiff's
v. E.I. duPont de Nemours & Co., 351 U.S. 377, 396, 76 S.Ct.       allegations of anticompetitive activities are made solely in
994 (1956). The relevant geographic market is “the area of         reference to their ability to resell Respironics brand CPAPs.
effective competition ... in which the seller operates, and to     (Rec. Doc. 4–2 at 26–29). This deficiency is critical because
which the purchaser can practicably turn for supplies.” Tampa      courts have generally held that a single brand, no matter how
Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 327, 81 S.Ct.       distinctive or unique, and no matter how intense the brand
623 (1961).                                                        loyalty, cannot constitute a relevant market. 14 See PSKS,
                                                                   Inc., v. Leegin Creative Leather Prods., 2009 WL 938561
The Court recognizes that market definition is a deeply fact-      at *2 (E.D.Tex.2009) (citations omitted); see also Will v.
intensive inquiry that generally cannot be resolved at the         Comprehensive Accounting Corp., 776 F.2d 665, 672–73 (7th
motion to dismiss stage. See Seidenstein, 769 F.2d at 1106.        Cir.1985); General Business Sys. v. North American Phillips
However, “[w]here the plaintiff fails to define its proposed       Corp., 699 F.2d 965, 972–75, 977–78 (9th Cir.1983); Little
relevant market with reference to the rule of reasonable           Caesar Enters., Inc. v. Smith, 34 F.Supp.2d 459, 477 n. 30
interchangeability and cross-elasticity of demand, or alleges      (E.D.Mich.1998).
a proposed relevant market that clearly does not encompass
all interchangeable substitute products even when all factual      14      While it is true that “antitrust law recognizes ...
inferences are granted in plaintiff's favor, the relevant market
                                                                           economically significant submarkets ... which
is legally insufficient and a motion to dismiss may be
                                                                           themselves constitute relevant product markets,”
granted.” Apani, 300 F.3d at 628.
                                                                           plaintiff has not alleged that the Respironics
                                                                           CPAPs constitute a unique submarket that



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       should be considered separately for antitrust             Cir.1992) (affirming district courts dismissal of claim for
       purposes. Leegin, 2009 WL 938561 at *3 (citing            failure to plead a relevant market; proposed relevant market
       Domed Stadium Hotel, Inc. v. Holiday Inns,                consisting of only one specific television channel defined
       Inc., 732 F.2d 480, 487–88 (5th Cir.1984).                too narrowly); Tower Air, Inc. v. Federal Exp. Corp., 956
       “The boundaries of such a submarket may                   F.Supp. 270 (E.D.N.Y.1996) (“Because a relevant market
       be determined by examining such practical                 includes all products that are reasonably interchangeable,
       indicia as industry or public recognition of              plaintiff's failure to define its market by reference to the
       the submarket as a separate economic entity,              rule of reasonable interchangeability is, standing alone, valid
       the product's peculiar characteristics and uses,          grounds for dismissal.”). Furthermore, because the entire
       unique production facilities, distinct customers,         foundation of plaintiff's antitrust claims is constructed only
       distinct prices, sensitivity to price changes, and        of its inability to distribute Respironics' CPAPs to the VA,
       specialized vendors.” Apani, 300 F.3d at 626 (citing      the Court finds that plaintiff is incapable of successfully
       Heatransfer Corp. v. Volkswagenwerk, A. G., 553           asserting the existence of any legally sufficient product
       F.2d 964, 980 (5th Cir.1977)). Even if this assertion     market. As a result of this finding, the plaintiff's section 1
       were made, Respironics' CPAPs are not a viable            claims are irreversibly flawed. 15 Plaintiff's section 1 claims
       submarket, since “a submarket is still a market” and      are therefore DISMISSED. d. Section 2 of the Sherman Act
       “a single brand cannot be its own market.” Leegin,
       2009 WL 938561 at *3.                                     15      Due to the Court's finding that the plaintiff is
 *20 More importantly, the complaint is entirely devoid                  wholly incapable of defining a relevant product
of any allegations that CPAPs manufactured and sold to                   market in support of its antitrust claims, the Court
the VA are not reasonably interchangeable with CPAPs                     need not address the sufficiency of plaintiff's
sold to individuals, sleep centers, or other government                  proposed geographic market.
entities, for example. Nothing in the record would suggest
                                                                 Section 2 provides a cause of action against “single firms
that the CPAPs sold to the VA are unique or functionally
                                                                 that monopolize or attempt to monopolize, as well as
distinguishable from other CPAPs. Yet plaintiff makes no
                                                                 conspiracies and combinations to monopolize.” Spectrum
mention of interchangeable substitute products. Plaintiff
                                                                 Sports v. McQuillan, 506 U.S. at 447, 454, 113 S.Ct. 884
asserts only that the VA prefers Respironics' CPAPs to
                                                                 (1993). Monopoly power is understood as “the power to
those of other distributors. While this may be the case,
                                                                 control price or exclude competition” from the relevant
a separate product market cannot be established by a
                                                                 market. E.I. duPont de Nemours, 351 U.S. at 391. Plaintiff
single customer's preference for a particular manufacturer
                                                                 alleges that defendants have monopolized, attempted to
of a particular device. See Newcal Indus., Inc. v. Ikon
                                                                 monopolize, and conspired to monopolize the sale of CPAPs
Office Solutions, 513 F.3d 1038, 1045 (9th Cir.2008) (“The
                                                                 and CPAP-related products to the VA. Defendants respond
consumers do not define the boundaries of the market,
                                                                 that plaintiff's § 2 claims should be dismissed for failure to
the products or producers do.”). Nor may a company that
                                                                 plead a relevant market. (Rec. Doc. 18–1 at 12–14).
“limits its competitive activities to a single firm's products
(and at only one competitive level) ... control the definition
                                                                  *21 The Fifth Circuit has held that “[b]ecause the relevant
of the relevant market.” Spectrofuge Corp., v. Beckman
                                                                 market provides the framework against which economic
Instruments, Inc., 575 F.2d 256, 282 (5th Cir.1978) (citing
                                                                 power can be measured, defining the product and geographic
Telex Corp. v. Int'l Bus. Mach. Corp., 510 F.2d 894,
                                                                 markets is a threshold requirement under § 2 [of the Sherman
917 (10th Cir.1975). As the plaintiff has wholly neglected
                                                                 Act].” Seidenstein v. National Med. Enters., Inc., 769 F.2d
to reference the rule of reasonable interchangeability, its
                                                                 1100, 1106 (5th Cir.1985); see also Doctor's Hosp., 123 F.3d
proposed product market of Respironics CPAPs is legally
                                                                 at 311. For the reasons stated in the previous section, plaintiff
unsustainable. When such a deficiency is present, a motion
                                                                 has failed to plead a relevant product market from which
to dismiss may be granted. See Apani, 300 F.3d at 628; see
                                                                 the anticompetitive effects of defendants' conduct can be
also Queen City Pizza, Inc. v. Domino's Pizza, Inc., 124 F.3d
                                                                 measured.
430, 436 (3d Cir.1997) (affirming district court's dismissal
of claim for failure to plead relevant market; proposed
relevant market defined too narrowly); TV Comms. Net.,           e. Anticompetitive Effect
Inc. v. Turner Net. Telev., Inc., 964 F.2d 1022, 1025 (10th


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Market considerations provide the objective benchmark for
the measurement of competitive impact. Continental T.V., 433         17      Section 1982 provides that all U.S. citizens have
U.S. at 54. Competitive injury cannot be ascertained without                 the same right as white citizens to purchase real or
first defining the relevant market. Apani, 300 F.3d at 627                   personal property. 42 U . S.C. § 1982.
(noting that the relevant market must be identified before
a court may determine whether an alleged anticompetitive             The conspiracy claim under § 1985(3) requires the plaintiff
arrangement foreclosed competition). In this case, the absence       to plead (1) the existence of a conspiracy; (2) the purpose of
of a legally cognizable market precludes the Court from              the conspiracy was to deprive, either directly or indirectly,
assessing the anticompetitive effect of defendant's alleged          any person or class of persons of equal protection of the laws,
activities. See Leegin, 2009 WL 938561 at *5 (commenting             or of equal privileges and immunities under the laws; (3)
that when a plaintiff fails to define a relevant market, the         an act in furtherance of the conspiracy; and (4) a resulting
court is left without a means to gauge anticompetitive effect.).     injury in the plaintiff's person or property or the deprivation
Plaintiff's section 2 claims are also DISMISSED.                     of a right or privilege of a citizen. See Mian v. Donaldson,
                                                                     Lufkin, and Jenrette Securities Corp., 7 F.3d 1085, 1087
                                                                     (2d Cir.1993); see also United Brotherhood of Carpenters
4. Civil Rights Claims                                               and Joiners of America et al. v. Scott, 463 U.S. 825, 828–
The complaint asserts that the defendants have acted                 29, 103 S.Ct. 3352 (1983). Additionally, a § 1985(3) claim
individually and in concert, combination, and conspiracy to          requires a plaintiff to allege “that (1) some racial (or otherwise
impede Vaughn Medical's right to make and enforce contracts          class-based, invidiously discriminatory) animus” underlie the
and its right to buy, sell, and hold property in violation of        conspirators' action; and (2) that the conspiracy “aimed at
42 U.S.C. §§ 1981, 1982, 1985. (Rec. Doc. 4–2 at 29). To             interfering with federal right that are protected against private,
establish a prima facie claim under § 1981, the plaintiff            as well as official, encroachment.” Zuyus, 439 F.Supp.2d
must allege facts to support the following three elements:           at 637 (citing Bray v. Alexandria Women's Health Clinic,
(1) the plaintiff is a member of a racial minority; (2) an           506 U.S. 263, 268, 113 S.Ct. 753 (1993). To guarantee the
intent to discriminate on the basis of race by defendants;           survival of each of these claims at the motion to dismiss
(3) the discrimination concerns one or more of the activities        stage, the complaint must plead facts sufficient to support an
enumerated in the statute. 16 Green v. State Bar of Tex., 27         inference that the defendants intended to discriminate against
F.3d 1083, 1086 (5th Cir.1994). The “enumerated activity”            the plaintiff on the basis of race.
implicated in this case is the right to “make and enforce
contracts.”                                                           *22 The defendants advance numerous reasons why
                                                                     plaintiff's civil rights claims should be dismissed. It is
16                                                                   unnecessary, however, for the Court to expound on the
        “All persons within the jurisdiction of the United
                                                                     virtues of each argument. Although replete with conclusory
        States shall have the same right in every State and
                                                                     allegations of racial animus, the complaint is bereft
        Territory to make and enforce contracts, to sue, be
                                                                     of any contextualized factual assertions from which to
        parties, give evidence, and to the full and equal
                                                                     infer the defendants' activities were ultimately driven by
        benefit of all laws and proceedings for the security
                                                                     discriminatory intent. This deficiency is fatal to plaintiff's
        of persons and property as is enjoyed by white
                                                                     civil rights claims.
        citizens, and shall be subject to like punishment,
        pains, penalties, taxes, licenses, and exactions of
                                                                     The plaintiff's civil rights claims rely heavily on Exhibit A,
        every kind, and to no other.” 42 U.S.C. § 1981
                                                                     also referred to as the Whistleblower Letter. In that letter, an
A § 1982 claim requires the plaintiff to “allege with specificity    anonymous source alleged that members of the VA's Product
facts sufficient to show or raise a plausible inference of (1) the   Team Committee made discriminatory remarks about Vaughn
defendant's racial animus; (2) intentional discrimination; and       Medical and other minority-owned companies. (Rec.Doc.4–
(3) that the defendant deprived plaintiff of his rights [to buy,     2, Ex. A). Defendants rely on Federal Rule of Civil Procedure
sell, and hold property] because of race.” 17 Zuyus v. Hilton        10(a) when arguing that the exhibit is not a proper attachment
Riverside, et al., 439 F.Supp.2d 631, 636 (E.D.La.2006)              since it does not give rise to the claims asserted. (Rec. Doc.
(citing Brown v. Philip Morris, Inc., 250 F.3d 787, 797 (3d          18–1 at 17–18).
Cir.2001).



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The plaintiff refers to Exhibit A when asserting that               provide any facts that, when taken in context, would indicate
Respironics and JRS referred to Vaughn Medical and two              that any of the defendants' activities were in fact driven by
other companies as “ni* *er companies.” (Rec. Doc. 4–2              racial animosity.
at 19). Exhibit A, however, does not lend support to this
assertion. As the exhibit shows, the statement was made not          *23 One illustration of the contradictory character of the
by an employee of Respironics or JRS, but by an employee            allegations of racial animus is as follows. Plaintiff pleads
of the VA. Even if the defendants were aware that these             that it was a customer to Respironics prior to seeking entry
statements were made, such racial animus would only be              to the VA market. (Rec. Doc. 4–2 at 8). Plaintiff asserts
relevant as it pertains to decisions reached by the VA. Here,       that defendant would still be selling its products to Vaughn
the Court will not impute the alleged racial animus of one          Medical today had plaintiff never decided to enter the VA
VA employee to the defendant corporations. As the exhibit           market. (Rec. Doc. 4–2 at 8). Specifically, the complaint
does not give rise to the legal rights asserted here by plaintiff   alleges that, although the defendant refused to provide the
under 42 U.S.C. §§ 1981, 1982, and 1985, the Court will not         necessary “Letter of Commitment” to conduct business with
consider its content. 18                                            the VA, Respironics remained willing to sell its products to
                                                                    Vaughn Medical for any purpose other than resale to the
18                                                                  VA. (Rec. Doc. 4–2 at 9). Taken as a whole, the allegations
        See Walker v. S. W.I.F. T. SCRL, 517 F.Supp.2d 801,
                                                                    are seemingly meant to suggest that Respironics' refusal to
        806 (E . D.Va.2007) (noting that, when evaluating
                                                                    grant distribution rights to the plaintiff for its CPAPs is
        a dismissal motion, not every document referenced
                                                                    racially motivated only when the buyer is VA medical centers.
        in the complaint can be considered a part of
                                                                    Notably absent are any facts to explain this distinction.
        the complaint; the referenced document must be
                                                                    Also missing is any explanation of why plaintiff's efforts
        “central or integral to the claim in the sense that
                                                                    to pursue the VA market arbitrarily prompted sentiments
        its very existence, and not the mere information it
                                                                    of racial animosity among the defendants, or how such
        contains, gives rise to the legal rights asserted.”).
                                                                    sentiments actually drove their policy of exclusion. As a
Turning to the complaint, a brief review of the allegations         result, the plaintiff's assertions amount to nothing more than
contained therein clearly illustrates the formulaic character       mere conclusions. See Twombly, 550 U.S. at 555.
of plaintiff's claims of discrimination. The plaintiff makes
the following assertions: that defendants “improperly exerted       Pursuant to Ashcroft v. Iqbal, each of these conclusory
pressure on the VA to coerce it into its erroneous decision that    assertions is to be ignored. 129 S.Ct. 1937, 1951 (2009) (“It
Vaughn Medical was not authorized to do business with the           is the conclusory nature of respondent's allegations, rather
VA,” and that these efforts were partially based “on the fact       than their extravagantly fanciful nature, that disentitles them
that Vaughn Medical was a minority-run business” (Rec. Doc.         to the presumption of truth.”). The plaintiff has failed to
4–2 at 11–12, 18); that defendants Respironics and JRS were         plead any facts that would permit the reasonable inference
motivated by racial animus when they conspired to prevent           that the defendants activities were motivated by an intent to
Vaughn Medical from competing in the sale of Respironics'           discriminate against plaintiff on the basis of race. See Iqbal,
brand CPAPs to the VA (Rec. Doc. 4–2 at 13); that defendant         129 S.Ct. 1949. Therefore, it cannot state a claim under §§
Respironics' refusal to warrant Respironics brand CPAPs sold        1981, 1982, and 1985, and these claims must be DISMISSED.
to the VA by Vaughn Medical was motivated by racial animus
(Rec. Doc. 4–2 at 15); that JRS was able to exploit its non-
minority owned status to the detriment of Vaughn Medical            5. State Law Claims
and other so-called “ni* *er companies” (Rec. Doc. 4–2 at           In addition to the federal claims, plaintiff asserts numerous
19); that the defendants' efforts to undermine the credibility      claims under state law. 19 However, because the Court has
of Vaughn Medical to VA medical centers throughout the              dismissed the plaintiff's federal claims, the Court dismisses
country were motivated, at least partially, by racial animus        the plaintiff's state law claims pursuant to 28 U.S.C. § 1367.
(Rec. Doc. 4–2 at 21); that the defendants' representatives
were motivated by racial animus when they created and               19     Plaintiff asserts claims under Texas state law for
showed falsified correspondence to individual VA medical
                                                                           tortuous interference, civil conspiracy, defamation,
centers in an attempt to further diminish Vaughn Medical's
                                                                           and unjust enrichment.
reputation (Rec. Doc. 4–2 at 23). But the plaintiff has failed to



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Absent an independent basis for federal subject matter
                                                                       Furthermore, all of the plaintiff's state claims arise under
jurisdiction, plaintiff's Texas state law claims may remain
                                                                       Texas law, not Louisiana law. Thus, this Court has
in federal court only if this Court decides to exercise
                                                                       no incentive to retain jurisdiction over the plaintiff's
supplemental jurisdiction over these claims pursuant to 28
                                                                       pendent state law claims now that the federal claims have
U.S.C. § 1367. Under this statute, the court may decline to
                                                                       been dismissed. Plaintiff's state law claims are therefore
exercise supplemental jurisdiction over a pendent state law
                                                                       DISMISSED without prejudice so that the plaintiff may re-
claim if (1) the claim raises a novel or complex issue of state
                                                                       file those claims in Texas state court should it so choose.
law; (2) the claim substantially predominates over the claim or
claims over which the district court has original jurisdiction;
or (3) the district court has dismissed all claims over which it
                                                                       6. The Noerr–Pennington Doctrine Bars all Claims
has original jurisdiction. See 28 U.S.C. § 1367(c)(1)-(3)              As the plaintiff's federal claims have been dismissed on other
                                                                       grounds, the Court need not address the applicability of the
The Court notes that all federal claims over which it has              Noerr–Pennington doctrine.
jurisdiction have been dismissed. When such is the case, the
Court has wide discretion to dismiss pendent state law claims.
See Robertson v. Neuromedical Center, 161 F.3d 292, 296 (5th           7. Conclusion
Cir.1998); Bennett v. City of New Orleans, 2004 WL 60316               Accordingly, IT IS ORDERED that that defendants' motion
at *9 (E.D.La.2004). However, when the federal claims are              to dismiss for improper venue is DENIED.
dismissed before trial, such as here, the general rule is to
dismiss pendent state law claims. See Holland v. GEXA Corp.,           IT IS FURTHER ORDERED that plaintiff's federal claims
161 Fed. Appx. 364, 366 (5th Cir.2005). As the Supreme                 under 15 U.S.C. § 1, 2, 13, 14 and 42 U.S.C. § 1981, 1982,
Court has stated,                                                      1985 are DISMISSED.

                                                                       IT IS FURTHER ORDERED that plaintiff's remaining state
              *24 Needless decisions of state law                      law claims for lack of subject matter jurisdiction under 28
             should be avoided both as a matter                        U.S.C. § 1367 are DISMISSED without prejudice.
             of comity and to promote justice
             between the parties.... Certainly, if the                 IT IS FURTHER ORDERED that defendants' motion to
             federal claims are dismissed before                       transfer is MOOT.
             trial, even though not insubstantial in
             a jurisdictional sense, the state claims
                                                                       All Citations
             should be dismissed as well.
                                                                       Not Reported in F.Supp.2d, 2010 WL 3488244, 2011-2 Trade
                                                                       Cases P 77,583
United Mine Workers v. Gibbs, 383 U.S. 715, 726, 86 S.Ct.
1130 (1966).

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                               THE BROOKINGS INSTITUTION

                                      FALK AUDITORIUM

A CONVERSATION WITH FTC CHAIR LINA KHAN AND DOJ ASSISTANT ATTORNEY GENERAL

                   JONATHAN KANTER ON ANTITRUST ENFORCEMENT

                                       Washington, D.C.

                                  Thursday, October 5, 2023



PANEL:

     LINA M. KHAN
     Chair
     Federal Trade Commission

     JONATHAN KANTER
     Assistant Attorney General, Antitrust Division
     U.S. Department of Justice

MODERATOR:

     BILL BAER
     Visiting Fellow, Governance Studies
     The Brookings Institution




                                               * * * * *




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        BAER: Good morning, everybody, and welcome to Brookings. Welcome to those in person

and those online and on C-SPAN. Before I introduce our distinguished guests, I thought I'd give you a

little sense of how we propose to run the program today. We are going to do 60 minutes of discussion

among the three of us. Then we'll open up for 30 minutes of questions from the floor, as well as

questions submitted online. We do ask if you're going to ask a question, identify yourself, and identify

any appropriate affiliation. Let's get on with the program. So, The Brookings Institution and the

Governance Studies program, of which I am part — I'm Bill Baer, by the way, a visiting fellow here at

Brookings and the Governance Studies program. We’re honored to welcome back to Brookings, Chair

Lina Khan of the FTC, Assistant Attorney General Jonathan Kanter from the Justice Department. Let

me quickly introduce both. They need no introduction but I'm going to give them a short one here.

        Lina Khan. Most recent job prior to the FTC was on the faculty of Columbia Law School.

Before that, she was counsel of the House Antitrust Subcommittee. She, before that, was an attorney

advisor to then Commissioner Chopra, who's now chair of the Consumer Financial Protection Board.

She's a prolific contributor to the antitrust debate, including a widely read piece while she was a

student at Yale, a law journal on tech platform dominance. She was nominated by President Biden to

be a commissioner on the FTC. She was confirmed by the Senate in June of 2021. I think she set a

record in terms of time as a commissioner before becoming chair, because a nanosecond after her

confirmation, the president announced he was going to designate her as FTC chair.

        Jonathan Kanter. He's been a partner in two different national law firms. Most recently,

though, set up an antitrust boutique here in D.C. Like Chair Khan, he's been an advocate, a vocal

advocate, for vigorous antitrust enforcement. Also like Lina, he's tough and determined, as

demonstrated early in his legal career by surviving two years working for me. So let's get to the

questions. Although, I should note that Assistant Attorney General Kanter was confirmed by the

Senate in November of 2021. So he's coming up on two years, Lina's got almost two and a half years

in position.

        First of all, welcome. Thank you for coming. The first question really is at about 10,000 feet.

Both of you, before assuming your roles in government, have been critical of underenforcement of the

antitrust laws and judicial interpretation of the Sherman, the Clayton, and the FTC Act. I think the

bottom-line position you both have articulated is that past antitrust enforcement maybe over the last

30 to 40 years has left a lot of consumer injuries unaddressed or under-addressed. And that means




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harm to consumers, to workers that antitrust enforcement should be reaching and had not been

doing. I think it's fair to say and you would embrace the notion that the president appointed you

because you saw the need to be a game changer. So the first question is, is that an accurate

characterization of the role, specifically as you approached the job upon Senate confirmation? What

goals did you have in mind? And can you offer a little bit of a self-assessment of progress thus far?

Lina, why don't we start with you as the more senior member of the Antitrust administration.

        KHAN: Well, first of all, let me just say it's so great to be here. Thanks so much for Brookings

for hosting, and this is just an honor to share the stage with Bill. As you all know, Bill is an antitrust

legend, and I've just been so grateful for his friendship and counsel over the years. So, look, there's

no question that, as the president noted in his 2021 executive order on competition, there's been a

serious reassessment of antitrust and the need for a reinvigorated competition policy. I think there is a

decent understanding that over recent decades we've seen waves of M&A, waves of consolidation

across markets so that many markets across the U.S. are now dominated by a small number of

companies, and that that lack of competition is harming the American people. It's resulting in higher

prices. It's resulted in lower wages. It's led innovation to decline. It's made it more difficult for

entrepreneurs and startups to really get a foothold in the market. And that this overall means that our

economy is worse off. But also, as the president noted, it also means our democracy is worse off. And

I think there's been a government-wide effort, a whole of government effort to reinvigorate competition

policy. And it's been an honor to be part of that effort at the FTC.

        At the FTC we have a whole set of law enforcement tools, but we also have policy tools. And

we've really been seeking to fire on all cylinders to make sure that we're faithfully enforcing the laws

that Congress passed. So we enforce the Sherman Act and the Clayton Act, but also critically, the

FTC Act. And one of the things that we've been doing at the FTC is really going back to the statutes,

including Section 5 of the FTC Act, and understanding what was Congress's goal when Congress

wrote unfair methods of competition, how have courts interpreted that, and how can we make sure

that across our enforcement, we are being entirely faithful to the text of the statutes and to the legal

precedent that's on the books. So that's really what we've been engaged in. It's been so fantastic to

be in close partnership with our colleagues at the Antitrust Division. And, you know, we always want

to be moving with even greater urgency and greater speed, but we're really thrilled with the progress




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we've already made. In the last month alone, we filed two major monopolization lawsuits. This past

summer in conjunction with the DOJ, proposed draft merger guidelines.

        BAER: That's where I'm going next but go ahead.

        KHAN: Have a whole set of rulemakings underway, both on the consumer protection side as

well as the competition side, including our rule that we proposed earlier this year that would eliminate

non-compete clauses in contracts. So, we're really thrilled with the progress we've already made. The

FTC is quite small, all things considered. We have around 1200 people, only half of which are really

devoted to antitrust. We're smaller today than we were in the 1970s. And so we're small but mighty,

and really looking to fire on all cylinders to to meet the moment because we recognize the urgency of

the problems that we're looking to address.

        BAER: Thanks. Jonathan.

        KANTER: Sure, allow me to also echo the sentiments that Lina shared. When I started at the

FTC as a bright-eyed summer intern summer of 1996 and, and eventually as a first-year lawyer in

1998, I looked up and saw two giants. I saw Bill Baer and then chair Bob Pitofsky, Bill as director of

the Bureau of Competition. And I thought to myself, that if I'm fortunate, I will grow up to be like Bill

and Bob and--.

        BAER: But with more hair than Bill.

        KANTER: Well, not, not much. Yeah. And so, you know, being here and being in this moment

with you and with Chair Khan is unbelievably humbling for me and very meaningful and moving. So I

do think that, you know, Lina encapsulated a lot of what it is we're trying to do, which is we're trying to

go back to first principles. What is the goal? What are the goals of the antitrust laws? Well, Congress

made a value judgment, and I think it was a wise value judgment, that competition matters. Why?

Because a democratic society depends on opportunity, access to opportunity, the ability to start a

business and realize the American dream, the ability to be upwardly mobile as a worker, as an

entrepreneur, the ability to benefit from innovations, lower prices. All of these are core fundamental

values to our society. And the antitrust laws are the cornerstone of protecting those values. And we

have a very serious responsibility, which is to do that, and we take that very seriously. And we have to

look at the world around us and not think about antitrust as this overly technocratic exercise, but

instead think about antitrust as law enforcement. Congress wrote a law; courts have interpreted it.

Our job is to enforce that law.




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        And so, first and foremost, when I had the great fortune and privilege of a lifetime to take the

reins of the Antitrust Division, I started with the principle of, this is an exercise in law enforcement.

And so we, we start with the facts, and we follow the law, and we see where it leads. And I've also,

you know started with the appreciation, but have come to really appreciate that key to success is not

what I do. The key to success is harnessing the talent of the Antitrust division. And that's something,

you know Bill well as someone who sat in my chair as assistant attorney general. But the talent is

overflowing. The dedication, the wisdom, the institutional knowledge, the fortitude, the commitment to

the mission is unending. And so part of my job as I see it, and perhaps the most key ingredient to

success, is making sure we can unleash that. Is-- I look back and think about President Biden's

executive order, the support we received from Attorney General Garland in his dedication to

reinvigorating antitrust enforcement.

        We have a lot to do, but I'm really proud of where we've come. I see, you know, for example,

we've challenged the first ever, and succeeded, in a monopsony case in Penguin Random House,

Simon & Schuster, the first ever successful challenge to an airline transaction at trial. For the first time

in over 45 years, we not only brought monopolization cases as criminal, but we brought two of them,

including one conviction, one that's pending trial. We've had the first ever systematic enforcement of

Section 8 of the Clayton Act, which involves interlocking directorates, which has forced nearly 20

directors to resign from boards with many more investigations ongoing. We've made it very clear that

we are going to, "Follow the puck where it's going," to quote Wayne Gretzky, and enforce the law in

light of how markets actually work. And as a result, we've seen a decline in problematic mergers that

are coming to us in the first place. And that is a win-win. It means that we don't have to use

unnecessary taxpayer resources to block transactions, because those transactions, to quote one of

my predecessors who might be on stage here, "Some transactions should never leave the

boardroom." Also, we've, we've seen many abandonments — over ten, not over a dozen — since

we've started, and these are transactions that in the face of a challenge or the threat of a challenge,

have abandoned.

        So when I look back, you know, it's been a-- the first two years has been a long decade and--

but we're, we're we're excited. We have an amazing team. I am blessed to have — and I see a bunch

of them out here today — an extraordinary team, both in the front office at the Antitrust Division at the




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department more broadly, but most importantly, the Antitrust Division employees who are, with no

offense to my friends at the FTC, second to none.

        BAER: They can be tied.

        KANTER: They can be tied.

        BAER: But, Lina, let me just follow up on a point John Kanter made. I think the public

perception, certainly the antitrust bar and the business community perception, is that the two agencies

have dramatically increased the number of matters, particular in the M&A context they're investigating

and the numbers they're challenging. Jonathan just suggested that's maybe not quite right. That, in

fact, the percentage of problematic transactions is probably about the same or a little less than it had

been previously. Is that your experience as well?

        KHAN: So, I think overall it's true. When I first joined, the number of second requests that we

were issuing went up. But, you know, as a law enforcer, a key goal is deterrence. And more and

more, we're hearing from senior deal makers. I believe there was a head of M&A from a prominent

investment banker on CNBC the other day who said that, previously, considerations around antitrust

used to come in the middle of a deal or even at the end of a deal. And now he's seeing that antitrust

considerations and assessment of antitrust risk is happening at the very start and that there are deals

that are not being proposed because it's determined that from an antitrust perspective, there are

serious legal concerns. And that those deals are, in fact, not getting out of the boardroom. And from a

law enforcement perspective, that deterrence is absolutely a mark of our success. We're looking to

continue building on that. But I think the more we can achieve deterrence, the more we can make

sure that our resources are being deployed more effectively and not having to kind of go after the

flagrant law violations that we're seeing and and really be able to shift attention to areas where we

think there needs to be more efforts, including, for example, on the conduct side. And so overall, we

think that's a really important advancement.

        BAER: That's great. I like the way both of you frame up what you're doing as law enforcement

as opposed to many people misuse the term antitrust regulation. There's not a lot of regulation and

there's a lot of enforcement. But let me continue on the merger thing. For those who are not antitrust

nerds like me, you may be aware that there are draft revised merger guidelines that have been out for

public comment. Public comment period closed a few weeks ago. Merger guidelines have been

around in various forums since the late sixties. They've been updated and revised. The most recent




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revision is 2010. It's sort of attempts to provide the business community and really agency staff, I

think, with a sense of what the framework of analysis should be. And just somewhat to people’s

surprise, the courts over the years have embraced these as a helpful and informative statement of

what the analytical framework ought to be for looking at proposed M&A transactions. Earlier this

summer, you issued new revised-- proposed guidelines, and I want to ask you some specific

questions about what's in there. But you changed the format in a very significant way from the way

they had been since 1982, when my old law professor, Bill Baxter, issued the first revision. But so,

John, can you talk about what went into that thinking and why the framework has changed, and what

significance we should draw from that?

        KANTER: Sure, so let's start with 1982. I was nine years old with a full head of hair. So a lot

has changed in 1982. For those of you who can remember back that far, think about what your lives

were like in 1982, what cars looked like, what phones look like. They had rotors, documents were

stored in file cabinets, not in clouds, and the world was very different. And so the idea that we're

bringing a new format and new framework to how we think about mergers in 2023 versus 1982 should

seem-- the reason for that should be self-evident. The world has changed, and that world has

changed in many ways. World has changed in terms of how competition presents itself. And so that's

how we started this project.

        We said, well, if the goal of antitrust enforcement is to protect competition, then the first

question shouldn't be overly technocratic, like is this horizontal or vertical? Terms that have lots of

meaning to antitrust lawyers, but absolutely, in my 25 years of practice, I don't think I ever saw an

executive refer to a market as horizontal or vertical. We have platform businesses, we have data, we

have privacy issues. People pay with their privacy and their data just as much as they pay with their

wallets now. How people pay, how people communicate has changed. The state of the art in terms of

how we understand markets has changed. A lot of economics has shifted from theoretical abstract to

applied research. We have data science, we have cognitive science, and behavioral economics. The

world's changed. And so by starting with the question, how does competition present itself? And then

saying, does this merger threaten to harm that competition by lessening it or tend to create a

monopoly? We can be faithful to the statute.

        And so we've laid out a number of ways that we see competition presenting itself, all of which

are obvious to people in the business community. Is it a platform market while you look at it one way?




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Is it a straight, you know, horizontal merger among retailers on the same corner? You look at it one

way. Is it a merger that's likely to affect a traditional supply chain with a manufacturer, a distributor, a

retailer? You look at it one way, but there are lots of different ways in which competition presents

itself. And by organizing the guidelines around the realities of the market, it makes certain, we hope,

that we don't miss those market realities as we enforce the law.

        BAER: Thanks. Lina, in this proposed iteration, for the first time, the guidelines cite case law.

What's the rationale behind deciding to refer to antitrust jurisprudence?

        KHAN: So a core pillar of what we're looking to do is fidelity to the law. And so a key part of

this exercise for both of our agencies at the front end was to say, "Let's go back and look at what the

law says," both the text of the Clayton Act, but also the legal precedent that's still on the books, that's

still routinely cited by the courts. And as we went through that exercise, we both identified instances in

which, you know, there had been a bit of a gap between what some of the guidelines had laid out and

what the law on the books had said, as well as just entire kind of doctrinal frameworks that hadn't

really been front and center. And so as part of this exercise, we wanted to make sure we were closing

that gap, making sure that the guidelines were fully faithful to the legal precedent on the books, and

that we were also ensuring that this document was comprehensive. And so they were accounting for

different ways that mergers may threaten competition, even if these hadn't been top of mind in recent

years. So as part of that exercise, we wanted to make sure that we were showing our work, to make

sure that, you know, if these guidelines are going to look different, the burden is on us to explain how

they're grounded in the law. And citing to legal precedents seemed like an actual part of that exercise.

        It's actually been really striking to me to see the sharp reaction to that fact. And I think

reflecting more generally, it seems like in antitrust over the last few decades, there's been, you know,

greater, greater reliance on a whole set of tools, including economic tools that are really important.

But ultimately, this is a law enforcement exercise, and the law is the core anchor. And so we wanted

to make sure that we were giving due respect and appreciation to the law on the books. I'll say more

generally one thing that I think the current structure of the guidelines also does really nicely is it does

a lot of analytical work on the front end. And so you look at the document and there are at least 12

different ways that you can analyze mergers on the front end. And I'll just say, internally, as we think

about how does our staff, with the very limited resources they have on a very expedited timeline,

assess mergers? It's already providing a lot of kind of analytical efficiency on the front end because




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you can look at a deal and say, "This is raising concerns under guideline two, seven, and eight," you

know, whatever combination. And that just anchors the analysis and provides a lot more efficiency

and effectiveness in knowing what are going to be the key dimensions that we're going to be looking

at. And so both from a fidelity to law perspective, but also kind of ease of use for our teams, hopefully

for the business community. I think it's going to, you know, mark a big step forward.

        BAER: Thank you. I'd just add a comment and I've seen some of the comments that have

been filed, and what are there, over 4,000 or something? I've not read them all — most of them, of

course — but have suggested that you're citing old Supreme Court cases. Well, the challenges there

aren't all that many new Supreme Court cases involving mergers. And if you look back, I think

Jonathan, one of your colleagues did a little research and found that in the last 10 years, 50 different

merger decisions have cited to those old Supreme Court cases. They remained good law. They relied

upon the courts. It's not as though the agencies have kind of resurrected them from the grave. They

are alive and functioning, right?

        KANTER: So in a in a law enforcement exercise, you have to look at the law. Has anyone out

here heard of the case, Brown versus Board of Education? No, seriously, raise your hand if you've

heard of it. Do you think we should still cite it as valid case law? Raise your hands. Let the record

reflect that most people are raising our hands. I want to talk to those who are not. That was decided,

what, 1954? My recollection from law school — it's been a while — is that Supreme Court cases don't

expire. And so the question is, how do you take those questions of law and apply them to facts on the

ground today? And as you point out, Bill, these are the cases not only that we're citing to in our

guidelines, these are the cases that the courts are citing to. And in-- and the cases stand for key legal

principles, like mergers shouldn't increase concentration to a certain level, mergers shouldn't take a

firm that already has monopoly power and entrench it further, mergers shouldn't cut off supply of key

inputs to rivals. These are core principles. Questions of law, as they're often referred to in law school,

that's separate from questions of fact. And so how you analyze the fact at any particular merger

depends on the facts of any particular merger, but the key principles are still sound.

        The other thing I'd point out is a lot of the seminal cases in merger enforcement were decided

— and this is actually, I think an important point historically — right after the Celler-Kefauver

amendments, the Anti-Merger Act, right? So the Clayton Act which governs mergers was actually

updated in the fifties to strengthen it to close some loopholes, to make sure that not just horizontal




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mergers, as we call them, were covered. And so what followed, as you might expect after a statute is

updated or written, there were a bunch of cases that were decided to determine what that statute

meant. And so cases like Brown Shoe, and Philadelphia National Bank, and numerous others were

decided in the following decade in order to determine what Congress meant when it revised the

statute. And they went back, and they looked at the text of the statute. They went back and they

looked at what Congress said when they were enacting the statute. And they decided that certain

legal principles applied.

        So, it is not surprising to me that a lot of the key cases interpreting the law were decided right

after the law was updated. But-- and and for that reason, among others, perhaps there have not been

a lot of Supreme Court cases in the last 20 or 30 years. I think the last one didn't even involve--

involving a merger was California-American stores, probably in the early nineties. And before that, it

might have been the seventies. Merger cases just don't go to the Supreme Court that often because a

lot of the key questions around the scope of the statute have already been decided, or at least the

court has determined, do not need clarification or don't get appealed up. That's the reality of what we

have. We have tried to take those principles, embed them into the law, into the merger guidelines,

and then figure out what analytical tools, using the state-of-the-art thinking today, state-of-the-art

economics, state-of-the-art data science, state-of-the-art investigation tools, to figure out how best to

apply the law as written by Congress, interpreted by courts to the facts as they present themselves

today. Certainly, the tools we use today are different than the tools we would have used in the fifties

or sixties, but the legal principles underlying how to-- what principles we're applying. still remain intact.

        BAER: Okay. Let me go to some of the specific criticisms or feedback that appear in the

comment. One I'll hand in myself, which is people, some people seem to perceive the new guidance

as a commitment to when you're going to go to court as opposed to a statement of when you're going

to look and examine the opportunity to go to court. And that misperception isn't, isn't helpful, I think.

But there is one recurrent theme among a fair number of mainstream academicians and others with a

serious interest in effective enforcement. They're trying to understand whether these guidelines are

suggesting that increasing-- increases in concentration in a market, is in and of itself, sufficient to

initiate an investigation to go to court. That showing threat of substantial economic harm, showing a--

the risk that market power will be obtained or enhanced, isn't part of what the government needs to do

when it challenges an acquisition. Is that a fair reading of the way the draft is intended to work?




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        KHAN: So look, the structural presumption has been longstanding, and the guideline honors

that. The first 13 principles that we lay out are really about what the government is going to be doing

as part of its prima facie assessment. There is a separate section of the guidelines that's devoted to

rebuttals, laying out what opportunity firms have to say, "Okay, I understand government, this is your

initial case, but hey there's all this additional evidence that you should take into account." And so I

think there's also been a misunderstanding about what we're saying relating to the opportunity to

provide rebuttal evidence, and the first 13 guidelines really laying out what is it that the government

will be using as key templates as we make our initial assessments. So that's the core a core part of it.

        I think another key feature of these guidelines is that we recognize that no single set of

analytical tools are necessarily going to be the right ones, right? There's no one-size-fits-all all. The

right analytical tools to assess what competition looks like is going to vary depending on the market.

And so the guidelines honor that fact. We say there's no single tools that are going to have primacy.

Here are a whole set of tools, some of which are going to be looking at direct evidence of market

power, some of which are going to be relying on more kinds of econometric tools that we've been

using. And we're gonna use the right tools depending on the context. And so, I think that's actually a

really important step forward because, you know, we've seen all too often, and I think the courts have

kind of said this back to us, that we need to be mindful about what are the right tools for a particular

context. And so that's what the document's also trying to reflect.

        BAER: Jonathan, can you also give your sense of when we can expect a final version?

        KANTER: Oh, that's a great question that I won't answer. No, we're somewhere working as

quickly as we can to ingest the comments. I've read a lot of them. Let me start by saying that I think

one of the things that's absolutely remarkable about the process this time around — and I'd be

interested in your observations, Bill, because I know you lived through earlier revisions both in the

agencies and around the agencies — but a lot of the comments are from people, workers, farmers,

emergency room nurses, small business owners, and they're writing in in their own name and in their

own words. And they're making sense. They're talking about their concerns. They're talking about how

concentration and mergers have affected their lives and their-- the opportunities that they believe

should be available to them to compete and to work and to benefit from competitive economies, not

only in certain parts of the country but throughout the country. And I think this, to me, encapsulates




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the moment. One, the moment of-- the country's watching. The country cares about competition in a

competitive economy because it affects so many aspects of our lives and our democracy. But also,

and this was a deliberate choice on our part, to write the guidelines in a way that's accessible to the

broader public.

        And I think one of the concerns I had — and I've talked about this — is that the language we

use in antitrust has become exclusionary and it's become overly technocratic in many instances when

it's not necessary. And by using words that people can relate to, terms that resonate with people who

actually have important experiences to share, increases participation. And I think we're seeing that in

the public comment process. And I think that's a really important part of what we're doing. And I will

say — and I haven't seen all of them, but I've read more than half of the comments, every single one,

and I'm gonna read them all before we finalize this — the overwhelming majority are not critical of the

merger guidelines, more of the majority support the direction we're going. And that means a lot.

        I think the idea about concentration is a little bit head-scratching to me. Almost every case the

agencies have brought going back-- going back to the sixties has cited Philadelphia National Bank, as

Lina mentioned, which stands for the proposition that increases in concentration can be a proxy for

showing competitive harm. And so the idea that we are continuing to rely on those cases and those

binding Supreme Court precedents shouldn't come as a surprise to anybody. And the statute says

transaction can be anti-competitive if the effect may be, may, to substantially lessen competition or

tend to create a monopoly. And so that's what the guidelines focus on. But rather than being overly

doctrinal and rigid, and I'll again, I'll-- you know, particularly to folks who are not antitrust lawyers, but

you know, that the previous horizontal merger guidelines were focused on this framework around

things called coordinated effects and unilateral effects as the way in which harm presents itself.

        These are terms that have been effectively made up by the antitrust institutions. And all of

these cases that were being brought were being shoehorned into these narrow paradigms that

probably, you know, are important but not fully reflective of how competition presents itself. And the

idea that we would continue to rely just on those paradigms without thinking about all the other ways

in which competition presents itself, I think would be a major disservice to the public.

        KHAN: If I could just underscore one point that Jonathan made, which is about the public

participation here. And we made a very concerted effort to do listening sessions with, you know,

health care workers, just ordinary people who've lived through consolidation. The other week I had the




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chance to go out to Las Vegas with the AG there to do some listening sessions around the potential

effects of a big grocery merger that's being considered. And it's just been so humbling to hear directly

from people who have seen firsthand how consolidation and mergers all too often have meant that

prices are higher. They're having-- having to drive further for basics like hospital care or groceries.

Their jobs have gotten worse. And to be honest, you know, what I sense is that there's also been a

deep disillusionment with government, and a sense that government isn't out there fighting for them

and protecting them from monopoly power and corporate power.

        And so, I also think, you know, the burden for us is getting this right from a competition

perspective, but, I think, also showing people that we have cops on the beat that are fighting to

protect people from these forms of private coercion and abuse of monopoly power. And that's really

what I worry about as well, is the kind of maintaining the democratic legitimacy of antitrust, making

sure we have the right feedback loops in place to be understanding how is the work that our agencies

are doing affecting people out there in the real world. And so, you know, the merger guidelines are

going to be really important for us from an enforcement perspective. But I think as part of this broader

exercise to make sure we're fully serving the public; it carries that burden as well.

        KANTER: So, I will add that now that I no longer work for you, Bill, and in the spirit of this

being an organic conversation, maybe I'm going to ask you a question.

        BAER: Uh oh.

        KANTER: This is genuinely unrehearsed. But you've seen the guidelines iterated over

numerous versions, including 1997, which was the first time the guidelines really added efficiencies. I

think a lot of folks often try to portray it as efficiencies being embedded by the framers in the U.S.

Constitution, but I don't think that's really true-.

        BAER: I think it was the Declaration of Independence--.

        KANTER: Yeah. And so I guess I would be curious about your observations because, you

know, you've seen the evolution of the guidelines going back, and what you think of those criticisms.

        BAER: Well, let's talk about efficiencies because that-- I was working with Bob Petrovsky

when he and his fellow commissioners concluded that there needed to be a discussion of efficiencies

in the merger guidelines. The courts were beginning to talk about it, even though there wasn't a lot of

precedent saying it was, it was a legitimate defense to an otherwise anti-competitive merger. And so

we put together some principles that basically said, you know, you can assert them, we will look at




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them, they're not going to be outcome determinative in a merger where there's serious risk of anti-

competitive harm. They need to be unique to the merger, not achievable through other means, that

sort of stuff. And while we were talking about what to say and how to say it, I flew out to Stanford to

see my old law-- law professor, Bill Baxter, and I--.

        KANTER: Who is Bill Baxter?

        BAER: Bill Baxter, I'm sorry, a leading antitrust professor, and in 1981, Ronald Reagan's

choice to be head of the Antitrust Division where Jonathan and I had both been privileged to serve.

He was a friend. We went out, we actually played a round of golf and then spent three hours over

lunch talking about efficiencies. And he said, "You guys are out of your mind to consider putting

efficiencies in the merger guidelines. Why? Because they're bullshit. That people will assert them.

You're not going to be able to verify them. And very often mergers don't produce the efficiencies that

are asserted." A few months later, we were in district court challenging the first Staples/Office Depot

case and the-- I mean, his words were prophetic. The defense in that case was that the efficiencies

dwarf any anti-competitive concern.

        And somehow, by the time we got to what was a five day trial, the defendant, Staples and

Office Depot, had upped their efficiency claims by five X over what they had presented to the

respective boards at the time the transaction was authorized. And Judge Thomas Hogan, in an

extraordinarily well-written opinion, said it's just B.S. They also claimed that that these efficiencies

inevitably are going to be passed through to consumers in terms of lower prices and said, "We're

going to pass through 80% of these efficiencies. Consumers will benefit. Let this deal combining three

of the-- two of the three office supply superstores of the country into, into one." We presented

evidence showing that on prior transactions by Staples and Office Depot buying up competitors, the

pass-through was about 15 to 16 percent. And Hogan just said, "I just can't trust any of this." So there

is, I think, reason to be-- to scrutinize carefully, to be skeptical about what are-- what the parties are

asserting the particular benefits are. But let me-- I wanna move on, if I can, to a related point.

        Since, what, 1976 for those who are not-- merger aficionados, you know, there's been a a

pre-merger reporting requirement for transactions of a certain size. What is it, about 90 million? Now,

if your transaction is that big, you've got to file a Hart-Scott-Rodino premerger notification form. Just

about the same time these draft revised merger guidelines came out, the FTC, with the consent or

concurrence of the Antitrust Division, proposed a dramatic rewrite of the form. That form had basically




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been unchanged for about 45 years. And having been both in private practice and in the government,

it was not capturing the data that was most important to understanding what the deal rationale was

and what the potential antitrust risks were. So, if you wouldn't mind, talk a little about what you're

trying to achieve through the rewrite of the form and then also about the concerns that, that-- of what

3,000 or so, 3,500 transactions looked at a year. You're only seriously investigating three or four

percent. And how do you weigh the burden on that 96, 97 percent of transactions, which you're not

going to look at because you don't see a problem, although maybe it goes up when the new form is in

place? But how do you balance burden on those deals versus legitimately asking the tough questions

of the deals that may have problems?

        KHAN: So the revision of the HSR form is really animated by the fact that on the front end,

we're not getting even remotely a fraction of the information that we need to really do a reasonable

and sound competition analysis. As Bill noted, this form has not been challenged effectively for, you

know, 4 to 5 decades. And it's important to remember that when a merger filing comes in, our teams

have just 30 days to assess, is this deal problematic? And when you went-- when we went through

the merger wave of 2021, where, you know, filings were up 70%, I mean, our teams were just

drowning and you were having to look at these filings and make very quick assessments about what

are we even gonna take a look at to do an initial investigation. And that process really highlighted for

us that this form is not functioning as even a remotely effective screen to surface, are there

competition problems or not?

        The economy has changed dramatically in the last few decades. Deals have become more

complex. We're seeing all sorts of unique investment vehicles. And there's just basic information that

other jurisdictions request, including relating to deal rationale, you know, narratives relating to what

the effects of the deal will be that we were just missing out on. So the proposed revision is really

designed to mitigate blind spots on the front end. A lot of the information that we request is-- we

expect information that the parties already have. There's not going to be a tremendous amount of

burden, we assume, of actually providing that, in part because other jurisdictions already have the

information. In other instances, we're looking for, for example, a list of prior acquisitions. This is in part

designed to address the types of serial acquisitions that we've seen.

        BAER: And you've recently brought a case on that.




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        KHAN: And we recently brought a case, yes. A few weeks ago, the FTC brought a case

alleging that this company, USAP, and its private equity owner, Welsh Karson, had engineered a roll-

up scheme buying out the largest anesthesiology practices across Texas, jacking up the price. And

then ultimately, Texas patients and businesses were paying millions of dollars more for anesthesia.

And this scheme was engineered in part through these serial acquisitions, no single one of which will

necessarily raise competition problems. But in the aggregate, you can really have a roll-up of a

market. And so the form is going to allow us to be able to screen for those types of dynamics on the

front end.

        The form also ask questions about labor markets. This is an area of merger analysis that

we're really doubling down on because we've heard a lot about how all too often mergers among firms

have left workers worse off. We're still really building up the muscle to figure out what's the right data

that we need on the front end. But we think the data that we capture in the renewed HSR form will

help expedite some of that analysis. So, we think this is a really just important and honestly overdue

step forward for the HSR analysis. We've gotten a lot of comments. and so our teams right now, we're

reading through those, carefully digesting those. But ultimately, we think that this has the prospect of

actually making our analysis more efficient in ways that will benefit businesses as well. Sometimes we

will, through this additional information, be able to determine actually there are no problems, actually.

And previously we may have issued a second request to get this additional information, but now we

have that on the front end. So we're not going to tie up the deal any longer. So, those efficiency

benefits could pay off internally, but also externally.

        KANTER: If I may add on that--.

        BAER: Of course.

        KANTER: Incredibly important explanation, which I completely agree with. For the antitrust

nerds, a little humor, but the the form and the issues that that Chair Khan just talking about line up

nicely with the new draft guidelines, their guidelines for all those concerns she just raised, that is a

cognizable efficiency. Thank you to the two people who left. So, the other thing I would say is I really

would encourage people to look at the old form because it's not like-- and I, when I started in the mid

to late nineties, the form wasn't relevant then either, right? The, the, you know, the the perhaps the

untold truth or, or the truth that wasn't discussed too broadly and has been in this way for a long time,

is that most of the form, if not almost all of it with the exception of one or two document requests, has




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no bearing whatsoever on the substantive antitrust analysis. And so if we had proposed the form as it

exists today, the criticism would have been, "Why are you proposing a form and creating all this work

that has no relevance whatsoever to an antitrust analysis?" And so, when people ask about the new

form, I say, "Well, the best way to understand the new form is to look at the old form." And the fact

that we're asking questions that are relevant to the analysis actually is far more faithful to the direction

of Congress and the intention of the Hart-Scott-Rodino Act, which mandates merger filings. And I

think it's really important for people to understand that the purpose of the form is to give us the

information that we need to make an efficient determination about whether there needs to be an

investigation. And if the form has no information that's relevant, that makes the process less efficient

and undermines the intent of Congress, which was to provide notification.

        KHAN: Interestingly, Congress, when passing the Hart-Scott-Rodino Act, believed that

around 150 mergers would need to be reported every year. We're now at a stage where we get 150

filings, you know, every month sometimes. And so just the volume of transactions that we're getting is

dramatically off the charts, and that requires us to be getting more information.

        BAER: Right. You had mentioned looking at labor market effects as, as part of what the

guidelines do, and what the information the new form would require. But let's talk about your

respective involvement in labor markets not related to M&A activity. Jonathan, towards the end of the

Obama administration, we announced at the Antitrust Division that we were going to pursue no-poach

agreements between competitors as criminal violations of the antitrust laws going forward. You have

been saddled with that responsibility, for which I apologize, and have brought a number of cases. The

courts have generally said, these are legitimate-- it's legitimate to treat these no-poach agreements as

criminal violations of Section 1 of the Sherman Act. But juries haven't quite gone along with the

prosecutions you've done. What have you learned from what's happened out there in the real world,

and is that affecting willingness to bring those cases or willingness to rethink how you bring those

cases? What's going on?

        KANTER: So, thank you for that question. Let me start by reiterating, as I did a few weeks

ago, that this remains a high priority for the Antitrust Division, protecting workers from criminal

behavior that harms their ability to get better wages, to realize upward mobility in their lives by getting

access to better jobs, better training, and opportunities to provide for their families is fundamental and

foundational to the work we do as antitrust enforcers. And we continue to take it as seriously as we




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ever have. And we're committed to enforcing the law both as criminal enforcement, as well as civil

enforcement, depending on the facts and circumstances. I will also say that it is our job to make sure

that we are learning from every experience. And certainly, there are, as you described, Bill, courts

have essentially agreed with our characterization of the law, but we have an obligation to present

cases to juries, and that's a burden that's on us. And we need to make sure that we are looking at our

cases and how we bring them with fresh eyes and fresh perspective

        . The one thing I can assure you is that we constantly do that, win or lose, and that we are

always learning from our experiences. And if we are fighting to protect the rights of workers, and the

facts and the law support prosecution, we will bring those cases and make sure that we are benefiting

from all of our experiences, win or lose, to ensure that we are presenting cases the right way to juries.

A lot of our experience historically has been consumer criminal antitrust cases where we talk about

price fixing and other kinds of per se agreements. And, you know, there are things that we can and

should learn about how we explain effects on workers because they're different and they present

differently than they do to consumers. And so, again, those are deep learnings that we have been

able to ingest, that we've been able to take into account, and that we will factor in both as we try

cases going forward and make charging decisions. But this is fundamental and foundational to our

mission. And when the facts and the law support bringing a case, we will not hesitate to do so.

        BAER: Thanks. Meanwhile, down the street at Federal Trade Commission, you've been

shining — you and your fellow commissioners — a spotlight on non-compete agreements, which are

really quite pervasive throughout the economy, affecting all different levels of workers. Can you tell

the audience a little about the rulemaking you have pending, what its status is, and and why that

ought to be a subject of concern to antitrust enforcers?

        KHAN: Absolutely. So, as you alluded to, non-competes have really expanded across the

economy. Their use, you know, they started in the boardroom, but increasingly they've been applied

in all sorts of sectors ranging from, you know, fast food workers to security guards, to engineers to

doctors. And, you know, before I joined the commission, actually under my predecessors, there were

efforts to start studying what is the impact of non-competes. And one interesting-- you know, there

have been certain states that de facto have rendered non-competes not enforceable for many, many

years, such as California and Oklahoma. But over the last couple of decades, we've seen more and

more states introduce certain state-level policies to further curb the use of non-competes. And what




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that has done is actually created nationally a natural experiment that allowed us to really isolate the

empirical effects of non-competes.

        And so there's been a whole set of empirical scholarship finding that non-- non-competes are

bad for workers. They result in lower wages and fewer opportunities. Interestingly, not just for the

workers that are directly bound by non-competes, but even work for workers who aren't, which is

really quite striking but makes sense, right? If there are few, if there are workers who are kind of

locked into their jobs and not moving as much, that's creating fewer openings even for the workers

who are not directly affected by non-competes. We also found that employers actually continue to use

non-competes even in states when they're non-enforceable or they'll use, you know, choice of forum

clauses to make sure that they're getting the advantages of different states.

        And so there was a whole set of empirical work showing that these are bad for workers.

Interestingly, there's also now been empirical evidence suggesting that non-competes have a

negative effect on competition and on economic growth as a whole. And so, you know, if you have

new startups or entrepreneurs or businesses that are looking to enter a market, sometimes they find

that even if they're able to secure capital, they're not able to secure the necessary talent because the

talent pool is locked up from non-competes. And so our teams looked at that evidence as a whole and

determined that we should issue a rule.

         So earlier this year in January, we proposed a rule that would eliminate non-compete clauses

in employment contracts. That proposed rule followed certain enforcement actions that we had

brought. One of which was in the context of security guards. These are people who make close to

minimum wage who were subject to non-compete clauses. The Michigan State Court actually ruled

that these non-competes were not enforceable, but the security guard company continued to enforce

them, threatening security guards with having to pay hundreds of thousands of dollars. And so, you

know, these are people who are making close to minimum wage, who are blocked from seeking better

opportunities. Because of the FTC's enforcement action, these non-competes were dropped for

thousands of workers.

        And we similarly brought a different case in the context of the glass manufacturing industry,

an industry that's fairly concentrated. And here we said the harmful effects were not just to workers,

but actually on competition, because there had been newer firms that were looking to enter and inject

competition that ultimately couldn't because the relevant talent pool was locked up. And so we've




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been moving forward, both on the enforcement front as well as the rulemaking. We got over 26,000

comments as part of our non-compete rulemaking, an overall warming number of which were from

healthcare workers who were sharing that, you know, some of the justifications that you hear about

why you need non-competes really don't apply in healthcare. They were saying they themselves are

the ones who invest in their training, not their employers. They shared how non-competes can

actually also impair patient care. We heard stories about how, for example, during the pandemic,

healthcare workers wanted to be mobile and move around. So if you had an outbreak in one city, they

wanted to go over and help out. But ultimately, many of them weren't able to do so because of non-

competes. And so you had, during a pandemic, enormous need for healthcare workers, healthcare

workers willing and able and wanting to jump in, but they weren't able to because of the non-

competes. So, you know, the real-life effects are quite significant here. And we're really excited about

this effort, are still processing the comments, but we'll move forward as appropriate.

        BAER: Thank you. Let me turn next to a narrative out there that appeared a lot in the press,

particularly in The Wall Street Journal, that the two agencies are losing cases left and right, and that

suggests a degree of overreach in civil enforcement. I suspect you don't agree with the narrative. And

Jonathan, why don't you tell me why or not?

        KANTER: Yeah, because it's wrong.

        BAER: Okay. Well, actually that's a good start.

        KANTER: Yeah. So we blocked and won in court, challenging a merger involving some of the

largest book publishers in the country. We went to court and challenged a merger transaction

involving, effectively, a merger transaction involving airlines. And we won in court decisively in both

cases, one of which is now pending on appeal, I will note. And that's-- those are pretty big victories, I

would think. And it was the first time ever we've challenged successfully in court an airline transaction

and the first time we've ever successfully challenged a merger based on harm to workers, in this

case, authors, and as opposed to just higher book prices. And so those are pretty extraordinary

victories and I'm really proud of our team. We're in court litigating monopolization case. We have

another case going to trial in a month, and there have been instances where we haven't succeeded.

But but they're not overwhelming in terms of the numbers. And I also note that we've had a number of

transactions, one that settled in court and one that-- and numerous transactions that were abandoned

after we filed. So when I look at our record, I see, frankly, quite a bit of success, and I'm quite proud of




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it. And I think it reflects on the amazing work at the Antitrust Division. So, I think that narrative is not

just unfair, it's inaccurate.

         BAER: Lina.

         KHAN: I would echo that. I mean, look, within the first year the FT-- that I joined the FTC, we

challenged two major vertical deals, Nvidia's attempted acquisition of ARM, Lockheed's attempted

acquisition of Aerojet. Two major vertical deals. It's no secret that, you know, we have not challenged

as many vertical deals in recent decades. In both instances, the parties walked away and, you know,

we were excited to litigate those cases. We think we would have won. But ultimately, the parties

walked away and obviated the need to do so. It's also been interesting to see the aftermath of that.

You know, Nvidia and ARM have continued to be enormously successful as standalone entities.

We've — separate from that — blocked close to 20 deals altogether, have not always won in court,

but we always look at those instances very closely in the matter within decision.

         For example, the court offered some really important propositions relating to how merger law

applies in digital markets. Noted, for example, that even if you have high levels of entry and exit in a

market, if you have high concentration that can signal, you know, a presumption of market power

despite the ongoing degrees of entry and exit, which is really important in digital markets, also ratified

potential competition as a doctrine that's alive and well, including in digital markets. We have another

case that's pending, both on appeal in the Ninth Circuit as well as an administrative adjudication, so I

won't go into that. We're, you know, are litigating a whole set of monopolization cases. Last summer,

the FTC sued two pesticide giants, Syngenta and Corteva, for engaging in pay-to-block schemes that

ultimately kept generic pesticide manufacturers off the market, resulting in farmers across the country

paying billions of dollars more for pesticide, this essential input, than they would otherwise. That's still

pending.

         Two monopolization cases that we brought in the last month, one's USAP and Welsh Carson.

the other against Amazon. The Facebook case that was filed before I joined the agency and then

we've refiled, is probably going to go to trial next summer. And we're excited for that in terms of, you

know, explaining to the judge how competition in digital markets works and why it was that these two

acquisitions that the company made were unlawful. So, we have a very, very active program

underway. We think we've already had significant success in instances where we haven't. We look at




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that closely and see how we can learn from it. But, you know, I think the deterrence value also speaks

for itself.

          BAER: Thank you. Let me ask one more question and then we'll turn it over to the audience.

We've seen play out in the Google litigation in district court here, this conflict between companies,

both defendants in government lawsuits, and third parties, businesses who are asked to provide data

through the discovery process, claiming broad confidentiality protection over that information. And it's

resulted in the Google case, a number of days in which testimony is taken all behind closed doors,

exhibits aren't available to the press and the public. The government, I appreciate, is in a bind in these

cases.

          You know, your first principle is to get to trial, see that justice is done. If there's economic

harm out there, to challenge it, get the court to block it. And often judges don't want to be in the

middle of a fight over what's confidential and what's not. And say they say to your litigators, "Just work

it out." Well, if the judge wants you to work it out, it, and not personally be involved in deciding what's

confidential, what's not, that tends to skew towards keeping it confidential. Otherwise, you have to get

the judge involved, and who wants to anger judges about to decide your case? At the same time,

there's a huge value here in the public's right to know. And I know as public officials, you respect that.

But how do you advance the public's right to know in these cases where you have extraordinarily

broad claims of privilege and a judge who just doesn't want to get involved in it? Do you have an

obligation to force that issue?

          KANTER: Well, I think, you know, we certainly believe in the public's right to know, and we

want to fight to protect it when appropriate. We adhere to and we respect very much the role that

courts play in administering protective orders and other confidentiality requirements. In my

experience, and I can talk about any specific case, certainly nothing that's pending, but that most

courts are equally interested in, in protecting the right of the public to know. And I think that's, you

know, something that I think we value, that we share with the court system. And it's important to our

democratic process that our cases be tried in daylight. At the same time, there are instances where

part of what we're trying to do is keep competitively sensitive information, competitively sensitive. And,

and so there may be instances where it is appropriate for minor redactions or closed sessions. But,

you know, we do what we think is appropriate under the circumstances and-- but very much share

and support the importance of public access.




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        BAER: Thanks. Lina, anything to add to that.

        KHAN: Similarly, you know, maintaining access to the public has been a key value for us. We

started doing regular open commission meetings where anybody from the public can come up and

speak to us and share with us issues that they're seeing in the marketplace. We've also, over the last

couple of years, opened up a whole set of dockets inviting public information. And so making sure

we're regularly engaging with the public, hearing from the public has been a core goal at the FTC, and

we're really thrilled about the progress we've been able to make.

        BAER: That's great. All right, so we're going to go to questions. We've got some that have

come in online. The first question I'll pose is something that was submitted ahead of time. What I think

we'll do then is go to one side of the room, get a question, opportunity for a question to be asked,

another question from the other side of the room, and then you guys can fight over who answers

what, okay? But so the first question online is from Randy Marks, a retired attorney at the Federal

Trade Commission, that, Jonathan, you remember, a good guy. He asks, "Don't we need new

antitrust laws given the hostility of the courts to aggressive enforcement? Lina, you want to start?

        KHAN: So as enforcers, our obligation is to enforce the laws on the books do so faithfully,

both with regards to Congressional mandate and legal precedent. It's been enormously exciting to see

Congress reassert itself in antitrust. The historic investigation that Congress did in the House a couple

of years ago looking at digital markets, and really laying out in that report instances where Congress

thought there may be a gap between how competition needed to work in digital markets and what the

antitrust laws were delivering. We've of course seen over the last few years a whole set of bills

introduced relating to antitrust enforcement. And so we at the FTC always stand ready to be good

partners to Congress. And so if they're looking at proposed legislation, we provide technical

assistance. We're able to share with them where we think the potential updates need to be made. At

the FTC, though, we're just squarely focused on using the tools we already have.

        BAER: Anything to add to that?

        KANTER: Yes.

        BAER: Okay, go ahead.

        KANTER: Oh, no, no, no. I think, as always, Chair Khan nailed it.

        BAER: All right. Let's go to some questions. Why don't we start over here in front? If you can

identify yourself and any organizational affiliation, that'd be helpful.




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        AUDIENCE MEMBER: I'm Dave Michaels with The Wall Street Journal. You've both, Chair

Khan and Attorney General Kanter, both voiced criticisms are concerned about practices and

outcomes, even in private equity ownership. So, as Chair Khan mentioned, a lot of these individual

deals that are part of a roll up would not require HSR reporting, of course, you proposed updating the

filing. But the question is, what are you doing today to look into private equity's potential role in

concentration and potentially monopolization? Do you have other active conduct investigations of PE-

owned or backed companies in addition to the USAP-Welsh Carson case that you brought? And if so,

would you expect to bring more cases like that one?

        BAER: Let's, let's just go to the question. It's a good question.

        KANTER: Sure. Let me start by saying so, as we were talking about earlier in the

conversation, you know, making sure that we are using tools that are fit for purpose in today's

economy is important, and making sure that we understand how competition presents itself and the

realities of a modern economy are really important. And so the role of private equity today is different

than it certainly was when I started practicing, and unrecognizable relative to, for example, the 1982

guidelines. So, these are business commercial realities. And our goal is to make sure we understand

those commercial realities and just enforce the law as we see it based on the facts presented today.

And so, you know, sometimes a private equity transaction doesn't raise a concern, and sometimes it

does. But how it might present itself might be different than in previous generations. We might see

roll-ups. We might see board interlocks. The kinds of issues that surface in an antitrust context might

be a little different in a private equity transaction than in a standard public company transaction.

Those are just differences, and our goal is to make sure we understand those differences and then

apply the law based on the facts as we see them.

        BAER: Anything to add?

        KHAN: I think that summed it up.

        BAER: Okay, good. All right, up here on the left.

        AUDIENCE MEMBER: [Inaudible].

        BAER: All right. We got another one coming, Sam.

        AUDIENCE MEMBER: All right, round two. Great. Sam Thorpe, Economic Studies here at

Brookings. So one word that's come up only intermittently so far has been monopsony. And it seems

to me like one of the really important innovations of this new antitrust regime has been treating labor




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market concentration as an end that's worth enforcing. I'm curious to hear two specific things. First,

what you feel the legal basis is for treating labor market power as sort of on par with product market

power. And second, what each of your agencies are intending to do specifically on monopsony-

related antitrust in the coming years?

        KHAN: So, look, the Clayton Act, you know, prohibits mergers that may substantially lessen

competition or tend to create a monopoly. They don't specify that justice with regards to consumers.

And so we interpret that to mean that it protects all Americans, consumers, but also workers, but also

businesses, but also entrepreneurs. So, we think the statutory hook is very clear. This also isn't a new

issue, right? I mean, we've seen over decades that antitrust enforcers have recognized that harm to

workers can be problematic. You know, the Supreme Court in the Alston case recognized that as well,

so we think the legal basis is clear.

         Last year, the FTC challenged a hospital merger where my colleague, Commissioner

Slaughter, and I noted that we would have also included a labor count because we believe there was

a basis to allege harm to nurses there. And more generally, as we are doing, especially our merger

investigations, we're looking at all sides, including on the worker side. We started hearing much more

from worker organizations, from unions who are looking at these deals and sharing information with

us about how it could be problematic. So, that's a muscle that we're continuing to build, and are very

eager for continued engagement and information on that front. On the conduct side, we've had our

non-compete enforcement work and are continuing to look at other ways that, you know, unfair

methods of competition may be harming workers as well.

        KANTER: Yeah, I mean, I would strongly encourage you to come away from this discussion

with the impression that this is very top of mind for us. It's foundational to the work we're doing in the

merger context, in the non-merger context. In monopsony has an important principle where

concentration can create and exacerbate asymmetries of power and competitive market power over,

over workers, over input suppliers, over content creators, industries that are the lifeblood of a

functioning democracy. And so we care deeply about this. It is central to the work that we're doing.

        KHAN: And this is also where interagency work is so important. So I know our agency, as

well as the Justice Department, has entered into MOs-- MOUs with the Labor Department, with the

NLRB, to make sure that we're sharing information. And if we see issues that seem problematic, but

our tools don't necessarily apply, we're able to share that information and vice versa. So, I think




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there's a whole of government effort right now to ensure that workers are protected under the law as

well.

        KANTER: I'd be remiss if I didn't acknowledge, I see in the back of our room, the principal

deputy assistant attorney general from the Antitrust Division, Doha Mekki, who has been perhaps the

world's leader on labor and antitrust, going back a decade, and has been a real pioneer in this area.

And so seeing Doha reminds me that both agencies and, and the amazing work that's being done at

the FTC, we have literally the best and the brightest thinking about how we bring these issues to

protect opportunities for people to provide for themselves and their families and benefit from the

American dream.

        BAER: And I should add that just a couple of weeks ago, out of the Seventh Circuit, Judge

Easterbrook authored an opinion that really enforced the notion that the antitrust laws apply in

monopsony, monopsony markets.

        KANTER: Thank you. I'm really proud of this. We we filed an amicus brief and oral argument

advocating for this position in the Seventh Circuit, and we were just absolutely thrilled that Judge

Easterbrook acknowledged that those harms are cognizable antitrust harms and per se illegal in the

context of a no-poach agreement. And the facts matter here, right? The facts in that case involved a

woman who was a fry cook and had the opportunity to become a manage-- manager at another

McDonald's but was denied, deprived the opportunity to go from one McDonald's to another with a

promotion in hand because of a no-poach agreement. And the Judge Easterbrook in the Seventh

Circuit said unequivocally, that is a per se illegal restriction, and the harm to the ability of a worker to

move from one McDonald's to the other is actionable under the antitrust laws.

        BAER: There you go. Yeah. All right, down here upfront. Yep, you. We got the microphone on

the way. Thanks, Catalina.

        AUDIENCE MEMBER: Hi, Alan Loeb, Washington attorney. So, this question starts with Ms.

Khan. You came to public notice when you published an article, and if I have it right, what you

focused on was the harms that come from having market power that doesn't necessarily raise prices

but allows companies to exert force over the way the market operates. And so I'd like to ask you, and

actually, both of you, what that implies is that if we haven't been enforcing that for a long period of

time, to look more broadly at the harms from antitrust, there would probably be cases back in the

history that were never recognized. And I'd like to know if maybe you are, or maybe even in the




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literature, there is a list of such cases that now are coming up and recognizing this broader sense of

the harms?

           KHAN: Yeah, it's a good question. And I think, you know, one of the key pillars of our efforts,

in addition to fidelity to law, is making sure that we're mitigating blind spots and being honest to the

way that competition is presenting itself and harm to competition is presenting itself. In addition to,

you know, harm to consumer prices, we're looking at harm to wages, to quality of benefits. One of the

comments that we got as part of our merger guidelines noted that a really important dimension of

competition and quality for workers is actually having control and predictability over your schedule,

right? And so, we're just-- through this process, I think, getting a much more granular understanding

of what are the different dimensions of quality, for example, that really matter.

           We also want to make sure that we're fully grasping the realities of how competition works in

digital markets. I think the chapter in the guidelines that lays out platform market dynamics is

incredibly important and notes, for example, that in platform markets, a key source of competition is

not necessarily going to be from a direct replica, but oftentimes from a company that may be, say,

depending on the platform, you know, the Microsoft case, I think is emblematic here.

           And so we need to be mindful of the different sources of competition. We need to be mindful

of the fact that in digital markets in particular, for example, multihoming can be a really essential

mechanism of injecting more competition, because when you have economies of scale and network

externalities that can tip markets, multihoming can be a really important path out of that. And so

overall, I think we're really in the midst of an important exercise to be understanding deeply how

competition is showing itself in a whole set of contexts in markets. And our case is already starting to

reflect that. And I anticipate that in the coming, you know, 15 months or so, we'll continue to see more

of that.

           KANTER: Yeah, I'll add it's just been such a privilege to work with Chair Khan and the FTC

on these issues. This is so important to the work we're doing. And for decades since I started

practicing, we've heard people say, "Oh, of course, competition is more than just price," but we've,

we've talked the talk as an industry, antitrust enforcement industry, but we haven't walked the walk,

right? The fact of the matter is we haven't built the tool kit. We haven't built the analytical framework to

adequately address that. But let's take a step back and think about why it matters, right? And this is, I

think when Chair Khan so eloquently talked about in a very moving and meaningful way, the impact of




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their non-compete rules. We've reduced human impact to grayed-out triangles and that's not an

effective way for us to enforce the law.

        The fact of the matter is competition can affect the quality of healthcare, which affects lives.

My father just had life-saving surgery in a community hospital and the level of care was something I

hadn't seen in decades. The attention, the willingness of the doctors to sit with, with the patient’s

family. Those are real benefits, not just real in a quantifiable sense, they're real in the human sense.

When we think about the free flow of information we're talking about in journalism, and authors, and

content creators, we're talking about the lifeblood of a functioning democracy.

        This goes to the heart of of of what makes our country so wonderful. When we talk about the

ability to get a job, we're talking of the American dream. The ability to have upward mobility, to start

from nothing, and and grow to provide opportunities to your children that you never had the ability to

realize yourself and leave the next generation better off. Those are real things that affect real people.

And if we try, if we, if we are overdependent on just grayed-out triangles and price harms, we lose that

connection to the human impact. And the law was written, it was written for farmers who are looking to

to build thriving small businesses and provide for themselves by selling their cattle or other crops.

These are real harms. These are real people. And these are exactly why the antitrust laws exist. And

we have an obligation to make sure that we are protecting competition, enforcing the antitrust laws to

preserve all of those benefits for competition.

        BAER: Thank you. Steve?

        AUDIENCE MEMBER: Hi, I'm Steve Pearlstein from the Washington Post. Sort of following

up on what you both just said, giving district court judges 13 different analytical tools to use in

assessing behavior or a merger. I think we've all observed that district court judges are somehow very

reluctant to exercise their judgment, subjective judgment, to bring logic and just pure observation to

their decisions. They're looking for a hard number. They're looking for something that is purely an

objective reason why they might or might not take action. They seem to be reluctant to sort of get into

it. And now you — and that was when they only had one tool or two tools — now you want them to

give 13 tools. And I'm wondering about, realistically, their, their capacity and willingness to do that

kind of complicated, and to some degree, subjective work that you're going to ask them to do by first

choosing which tool to use and then having to to master using 13 different tools?




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        KANTER: So I-- let me start there, because I think that it's important to really read and digest

the current draft guidelines and compare to previous guidelines. They're actually, in my view, much

easier to use and easier to apply. And the, the tools, they're not-- the tools are, are how you look at

the facts. Well, we're talking about our legal principles that have existed and continue to exist. We're

talking about, does the merger entrench monopoly power. Does it raise a rival-- cost of a rival and in a

way? Does it increase concentration? Does it harm workers? Those are fundamental legal principles.

And I think they're written in a way that is-- that we think are accessible and understandable but also

have foundation in the law.

        And I think part of what's happened over the last 20, 30 years is that antitrust has become

more complex, more in the weeds, more about, you know, quantifying to the fourth decimal point a

criticism that has come from some of our predecessors and articulated quite well, and moved away

from understanding whether this, the risk assessment framework that Congress laid out, which is,

does this merger risk threatening competition or intending to create a monopoly? And we're going

back to those first principles. And we're saying that if we're going to be relevant in 2023 and going

forward, we have to understand the economy as it presents itself today.

        AUDIENCE MEMBER: Yeah, I understand that. But the question is, are our judges willing to

do what [inaudible]

        KANTER: They're doing it--.

        AUDIENCE MEMBER: [Inaudible] much more complex--.

        KHAN: So, Steve, I think one really striking thing to me over the last few years has been

actually sensing a lot of frustration from judges, including district court judges, when they effectively

are saying, "Okay, here I am with this merger before me. The defendants have an economist, very

fancy economist, with all these fancy models. The plaintiff has an economist, very fancy economist,

with all these fancy models. They kind of cancel each other out for me right now. And so what am I

really left with,” right? And you see, actually, judges going back to those prin-- first principles saying,

"Okay, I'm going to think about whose witnesses were more credible." And I think to us, especially as

enforcers who end up having to pay millions and millions in dollars to economic experts, the fact that,

all too often, judges are saying, "This is not actually providing a whole set of value add to me

analytically," I think that's a major problem, right? We, as agencies, are spending millions of dollars of

taxpayer resources to put forth economists in these trials. And judges are saying increasingly, "This is




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not helpful to me." So, I think we're here seeing that problem loud and clear, and I think this document

will help mitigate that.

        KANTER: I'll also say 13 clearly articulated principles are easier to apply than two very

difficult to understand principles. And so, I think how we write it is as important as how many we write.

        KHAN: And I think this, you know, objectivity, subjectivity issue is very important. But I

sometimes worry that the type of economics we've been using can actually look objective, that mask a

lot of subjective decisions that are actually being made under the surface, and judges also realize

that. So, you know, when you have clear bright line rules, clear administrative principles, I think those

can more honestly be a basis for telling judges this is what we're doing, this is what the work that

we're doing. We're not professing a certain objectivity that's actually masking subjectivity. And, you

know, the burden ultimately is going to be on us and our agencies to go to courts, explain how do you

apply these guidelines. But I think we have an enormous amount of confidence in the righteousness

of that exercise.

        KANTER: I think Lina hit the nail on the head. We're listening to the courts, we're listening to

what they're saying and what they're asking for. When we bring cases, they're asking for, "What are

the legal principles, what's the simplicity, and how are the facts present in this case?" And that's what

we're trying to do with the guidelines, is we're trying to map to what courts are saying in their legal

opinions, what courts are telling us in trial they're looking for, as opposed to trying to find some

theoretical utopia.

        BAER: Thank you. Look, I think we're we're running up against our time limit. I did have one

question I was going to ask that does that need to be asked because you've answered already, which

is, in a situation where you two agencies have overlapping jurisdiction and sometimes, historically,

there's been competition among the the leaders about what to do and, you know, how they're two of

you getting along. As I said, you've answered that question for this audience here today. No issue

there. Before we thank Lina and Jonathan, I did want to acknowledge the hard work of the staff here

at Brookings, the governance group. They really put together a wonderful forum, made sure we got

massive online signup, were able to welcome a bunch of you here, and I want to thank them. But I do

want to thank and ask the audience to join me and thank the two of you for taking the time for

speaking English, not antitrust jargon to the audience here and and around the world. You do that in a




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wonderful way, which makes the value of antitrust enforcement accessible to those of us who are not

the nerds.

       KANTER: Bill, you're a national treasure and we're delighted to be with you today.

       BAER: All right. Anyway, thanks, folks. Thank you.




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T H E ROL E OF THE STATE   ANT I TRUST A N D CO MP E TI TI O N   N EWS

Q&A With FTC Chair Lina Khan: “The Word ‘Efficiency’
Doesn’t Appear Anywhere in the Antitrust Statutes”
BY GUY ROLNIK June 3, 2022




FTC Chair Lina Khan sat down with Guy Rolnik to discuss changes in governmental posture
toward antitrust enforcement, her goals as head of the FTC and much more.




O
                     n June 15th, 2021, Lina Khan, a 32 year-old legal scholar, was sworn in as the
                     chair of the Federal Trade Commission. Her appointment by President Joe
                     Biden came as a complete surprise not only because of her young age, but
                     mostly because she was already well-known in Washington and antitrust
circles as part of a movement that wants to uproot and transform the way antitrust is
enforced in the US. Antitrust scholar and former FTC Chair William Kovacic wrote last summer
that with Khan’s appointment—along with those of Jonathan Kanter as Assistant Attorney
General for the Antitrust Division at the Department of Justice, and Tim Wu’s as Biden’s
special advisor for technology and competition—the United States now stands at the
threshold of a major realignment of the competition policy regime.


In 2017, Khan, still in her last year at Yale Law School, was an invited guest and speaker at the
Stigler Center’s inaugural antitrust and concentration conference. No one could have
predicted at that point that in less than five years, she would return to the conference in 2022
as the keynote speaker and Chairwomen of one of the two most important regulatory
agencies in the US.



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Below is an abridged transcript of a conversation Chairwoman Khan had at the 2022 Stigler
Center Antitrust conference with Chicago Booth Professor Guy Rolnik.

[The following interview has been edited and condensed for length and clarity]


Q: The first time you were here in this room was in March 2017. The title of that inaugural
Stigler Conference was “Is There a Concentration Problem in America?” Correct me if I’m
wrong, but in DC and in most capitals, this is not a question anymore. But if people would
have [asked] me in March 2017, “What are the chances that in 2022 you will be hosting Lina
Khan as the chairwoman of the FTC?” my answer would probably be “near zero.” Can you
explain what happened in the last five years? How did we get this takeover of the Khan,
Kanter, and Wu partnership over Washington?


First of all, let me say it’s so great to be back here, and such an honor to be here with you. I
don’t think you would have been alone in making that wager.


Look, I think it’s a remarkable moment. The speed and magnitude of the change that we’ve
seen over the last few years is something that I expect historians to be studying for many,
many years to come. There [is] a whole set of factors that I think contributed, but at the end of
the day, I think the change is being driven by a deep recognition that something has been
awry in how we’ve been doing antitrust and that how we’ve been doing antitrust has resulted
in, say, a farmer being dependent on a single meat packer and the whims of that meatpacker
for their livelihood, or a parent having to ration their child’s insulin—that those types of
problems in our economy are connected to the decisions that are being made at the FTC and
the DOJ. I think that the basic connection of the dots is something that we’ve seen become
much more vivid for people.


I’d be remiss if I didn’t acknowledge the important role of many people in this room in
drawing those connections and showcasing the deep problems in our economy, and
connecting them to how we’ve been doing antitrust. I think this conference, in particular,
played an incredibly important role—including back in 2017 because, at that point, the Stigler
conference did a couple of things right. One was it said: Let’s ask the question and let’s look at
the evidence; and when we say let’s look at the evidence, let’s broaden our aperture and
move beyond just IO and look at a broader variety of methods from a broader variety of
disciplines. Let’s look at what the labor economists have been saying, what the
macroeconomists have been saying, and what the non-economists have been saying. I think
that fresh look at the evidence at that moment in time was incredibly important.


I also think that the Stigler Center as an institution gave credibility and respectability to a set
of questions that, even at that moment in time, were not seen as respectable. It’s really
important for disciplines to be able to have that healthy type of self-reflection, and I think
antitrust over the years had kind of settled into a type of “end of history” moment where
there was a sense that the deep contestations and the deep debates had kind of settled and

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been resolved. And now there were questions, important questions, but they were mostly at
the margins.


There were some exceptions to that. [Former FTC chair] Bill Kovacic, even back in 1998,
predicted that there would be a swinging back of the pendulum. Overall, there had been a
distancing from the more existential questions for the field, and I think Stigler did a lot to
refocus and say, “No, these are legitimate, important, credible questions for this field.”


I’d also be remiss if I didn’t acknowledge the incredibly important role of Congress and
lawmakers. Something that we saw coincide with the period of deep retrenchment over the
last few decades was Congress becoming more of a backseat player in antitrust, and I think
we’ve seen remarkable work by lawmakers across the political spectrum to deeply study the
problems in our economy, to start educating the public about those problems, and to start
introducing a remarkable series of bills and proposals.


I think those are some of the factors that contribute. Again, this is something that’s going to
be continued to be studied for some time.


       “I think this conference, in particular, played an incredibly
   important role—including back in 2017 because, at that point, the
  Stigler conference did a couple of things right. One was it said: Let’s
              ask the question and let’s look at the evidence.”


Q: In your writing and your research, in law school and Open Markets, you started to develop
a theory of what happened to antitrust in the last 30-40 years and why antitrust enforcement
had declined. Now that you are almost a year at the helm of the FTC, or down in the trenches
really [having] to deliver on those promises, has your perspective on what happened to
antitrust changed?

I think the basic story remains the same: there were a set of policy changes and policy choices
that were made that led to significant retrenchment in how we do antitrust, and that
contributed to a whole set of harms. On the ground floor, you see a whole set of realities at
the institution in terms of the severe mismatch between the job that Congress has given to
the agency and the set of resources that it has available. By some metrics, staffing at the
agency is lower today than it was back in the 1980s.


I think for a place like the FTC, there’s also a way in which the ghost of the 70s can loom large
in the building. There’s a very standard account that’s often given of what happened in the
70s and what to learn from it, and it goes something like, “Here you had this agency, it acted
boldly, tried to do a lot, and that triggered an enormous political backlash in ways that led to
efforts to defund the agency,” and that that’s a cautionary tale for us where we really need to
be, under the radar, doing our job but not rocking the boat too much. I think it’s worth, of
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course, learning the lessons from that period. But I think every moment has a different
mandate. In the same ways that antitrust enforcers talk about type one versus type two errors
and the cost of action and inaction, I think we need to have that conversation at the
institutional level as well, where decades of actual under-enforcement has severe
institutional costs as well—kind of rebalancing how we do the analysis. Because inaction
means that Congress can start seeing you as irrelevant. The public can lose faith in
institutions, and that can also lead to certain types of neglect in ways that have deep
institutional costs. Rebalancing how we think about the tradeoffs between action and
inaction and realizing that there are severe costs under-enforcement and inaction, I think, is
something that is something that within the building we’re thinking a lot about as well.


Q: There was a ton of discussion here about what’s going to happen with the courts, if courts
are going to be a significant barrier to your new agenda. AAG Kanter said that he’s not worried
as much about losing cases because he’s not a member of “the Chickenshit Club.” Do you
think if you lose multiple cases but still convince the public or maybe legislators that there
needs to be a legislative change, you’re still winning? Do you subscribe to this?


I’m certainly not somebody who thinks that success is marked by a 100 percent court record. I
think, as public enforcers, we have a special obligation to be bringing the hard cases. I think
it’s also really important to be having the institutional dialogue among the three branches. If
the antitrust agencies look at the market and think that there’s a law violation and the current
law might make it difficult to reach, there’s a huge benefit to still trying, especially with some
of the bigger companies, some of the more high-profile cases. Because if you don’t try, the
message that sends out to the world is that the enforcers don’t think there’s a problem in the
market. Whereas if you try, even if you lose, that then creates the message for Congress to
know, “Hey, here are these law enforcers, they recognize there’s a problem here, the current
law is not adequate for them to reach it, so let’s change the law.”


I think that type of institutional dialogue among the three branches is incredible. If instead, as
enforcers, you think these are really hard cases, we recognize that there’s an enormous risk
with bringing them, we don’t want to make the law worse, and so you just never bring those
hard cases, I think there are severe costs to that that can lead to stagnation and stasis.


Q: You have a very ambitious agenda and limited resources, or even maybe limited time,
considering what might happen in politics. So maybe one of the ways to consolidate gains is
by creating real deterrence in the market. So how do you determine which [of the] cases that
you pick are worth fighting because winning them will send a strong message to the market?


It’s an incredibly important question and one that we’ve been given a lot of thought to, given
the limited resources and given the importance of promoting deterrence. Oftentimes, we’re
just looking at where is the most harm happening. Oftentimes, that involves some of the
biggest companies and the biggest players.


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I think one area where we’ve seen success is in our merger enforcement work, where over the
last few months we’ve seen significant victories, including in the context of vertical mergers.
The FTC challenged in the last few months both the Nvidia-Arm merger and the Lockheed-
Aerojet merger, both vertical transactions in both instances, the parties ended up
abandoning, which is enormously significant if you think about how even a few years back,
when the DOJ challenged that AT&T-Time Warner merger, the atmospherics around that was
that was quite radical, the antitrust agencies hadn’t brought a vertical challenge in many
decades. They ended up losing there, but the fact that we’ve gone from that outcome then to
instances in which the FTC’s filing a complaint in these vertical challenges [is] leading
companies to abandon, I think, shows remarkable progress. I also think the fact that we
challenged Lockheed-Aerojet, in particular, sent a very strong message [to] the defense
industry, where for years, the approach has instead been to allow the consolidation to
happen to accept settlements and remedies that, in hindsight, I don’t think have been as
strong. So being able to take that type of action ended up sending an important message that
we’re not going to be settling for weak remedies. There are some deals that are illegal and
can’t be remedied, and in those instances, they need to be blocked.


      “I think as public enforcers, we have a special obligation to be
                          bringing the hard cases.”


Q: Going back to “terrifying rhetoric,” you and AAG Kanter believe that it’s time to go back to
criminal investigation and enforcement. I know this is the DOJ’s purview, but probably your
attitude towards it will also carry weight. Do you think that agencies should pursue more
criminal investigations, maybe even name the names of executives when they are suing
companies?


Yes, absolutely. Last fall, we took some steps to strengthen our ability to more regularly and
routinely refer criminal cases to the Justice Department. So that’s something that we have
underway. We also recently had great success in actually naming an individual in one of our
antitrust cases: Martin Shkreli. This was a case that was initiated under my predecessor. In the
fall, we ended up settling with a whole bunch of defendants but ended up deciding to actually
continue to go to trial on the case against Martin Shkreli personally, and we ended up getting
a terrific outcome in January, where we ended up getting a lifetime ban on Shkreli from the
pharmaceutical industry, as well as a whole set of additional relief. So I think naming
individuals is incredibly important. I’d also be remiss if I didn’t recognize here the work of
former commissioner and now CFPB director Rohit Chopra, who has given an enormous
amount of thought to how you deter law-breaking and, in particular, how you craft remedies
to deal with recidivism. He gave an incredibly important speech a few weeks ago at Wharton
that lays out some additional tactics, and I think that type of worldview is also informing how
we’re looking at these things.



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Q: You said that Martin Shkreli was banned for life from pharmaceuticals. Do you think that on
top of structural remedies, or governance remedies, at some point, we will see agencies, let’s
say, banning Mark Zuckerberg from going on social networks or limiting his screen time?


I think the industry ban we were able to secure in the Shkreli case is enormously important
and somewhat precedent-setting in the antitrust context. The way I think about remedies,
and the traditional way to think about remedies, is that there are at least three goals. The
immediate goal is to stop the illegal conduct and to stop the recurrence of that conduct. A
second goal is to cure the harm that’s occurred through the underlying illegal conduct, the
harm both to the market as well as to the victims of that conduct. The third is to really
disincentivize further law-breaking.


With each of those prongs, we’re thinking about how we can be more effective. On the first—
stopping the law-breaking—I think we need to act in a more timely manner. We need to be
going into court more quickly; we need to be seeking preliminary injunctions. On the
consumer protection side, the FTC, a few weeks ago, filed a lawsuit against TurboTax on the
consumer protection side, alleging that TurboTax had been showing all these ads that are
allegedly deceptive, and that it was really important to get that relief ahead of Tax Day. I think
that type of timely intervention and timely filing of lawsuits is incredibly important.


Thinking about how you actually cure the underlying harm is incredibly important. There’s
this really terrific quote from Justice Robert Jackson where he says that the goal of antitrust
lawsuits must really be to pry open the competitive market that had been closed shut by the
illegal conduct. Thinking about how you actually do that prying opening of the market,
especially in the context of some of these digital markets, is incredibly important, where you
need to make sure that some of the illegal gains that were obtained through the illegal
conduct—certain types of data, certain types of scale that were achieved through basically
determining that unlawful conduct was worth the cost of business because it might help you
tip the market or achieve a greater market share—that those are types of business strategies,
incentives that we really need to be studying in order to be able to undo the harm, similar
with making sure that the victims of that conduct are fully compensated.


The third prong— thinking about how we should be disincentivizing law breaking to begin
with—gets into the category of preventing recidivism, thinking about the structure or relief,
the relief with regards to individual executives, governance level changes that are incredibly
important as well.

Q: At this time of polarization, identity politics, and culture wars, how do you convince the
average American that FTC and DOJ policies and actions are very important to their lives?

Yes, it’s a great question. And I think in many ways that work has already been done. I think
there’s already wide recognition that the decisions that are being made in these buildings


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have enormous consequences for the way in which people experience power in their lives,
whether people do or don’t have access to affordable medicines.


We’ve been doing a few things at the FTC to make sure that we are encouraging and enabling
more participation. We’ve started to do these open monthly meetings, where we have items
on the agenda, but we also have a portion of the meeting where people can just sign up and
come speak to us, tell us about problems that they’re seeing in the marketplace, problems
that they think should be on our radar. It’s been really terrific to be able to hear regularly from
people who are not in Washington, DC, about the types of problems that they’re seeing in
marketplaces.


We are government officials, we are public servants, we serve the public, and so we need to
very actively be listening to the public, learning from the public. I think those types of forums
have been really incredibly important. As we do the revision of the merger guidelines, we’ve
also been doing these listening forums where we are inviting market participants who are not
the types to be able to hire law firms to write the 100-page submissions to the agencies but
really have deep expertise from their own day-to-day experience in these markets, to be able
to share with us what they’re seeing. A few weeks ago, we did one focused on the healthcare
industry, where we heard from physicians who could attest to the effects of private equity roll-
ups of physician practices. We heard from nurses, we heard from independent pharmacists,
as well as from patient advocates who could share with us their real-world experience, having
lived through mergers and acquisitions and the types of harms that those have created.


So I think some of this work is already being done, and people are already realizing how the
kind of day to day realities that they’re living connect to the decisions being made by antitrust
enforcers, but I think there’s certainly a lot that the agencies can also be doing to actively
encourage and welcome that type of regular public input. It’s something that’s incredibly
important to me, and I think we’ve already seen some great success in terms of being able to
shape our work based on what we’re hearing.

Some of the most significant input that we’ve gotten at our open commission meetings has
been from patient advocates, people in particular who come and talk to us about the way in
which the price of insulin has surged over the last few years, ways that are leading people to
ration their medicine, oftentimes leading to bad health outcomes, even death. We’ve also
heard a lot from independent pharmacists, who have been alleging that the practices of the
pharmacy benefit managers are basically squeezing out the pharmacies. So a lot of the input
that we received there has basically gone into shaping a study that we hope to be able to do
on pharmacy benefit managers, as well as internally how we’re thinking about some of our
enforcement strategy. So we’re really expecting that there’s going to be a feedback loop
between what we’re hearing from people and how that’s directly informing our work.


Q: One of the issues that we discussed a lot today is that maybe there is a tradeoff between
efficiency and democracy? If you are a hardcore New Brandeisian, you think the most
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important thing is democracy. If you are more moderate, you think about tradeo s with
e iciency. Where do you stand on that?


The word efficiency doesn’t appear anywhere in the antitrust statutes. They’re really written
to, in the FTC’s case, allow the FTC to police unfair methods of competition. Implicit in that
prescription is the idea that there are illegitimate forms of competition and legitimate forms
of competition, and it’s really up to the FTC to be defining what is fair and what is unfair when
it comes to competition. It’s not that any business practice that increases welfare or increases
efficiency is fine. It’s really this conception of unfair methods of competition. Embedded
within that is a task for the agency to be defining that.


There’s a lot of interest right now in having us think about the proliferation of noncompetes in
labor contracts. I think we hear a lot of arguments from firms around why those might be
efficient in terms of enabling investment, enabling training. I think we’ve also seen tradeoffs
in terms of the type of restrictions that they placed on workers’ liberties. I think that’s a side
where you see some of those arguments made. But I think ultimately, even within the
language of the antitrust statutes, as established, we don’t see some type of preference given
to efficiency over democracy— it’s really focused on competition, and in the FTC’s case, unfair
methods of competition.


    “THE WORD EFFICIENCY DOESN’T APPEAR ANYWHERE IN THE
                    ANTITRUST STATUTES.”


Q: One of the issues we discussed here is the question of bigness per se. I think it was Fiona
Scott Morton who said that if we think we have a problem with bigness per se, maybe we
should have laws on the book that limit size. Say, once you get to a trillion-dollar market cap,
we break you up. So how does the FTC, given the current laws, view, bigness per se? For
instance, a very large conglomerate goes out and buys a large operating company. On the face
of it, there are no horizontal or vertical issues her, but yet we see a $2-3 trillion company
gobbling up more and more companies in other industries. How do you view that?
        ff
I mean, I think on the first question, there’s no doubt that indicators of concentration,
                                                                       ff
consolidation, size, those can oftentimes be proxies for market power, and where market
power exists is where market power can be exploited and used in an unlawful way. Focusing
on the areas where we see some of the most significant incumbents and instances in which
they’ve been able to maintain dominant positions over a long period of time, I think that can
often be a fruitful area to focus on.

This question of conglomerates is incredibly interesting. There was a really robust discussion
and engagement with conglomerates back in the 60s and 70s, where the agencies were
thinking about law enforcement theories, what happens when you see this type of

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conglomeration, what should antitrust and merger law, in particular, have to say about it.
Some of those discussions then fizzled out because I think we saw certain diseconomies of
scale that hit, and we saw the dissipation of the traditional industrial conglomerate back in
the 60s, 70s, and 80s.


I think what we now see, especially in the digital context, is that those diseconomies of scale
don’t hit in the same way—they either hit at a much later scale or just, you know, might not
come into the picture at all. That really invites us to engage with this conglomerate question.
We might not think it’s worth calling it conglomerate, maybe some of the dynamics are a little
different, but the types of instances where we see individual firms establish positions across
markets, across sectors invites scrutiny. One thing that we’re trying to do with the revision of
the merger guidelines is to determine what should we as enforcers be thinking about when
we encounter situations like this because, as of right now, this is a somewhat understudied
topic in the context of our new economy.


Q: Next year, we’ll convene here again, and hopefully, you will be here again to answer
questions. Can you offer us a metric to assess your success at that point, after two years at the
helm of the FTC?


I think it goes back to what I said earlier: are these agencies really showing the country and
showing the public that we’re willing to take on the fights that matter, the big fights? Again,
that’s not always going to translate into universal victories in the courts, but I think it’s
certainly a commitment, a mandate that we feel. I think these types of windows of
opportunity where there’s deep public hunger for change create enormous responsibility for
us to respond and act, and I think that’s going to be an important metric for us.


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